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 1

 2                           UNITED STATES DISTRICT COURT

 3                          NORTHERN DISTRICT OF CALIFORNIA

 4                                  SAN JOSE DIVISION

 5
         UNITED STATES OF AMERICA,                )   CR-18-00258-EJD
 6                                                )
                             PLAINTIFF,           )   SAN JOSE, CALIFORNIA
 7                                                )
                      VS.                         )   VOLUME 23
 8                                                )
         ELIZABETH A. HOLMES,                     )   OCTOBER 22, 2021
 9                                                )
                             DEFENDANT.           )   PAGES 4318 - 4576
10                                                )

11
                           TRANSCRIPT OF TRIAL PROCEEDINGS
12                      BEFORE THE HONORABLE EDWARD J. DAVILA
                             UNITED STATES DISTRICT JUDGE
13
        A P P E A R A N C E S:
14
        FOR THE PLAINTIFF:          UNITED STATES ATTORNEY'S OFFICE
15                                  BY: JOHN C. BOSTIC
                                         JEFFREY B. SCHENK
16                                  150 ALMADEN BOULEVARD, SUITE 900
                                    SAN JOSE, CALIFORNIA 95113
17
                                    BY:  ROBERT S. LEACH
18                                       KELLY VOLKAR
                                    1301 CLAY STREET, SUITE 340S
19                                  OAKLAND, CALIFORNIA 94612

20            (APPEARANCES CONTINUED ON THE NEXT PAGE.)

21
        OFFICIAL COURT REPORTERS:
22                              IRENE L. RODRIGUEZ, CSR, RMR, CRR
                                CERTIFICATE NUMBER 8074
23                              LEE-ANNE SHORTRIDGE, CSR, CRR
                                CERTIFICATE NUMBER 9595
24
              PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
25                  TRANSCRIPT PRODUCED WITH COMPUTER



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        A P P E A R A N C E S: (CONT'D)
 2

 3      FOR DEFENDANT HOLMES:       WILLIAMS & CONNOLLY LLP
                                    BY: KEVIN M. DOWNEY
 4                                       LANCE A. WADE
                                         KATHERINE TREFZ
 5                                       PATRICK LOOBY
                                         J.R. FLEURMONT
 6                                       SEEMA ROPER
                                    725 TWELFTH STREET, N.W.
 7                                  WASHINGTON, D.C. 20005

 8                                  LAW OFFICE OF JOHN D. CLINE
                                    BY: JOHN D. CLINE
 9                                  ONE EMBARCADERO CENTER, SUITE 500
                                    SAN FRANCISCO, CALIFORNIA 94111
10

11      ALSO PRESENT:               FEDERAL BUREAU OF INVESTIGATION
                                    BY: ADELAIDA HERNANDEZ
12
                                    OFFICE OF THE U.S. ATTORNEY
13                                  BY: LAKISHA HOLLIMAN, PARALEGAL
                                         MADDI WACHS, PARALEGAL
14
                                    WILLIAMS & CONNOLLY
15                                  BY: TIMIKA ADAMS-SHERMAN, PARALEGAL

16                                  TBC
                                    BY:   BRIAN BENNETT, TECHNICIAN
17

18

19

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           1      SAN JOSE, CALIFORNIA                              OCTOBER 22, 2021

08:41AM    2                               P R O C E E D I N G S

08:41AM    3            (COURT CONVENED AT 8:41 A.M.)

08:41AM    4            (JURY OUT AT 8:41 A.M.)

08:41AM    5                   THE COURT:    LET'S GO ON THE RECORD IN THE HOLMES

08:41AM    6      MATTER.    ALL COUNSEL ARE PRESENT.       MS. HOLMES IS PRESENT.

08:41AM    7            WE'RE OUTSIDE, EXCUSE ME, THE PRESENCE OF THE JURY.            I

08:41AM    8      WANTED TO TALK TO COUNSEL ABOUT A COUPLE OF MATTERS.

08:41AM    9            FIRST OF ALL, IN REGARDS TO EXHIBIT 5387, I THINK IT'S D,

08:41AM   10      WE -- I THINK WE ADMITTED THAT THE OTHER DAY.           WE DID THAT

08:41AM   11      OUTSIDE OF THE PRESENCE OF THE JURY, WHICH IS NOT PROPER.                WE

08:41AM   12      NEED TO DO THAT -- ANY EVIDENCE NEEDS TO BE INTRODUCED IN THE

08:41AM   13      JURY'S PRESENCE.

08:41AM   14            SO I NEGLECTED TO RECALL THAT, SO I'M GOING TO ASK

08:41AM   15      MS. VOLKAR AND MS. TREFZ TO COME FORWARD AGAIN WHEN THE JURY

08:41AM   16      COMES IN AND WE'LL GO THROUGH THAT PROCESS AGAIN.

08:42AM   17            I SEE MS. VOLKAR, AND I SEE MS. TREFZ HERE.

08:42AM   18            SO I THINK I HAVE THE EXHIBIT NUMBER RIGHT, IT IS D,

08:42AM   19      DAVID.

08:42AM   20            AND MS. VOLKAR, IF YOU WOULD BE SO KIND TO COME UP WHEN WE

08:42AM   21      HAVE OUR JURY IN, AND MS. TREFZ, THEN WE'LL DO THAT FORMALITY.

08:42AM   22            THE -- I THINK, MR. WADE, YOU WANTED TO TALK -- WHERE IS

08:42AM   23      MR. WADE?    THERE.

08:42AM   24            YOU WANTED TO TALK ABOUT BRYAN TOLBERT OR SOMETHING.

08:42AM   25                   THE CLERK:    MR. DOWNEY.



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08:42AM    1                   THE COURT:    MR. DOWNEY.    I'M SORRY.

08:42AM    2                   MR. DOWNEY:    YES.   AND MR. SCHENK AND I HAVE TALKED

08:42AM    3      ABOUT SOME OF THIS, AND I THINK -- LET ME SAY THAT I THINK WE

08:42AM    4      AGREE IN PART ON SOME ISSUES, BUT JUST TO ORIENT THE COURT

08:42AM    5      BEFORE THIS IS IN FRONT OF THE JURY BECAUSE ONE OF THE ISSUES

08:42AM    6      HAS A LITTLE BIT MORE TO CONSIDER WITH IT, ALTHOUGH THE COURT

08:42AM    7      MAY NOT WANT TO DECIDE UNTIL THE ISSUE IS LIVE.

08:42AM    8            FIRST OF ALL, I THINK ON ONE ISSUE ACTUALLY MR. SCHENK AND

08:42AM    9      I AGREE.    THERE'S AN EXHIBIT, WHICH IS EXHIBIT 1344, WHICH IS A

08:43AM   10      SERIES OF NOTES FROM A CONFERENCE CALL WHICH WE'LL HEAR A TAPE

08:43AM   11      OF DURING THE TESTIMONY OF MR. TOLBERT.

08:43AM   12            THE NOTES THEMSELVES, I THINK MR. SCHENK AND I AGREE, ARE

08:43AM   13      NOT ADMISSIBLE.     THE NOTES ARE HEARSAY.       OF COURSE HE CAN SHOW

08:43AM   14      THEM TO THE WITNESS TO TRY TO REFRESH THE WITNESS'S

08:43AM   15      RECOLLECTION.

08:43AM   16            AND THERE ARE CIRCUMSTANCES UNDER WHICH THEY COULD BECOME

08:43AM   17      ADMISSIBLE, BUT I DON'T ANTICIPATE THOSE.          SO I THINK THAT IS

08:43AM   18      LARGELY RESOLVED.

08:43AM   19                   THE COURT:    OKAY.

08:43AM   20                   MR. DOWNEY:    THE SECOND ISSUE IS IN CONNECTION WITH

08:43AM   21      EXHIBIT 3086.     THIS IS AN EMAIL WHICH ACTUALLY DOESN'T HAVE

08:43AM   22      PARTICULAR RELEVANCE TO MR. TOLBERT, I THINK.

08:43AM   23            THIS IS AN EMAIL SENT BY THERANOS TO ALL SHAREHOLDERS IN

08:43AM   24      JANUARY OF 2016 -- I'M SORRY, YOUR HONOR, THIS IS 3086.

08:43AM   25                   THE COURT:    YES.



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08:43AM    1                   MR. DOWNEY:    THIS IS A SHAREHOLDER LETTER THAT WAS

08:43AM    2      SENT TO ALL SHAREHOLDERS.       IT ESSENTIALLY REPEATS THE

08:44AM    3      ALLEGATIONS OF "THE WALL STREET JOURNAL" ARTICLE WHICH HAS

08:44AM    4      ALREADY BEEN RULED INADMISSIBLE, SO IT'S ANOTHER LAYER OF

08:44AM    5      HEARSAY RELATED TO THAT, AND IT REPEATS THE ALLEGATIONS

08:44AM    6      CONTAINED IN THE CMS REPORT, WHICH AS YOUR HONOR KNOWS, HAS

08:44AM    7      BEEN ADMITTED IN PART, BUT NOT ADMITTED IN PART.

08:44AM    8            AND THEN IT OFFERS, ON A HEARSAY BASIS, THE COMPANY'S SORT

08:44AM    9      OF OWN DEFENSES FOR BOTH OF THOSE EVENTS.

08:44AM   10            I DON'T THINK -- THIS WITNESS IS NOT PARTICULARLY

08:44AM   11      IMPORTANT AS TO THAT, BUT I THINK IN ANY EVENT THERE ARE A

08:44AM   12      COUPLE OF OTHER ISSUES WITH IT.

08:44AM   13            I DON'T KNOW THAT HIS TESTIMONY MATTERS.

08:44AM   14            FIRST OF ALL, THIS IS ALL OUTSIDE OF THE SCOPE OF THE

08:44AM   15      CONSPIRACY.     AS YOUR HONOR KNOWS, THE INVESTOR CONSPIRACY ENDS

08:44AM   16      IN 2015, SO THIS DISCUSSION OF THESE MATTERS AFTER THE END OF

08:44AM   17      THE CONSPIRACY IS NOT REALLY RELEVANT TO THE CONSPIRACY

08:44AM   18      ALLEGATION DURING THE COURSE OF THE CASE.

08:45AM   19            THE SECOND ISSUE, YOUR HONOR, THERE'S SORT OF MULTIPLE

08:45AM   20      LAYERS OF HEARSAY IN HERE.       THERE'S QUOTES OF "THE WALL STREET

08:45AM   21      JOURNAL" QUOTING WITNESSES, AND THEN QUOTES OF OTHER WITNESSES,

08:45AM   22      NOT DIRECT QUOTES, BUT SUMMARIZED QUOTES OF WHAT REFUTES THOSE

08:45AM   23      ALLEGATIONS ON THE PART OF THE COMPANY.          SO IT'S JUST A MESS IN

08:45AM   24      TERMS OF THE HEARSAY ISSUES, FRANKLY.

08:45AM   25            AND I THINK TO SORT IT OUT EITHER NOW OR IN REALTIME WOULD



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08:45AM    1      BE VERY DIFFICULT.

08:45AM    2            I THINK ALSO THIS IS KIND OF WHAT THE CASE -- SOME OF THIS

08:45AM    3      IS WHAT PART OF THE CASE IS ABOUT, AND I THINK TO TRY TO

08:45AM    4      INTRODUCE A DOCUMENT THAT IS A PAGE AND A HALF EMAIL, YOU KNOW,

08:45AM    5      POST CONSPIRACY DISCUSSING IT IS -- YOU KNOW, RAISES A LOT OF

08:45AM    6      403 ISSUES.

08:45AM    7            WHEN MR. TOLBERT, YOU KNOW, HAPPENED TO RECEIVE THIS

08:45AM    8      EMAIL, YOU KNOW, DOESN'T REALLY ADD VERY MUCH.

08:45AM    9                   THE COURT:    THANK YOU.

08:45AM   10            MR. SCHENK?

08:45AM   11                   MR. SCHENK:    I'LL START IN TURN WITH 1344,

08:46AM   12      MR. TOLBERT'S NOTES.       I DO NOT INTEND TO OFFER THAT DURING

08:46AM   13      MR. TOLBERT'S DIRECT TESTIMONY TODAY.

08:46AM   14            IT IS, THOUGH, SOMETHING THAT COULD BE READ TO THE JURY

08:46AM   15      UNDER 803(5).     IT WOULDN'T BE ADMITTED AND GO BACK, BUT IT IS

08:46AM   16      SOMETHING THAT IS ADMISSIBLE UNDER THAT RULE OF EVIDENCE SHOULD

08:46AM   17      IT BECOME RELEVANT AND NECESSARY.

08:46AM   18            IT'S NOTES OF A CALL THAT WE HAVE A RECORDING OF, SO WE

08:46AM   19      CAN PLAY THAT AND I THINK SATISFY THE CONTENT OF THE RECORDING

08:46AM   20      IN A DIFFERENT WAY.

08:46AM   21            BUT QUESTIONS OF MR. TOLBERT ABOUT HIS RECOLLECTION OF THE

08:46AM   22      RECALL, I'M SORRY, OF THE CALL OR HIS INTERPRETATION OF THE

08:46AM   23      CALL COULD BE -- COULD MAKE IT RELEVANT UNDER THAT RULE OF

08:46AM   24      EVIDENCE.

08:46AM   25            AGAIN, I DON'T INTEND TO OFFER IT.



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08:46AM    1             BUT I WANT TO BE CLEAR THAT THE GOVERNMENT IS NOT

08:46AM    2       CONCEDING THAT IT'S NOT RELEVANT OR ADMISSIBLE, AND AGAIN,

08:46AM    3       ADMISSIBLE IS A LITTLE BIT DIFFERENT NOT TO GO BACK TO THE

08:46AM    4       JURY, BUT RATHER TO BE READ INTO EVIDENCE AS A MARKED EXHIBIT.

08:47AM    5             I DON'T THINK THE COURT NEEDS TO MAKE A DECISION ON THAT

08:47AM    6       NOW BECAUSE I DON'T ANTICIPATE THAT BECOMING NECESSARY.

08:47AM    7             BUT IF IT DOES, IT WOULD BE ON THAT BASIS THAT THE

08:47AM    8       GOVERNMENT WOULD SEEK TO HAVE THE DOCUMENT READ, OR AT LEAST

08:47AM    9       PORTIONS OF THE DOCUMENT READ TO THE JURY.

08:47AM   10                   THE COURT:    THANK YOU.

08:47AM   11                   MR. SCHENK:    ON 3086, YOUR HONOR, THIS IS A DOCUMENT

08:47AM   12       WHERE THERANOS SENDS AN EMAIL TO ALL SHAREHOLDERS AND THEN

08:47AM   13       MR. TOLBERT TAKES THAT EMAIL AND SHARES IT WITH OTHER

08:47AM   14       INDIVIDUALS AT HALL GROUP.

08:47AM   15             LULLING STATEMENTS ARE RELEVANT AFTER THE FACT.         IT'S

08:47AM   16       ADMISSIBLE ON THAT GROUND.

08:47AM   17             THE DEFENSE HAS INTRODUCED ON MANY OCCASIONS IN THIS TRIAL

08:47AM   18       POST INVESTMENT EVIDENCE.      THE COURT HAS HEARD TESTIMONY ABOUT

08:47AM   19       AN INDIVIDUAL NAMED DAVID HELFET, THE COURT HAS HEARD TESTIMONY

08:47AM   20       ABOUT THE SCIENTIFIC AND ADVISORY BOARD, THE COURT HAS HEARD

08:48AM   21       TESTIMONY ABOUT CHANNING ROBERTSON'S ROLE AFTER THE FACT.

08:48AM   22             IT CANNOT BE THAT THE DEFENSE IS ALLOWED TO INTRODUCE POST

08:48AM   23       INVESTMENT EVIDENCE TO SUGGEST THAT EITHER THE THERANOS

08:48AM   24       TECHNOLOGY WORKED OR THAT MS. HOLMES DIDN'T HAVE AN INTENT TO

08:48AM   25       DEFRAUD, BUT THAT THE GOVERNMENT IS PRECLUDED FROM OFFERING



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08:48AM    1       POST INVESTMENT EVIDENCE.

08:48AM    2             I THINK THAT THE EVIDENCE DISPROVES THE EXISTENCE OF

08:48AM    3       KNOWLEDGE, AND ALSO THIS PARTICULAR DOCUMENT BRAGS ABOUT A NEW

08:48AM    4       LAB DIRECTOR NAMED DR. DAS.

08:48AM    5             DR. DAS WILL BE A WITNESS IN THIS TRIAL.        THERANOS LIKED

08:48AM    6       HIM AND WANTED SHAREHOLDERS TO LIKE AND APPRECIATE THE WORK

08:48AM    7       THAT HE'S GOING TO DO, AND THAT'S AN IMPORTANT THING FOR THE

08:48AM    8       JURY TO KNOW WHEN DR. DAS TAKES THE STAND, THAT AT LEAST

08:48AM    9       INITIALLY THAT THERANOS WAS VERY PROUD TO BRING DR. DAS WITHIN

08:48AM   10       THE FOLD.

08:48AM   11             I THINK THAT I CAN AGREE NOT TO OFFER THIS IN DIRECT OF

08:49AM   12       TOLBERT BECAUSE MOST OF HIS TESTIMONY IS GOING TO BE ABOUT THE

08:49AM   13       DECISION TO MAKE THE INVESTMENT.

08:49AM   14             BUT IT CERTAINLY IS NOT THE CASE THAT THE GOVERNMENT

08:49AM   15       SHOULD BE PRECLUDED FROM OFFERING POST -- THE DATE HERE IS

08:49AM   16       DECEMBER 31ST, 2013.     THAT'S WHEN THE WIRE WENT FROM HALL TO

08:49AM   17       THERANOS.

08:49AM   18             POST DECEMBER 31ST, 2013 EVIDENCE IS CERTAINLY RELEVANT,

08:49AM   19       AND THE DEFENSE HAS ARGUED TO THE COURT AND TO THE JURY THAT

08:49AM   20       AFTER INVESTMENT EVIDENCE IS RELEVANT.

08:49AM   21             SO IT SHOULD NOT BE THE CASE THAT THE GOVERNMENT IS

08:49AM   22       PRECLUDED FROM OFFERING EVIDENCE FOLLOWING AN INVESTMENT,

08:49AM   23       ESPECIALLY EVIDENCE OF THIS SORT WHEN THE REPRESENTATIONS

08:49AM   24       REGARDING CMS OR THE SIGNIFICANCE OF THE CMS INVESTIGATION, THE

08:49AM   25       INDIVIDUALS WHO MIGHT BE SHARING INFORMATION, THE WHISTLE



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08:49AM    1       BLOWERS AND THE WAY THAT THERANOS IS EXPLAINING THAT IS ALL

08:49AM    2       CERTAINLY RELEVANT.

08:49AM    3             IN OTHER CONTEXTS WE FOLLOWED THAT RULE.        ARTICLES, FOR

08:50AM    4       INSTANCE, AREN'T RELEVANT WHEN WE JUST WANT TO INTRODUCE THE

08:50AM    5       SPECIFIC ARTICLE.     THEY BECOME RELEVANT WHEN THERANOS SENDS

08:50AM    6       THAT ARTICLE TO SHAREHOLDERS SORT OF IN THE GUISE OF, YOU WANT

08:50AM    7       TO LEARN MORE ABOUT OUR TECHNOLOGY, READ THIS ARTICLE.

08:50AM    8             SO THINGS THAT MIGHT OTHERWISE BE EXCLUDABLE IN THIS CASE

08:50AM    9       BECOME RELEVANT ADMISSIBLE EVIDENCE WHEN THERANOS MAKES

08:50AM   10       REPRESENTATIONS TO SHAREHOLDERS THAT SHAREHOLDERS SHOULD RELY

08:50AM   11       ON THAT LULL THEM INTO BELIEVING THAT EVERYTHING IS STILL OKAY

08:50AM   12       AT THERANOS AND SORT OF IMPLICITLY DISCOURAGE SHAREHOLDERS FROM

08:50AM   13       CONTACTING LAW ENFORCEMENT THROUGH THOSE REPRESENTATIONS.

08:50AM   14             FOR ALL OF THOSE REASONS THIS IS RELEVANT AND ADMISSIBLE

08:50AM   15       EVIDENCE.

08:50AM   16             I CAN LIMIT MY QUESTIONS ON DIRECT TO AVOID THIS, BUT I

08:50AM   17       DON'T WANT THE COURT TO MAKE A RULING THAT THE GOVERNMENT'S

08:50AM   18       SHOULD BE PRECLUDED FROM OFFERING EVIDENCE OF THIS TYPE BECAUSE

08:50AM   19       OF THE DATE OR BECAUSE OF THE CONTENT.

08:50AM   20                   THE COURT:    THANK YOU.

08:50AM   21             IS IT -- DO I HEAR YOU SAY THEN THAT YOUR INTENT IS NOT

08:51AM   22       SPECIFICALLY, AT LEAST INITIALLY, TO INTRODUCE THE DOCUMENT,

08:51AM   23       BUT RATHER TO PROBE THE ISSUES CONTAINED IN THE DOCUMENT?

08:51AM   24                   MR. SCHENK:    I WOULD BE HAPPY TO LIMIT MR. TOLBERT'S

08:51AM   25       DIRECT UP THROUGH THE DATE OF THE INVESTMENT AND CUT IT OFF



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08:51AM    1       THERE FOR TODAY'S PURPOSES.

08:51AM    2              I WOULD LIKE TO SEE THE KINDS OF QUESTIONS THAT THE

08:51AM    3       DEFENSE ASKS ON CROSS.      I WONDER IF THE DEFENSE IS GOING TO ASK

08:51AM    4       EVEN ONE QUESTION THAT CALLS ON EVENTS AFTER JANUARY 1, 2014.

08:51AM    5       THAT WOULD OPEN THE DOOR FOR THIS WITNESS.

08:51AM    6              BUT I DON'T WANT TO SUGGEST TO THE COURT THAT THE DOOR

08:51AM    7       NEEDS TO BE OPENED SORT OF FROM RIGHT NOW GOING FORWARD.

08:51AM    8                    THE COURT:    SURE.

08:51AM    9                    MR. SCHENK:   THEY'VE OPENED THE DOOR THROUGH

08:51AM   10       COUNTLESS WITNESSES WHEN THEY'VE TALKED ABOUT THE 2016/2017

08:51AM   11       EVENTS AT THERANOS AND THE DOOR IS OPENED, SO I DON'T WANT THE

08:51AM   12       COURT TO THINK I DON'T ALREADY BELIEVE I CAN GO THERE.

08:51AM   13              I JUST DON'T THINK IT'S NECESSARY TO GO THERE WITH

08:51AM   14       MR. TOLBERT.    LET'S SEE WHAT KIND OF QUESTIONS THAT THE DEFENSE

08:52AM   15       HAS.

08:52AM   16                    THE COURT:    ALL RIGHT.

08:52AM   17                    MR. DOWNEY:   YOUR HONOR, IF I MIGHT QUICKLY COMMENT?

08:52AM   18                    THE COURT:    DO YOU WANT TO BE HEARD ABOUT DOORS,

08:52AM   19       MR. DOWNEY.

08:52AM   20                    MR. DOWNEY:   FIRST OF ALL, LET ME JUST COMMENT ON

08:52AM   21       THE DATES.    I THINK IN MR. SCHENK'S FIRST COMMENT HE SAID 2013

08:52AM   22       AND HE MEANT 2015.

08:52AM   23              FIRST OF ALL, LULLING IS A COMPONENT OF A CONSPIRACY AND

08:52AM   24       CAN BE AN OVERT ACT IN FURTHERANCE OF A CONSPIRACY.

08:52AM   25              THIS WITNESS IS NOT RELEVANT TO ANY CONSPIRACY EVIDENCE



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08:52AM    1       AFTER DECEMBER 31ST, 2015.

08:52AM    2             I'M NOT CERTAIN IF THERE'S A LOT OF EVIDENCE DURING THE

08:52AM    3       COURSE OF THE CONSPIRACY AFTER THE INVESTMENT.          WE CAN SEE WHAT

08:52AM    4       HAPPENS THERE.

08:52AM    5             BUT I CERTAINLY AGREE THAT EVIDENCE FROM AFTER

08:52AM    6       DECEMBER 31ST, 2015, WHICH IS THE TERMINATION OF THE

08:52AM    7       CONSPIRACY, OR SOME DATE IN 2015 BEFORE THAT, WON'T COME IN

08:52AM    8       THROUGH US OR THROUGH THEM.

08:52AM    9                   THE COURT:    ALL RIGHT.    WELL, THIS IS A STAY TUNED

08:52AM   10       TYPE OF AN EVENT.     THANK YOU FOR HIGHLIGHTING THAT.

08:53AM   11                   MR. DOWNEY:    YEAH.   AND I'LL JUST SAY, YOUR HONOR,

08:53AM   12       THIS IS A SIMPLER ISSUE, BUT THERE WILL BE A COUPLE OF

08:53AM   13       DOCUMENTS, AT LEAST MAYBE ONE, WHERE MR. TOLBERT'S NOTES WILL

08:53AM   14       BE SOUGHT TO INTRODUCE.      I'M NOT SURE WHAT THE LEVEL OF

08:53AM   15       FOUNDATION WILL BE THAT'S LAID IN CONNECTION WITH THEM, BUT

08:53AM   16       GENERALLY I DON'T THINK HANDWRITTEN NOTES OF AN INDIVIDUAL

08:53AM   17       EMPLOYEE OR TYPED NOTES OF AN INDIVIDUAL EMPLOYEE CONSTITUTE A

08:53AM   18       BUSINESS RECORD UNDER NINTH CIRCUIT LAW, SO I THINK WE'LL BE

08:53AM   19       OBJECTING TO THOSE.

08:53AM   20             1344 IS ONE EXAMPLE.

08:53AM   21             AGAIN, I'M NOT SURE THEY WILL BE OFFERED, BUT THEY ARE

08:53AM   22       AMONGST THE EXHIBITS THAT WE'VE BEEN PROFFERED.

08:53AM   23                   THE COURT:    ALL RIGHT.    THANK YOU.

08:53AM   24             ANYTHING FURTHER, MR. SCHENK, ON THAT?

08:53AM   25                   MR. SCHENK:    JUST ON THAT LAST POINT.      803(5)



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08:53AM    1       DOESN'T REQUIRE BUSINESS RECORDS, SO I WOULDN'T LAY THE

08:53AM    2       FOUNDATION THAT WAY SHOULD 1344 BE A DOCUMENT THAT IS ENTITLED

08:53AM    3       TO BE READ TO THE JURY, BUT NOT ADMITTED FOR DELIBERATION.

08:53AM    4                   THE COURT:    ALL RIGHT.    THANK YOU.

08:53AM    5             I WANTED TO TALK ABOUT THE SHANE WEBER EXHIBIT.         THAT MAY

08:54AM    6       BECOME RELEVANT THIS MORNING I THINK.

08:54AM    7                   MR. DOWNEY:    I THINK THAT'S RIGHT.

08:54AM    8                   MR. SCHENK:    YES.

08:54AM    9                   MR. DOWNEY:    THERE ARE SOME OTHER ISSUES RELATED TO

08:54AM   10       WHAT WOULD BE THE FOURTH WITNESS TODAY, IF WE GOT TO THE FOURTH

08:54AM   11       WITNESS.   I THINK WE BOTH HAVE UNCERTAINTY AS TO WHETHER WE

08:54AM   12       WILL OR WHETHER WE --

08:54AM   13                   THE COURT:    LET'S TAKE THAT UP AFTER OUR BREAK AND

08:54AM   14       SEE WHERE WE ARE ON THAT.

08:54AM   15                   MR. DOWNEY:    YEAH.   AND THEY'RE ALSO NOT LARGE

08:54AM   16       ISSUES.

08:54AM   17                   THE COURT:    THANK YOU.

08:54AM   18             TURNING TO THE WEBER DOCUMENT THAT WE DISCUSSED YESTERDAY,

08:54AM   19       AND WE HAD SOME ROBUST DISCUSSION ABOUT WHETHER OR NOT THE

08:54AM   20       DOCUMENT ITSELF SHOULD BE ADMITTED, I LISTENED TO THE ARGUMENTS

08:54AM   21       AND I'VE REVIEWED THE DOCUMENT ITSELF.

08:54AM   22             I THINK MR. CLINE'S OBJECTION -- WHERE ARE YOU MR. CLINE?

08:55AM   23       THERE YOU ARE -- I THINK MR. CLINE'S OBJECTIONS WERE THE

08:55AM   24       PEJORATIVE NATURE OF THE TERMS THAT WERE USED DESCRIBED

08:55AM   25       THINGS -- YOU CAN COME FORWARD IF YOU WOULD LIKE.          THANK YOU --



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08:55AM    1       WERE OTHERWISE OFFENSIVE AND APPROPRIATE UNDER A 403 ANALYSIS.

08:55AM    2             WHAT I HEARD YOU SAY SEVERAL TIMES WAS THAT IT WAS

08:55AM    3       PROFOUNDLY UNFAIR -- AND WE'RE TALKING ABOUT UNDER A 403

08:55AM    4       ANALYSIS, WHETHER OR NOT PREJUDICE IS UNFAIR.         EVERYTHING THAT

08:55AM    5       THE PROSECUTION ADVANCES AGAINST YOUR CLIENT OBVIOUSLY IS

08:55AM    6       PREJUDICIAL TO HER INTEREST.

08:55AM    7             THE QUESTION THAT WE'RE LOOKING AT UNDER 403 IS, IS THIS

08:55AM    8       UNFAIR PREJUDICE?     AND IF SO, IN WHAT MANNER, AND WHAT IS THE

08:55AM    9       REMEDY IF IT IS?

08:55AM   10             AND I HEARD YOU SAY SEVERAL TIMES THAT YOUR CONCERN IS

08:55AM   11       THAT THE JURY WOULD HAVE THIS DOCUMENT AND THEY WOULD REVIEW IT

08:55AM   12       IN THEIR DELIBERATIONS AND WOULD HAVE THOSE PEJORATIVE TERMS,

08:55AM   13       AS YOU PUT IT, IN FRONT OF THEM.       THEY COULD DRAW CONCLUSIONS,

08:55AM   14       PERHAPS UNFAIR AND INAPPROPRIATE CONCLUSIONS, ABOUT THIS ONE

08:56AM   15       WITNESS, MR. WEBER'S EVALUATION.

08:56AM   16             AND WHAT WE KNOW, AGAIN, THE CHRONOLOGY OF THIS, AS I

08:56AM   17       UNDERSTAND FROM BOTH OF YOU, WAS THAT THERANOS REACHED OUT TO

08:56AM   18       PFIZER FOR BUSINESS RELATIONSHIP PURPOSES.         THERE WAS A

08:56AM   19       CONFERENCE CALL.     I THINK THAT WAS IN NOVEMBER OF 2008,

08:56AM   20       NOVEMBER 13TH, 2008.

08:56AM   21             IS THAT RIGHT?

08:56AM   22                   MR. CLINE:    YES.

08:56AM   23             JUST TO BACK UP A TINY BIT.      THERE HAD BEEN A BUSINESS

08:56AM   24       RELATIONSHIP FOR A COUPLE OF YEARS AT THIS POINT.

08:56AM   25             IN NOVEMBER 2008, DR. WEBER IS ASKED TO REVIEW A REPORT



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08:56AM    1       THAT THERANOS HAD SUBMITTED THAT'S AROUND THE BEGINNING OF

08:56AM    2       NOVEMBER, NOVEMBER 6TH, I THINK, 2008, AND THEN ON THE 13TH, AS

08:56AM    3       YOUR HONOR SAYS, THERE WAS THIS CONFERENCE CALL WITH DR. WEBER

08:56AM    4       ON ONE HAND AND A NUMBER OF THERANOS PEOPLE, INCLUDING

08:56AM    5       MS. HOLMES, ON THE OTHER.

08:56AM    6                   THE COURT:    THANK YOU.

08:56AM    7             AND THEN HE -- "HE" MR. WEBER -- THEN WAS ASSIGNED

08:57AM    8       APPARENTLY TO EVALUATE THE RELATIONSHIP.         THERE WERE 25

08:57AM    9       QUESTIONS, I THINK, THAT WERE POSED.        HE WROTE HIS REPORT ON,

08:57AM   10       AT LEAST WE HAVE IT ON DECEMBER 31, 2008.         THAT'S THE DOCUMENT

08:57AM   11       IN QUESTION HERE.

08:57AM   12                   MR. CLINE:    YES.

08:57AM   13                   THE COURT:    AND THEN THERE WAS A FOLLOW-UP CALL WITH

08:57AM   14       MS. HOLMES AND MR. WEBER I THINK SOMETIME IN JANUARY OF 2009.

08:57AM   15                   MR. CLINE:    CORRECT.

08:57AM   16                   THE COURT:    I THINK THOSE ARE THE SEMINAL DATES AS

08:57AM   17       FAR AS THIS DOCUMENT IS CONCERNED.

08:57AM   18             AND IT SEEMS TO ME, AS I REREAD THIS SEVERAL TIMES, THE

08:57AM   19       CRITICISMS THAT I THINK YOU RAISE, MR. CLINE, ABOUT THE

08:57AM   20       LANGUAGE, IT SEEMS TO ME THAT THOSE CRITICISMS ARE NOT REALLY

08:57AM   21       SPECIFIC TO MS. HOLMES, AND I KNOW YOU WERE TALKING ABOUT THEY

08:57AM   22       COULD BE INFERRED AS HIS COMMENT ABOUT HER VERACITY, HER

08:57AM   23       PERSONAL VERACITY.

08:57AM   24             BUT WHEN I LOOK AT THOSE, IT SEEMS THAT HIS COMMENTS, HE'S

08:58AM   25       REALLY TALKING ABOUT THE TECHNICAL RESPONSES --



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08:58AM    1                   MR. CLINE:    WELL --

08:58AM    2                   THE COURT:    -- AND THAT SEEMS TO BE WHAT HE'S

08:58AM    3       REFERRING TO WHEN HE'S CRITICAL OF THAT.

08:58AM    4             GO AHEAD.

08:58AM    5                   MR. CLINE:    I'M SORRY, YOUR HONOR.

08:58AM    6                   THE COURT:    NO, NO.   YOU'RE EAGER TO SPEAK AND YOU

08:58AM    7       WANT TO STOP ME.

08:58AM    8                   MR. CLINE:    I'M CHOMPING AT THE BIT HERE.

08:58AM    9             THERE ARE SORT OF TWO SETS OF RESPONSES HERE.         THERE ARE

08:58AM   10       THE RESPONSES TO THE ORAL QUESTIONS ON THE NOVEMBER 13TH CALL;

08:58AM   11       AND THEN THERE WRITTEN RESPONSES TO WHAT MR. FRENZEL SAID.

08:58AM   12             DR. WEBER IN HIS REPORT USES VERY SIMILAR LANGUAGE FOR

08:58AM   13       BOTH, EVASIVE -- I FORGET ALL OF THE DIFFERENT TERMS, BUT

08:58AM   14       THEY'RE PEJORATIVE TERMS AND I THINK THEY DO COMMENT ON THE

08:58AM   15       CREDIBILITY OF THE PERSON PROVIDING THE ANSWER.

08:58AM   16             ON THE NOVEMBER 13TH CALL, I BELIEVE DR. WEBER WILL

08:58AM   17       TESTIFY THAT ALTHOUGH THERE WERE A NUMBER OF THERANOS PEOPLE ON

08:58AM   18       THE LINE, MS. HOLMES DID ALL OF THE TALKING.

08:59AM   19                   THE COURT:    RIGHT.

08:59AM   20                   MR. CLINE:    SO WHEN HE SAYS THE ANSWERS ON THAT

08:59AM   21       NOVEMBER 13TH CALL WERE EVASIVE, DEFLECTIVE, WHATEVER TERMS HE

08:59AM   22       USES, HE'S TALKING ABOUT MS. HOLMES.        AND THAT IS A 403 ISSUE,

08:59AM   23       AND I THINK IT'S ALSO A 701 ISSUE ABOUT THE CREDIBILITY OF

08:59AM   24       MS. HOLMES.    AND I DON'T THINK THAT'S SHOULD COME IN.

08:59AM   25                   THE COURT:    SURE.    WHAT IS INTERESTING ABOUT THE



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08:59AM    1       DOCUMENT, ISN'T IT, THAT DESPITE HIS CRITICISMS AND USE OF

08:59AM    2       THOSE TERMS, HE DOES SUGGEST THAT THEY SHOULD ENGAGE IN SIX

08:59AM    3       MONTHS TO SEE IF WHETHER OR NOT EITHER THE TECHNOLOGY HAS

08:59AM    4       CHANGED OR THE CONVERSATION HAS CHANGED SUCH THAT PFIZER WOULD

08:59AM    5       HAVE GREATER COMFORT IN CONTINUING, RENEWING, WHATEVER, THE

08:59AM    6       BUSINESS RELATIONSHIP.

08:59AM    7             ONE OF HIS CRITICISMS WAS THAT THERE WERE TOO MANY, THERE

08:59AM    8       ARE TOO MANY COOKS IN THE KITCHEN, SO TO SPEAK, AND HE WANTS TO

08:59AM    9       NARROW IT DOWN TO ONE GROUP, ONE TEAM THAT THERANOS COULD THEN

09:00AM   10       CONTACT, AND HE SUGGESTS DOING THAT IN SIX MONTHS.

09:00AM   11             THAT SEEMS TO TEMPER SOMEWHAT THE COMMENTS THAT YOU'VE

09:00AM   12       MADE ABOUT THE PEJORATIVE NATURE OF THOSE TERMS.

09:00AM   13             IT SUGGESTS, LIKE YOUR MATH TEACHER -- BUT NOT YOU,

09:00AM   14       MR. CLINE, BECAUSE I KNOW YOU EXCELLED IN MATH.

09:00AM   15                    MR. CLINE:   I MADE IT THROUGH SOPHOMORE COLLEGE

09:00AM   16       MATH, JUST SO YOU KNOW.

09:00AM   17                    THE COURT:   YOUR MATH TEACHER WOULD SAY, SHOW ME

09:00AM   18       YOUR WORK.    YOU HAVE TO SHOW ME YOUR WORK.

09:00AM   19             AND I DON'T MEAN TO MAKE LIGHT OF THIS, BUT THAT'S

09:00AM   20       SOMEWHAT I THINK THE WAY THE COMMENTS CAN BE INFERRED, AND

09:00AM   21       SUPPORTING THAT IS THE FACT THAT THE DOOR ISN'T CLOSED.           LET'S

09:00AM   22       REGROUP IN SIX MONTHS AND LET'S SEE WHAT YOU COME UP WITH.

09:00AM   23             SO I THINK TEMPERS IT.

09:00AM   24             NOW, LET ME SAY THIS:     I UNDERSTAND YOUR CONCERN NOW ABOUT

09:00AM   25       HAVING THIS DOCUMENT ADMITTED SUCH THAT THE JURY COULD HAVE IT.



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09:00AM    1       I CAPTURE YOUR 403 CONCERNS ABOUT THAT.

09:00AM    2             WHAT I'M GOING TO DO, MR. LEACH, IS I'M GOING TO ALLOW

09:01AM    3       THIS DOCUMENT TO BE MARKED AS AN EXHIBIT, AND WHAT I INTEND TO

09:01AM    4       DO -- AND YOU'RE GOING TO LAY A FOUNDATION, I PRESUME, FOR ALL

09:01AM    5       OF THIS.

09:01AM    6                    MR. LEACH:   YES, YOUR HONOR.

09:01AM    7                    THE COURT:   AND THEN I'M GOING TO ALLOW THIS TO BE

09:01AM    8       USED NOW AS A DEMONSTRATIVE.       YOU'LL BE ABLE TO DISPLAY THIS TO

09:01AM    9       THE JURY, YOU'LL BE ABLE TO QUESTION, ASSUMING THE FOUNDATION

09:01AM   10       IS LAID, AND YOU'LL BE ABLE TO EXAMINE ON THIS, AS WILL YOU,

09:01AM   11       MR. CLINE.

09:01AM   12             WHETHER OR NOT IT'S INTRODUCED AS A FORMAL EXHIBIT OR NOT,

09:01AM   13       I'M GOING TO RESERVE JUDGMENT ON THAT.

09:01AM   14             SO IT CAN BE USED, MAY BE USED, AS A DEMONSTRATIVE, BOTH

09:01AM   15       THIS MORNING AND BY COUNSEL, IF YOU WISH, IN ARGUMENT.           IN

09:01AM   16       FINAL ARGUMENT IF YOU WISH TO USE IT, IT WILL BE A

09:01AM   17       DEMONSTRATIVE.

09:01AM   18             BUT AT THIS POINT I'M NOT GOING TO ALLOW IT TO GO IN

09:01AM   19       EVIDENCE ABSENT ANY ADDITIONAL FOUNDATION.

09:01AM   20             NOW, THIS ALSO -- WE ALSO TALKED ON -- YOU TOUCHED ON A

09:01AM   21       702 OBJECTION IN REGARDS TO SOME OF THE SCIENTIFIC TERMS, AND I

09:02AM   22       THINK THE FACT THAT IT'S USED AS A DEMONSTRATIVE I THINK ALSO

09:02AM   23       ACTS PROPHYLACTICALLY ABOUT ELIMINATING THAT ISSUE ABOUT THE

09:02AM   24       JURY TO RECEIVE THIS AND THE 702 ISSUE.

09:02AM   25             MY SENSE IS, MR. LEACH, YOU'RE NOT GOING TO EXAMINE ON ANY



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09:02AM    1       OF THOSE TOPICS.

09:02AM    2                   MR. LEACH:    THAT'S CORRECT, YOUR HONOR.

09:02AM    3                   THE COURT:    SO I THINK THAT TAKES CARE OF THAT 702

09:02AM    4       ISSUE.

09:02AM    5             SO THAT'S THE COURT'S RULING ON THE DOCUMENT, AND WE'LL

09:02AM    6       SEE IF IT COMES IN FOR SOME OTHER PURPOSE.

09:02AM    7                   MR. LEACH:    THANK YOU, YOUR HONOR.

09:02AM    8                   MR. CLINE:    YOUR HONOR, ONE THING.

09:02AM    9                   THE COURT:    SURE.

09:02AM   10                   MR. CLINE:    I'M GUESSING WHAT MR. LEACH WILL DO IS

09:02AM   11       LAY A FOUNDATION AND THEN OFFER THE DOCUMENT AS A

09:02AM   12       DEMONSTRATIVE.

09:02AM   13                   THE COURT:    RIGHT.

09:02AM   14                   MR. CLINE:    MAY MY OBJECTION TO THAT BE NOTED SO I

09:02AM   15       DON'T HAVE TO GET UP IN FRONT OF THE JURY?

09:02AM   16                   THE COURT:    ABSOLUTELY, ABSOLUTELY.

09:02AM   17             YOU CAN GET UP IF YOU WANT, BUT I'LL NOTE YOUR OBJECTION

09:02AM   18       NOW IF YOU WANT.     YOUR OBJECTION IS PRESERVED.

09:03AM   19                   MR. CLINE:    ALL RIGHT.

09:03AM   20                   THE COURT:    ANYTHING FURTHER ON THAT, MR. LEACH?

09:03AM   21                   MR. LEACH:    I DON'T WANT TO COMPLICATE MATTERS

09:03AM   22       UNDULY, YOUR HONOR, BUT WOULD IT BE POSSIBLE TO OFFER THE FIRST

09:03AM   23       PAGE INTO EVIDENCE AND DISPLAY THE REMAINDER OF THE DOCUMENT?

09:03AM   24       I THINK THE THRUST OF MR. CLINE'S CONCERNS ARE LIMITED TO THE

09:03AM   25       COMMENTARY.



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09:03AM    1                   THE COURT:    THE FIRST PAGE IS --

09:03AM    2                   MR. LEACH:    THE FIRST PAGE INCLUDES AN OVERVIEW, THE

09:03AM    3       RECOMMENDATIONS, AND THEN IT BEGINS THE REVIEW AND COMMENTS ON

09:03AM    4       THERANOS-PROVIDED INFORMATION.

09:03AM    5             I THINK MANY OF THE COMMENTS MR. CLINE IS RAISING ABOUT

09:03AM    6       THE EVASIVE NATURE OF THE RESPONSES AND THE POORLY PREPARED

09:03AM    7       SUMMARY ARE LIMITED TO PAGE 2 AND 3.

09:03AM    8                   THE COURT:    WELL, RIGHT.    AND THAT'S A GOOD

09:03AM    9       QUESTION.

09:03AM   10             I NOTE THAT, AS I LOOK THROUGH THIS, I WAS LOOKING, WHEN

09:03AM   11       DOES THE -- FOR MR. CLINE'S POSITION, WHEN DOES THE BAD STUFF

09:03AM   12       START?

09:04AM   13                   MR. CLINE:    WELL, THE FIRST BIT OF BAD STUFF IS ON

09:04AM   14       PAGE 1 WHERE DR. WEBER SAYS, "THERANOS HAS BEEN EXCESSIVELY

09:04AM   15       PUSHY IN ACCESSING NEW POINTS OF CONTACT ONCE TURNED DOWN.

09:04AM   16       THEIR MULTIPLE INTERACTIONS CAUSED UNDUE DISTRACTION FROM OUR

09:04AM   17       ONGOING WORK."

09:04AM   18             I MEAN, AGAIN, NONE OF THIS GETS CONVEYED TO MS. HOLMES.

09:04AM   19       IT'S QUITE A DIFFERENT PICTURE THAT GETS CONVEYED.

09:04AM   20             AND SO WE -- IF PAGE 1 COMES IN, I WILL SAY THAT PAGE 1,

09:04AM   21       ASSUMING A FOUNDATION CAN BE LAID, A BUSINESS RECORDS

09:04AM   22       FOUNDATION, I'M ASSUMING MR. LEACH CAN DO THAT, OTHERWISE

09:04AM   23       PAGE 1 IS OKAY.

09:04AM   24             BUT I WOULD ASK THAT, BEGINNING WITH "THERANOS HAS BEEN

09:04AM   25       EXCESSIVELY PUSHY" --



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09:04AM    1                     THE COURT:   THIS IS IN ITEM 3, I THINK.

09:04AM    2                     MR. CLINE:   YES.   FROM THERE UNTIL THE END OF THAT

09:04AM    3       PARAGRAPH OUGHT TO BE REDACTED.

09:04AM    4             AND WITH THAT REDACTION AND WITH AN APPROPRIATE

09:05AM    5       FOUNDATION, WHICH, AGAIN, I'M SURE MR. LEACH WILL LAY, WE DON'T

09:05AM    6       HAVE A PROBLEM WITH PAGE 1 COMING IN.

09:05AM    7                     THE COURT:   ALL RIGHT.

09:05AM    8                     MR. LEACH:   I DON'T SHARE THE CONCERN ABOUT

09:05AM    9       EXCESSIVELY PUSHY AND UNDUE DISTRACTION, YOUR HONOR, BUT THAT

09:05AM   10       CERTAINLY IS A REASONABLE SOLUTION HERE.

09:05AM   11                     THE COURT:   ALL RIGHT.   WELL, THANK YOU.     IF YOU CAN

09:05AM   12       REDACT THAT, I THINK YOU CAN --

09:05AM   13                     MR. LEACH:   YES.

09:05AM   14                     THE COURT:   -- THEN UPON THE PROPER FOUNDATION, THEN

09:05AM   15       PAGE 1, PAGE 1 OF THE REPORT OF EXHIBIT 167.

09:05AM   16                     MR. LEACH:   I CAN'T DO THAT, BUT MY SUPERSTAR

09:05AM   17       PARALEGAL, LAKISHA HOLLIMAN, CAN DO THAT.

09:05AM   18                     THE COURT:   WELL, WE'VE SEEN HER WORK, AND BOTH OF

09:05AM   19       THE TECHNICIANS' WORK AND WE'RE GRATEFUL FOR THEM.

09:05AM   20             OKAY.    GREAT.

09:06AM   21                     MR. LEACH:   THANK YOU, YOUR HONOR.

09:06AM   22                     THE COURT:   ALL RIGHT.   NOW I NEED TO TALK TO

09:06AM   23       COUNSEL ABOUT ANOTHER MATTER THAT HAS COME UP, AND I'M GOING TO

09:06AM   24       ASK MS. KRATZMANN TO HAND DOWN SOME -- TWO TO EACH SIDE.

09:06AM   25                     THE CLERK:   (HANDING.)



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09:06AM    1             (PAUSE IN PROCEEDINGS.)

09:06AM    2                   THE COURT:    THANK YOU.    I'VE SHARED WITH COUNSEL AN

09:06AM    3       EMAIL THAT MS. KRATZMANN RECEIVED.

09:06AM    4             MY THOUGHT IS TO -- AND THIS REGARDS THE ABILITY OF A

09:07AM    5       JUROR, A SITTING JUROR, AND MY THOUGHT IS TO -- WELL, FIRST OF

09:07AM    6       ALL, LET ME SUGGEST TO COUNSEL, I WANT TO ADDRESS THIS BEFORE

09:07AM    7       WE BEGIN ANY EVIDENCE THIS MORNING, AND WHAT I THOUGHT I WOULD

09:07AM    8       DO IS INVITE THE JUROR IN.

09:07AM    9             IF YOUR TEAM WANTS TO IDENTIFY ONE LAWYER, WE'LL GO IN

09:07AM   10       CHAMBERS AND SPEAK WITH THIS JUROR ABOUT THIS ISSUE ON THE

09:07AM   11       RECORD.

09:07AM   12                   MR. DOWNEY:    THAT'S FINE WITH US, YOUR HONOR.

09:07AM   13                   MR. SCHENK:    YES, YOUR HONOR.

09:07AM   14                   THE COURT:    ALL RIGHT.    THANK YOU.    WE'LL TAKE OUR

09:07AM   15       BREAK THEN BEFORE WE BEGIN EVIDENCE AND MS. KRATZMANN WILL

09:07AM   16       CONTACT YOU WHEN WE CAN BEGIN THAT.

09:07AM   17             MR. LEACH.

09:07AM   18                   MR. LEACH:    YOUR HONOR, ONE OTHER MATTER WITH

09:07AM   19       RESPECT TO 167, AND I'M SORRY TO RAISE THIS NOW.

09:07AM   20                   THE COURT:    YES.   NO, NO.

09:07AM   21                   MR. LEACH:    I WAS CONVERSING WITH OUR TEAM, AND I

09:07AM   22       JUST WANT TO MAKE SURE THAT I UNDERSTAND THE COURT'S RULING.

09:07AM   23             WE WILL OFFER PAGE 1 WITH THE REDACTION INTO EVIDENCE, BUT

09:07AM   24       WE MAY STILL DISPLAY AS A DEMONSTRATIVE THE REMAINDER OF THE

09:07AM   25       DOCUMENT.



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09:07AM    1                   THE COURT:    THAT'S CORRECT.

09:08AM    2                   MR. LEACH:    AND IS IT NECESSARY TO REDACT THE

09:08AM    3       EXCESSIVELY PUSHY LANGUAGE AS TO THE DEMONSTRATIVE PORTION?

09:08AM    4                   THE COURT:    NO, NO.   I'M LETTING THAT IN.      HE CAN

09:08AM    5       TALK ABOUT THAT.

09:08AM    6                   MR. LEACH:    OKAY.

09:08AM    7                   THE COURT:    HIS OBSERVATIONS -- "HIS" MR. WEBER'S --

09:08AM    8       OBSERVATIONS, THEY'RE HIS PERSONAL OBSERVATIONS, AND YOU CAN

09:08AM    9       CERTAINLY CROSS-EXAMINE HIM ON HIS FEELINGS ABOUT -- I VIEW

09:08AM   10       THIS AS THE SAME AS SOMEBODY TESTIFYING ABOUT THEIR -- WHICH A

09:08AM   11       WITNESS CAN DO WHEN THEY TALK TO SOMEONE -- DID THEY APPEAR

09:08AM   12       NERVOUS?   DID THEY APPEAR CALM?      WERE THEY EXCITED?

09:08AM   13                   MR. CLINE:    WELL, YOUR HONOR, IT KIND OF DEFEATS THE

09:08AM   14       PURPOSE IF THE JURY IS SHOWN THE LANGUAGE AND THEN THE ADMITTED

09:08AM   15       DOCUMENT HAS THAT LANGUAGE REDACTED, THE JURY IS GOING TO KNOW

09:08AM   16       WHAT IS UNDER THE REDACTION AND THEY'RE GOING TO -- IF

09:08AM   17       ANYTHING, IT WILL HEIGHTEN THE IMPORTANCE OF IT.          SO I WOULD

09:08AM   18       ASK --

09:08AM   19                   THE COURT:    OH, NO, I'M SORRY.

09:08AM   20             YOU'RE TALKING ABOUT THE BALANCE OF THE REPORT.         THAT'S

09:09AM   21       WHAT I THOUGHT YOU WERE TALKING ABOUT, MR. LEACH.

09:09AM   22                   MR. LEACH:    YES.

09:09AM   23                   THE COURT:    NOT PAGE 1.    PAGE 1 WILL BE ADMITTED

09:09AM   24       WITH THE REDACTIONS.     IT WON'T BE SHOWN WITH THE REDACTIONS.

09:09AM   25             THE BALANCE OF THE EXHIBIT THAT IS GOING TO BE A



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09:09AM    1       DEMONSTRATIVE WILL HAVE THAT SAME LANGUAGE IN IT?

09:09AM    2                   MR. CLINE:    THE SAME LANGUAGE IT CONTAINS NOW?

09:09AM    3                   THE COURT:    CORRECT.

09:09AM    4                   MR. CLINE:    SO THE DEMONSTRATIVE THAT HE'S GOING TO

09:09AM    5       PUT UP WILL NOT HAVE AN UNREDACTED PAGE 1 ON IT, IT WILL BE THE

09:09AM    6       REMAINING PAGES OF THE EXHIBIT.

09:09AM    7                   THE COURT:    THE REMAINING PAGES WILL NOT BE

09:09AM    8       REDACTED.

09:09AM    9                   MR. CLINE:    UNDERSTOOD.

09:09AM   10             BUT HERE'S WHAT I UNDERSTOOD MR. LEACH TO BE SAYING AND

09:09AM   11       WHAT I WANT TO MAKE SURE DOESN'T HAPPEN.         PAGE 1 IS GOING TO

09:09AM   12       COME IN WITH THAT REDACTION.

09:09AM   13                   THE COURT:    CORRECT.

09:09AM   14                   MR. CLINE:    MR. LEACH WILL BE PERMITTED TO PUT UP A

09:09AM   15       DEMONSTRATIVE.    THE DEMONSTRATIVE WILL NOT INCLUDE AN

09:09AM   16       UNREDACTED PAGE 1.

09:09AM   17                   THE COURT:    THAT'S CORRECT.

09:09AM   18                   MR. CLINE:    ALL RIGHT.

09:09AM   19                   MR. LEACH:    I UNDERSTAND, YOUR HONOR.

09:09AM   20                   THE COURT:    IT'S PAGE 2 ON, WHATEVER THEY ARE --

09:09AM   21                   MR. CLINE:    YES.

09:09AM   22                   MR. LEACH:    MAY BE DISPLAYED UNREDACTED?

09:09AM   23                   THE COURT:    YES.

09:09AM   24                   MR. LEACH:    BUT NOT COMING INTO EVIDENCE?

09:09AM   25                   THE COURT:    RIGHT.



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09:09AM    1                   MR. CLINE:    THANK YOU.

09:10AM    2                   THE COURT:    GREAT.

09:10AM    3                   THE CLERK:    COURT IS IN RECESS.

09:10AM    4              (RECESS FROM 9:10 A.M. UNTIL 9:24 A.M.)

09:39AM    5              (THE FOLLOWING PROCEEDINGS WERE HELD IN CHAMBERS.)

09:39AM    6                   THE COURT:    GOOD MORNING.

09:39AM    7                   JUROR:   GOOD MORNING.

09:39AM    8                   THE COURT:    WE ARE ON THE RECORD.      WE ARE IN MY

09:39AM    9       CHAMBERS WITH JUROR NUMBER 5.

09:39AM   10              ALSO PRESENT ARE MR. DOWNEY, MR. SCHENK, AND MY LAW CLERK

09:39AM   11       STAFF, AND OUR COURTROOM DEPUTY.

09:39AM   12              I WANTED TO HAVE THIS CONVERSATION WITH YOU, JUROR

09:39AM   13       NUMBER 5.    I'M GOING TO ADDRESS YOU AS JUROR NUMBER 5.

09:39AM   14              LET ME ASK YOU YOUR COMFORT ABOUT KEEPING YOUR MASK ON OR

09:39AM   15       OFF.    WHAT WOULD YOU LIKE?

09:39AM   16                   JUROR:   I DON'T REALLY HAVE A PREFERENCE.

09:39AM   17                   THE COURT:    OKAY.    SHALL WE KEEP THEM ON THEN?      IS

09:39AM   18       THAT WHAT YOU WOULD LIKE TO DO?

09:39AM   19                   JUROR:   SURE.

09:39AM   20                   THE COURT:    I CALLED YOU BACK HERE BECAUSE IT'S COME

09:39AM   21       TO MY ATTENTION THAT DURING THE TESTIMONY OF OUR CASE JUST

09:39AM   22       RECENTLY, THAT I THOUGHT I MAY HAVE OBSERVED, AND IT'S COME TO

09:39AM   23       MY ATTENTION, THAT YOU MAY HAVE BEEN ENGAGED IN SOMETHING ELSE

09:39AM   24       OTHER THAN LISTENING TO THE TESTIMONY.

09:39AM   25              LET ME BE SPECIFIC.    I THINK IT WAS SUDOKU OR ONE OF THOSE



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09:39AM    1       NUMBER GAMES.

09:39AM    2                   JUROR:   UH-HUH.

09:39AM    3                   THE COURT:    AND I NEED TO ASK YOU ABOUT THAT, IF YOU

09:39AM    4       WERE, IN FACT, ENGAGED IN THAT.

09:39AM    5             AND I THINK YOU CAN APPRECIATE THE REASON WHY.         I NEED TO

09:39AM    6       KNOW WHETHER OR NOT YOU WERE FOCUSSED ON THE TRIAL AT HAND,

09:39AM    7       DISTRACTED, MISSED SOME TESTIMONY, AND THAT'S WHY I CALLED YOU

09:39AM    8       IN TO TALK TO YOU ABOUT THAT HERE.        I DIDN'T WANT TO DO THIS IN

09:39AM    9       FRONT OF YOUR COLLEAGUE JURORS, NOR IN THE PUBLIC SETTING,

09:39AM   10       ALTHOUGH THIS TRANSCRIPT IS GOING TO BE A PUBLIC TRANSCRIPT.

09:39AM   11             SO I JUST WANTED TO ASK YOU QUESTIONS ABOUT THAT, PLEASE.

09:39AM   12                   JUROR:   SURE.   YEAH.    I DEFINITELY HAVEN'T MISSED

09:39AM   13       ANY TESTIMONY AT ALL, YEAH.

09:39AM   14                   THE COURT:    OKAY.   WERE YOU -- WERE YOU -- AM I

09:39AM   15       CORRECT, WERE YOU PLAYING THIS SUDOKU?

09:39AM   16                   JUROR:   I DO HAVE SUDOKU, BUT IT DOESN'T INTERFERE

09:39AM   17       WITH ME LISTENING.     I'M VERY FIDGETY, SO I NEED TO DO SOMETHING

09:39AM   18       WITH MY HANDS.    SO AT HOME I'LL CROCHET WHILE I'M WATCHING OR

09:39AM   19       LISTENING TO T.V.

09:39AM   20             OTHER THAN THAT, NO.

09:39AM   21                   THE COURT:    SO WERE YOU PLAYING THE GAME WHILE

09:39AM   22       TESTIMONY WAS -- OR I DON'T KNOW IF THAT'S THE RIGHT TERM,

09:39AM   23       PLAYING THE SUDOKU OR FILLING OUT THE FORM -- WERE YOU ENGAGED

09:39AM   24       IN THAT WHILE TESTIMONY WAS GOING ON?

09:39AM   25                   JUROR:   I DO DO IT INTERMITTENTLY THROUGH THE



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09:39AM    1       TESTIMONY, BUT I'M FULLY ENGAGED.

09:39AM    2                   THE COURT:     OKAY.    CAN YOU TELL ME HOW OFTEN YOU'VE

09:39AM    3       DONE THAT, AND CAN YOU TELL ME WHEN YOU'VE DONE THAT?

09:39AM    4                   JUROR:   NOT TOO OFTEN.     SO I JUST HAVE IT THERE TO

09:39AM    5       HELP ME FIDGET BECAUSE I DON'T KNOW IF YOU NOTICE, I MOVE A LOT

09:39AM    6       IN THE SEAT, TOO.     I HAVE A HARD TIME SITTING STILL.

09:39AM    7                   THE COURT:     RIGHT.   SO WHEN YOU'RE DOING THE GAME,

09:39AM    8       IT'S A -- YOU KNOW, YOU'RE FILLING OUT THAT GAME, HAVE YOU DONE

09:39AM    9       THAT EVERY DAY OF THE TRIAL?

09:39AM   10                   JUROR:   NO.

09:39AM   11                   THE COURT:     CAN YOU GIVE ME AN IDEA OF WHEN YOU'VE

09:39AM   12       DONE THAT AND HOW OFTEN, HOW LONG YOU DO IT DURING TESTIMONY?

09:39AM   13                   JUROR:   PROBABLY -- MAYBE LIKE ONE GAME A TIME,

09:39AM   14       MAYBE.

09:39AM   15                   THE COURT:     OKAY.    OKAY.

09:39AM   16                   JUROR:   IF THAT DOESN'T -- I DON'T USUALLY FINISH

09:39AM   17       THEM, SO --

09:39AM   18                   THE COURT:     I SEE.   AND IT LOOKS LIKE YOU TAKE --

09:39AM   19       YOU HAVE THE GAME PAPER, THE BOOK OUT THERE IN YOUR BINDER AND

09:39AM   20       YOU'RE FILLING IT OUT THEN.

09:39AM   21                   JUROR:   YEAH, I HAVE THAT.      I HAVE IT ALONG WITH MY

09:39AM   22       NOTEBOOK.

09:39AM   23                   THE COURT:     RIGHT.   RIGHT.

09:39AM   24                   JUROR:   SO IF I LOOK AT IT AND I SEE IT A NUMBER, I

09:39AM   25       WRITE IT DOWN AND THEN I WRITE DOWN THE TESTIMONY.



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09:39AM    1                    THE COURT:     SO HAS THIS DISTRACTED YOU FROM

09:39AM    2       LISTENING?

09:39AM    3                    JUROR:   NO.

09:39AM    4                    THE COURT:     HAVE YOU BEEN ABLE TO FOLLOW AND RETAIN

09:39AM    5       EVERYTHING THAT IS GOING ON IN THE COURTROOM?

09:39AM    6                    JUROR:   OH, YEAH, DEFINITELY.

09:39AM    7                    THE COURT:     DO YOU HAVE ANY DOUBT ABOUT THAT?

09:39AM    8                    JUROR:   NO.

09:39AM    9                    THE COURT:     WHAT -- IF I ASKED YOU TO STOP DOING

09:39AM   10       THIS, IS THAT SOMETHING THAT YOU CAN DO?

09:39AM   11                    JUROR:   YEAH, THAT'S NOT A PROBLEM.

09:39AM   12                    THE COURT:     WILL THAT AFFECT -- IF YOU DON'T PLAY

09:39AM   13       THIS WHILE YOU'RE SITTING AS A JUROR, WILL THAT AFFECT YOUR

09:39AM   14       ABILITY TO CONTINUE TO LISTEN AND ABSORB THE INFORMATION?

09:39AM   15                    JUROR:   NO.

09:39AM   16                    THE COURT:     YOU, YOU -- EXCUSE ME.    YOU SAID YOU GET

09:39AM   17       FIDGETY, AND I KNOW SITTING A LONG TIME IS PROBABLY SOMETHING

09:39AM   18       YOU DON'T DO AT WORK.

09:39AM   19                    JUROR:   YEAH, I MOVE AROUND A LOT AT WORK.

09:39AM   20                    THE COURT:     RIGHT.   AND ONE THING THAT MIGHT BE

09:39AM   21       HELPFUL AND I MAY SUGGEST TO THE JURY, IF THAT BECOMES AN

09:39AM   22       ISSUE, THEN LET ME KNOW AND WE'LL TAKE A STANDING BREAK.           I TRY

09:39AM   23       TO DO THAT WHEN WE HAVE TRANSITIONS BECAUSE I KNOW IT'S TEDIOUS

09:39AM   24       SITTING.

09:39AM   25             BUT LET ME GET BACK TO THIS.       JUROR NUMBER 5, I'M JUST



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09:39AM    1       GOING TO BE VERY CANDID WITH YOU.       I DO HAVE VERY SERIOUS

09:39AM    2       CONCERNS WHEN I HEAR AND SEE THAT SOMEONE IS ENGAGED IN

09:39AM    3       SOMETHING ELSE OTHER THAN GIVING THEIR FULL ATTENTION TO THE

09:39AM    4       EVIDENCE IN THE CASE.      IT CAUSES ME GREAT CONCERN AS TO WHETHER

09:39AM    5       OR NOT THAT PERSON, YOU, CAN STILL SERVE AS A JUROR BECAUSE

09:39AM    6       YOU'VE ABSORBED EVERYTHING, YOU'VE LISTENED TO EVERYTHING, SUCH

09:39AM    7       THAT YOU CAN SHARE YOUR OPINIONS WITH YOUR FELLOW JURORS WHEN

09:39AM    8       YOU GO INTO A DELIBERATION ROOM.       THAT'S WHAT A JUROR MUST DO.

09:39AM    9                   JUROR:   UH-HUH.

09:39AM   10                   THE COURT:    AND IT'S UNFAIR TO BOTH SIDES IF A JUROR

09:39AM   11       WERE TO GO IN AND SAY, OH, GOSH, I GUESS I DIDN'T HEAR THAT

09:39AM   12       BECAUSE I WAS DISTRACTED DOING SOMETHING ELSE.

09:39AM   13                   JUROR:   NO, I TOTALLY UNDERSTAND YOUR CONCERNS.

09:39AM   14                   THE COURT:    YEAH.   RIGHT.   SO WHAT DO YOU THINK

09:39AM   15       ABOUT THAT?

09:39AM   16                   JUROR:   I DON'T FEEL IT HAS AFFECTED ME AT ALL.            I'M

09:39AM   17       VERY GOOD AT RETAINING INFORMATION.

09:39AM   18             SO I DEFINITELY HEARD EVERYTHING THAT HAS BEEN SAID, THE

09:39AM   19       EVIDENCE THAT HAS BEEN PRESENTED, THE QUESTIONS THAT HAVE BEEN

09:39AM   20       ASKED IN REGARDS TO THE EVIDENCE AND THE ANSWERS.          SO I'M

09:39AM   21       REALLY -- I DON'T HAVE ANY --

09:39AM   22                   THE COURT:    OKAY.   LET ME JUST SAY, I HAVE -- I

09:39AM   23       WATCH, I TRY TO WATCH EVERYTHING AND I DO PAY ATTENTION TO THE

09:39AM   24       JURORS, AND I'VE SEEN AND WATCHED YOU AND SEEN YOU IN THE CHAIR

09:39AM   25       AS WE MOVE AROUND AND WE MOVE THE JURORS AROUND BECAUSE I WANT



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09:39AM    1       THE JURORS TO HAVE A FULL EXPERIENCE.        IT'S UNUSUAL THE WAY OUR

09:39AM    2       SEATING IS.

09:39AM    3                   JUROR:   YEAH.

09:39AM    4                   THE COURT:    BUT I DON'T WANT SOME JURORS TO BE STUCK

09:39AM    5       OUT IN THE OUTSIDE OF THE WELL.       I WANT TO ROTATE EVERYBODY SO

09:39AM    6       THAT THEY CAN OBSERVE EVERYTHING IN THE SAME WAY.

09:39AM    7             BUT I HAVE WATCHED YOU AND I HAVE NOTICED THAT YOU

09:39AM    8       SOMETIMES TURN YOUR CHAIR.      I'VE NOTICED THAT YOU TAKE NOTES.

09:39AM    9       I'M NOT GOING TO ASK YOU TO TELL ME ANYTHING ABOUT ANYTHING

09:39AM   10       YOU'VE HEARD OR YOUR THOUGHTS OR ANYTHING, I DO -- I HAVE

09:39AM   11       NOTICED THAT YOU'RE TAKING NOTES.

09:39AM   12             I'VE NOTICED THAT -- AND THIS IS THE SAME OF ALL JURORS --

09:39AM   13       THERE ARE TIMES WHEN I THINK WE ALL GET TIRED.          THE LAWYERS GET

09:39AM   14       TIRED, THE COURT GETS TIRED.       THE ONLY ONE THAT IS NOT TIRED IS

09:39AM   15       THE COURT REPORTER.      SHE HAS ENERGY LIKE CRAZY.

09:39AM   16             EVERYONE ELSE GETS A LITTLE FATIGUED, I UNDERSTAND THAT.

09:39AM   17       AND WE ALL HAVE OUR MECHANISMS OF FIGHTING THAT OFF, AND

09:39AM   18       HOPEFULLY THE BREAKS WILL DO THAT.

09:39AM   19             IS THIS SOMETHING THAT -- IS THERE SOMETHING THAT I CAN DO

09:39AM   20       TO HELP YOU WITH THIS?       I KNOW YOU USED THE TERM "FIDGETY," YOU

09:39AM   21       GET FIDGETY AND NERVOUS.      IS THERE SOMETHING --

09:39AM   22                   JUROR:   NOT PARTICULARLY NERVOUS.       I'M FIDGETY AT

09:39AM   23       WORK AND VERY ACTIVE AND I'M WORKING BACK AND FORTH AND I'M

09:39AM   24       DOING THINGS, TEN THINGS AT ONE TIME.

09:39AM   25             AND JUST SITTING DOWN AND DOING THAT ONE THING AND HAVING



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09:39AM    1       TO LISTEN, IT IS HARD FOR ME TO NOT MOVE AROUND.

09:39AM    2                    THE COURT:    OKAY.

09:39AM    3                    JUROR:   SO I'M ROCKING AND TAPPING MY TOES AND

09:39AM    4       MOVING MY FINGERS AND CRACKING MY HANDS A LOT BECAUSE I DON'T

09:39AM    5       KNOW WHAT TO DO WHEN I'M NOT DOING ALL OF THESE THINGS.

09:39AM    6                    THE COURT:    NO, I'VE SEEN YOU MOVE YOUR CHAIR.

09:39AM    7                    JUROR:   I GO BACK AND FORTH.

09:39AM    8                    THE COURT:    YOU ORIENT YOURSELF NORTH, WEST, SOUTH,

09:39AM    9       EAST, WEST.    I NOTICED THAT, AND THAT'S A SIGNAL TO ME SAYING,

09:39AM   10       GEE, I WOULD LIKE TO TAKE A BREAK, A STANDING BREAK AND THOSE

09:39AM   11       TYPES OF THINGS.

09:39AM   12             AGAIN, I'M JUST CONCERNS ABOUT WHETHER YOU'VE MISSED

09:39AM   13       SOMETHING.

09:39AM   14             AND WHEN YOU PLAY THE GAME, ARE YOU FOCUSSED ENTIRELY ON

09:39AM   15       THE GAME SUCH THAT EVERYTHING IS BLOCKED OUT?

09:39AM   16                    JUROR:   OH, NO, NO.

09:39AM   17                    THE COURT:    WHEN YOU PLAY THE GAME, ARE YOU ABLE TO

09:39AM   18       LISTEN AND --

09:39AM   19                    JUROR:   OH, YEAH.    LIKE I SAID, I DID HEAR

09:39AM   20       EVERYTHING AND I'M TAKING EVERYTHING IN AND I'M WRITING NOTES

09:39AM   21       ON THE SIDE.

09:39AM   22                    THE COURT:    SOME PEOPLE DOODLE I'M TOLD.

09:39AM   23                    JUROR:   YEAH, I DOODLE, TOO, YEAH.      AND, AGAIN, IT'S

09:39AM   24       TRYING TO KEEP MY HANDS BUSY BECAUSE MOST OF IS IT LIKE

09:39AM   25       SCRIBBLING THROUGHOUT THE PAGE.



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09:39AM    1                     THE COURT:     DOES THAT INTERFERE WITH YOUR ABILITY TO

09:39AM    2       PAY ATTENTION OR PAY ATTENTION?

09:39AM    3                     JUROR:   NO.

09:39AM    4                     THE COURT:     LET ME ASK, JUROR NUMBER 5, DO YOU HAVE

09:39AM    5       ANY DOUBT THAT YOU COULD CONTINUE TO BE A JUROR IN THIS CASE

09:39AM    6       AND PAY ATTENTION AND FOCUS ON THE EVIDENCE AT HAND?           ANY DOUBT

09:39AM    7       ABOUT YOUR ABILITY TO DO THAT?

09:39AM    8                     JUROR:   NO, NO DOUBT.

09:39AM    9                     THE COURT:     DO YOU FEEL THAT BECAUSE OF YOUR PLAYING

09:39AM   10       THE GAME -- AND HOW MANY TIMES WAS IT?            DID YOU TELL US?

09:39AM   11                     JUROR:   I SAID MAYBE ONE GAME AT A TIME.

09:39AM   12                     THE COURT:     HOW MANY DAYS?

09:39AM   13                     JUROR:   MAYBE SEVEN TO TEN DAYS OVER THE COURSE.

09:39AM   14                     THE COURT:     OKAY.   DO YOU THINK IN ANY OF THOSE

09:39AM   15       TIMES THAT YOU PLAYED THAT GAME -- AND HOW LONG DID YOU DO

09:39AM   16       THAT?   HOW LONG WERE YOU PLAYING IT WHEN YOU PLAYED IT?             WAS IT

09:39AM   17       FOR HOURS?     IS IT FOR MINUTES?

09:39AM   18                     JUROR:   USUALLY JUST MINUTES.

09:39AM   19                     THE COURT:     OKAY.   DO YOU FEEL THAT YOU'VE LOST

09:39AM   20       ANYTHING, THAT IS, MISSED ANY PIECE OF EVIDENCE AT ALL?

09:39AM   21                     JUROR:   NO.    NO.

09:39AM   22                     THE COURT:     OKAY.   ALL RIGHT.    I'M GOING TO ASK

09:39AM   23       THESE LAWYERS IF THEY HAVE ANY QUESTIONS FOR YOU.

09:39AM   24             OKAY?

09:39AM   25                     JUROR:   YES.



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09:39AM    1                   THE COURT:      MR. SCHENK?

09:39AM    2                   MR. SCHENK:     NOTHING FOR ME.

09:39AM    3                   MR. DOWNEY:     I DON'T HAVE ANYTHING.       THANK YOU.

09:39AM    4                   THE COURT:      ALL RIGHT.    ANY QUESTIONS FOR ME?

09:39AM    5                   JUROR:    NO.

09:39AM    6                   THE COURT:      OKAY.   AS I SAID, THE TRANSCRIPT IS

09:39AM    7       GOING TO BE PUBLIC.      I'M NOT GOING TO DISCUSS THIS WITH YOUR

09:39AM    8       FELLOW JURORS, AND YOU DON'T HAVE TO EITHER.            YOU CAN KEEP

09:39AM    9       PRIVATE WHAT WE'VE TALKED ABOUT HERE.

09:39AM   10                   JUROR:    ALL RIGHT.

09:39AM   11                   THE COURT:      THANK YOU VERY MUCH.       THANK YOU FOR YOUR

09:39AM   12       TIME.   I APPRECIATE IT.

09:39AM   13                   JUROR:    YOU'RE WELCOME.

09:39AM   14             (PROCEEDINGS HELD OUT OF THE PRESENCE OF JUROR NUMBER 5.)

09:39AM   15                   THE COURT:      ALL RIGHT.    THE RECORD SHOULD REFLECT

09:39AM   16       JUROR NUMBER 5 HAS LEFT CHAMBERS.         COUNSEL REMAIN.

09:39AM   17             ANY COMMENTS?    MR. SCHENK?       MR. DOWNEY?

09:39AM   18                   MR. SCHENK:     I THINK I WOULD LIKE TO SPEND A LITTLE

09:39AM   19       BIT OF TIME REFLECTING ON IT.        THE AMOUNT OF DAYS SEEMED LIKE A

09:39AM   20       HIGH NUMBER.    SEVEN TO TEN DAYS IS SEVERAL WEEKS OF THE TRIAL,

09:39AM   21       BUT THEN THE AMOUNT OF TIME EACH DAY SEEMED SMALL, AND SHE

09:39AM   22       CERTAINLY UNEQUIVOCALLY SAID SHE HAS CAPTURED THE TESTIMONY.

09:39AM   23       IT'S SOMETHING TO DISTRACT HER HANDS, BUT NOT HER MIND.

09:39AM   24             SO THERE'S A LITTLE BIT OF REFLECTING ON THE -- I DON'T

09:39AM   25       KNOW THAT I WOULD CALL IT TENSION BETWEEN THOSE POINTS, BUT



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09:39AM    1       SOME THINGS RAISED CONCERNS AND SOME THINGS GAVE ME COMFORT,

09:39AM    2       AND I THINK I WOULD LIKE TO TALK TO MY TEAM AND JUST ALSO

09:39AM    3       REFLECT ON IT, IF THAT'S OKAY.

09:39AM    4                   THE COURT:    MR. DOWNEY?

09:39AM    5                   MR. DOWNEY:    YOUR HONOR, I ACTUALLY HAVE TO REQUEST

09:39AM    6       FOR A DISMISSAL.     SHE'S BEEN PLAYING A GAME WHICH IS, YOU KNOW,

09:39AM    7       AT A LEVEL OF DISTRACTION IT'S DIFFICULT FOR US TO MEASURE

09:39AM    8       BASED ON HER OWN COMMENTS.

09:39AM    9             WE DO KNOW THAT IT WAS SUFFICIENTLY NOTICEABLE TO ANOTHER

09:39AM   10       JUROR TO BRING IT TO OUR ATTENTION.

09:39AM   11             I THINK IT'S DIFFICULT FOR HER TO EVALUATE WHETHER SHE HAS

09:39AM   12       MISSED TESTIMONY OR EVIDENCE.       SHE KNOWS SHE'S HEARD WHAT SHE

09:39AM   13       HAS HEARD AND SHE KNOWS, OF COURSE, THAT SHE HAS MADE EVERY

09:39AM   14       EFFORT TO PAY ATTENTION.

09:39AM   15             BUT THAT'S, FRANKLY, IMPOSSIBLE FOR US TO EVALUATE.          SO TO

09:39AM   16       MY MIND IT FALLS IN THE SAME CATEGORY AS THE SLEEPING OR DOZING

09:39AM   17       OFF JUROR A LITTLE BIT, SO I HAVE TO REQUEST HER DISMISSAL.

09:39AM   18                   THE COURT:    MR. SCHENK?

09:39AM   19                   MR. SCHENK:    THE -- MY REVIEW LAST TIME WHEN WE HAD

09:39AM   20       A SIMILAR DISCUSSION OF THE CASES INVOLVING SLEEPING JURORS IS

09:39AM   21       WE DO NOT AUTOMATICALLY DISMISS THEM.        THERE'S INQUIRY INTO THE

09:39AM   22       AMOUNT OF TESTIMONY THAT THEY MISSED OR THE AMOUNT OF TIME THAT

09:39AM   23       THEY WERE SLEEPING, AND THE QUESTIONS THAT YOUR HONOR ASKED AND

09:39AM   24       THE RESPONSES THAT THEY ELICITED DIDN'T RAISE ANY OBVIOUS

09:39AM   25       CONCERNS REGARDING CHUNKS OF TESTIMONY THAT SHE MISSED.



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09:39AM    1             BUT I SUPPOSE I GO BACK TO WHERE I STARTED, AND THAT IS IF

09:39AM    2       IT WOULD BE OKAY WITH THE COURT, I WOULD JUST LIKE TO REFLECT

09:39AM    3       ON IT FOR A LITTLE WHILE.      I DON'T KNOW THAT I'M IN A POSITION

09:39AM    4       NOW TO AGREE TO THE REQUEST TO DISMISS THE JUROR.

09:39AM    5             I DON'T THINK THE RECORD IS SUFFICIENT TO SAY IT'S OBVIOUS

09:39AM    6       THAT SHE MUST GO BASED ON AN EXPRESSION OF CHUNKS OF TESTIMONY

09:39AM    7       THAT WERE MISSED.

09:39AM    8             BUT, LOOK, I ACKNOWLEDGE WHAT MR. DOWNEY SAID AND THAT

09:39AM    9       IT'S VERY DIFFICULT TO KNOW EXACTLY HOW MUCH SHE MISSED, AND

09:39AM   10       WHEN SHE SAYS SHE WAS PLAYING THE GAME SEVEN TO TEN DAYS, I

09:39AM   11       HAVEN'T COUNTED, BUT MAYBE THAT'S HALF OF THE TRIAL DAYS.

09:39AM   12                   THE COURT:    ALL RIGHT.    THANK YOU.

09:39AM   13             WELL, THAT'S A CONCERN THAT I HAVE.        SHE WAS VERY OPEN

09:39AM   14       ABOUT THE FACT THAT APPARENTLY THIS IS SOMETHING THAT SHE DOES

09:39AM   15       TO TAKE CARE OF HER FIDGETINESS, I THINK SHE SAID, BUT SHE TOLD

09:39AM   16       US THAT IT DOESN'T IMPACT HER ABILITY TO -- AT WORK, FOR

09:39AM   17       EXAMPLE.

09:39AM   18             AND THIS IS A DIFFERENT TYPE OF WORK.        BEING A JUROR IS A

09:39AM   19       DIFFERENT TYPE OF WORK AS WE KNOW.

09:39AM   20             INITIALLY I DID HAVE CONCERNS WHEN SHE TOLD US ABOUT

09:39AM   21       PLAYING THE GAME JUST A MINUTE OR TWO, AND I CAN UNDERSTAND

09:39AM   22       THAT.   IT'S VERY AKIN TO SOMEBODY DOODLING OR SOMETHING LIKE

09:39AM   23       THAT.

09:39AM   24             BUT I AGREE, WHEN SHE MENTIONED THE SEVEN TO TEN DAYS,

09:39AM   25       JUST THE ACCUMULATION OF THE TIME THERE -- AND I DON'T KNOW WHO



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09:39AM    1       THE WITNESS WAS, WHO WAS -- WAS IT, YOU KNOW, WAS IT YOUR

09:39AM    2       DIRECT OR YOUR CROSS, YOU KNOW, THAT CAUSES ME SOME CONCERN

09:39AM    3       ABOUT HOW DO WE PARSE THAT OUT AND HOW DO YOU ASK SOMEBODY TO,

09:39AM    4       YOU KNOW, TELL ME WHAT YOU'VE MISSED IN THE EVIDENCE, YOU KNOW.

09:39AM    5       WE CAN'T GET THAT FROM HER.

09:39AM    6             I DO HAVE SOME CONCERNS.      BUT, MR. SCHENK -- AND IF I'M

09:39AM    7       GOING TO EXCUSE THIS JUROR, I'D LIKE TO DO IT BEFORE WE START

09:39AM    8       TODAY'S TESTIMONY, JUST TO GET IT DONE AND MOVE ON.

09:39AM    9             SO WHY DON'T -- MR. SCHENK, I CAN YOU GIVE SOME TIME TO

09:39AM   10       MEET, AND THEN MAY I CALL YOU BOTH BACK HERE IN ABOUT TEN

09:39AM   11       MINUTES?   IS THAT FINE?

09:39AM   12                   MR. DOWNEY:     THAT'S FINE, YOUR HONOR.

09:39AM   13                   THE COURT:    GREAT.   WHY DON'T YOU DISCUSS WITH YOUR

09:39AM   14       TEAMS.   I'LL BE HERE.     YOU CAN LET MS. KRATZMANN KNOW WHEN YOU

09:39AM   15       WANT TO COME BACK.

09:39AM   16                   MR. SCHENK:     THANK YOU, YOUR HONOR.

09:39AM   17                   THE COURT:    AND WE'LL FINISH THIS UP.

09:39AM   18             GREAT.   THANK YOU.    WE'RE OFF THE RECORD.      THANK YOU.

09:39AM   19             (RECESS FROM 9:39 A.M. UNTIL 9:54 A.M.)

09:54AM   20                   THE COURT:    WE'RE BACK ON THE RECORD.      BOTH COUNSEL

09:54AM   21       ARE PRESENT.    JUROR NUMBER 5 IS NOT PRESENT.       COURT STAFF IS

09:54AM   22       PRESENT ALSO.

09:54AM   23             COUNSEL, YOU'VE HAD AN OPPORTUNITY TO TALK WITH YOUR

09:54AM   24       TEAMS.

09:54AM   25             MR. SCHENK?



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09:54AM    1                    MR. SCHENK:   THANK YOU VERY MUCH, YOUR HONOR, FOR

09:54AM    2       GIVING US THAT TIME.

09:54AM    3             THE GOVERNMENT IS NOT GOING TO OPPOSE THE DEFENSE REQUEST

09:54AM    4       TO EXCUSE THIS JUROR.

09:54AM    5             I THINK THERE'S A LITTLE BIT OF UNCERTAINTY THE EXACT

09:54AM    6       AMOUNT OF TIME THAT SHE WAS DISTRACTED.         SHE SAID SEVEN TO TEN

09:54AM    7       DAYS SHE WAS PLAYING THE PUZZLES, AND SHE SAID A MINUTE OR TWO.

09:54AM    8       SO I DON'T KNOW IF THAT MEANS SEVEN TO TEN TOTAL MINUTES.

09:54AM    9             I DON'T THINK THAT'S PROBABLY ACCURATE.        I THINK THE

09:54AM   10       DISTRACTION WAS PROBABLY LONGER THAN THAT.

09:54AM   11             SO ONE OPTION WOULD BE TO ASK FURTHER QUESTIONS ON THE

09:54AM   12       TOTAL AMOUNT OF TIME OF DISTRACTION, BUT I DON'T THINK THAT'S

09:54AM   13       NECESSARY.

09:54AM   14             I APPRECIATE THE POINTS THAT MR. DOWNEY MADE AND THAT THE

09:54AM   15       COURT DEVELOPED THROUGH ITS QUESTIONING, AND THE GOVERNMENT IS

09:54AM   16       FINE WITH NOT OPPOSING THE REQUEST FROM THE DEFENSE.

09:54AM   17                    THE COURT:    OKAY.   THANK YOU.

09:54AM   18             MR. DOWNEY, ANYTHING?

09:54AM   19                    MR. DOWNEY:   I THINK, YOUR HONOR, I'VE SAID MY

09:54AM   20       PIECE.   IT'S A CONCERN FOR US, AND I APPRECIATE THE COURT'S

09:54AM   21       CONDUCTING THE QUESTIONING.

09:54AM   22                    THE COURT:    ALL RIGHT.   THANK YOU.

09:54AM   23             THEN, MS. KRATZMANN, I AM GOING TO EXCUSE IT'S JUROR

09:54AM   24       NUMBER 5.    WE'LL EXCUSE HER, AND WE WILL ADVANCE THEN OUR

09:54AM   25       ALTERNATE WHO IS ALTERNATE JUROR NUMBER 3, I BELIEVE, WILL



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09:54AM    1       REPLACE JUROR NUMBER 5.

09:54AM    2             AND IF YOU COULD THANK JUROR NUMBER 5 AND TELL HER THAT

09:54AM    3       SHE HAS BEEN EXCUSED.

09:54AM    4             WHEN WE COME OUT ON THE BENCH, I WILL INDICATE THAT JUROR

09:54AM    5       NUMBER 5 HAS BEEN EXCUSED, ALTERNATE NUMBER 3 HAS BEEN SEATED

09:54AM    6       TO REPLACE HER, AND THEN WE'LL PROCEED.

09:54AM    7             WE HAVE TWO ALTERNATES LEFT.

09:54AM    8             ALL RIGHT.    ANYTHING FURTHER, MR. SCHENK?

09:54AM    9                   MR. SCHENK:    NO.    THANK YOU.

09:54AM   10                   THE COURT:    MR. DOWNEY?

09:54AM   11                   MR. DOWNEY:    NO, YOUR HONOR.

09:54AM   12                   THE COURT:    ALL RIGHT.    THANK YOU.    WE'RE OFF THE

09:54AM   13       RECORD.

09:54AM   14             (PAUSE IN PROCEEDINGS.)

09:54AM   15             (PROCEEDINGS HELD IN OPEN COURT.)

10:01AM   16             (JURY IN AT 10:01 A.M.)

10:01AM   17                   THE COURT:    ALL RIGHT.    THANK YOU.    GOOD MORNING.

10:01AM   18       WE'RE BACK ON THE RECORD.        ALL COUNSEL ARE PRESENT.    MS. HOLMES

10:01AM   19       IS PRESENT.

10:01AM   20             OUR JURY IS PRESENT.

10:01AM   21             THANK YOU FOR YOUR PATIENCE, LADIES AND GENTLEMEN.

10:01AM   22             LET ME FIRST INDICATE THAT WE HAVE -- THE COURT HAS FOUND

10:01AM   23       GOOD CAUSE TO EXCUSE A JUROR, JUROR NUMBER 5, AND WE HAVE

10:01AM   24       ADVANCED THEN ALTERNATE JUROR NUMBER 3 TO JUROR NUMBER 5'S

10:01AM   25       POSITION.    THANK YOU VERY MUCH.



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10:01AM    1             AND ALTERNATE JUROR NUMBER 3 WILL NOW BE A MEMBER OF THE

10:01AM    2       SITTING JURY IN THIS MATTER.

10:01AM    3             BEFORE WE CALL ANY ADDITIONAL WITNESSES, LADIES AND

10:01AM    4       GENTLEMEN OF THE JURY, LET ME JUST ASK YOU MY QUESTION AGAIN.

10:01AM    5             DURING OUR BREAK, HAVE ANY OF YOU HAD OCCASION TO COME

10:01AM    6       ACROSS ANY INFORMATION, COMMUNICATION, DONE ANY RESEARCH, OR IN

10:02AM    7       ANY OTHER WAY LEARNED ANYTHING ABOUT THIS CASE OUTSIDE OF THIS

10:02AM    8       COURTROOM?

10:02AM    9             IF SO, PLEASE RAISE YOUR HANDS.

10:02AM   10             I SEE NO HANDS.

10:02AM   11             THANK YOU VERY MUCH.     AND THANK YOU FOR YOUR CONTINUED

10:02AM   12       VIGILANCE IN FOLLOWING MY ADMONITION.

10:02AM   13             I KNOW IT CAN BE DIFFICULT AND IT PROBABLY CHANGES YOUR

10:02AM   14       LIFESTYLES ABOUT WHEN A ROOMMATE OR FAMILY MIGHT TURN THE

10:02AM   15       TELEVISION ON OR TURN A RADIO ON OR LOOK AT A NEWSPAPER AND YOU

10:02AM   16       LEAVE THE ROOM TO AVOID THINGS, AND I APPRECIATE YOUR EFFORT.

10:02AM   17       WE ALL APPRECIATE YOUR EFFORTS IN THAT REGARD.          SO THANK YOU.

10:02AM   18             ALL RIGHT.    LET'S TURN TO THE GOVERNMENT.

10:02AM   19             IS THERE ANOTHER WITNESS THAT YOU WOULD LIKE TO CALL,

10:02AM   20       MR. LEACH?

10:02AM   21                    MR. LEACH:   YES, YOUR HONOR.

10:02AM   22             THE UNITED STATES CALLS SHANE WEBER.

10:02AM   23                    THE COURT:   THANK YOU.    PLEASE COME FORWARD IF YOU

10:03AM   24       WOULD.    AND I'LL INVITE YOU TO WALK OVER HERE TO OUR COURTROOM

10:03AM   25       DEPUTY.   IF YOU WOULD FACE HER AND RAISE YOUR RIGHT HAND, SHE



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10:03AM    1       HAS A QUESTION FOR YOU.

10:03AM    2             (GOVERNMENT'S WITNESS, SHANE WEBER, WAS SWORN.)

10:03AM    3                    THE WITNESS:   YES.

10:03AM    4                    THE COURT:   THANK YOU.

10:03AM    5             PLEASE HAVE A SEAT UP HERE, SIR.       I'LL INVITE YOU TO HAVE

10:03AM    6       A SEAT THERE.    MAKE YOURSELF COMFORTABLE.        FEEL FREE TO ADJUST

10:03AM    7       THE CHAIR AND THE MICROPHONE AS YOU NEED.

10:03AM    8             I'LL ENCOURAGE YOU TO SPEAK DIRECTLY INTO THE MICROPHONE.

10:03AM    9             THERE'S SOME FRESH WATER THERE FOR REFRESHMENT.         SHOULD

10:03AM   10       YOU NEED IT, HELP YOURSELF.

10:03AM   11             WHEN YOU ARE COMFORTABLE, WOULD YOU PLEASE STATE YOUR NAME

10:03AM   12       AND THEN SPELL IT, PLEASE.

10:03AM   13                    THE WITNESS:   MY NAME IS SHANE WEBER.      FIRST NAME

10:03AM   14       S-H-A-N-E.    WEBER WITH ONE B, W-E-B-E-R.

10:03AM   15                    THE COURT:   THANK YOU.    COUNSEL.

10:04AM   16                    MR. LEACH:   THANK YOU, YOUR HONOR.

10:04AM   17                                 DIRECT EXAMINATION

10:04AM   18       BY MR. LEACH:

10:04AM   19       Q.    MR. WEBER, IF YOU ARE VACCINATED, WITH THE COURT'S

10:04AM   20       PERMISSION AND IF YOU ARE COMFORTABLE, YOU CAN TESTIFY WITHOUT

10:04AM   21       A MASK.

10:04AM   22             THANK YOU.

10:04AM   23             WAS THERE A TIME WHEN YOU WORKED FOR A COMPANY CALLED

10:04AM   24       PFIZER?

10:04AM   25       A.    YES.



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10:04AM    1       Q.    WHAT IS THE BUSINESS OF PFIZER?

10:04AM    2       A.    PFIZER IS A GLOBAL WORLDWIDE PHARMACEUTICAL COMPANY.

10:04AM    3       Q.    WHEN DID YOU WORK FOR PFIZER?

10:04AM    4       A.    I WORKED FOR PFIZER FROM 2008 THROUGH 2014.

10:04AM    5       Q.    AT A HIGH LEVEL, CAN YOU BRIEFLY DESCRIBE YOUR EDUCATIONAL

10:04AM    6       AND PROFESSIONAL BACKGROUND BEFORE YOU JOINED PFIZER IN 2008.

10:04AM    7       A.    MY EDUCATIONAL BACKGROUND, I HAVE A BACHELOR'S OF ART IN

10:04AM    8       BIOCHEMISTRY AND MOLECULAR BIOLOGY FROM NORTHWESTERN

10:04AM    9       UNIVERSITY.

10:04AM   10             THEN I HAVE A PH.D. IN BIOPHYSICS FROM OREGON STATE

10:05AM   11       UNIVERSITY FROM THE DEPARTMENT OF BIOCHEMISTRY AND BIOPHYSICS

10:05AM   12       THERE.

10:05AM   13             THEN ACADEMICALLY I DID A -- I WAS A POST-DOCTORAL FELLOW

10:05AM   14       AT THE UNIVERSITY OF ROCHESTER UPSTATE NEW YORK IN RADIATION

10:05AM   15       BIOLOGY AND BIOPHYSICS.

10:05AM   16             FOLLOWING THESE EDUCATIONAL EXPERIENCES, I FIRST WENT TO

10:05AM   17       EASTMAN KODAK IN ROCHESTER, NEW YORK AS A SCIENTIST IN A

10:05AM   18       PROTEIN ENGINEERING LAB.

10:05AM   19             FOLLOWING THAT, I WAS AT A SMALL, MEDIUM SIZED TECHNOLOGY

10:05AM   20       COMPANY IN CONNECTICUT CALLED PACKARD INSTRUMENTS WHERE I WAS A

10:05AM   21       SENIOR ASSAY ANALYST IN BUSINESS DEVELOPMENT.

10:05AM   22             FOLLOWING THAT, I WENT TO MILLENNIUM PHARMACEUTICALS --

10:06AM   23       ACTUALLY, IN BETWEEN THERE WAS A SIX MONTH TIME WHERE I WAS AT

10:06AM   24       A SMALL STARTUP CALLED AGLIX IN NEW HAVEN, CONNECTICUT.

10:06AM   25             THEN I WENT TO -- THERE I WAS THE SENIOR PROGRAM MANAGER



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10:06AM    1       AT GENOMICS.

10:06AM    2             FOLLOWING THAT, I WENT TO MILLENNIUM PHARMACEUTICALS IN

10:06AM    3       CAMBRIDGE, MASSACHUSETTS WHERE I WAS A SENIOR SCIENTIST II IN

10:06AM    4       THE TRACE GENOMIC MICROARRAY PROFILING FACILITY.

10:06AM    5             IN BETWEEN THERE, I -- AFTER MILLENNIUM, I WENT BACK TO

10:06AM    6       NEW JERSEY WHERE I WAS A DIRECTOR OF DIAGNOSTICS AND ASSAYS IN

10:06AM    7       ORTHOCLINICAL DIAGNOSTICS AT JOHNSON & JOHNSON.

10:06AM    8             AND FOLLOWING THEM, I CAME TO PFIZER AS A DIRECTOR OF

10:06AM    9       DIAGNOSTICS IN MOLECULAR MEDICINE.

10:06AM   10       Q.    THANK YOU.

10:06AM   11             I HEARD YOU SAY THAT YOU HAVE A PH.D. IN BIOPHYSICS FROM

10:06AM   12       OREGON STATE.

10:06AM   13       A.    I DO.

10:07AM   14       Q.    OKAY.   WOULD YOU PREFER THAT I ADDRESS YOU AS MR. WEBER OR

10:07AM   15       DR. WEBER?

10:07AM   16       A.    MR. WEBER WOULD BE FINE.

10:07AM   17       Q.    OKAY.   AND YOU'VE WORKED FOR A NUMBER OF PHARMACEUTICAL

10:07AM   18       AND BIOTECHNOLOGY COMPANIES?

10:07AM   19       A.    I HAVE.

10:07AM   20       Q.    AND YOU JOINED PFIZER IN 2008 AND LEFT IN 2014?

10:07AM   21       A.    YES.

10:07AM   22       Q.    WHAT ARE YOU DOING TODAY?

10:07AM   23       A.    TODAY I'M RETIRED.

10:07AM   24       Q.    I WANT TO FOCUS MY QUESTIONS, MR. WEBER, STARTING IN THE

10:07AM   25       2008 TIME PERIOD WHEN YOU WERE FIRST HIRED BY PFIZER.



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10:07AM    1             WHAT WERE YOU HIRED TO DO?

10:07AM    2       A.    I WAS HIRED AS A DIRECTOR OF DIAGNOSTICS TO ENABLE

10:07AM    3       DIAGNOSTICS TO MOVE PFIZER'S CLINICAL PROGRAMS FORWARD.

10:07AM    4       Q.    AND WHEN YOU SAY "DIRECTOR OF DIAGNOSTICS," WHAT, WHAT ARE

10:07AM    5       DIAGNOSTICS?

10:07AM    6       A.    WELL, DIAGNOSTICS -- I DON'T DEFINE THEM.         THE FEDERAL

10:07AM    7       FOOD AND DRUG ADMINISTRATION DEFINES DIAGNOSTICS.

10:07AM    8             DIAGNOSTICS ARE THOSE REAGENTS, INSTRUMENTS, AND SYSTEMS

10:08AM    9       INTENDED FOR THE DIAGNOSIS OF DISEASE OR OTHER CONDITIONS,

10:08AM   10       INCLUDING HEALTH, FOR THE PURPOSE OF TREATING, MITIGATING,

10:08AM   11       CURING, OR PREVENTING DISEASE.

10:08AM   12             DIAGNOSTICS, SUCH PRODUCTS ARE INTENDED FOR THE

10:08AM   13       COLLECTION, EXAMINATION, AND EVALUATION OF SAMPLES FROM HUMANS,

10:08AM   14       AND SUCH PRODUCTS ARE CONSIDERED TO BE REGULATED AS DEVICES

10:08AM   15       UNDER SECTION 201(H) OF THE FEDERAL FOOD DRUG AND COSMETIC ACT,

10:08AM   16       AND THEY ALSO MAY BE REGULATED AS BIOLOGICS UNDER THE PUBLIC

10:08AM   17       SERVICE HEALTH ACT, AND THEY'RE BROADLY REGULATED AS SAFE FOR

10:08AM   18       INTENDED USE UNDER 21 CFR 860.7.

10:08AM   19       Q.    THANK YOU.

10:08AM   20             AND AS DIRECTOR OF DIAGNOSTICS AT PFIZER IN 2008, DID YOU

10:09AM   21       BECOME FAMILIAR WITH A COMPANY CALLED THERANOS?

10:09AM   22       A.    I DID.

10:09AM   23       Q.    IN YOUR ROLE AS DIRECTOR OF DIAGNOSTICS AT PFIZER, WERE

10:09AM   24       YOU ASKED TO REVIEW THERANOS'S TECHNOLOGY AND ITS POTENTIAL USE

10:09AM   25       BY PFIZER?



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10:09AM    1       A.    I WAS.

10:09AM    2       Q.    YOU SHOULD HAVE A BINDER UP THERE AT THE WITNESS STAND, A

10:09AM    3       WHITE BINDER, AND I'D LIKE TO DRAW YOUR ATTENTION, PLEASE, TO

10:09AM    4       WHAT HAS BEEN MARKED AS TRIAL EXHIBIT 143.

10:09AM    5             YOUR HONOR, I MOVE EXHIBIT 143 INTO EVIDENCE.         I

10:09AM    6       UNDERSTAND THERE'S A STIPULATION.

10:09AM    7                     MR. CLINE:   NO OBJECTION.

10:09AM    8                     THE COURT:   IT'S ADMITTED.    IT MAY BE PUBLISHED.

10:09AM    9             (GOVERNMENT'S EXHIBIT 143 WAS RECEIVED IN EVIDENCE.)

10:09AM   10       BY MR. LEACH:

10:09AM   11       Q.    DO YOU HAVE THAT IN FRONT OF YOU, SIR?

10:09AM   12       A.    I DO.

10:09AM   13       Q.    OKAY.    AND IF I COULD ASK MS. HOLLIMAN TO PLEASE ZOOM IN

10:09AM   14       ON THE TOP HALF OF THIS EMAIL.

10:10AM   15             MR. WEBER, DOES THIS APPEAR TO BE AN EMAIL FROM

10:10AM   16       ELIZABETH HOLMES TO TWO INDIVIDUALS NAMED AIDEN POWER AND

10:10AM   17       CRAIG LIPSET?

10:10AM   18       A.    IT DOES APPEAR TO BE SO.

10:10AM   19       Q.    WHO IS AIDEN POWER?

10:10AM   20       A.    AIDEN POWER IS THE VICE PRESIDENT IN CHARGE OF MOLECULAR

10:10AM   21       MEDICINE, WHICH IS A WORLDWIDE UNIT OF PFIZER.

10:10AM   22       Q.    OKAY.    WERE YOU PART OF THE MOLECULAR MEDICINE GROUP?

10:10AM   23       A.    I WAS.

10:10AM   24       Q.    OKAY.    AND THERE'S ANOTHER NAME, CRAIG LIPSET.       WHO IS

10:10AM   25       CRAIG LIPSET?



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10:10AM    1       A.    CRAIG LIPSET WAS THE DIRECTOR OF CLINICAL INNOVATION AND

10:10AM    2       MOLECULAR MEDICINE.

10:10AM    3       Q.    WAS HE SOMEBODY THAT YOU WORKED WITH?

10:10AM    4       A.    YES, I WORKED WITH HIM.

10:10AM    5       Q.    OKAY.   HOW DID YOU GET THE ASSIGNMENT TO REVIEW THERANOS'S

10:10AM    6       TECHNOLOGY IN THIS LATE 2008 TIME PERIOD?

10:10AM    7       A.    AS I REMEMBER IT, THERE WAS AN EMAIL FROM CRAIG LIPSET TO

10:11AM    8       ME ASKING ME TO LOOK AT THE DIAGNOSTIC CAPABILITY OF THERANOS.

10:11AM    9       Q.    OKAY.   I WANT TO FOCUS ON -- AND THE DATE OF THIS IS

10:11AM   10       OCTOBER 11TH, 2008.

10:11AM   11             DO YOU SEE THAT?

10:11AM   12       A.    I DO.

10:11AM   13       Q.    AND IS THIS CONSISTENT WITH THE TIME PERIOD WHEN YOU WERE

10:11AM   14       ASKED TO REVIEW THERANOS'S TECHNOLOGY?

10:11AM   15       A.    YES, I WAS ASKED AFTER THIS DATE.

10:11AM   16       Q.    OKAY.   I KNOW YOU'RE NOT ON THIS EMAIL, BUT I'D LIKE TO

10:11AM   17       DRAW YOUR ATTENTION TO THE THIRD PARAGRAPH.

10:11AM   18             DO YOU SEE WHERE MS. HOLMES WROTE, "I AM VERY PLEASED TO

10:11AM   19       PRESENT YOU WITH THE FINAL DATA - SEE THE ATTACHED STUDY

10:11AM   20       REPORT."

10:11AM   21             DO YOU SEE THAT?     WE'RE IN THE THIRD PARAGRAPH, AND IT'S

10:11AM   22       HIGHLIGHTED ON THE SCREEN AS WELL.

10:11AM   23       A.    YES, I SEE THIS NOW.     "I AM VERY PLEASED," YES, I SEE THIS

10:11AM   24       THIRD PARAGRAPH.

10:11AM   25       Q.    OKAY.   AND SHE'S DRAWING ATTENTION TO AN ATTACHED STUDY



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10:12AM    1       REPORT.

10:12AM    2             CAN I PLEASE ASK YOU TO LOOK AT PAGE 3 OF THIS DOCUMENT.

10:12AM    3       A.    YES.

10:12AM    4       Q.    DOES THIS APPEAR TO BE THE ATTACHED STUDY REPORT THAT

10:12AM    5       MS. HOLMES REFERRED TO IN THE EMAIL?

10:12AM    6       A.    IT WOULD SEEM TO BE SO.

10:12AM    7       Q.    OKAY.   AND DO YOU SEE THE LOGO AT THE TOP WITH THERANOS

10:12AM    8       REDEFINING HEALTH CARE?

10:12AM    9       A.    YES.

10:12AM   10       Q.    AND DO YOU SEE THE LABEL CONFIDENTIAL IN THE RIGHT CORNER

10:12AM   11       ON THE TOP PAGE?

10:12AM   12       A.    I DO.

10:12AM   13       Q.    OKAY.   THE TITLE OF THIS IS THERANOS ANGIOGENESIS STUDY

10:13AM   14       REPORT.

10:13AM   15             DO YOU SEE THAT?

10:13AM   16       A.    I DO.

10:13AM   17       Q.    IN THIS LATE 2008 TIME PERIOD, WERE YOU MADE AWARE OF WORK

10:13AM   18       BY PFIZER AND THERANOS RELATING TO AN ANGIOGENESIS PROGRAM?

10:13AM   19       A.    YES.

10:13AM   20       Q.    OKAY.   DO YOU SEE WHERE IT SAYS "PREPARED FOR

10:13AM   21       DR. AIDAN POWER, PFIZER, INC.?

10:13AM   22       A.    I DO.

10:13AM   23       Q.    AND DO YOU SEE THAT THERE'S, BENEATH THAT, A DOCUMENT

10:13AM   24       OUTLINE?

10:13AM   25       A.    I DO.



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10:13AM    1       Q.    OKAY.   AND I'D LIKE TO FOCUS ON THE BULLET WITH

10:13AM    2       CONCLUSIONS.    DO YOU SEE THAT?     IT'S THE LAST BULLET UNDERNEATH

10:13AM    3       DOCUMENT OUTLINE.

10:13AM    4             AND MS. HOLLIMAN IS ZOOMING OUT ON THE SCREEN AND

10:13AM    5       HIGHLIGHTING THAT FOR US.

10:13AM    6             DO YOU SEE THAT?

10:13AM    7       A.    I SEE THAT.

10:13AM    8       Q.    OKAY.   COULD YOU NOW PLEASE TURN TO PAGE 26.

10:14AM    9       A.    OKAY, I SEE THIS.

10:14AM   10       Q.    OKAY.   DO YOU SEE THE THERANOS LOGO AT THE TOP WHERE IT

10:14AM   11       SAYS THERANOS REDEFINING HEALTH CARE?

10:14AM   12       A.    I DO.

10:14AM   13       Q.    AND DO YOU SEE THE HEADING CONFIDENTIAL TO THE RIGHT?

10:14AM   14       A.    I DO.

10:14AM   15       Q.    AND DO YOU SEE THAT THERE ARE A NUMBER OF CONCLUSIONS

10:14AM   16       LISTED?

10:14AM   17             AND IF WE COULD ZOOM OUT, MS. HOLLIMAN, SO WE CAN SEE

10:14AM   18       THERE ARE A NUMBER OF CONCLUSIONS LISTED HERE.

10:14AM   19             DO YOU SEE THAT?

10:14AM   20       A.    YES, I DO.

10:14AM   21       Q.    LET ME DRAW YOUR ATTENTION TO NUMBER 1.

10:14AM   22             DO YOU SEE WHERE IT SAYS, "THE THERANOS SYSTEM PERFORMED

10:14AM   23       WITH SUPERIOR PERFORMANCE TO REFERENCE ASSAYS WHILE RUNNING IN

10:14AM   24       A COMPLEX AMBULATORY ENVIRONMENT."

10:15AM   25             DO YOU SEE THAT?



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10:15AM    1       A.    I DO.

10:15AM    2       Q.    AND DO YOU SEE NUMBER 5 UNDER TECHNICAL WHERE IT SAYS,

10:15AM    3       "INTER-SYSTEM ACCURACY IS EXCELLENT AND WAS DEMONSTRATED ON A

10:15AM    4       PLATFORM WITH SUPERIOR PERFORMANCE SPECIFICATIONS TO REFERENCE

10:15AM    5       METHODS"?

10:15AM    6       A.    I DO.

10:15AM    7       Q.    AND DO YOU SEE ANOTHER CONCLUSION, NUMBER 7, "GOOD

10:15AM    8       CORRELATIONS WERE SEEN TO VARIOUS COMMERCIALLY AVAILABLE

10:15AM    9       GOLD-STANDARDS"?

10:15AM   10       A.    I DO.

10:15AM   11       Q.    OKAY.    AND THIS IS IN A REPORT SENT BY MS. HOLMES TO

10:15AM   12       DR. POWER AND CRAIG LIPSET IN THE OCTOBER TIME PERIOD; IS THAT

10:15AM   13       FAIR?

10:15AM   14       A.    YES, AS I UNDERSTAND IT.

10:15AM   15       Q.    OKAY.    LET ME NEXT DRAW YOUR ATTENTION, PLEASE, TO WHAT WE

10:15AM   16       HAVE MARKED AS EXHIBIT 159, WHICH I'LL MOVE INTO EVIDENCE,

10:15AM   17       YOUR HONOR.     I UNDERSTAND THERE'S A STIPULATION.

10:15AM   18                     MR. CLINE:   NO OBJECTION.

10:15AM   19                     THE COURT:   IT'S ADMITTED.    IT MAY BE PUBLISHED.

10:15AM   20             (GOVERNMENT'S EXHIBIT 159 WAS RECEIVED IN EVIDENCE.)

10:16AM   21       BY MR. LEACH:

10:16AM   22       Q.    MR. WEBER, I'D LIKE TO START ON PAGES -- ON PAGE 4 OF THIS

10:16AM   23       DOCUMENT.

10:16AM   24             DO YOU SEE AN EMAIL FROM MS. HOLMES TO CRAIG LIPSET ON OR

10:16AM   25       ABOUT NOVEMBER 6TH, 2008?



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10:16AM    1       A.    I DO.

10:16AM    2       Q.    OKAY.    AND NOW IF WE COULD SHOW BOTH THE BOTTOM PORTION OF

10:16AM    3       PAGE 3 AND THE TOP PORTION OF PAGE 5, MS. HOLLIMAN.

10:16AM    4             DO YOU SEE AT THE BOTTOM OF PAGE 3, MR. WEBER, THERE'S AN

10:16AM    5       EMAIL FROM CRAIG LIPSET TO MS. HOLMES, YOU, AND GARY FRENZEL?

10:17AM    6       A.    I DO.

10:17AM    7       Q.    OKAY.    AND IS THIS CONSISTENT WITH THE TIME PERIOD WHERE

10:17AM    8       YOU WERE ASKED TO REVIEW AND EVALUATE THERANOS'S TECHNOLOGY?

10:17AM    9       A.    IT IS.

10:17AM   10       Q.    OKAY.    AND NOW FOCUSSING ON THE EMAIL AT THE TOP OF

10:17AM   11       PAGE 4 -- I THINK WE HAVE PAGE 4 -- OR 3 AND 5 UP,

10:17AM   12       MS. HOLLIMAN.     IF WE CAN GET PAGE 4.

10:17AM   13             WONDERFUL.

10:17AM   14             IT APPEARS THAT MR. LIPSET WROTE, "GARY - PLEASE

10:17AM   15       COORDINATE WITH SHANE WEBER, WHO LEADS OUR DIAGNOSTICS GROUP

10:17AM   16       HERE IN NEW YORK.     WHEN A TIME IS SET, PLEASE LET ME KNOW AS I

10:17AM   17       WOULD LIKE TO JOIN IF MY CALENDAR PERMITS."

10:17AM   18             DO YOU SEE THIS LANGUAGE?

10:17AM   19       A.    I DO.

10:17AM   20       Q.    AND IS THIS MR. LIPSET ESSENTIALLY GIVING DIRECTION TO THE

10:17AM   21       FOLKS AT THERANOS TO DIRECT INFORMATION TO YOU FOR YOUR REVIEW?

10:17AM   22       A.    YES.

10:17AM   23       Q.    LET ME DRAW YOUR ATTENTION, PLEASE, TO PAGE 1 OF

10:18AM   24       EXHIBIT 159.

10:18AM   25             MS. HOLLIMAN, IF WE CAN ZOOM IN ON THE BOTTOM EMAIL FROM



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10:18AM    1       MR. WEBER.

10:18AM    2             IS THIS AN EMAIL FROM YOU TO GARY FRENZEL FOLLOWING UP ON

10:18AM    3       CRAIG LIPSET'S REQUEST?

10:18AM    4       A.    IT IS.

10:18AM    5       Q.    AND I DRAW YOUR ATTENTION TO THE THIRD PARAGRAPH, THE

10:18AM    6       THIRD AND FOURTH PARAGRAPHS.       YOU WRITE, "I AM INTERESTED MORE

10:18AM    7       BROADLY AS TO WHAT THE INSTRUMENT IS AND PLANNED TO BE AND NOT

10:18AM    8       JUST IN UNDERSTANDING THE PERFORMANCE AND UTILITY OF THE

10:18AM    9       THERANOS SYSTEM IN THE ONCOLOGY STUDY."

10:18AM   10             WHAT DID YOU MEAN BY THE "ONCOLOGY STUDY"?

10:18AM   11       A.    I'M REFERRING TO THE STUDY AS I REMEMBERED IT AND

10:18AM   12       UNDERSTOOD THAT WHAT'S IN THE DOCUMENT THAT WAS SUBMITTED IN

10:19AM   13       THE FINAL REPORT TO AIDEN POWER AND THE STUDY THAT WAS

10:19AM   14       UNDERNEATH THAT.

10:19AM   15       Q.    THE DOCUMENT THAT WE LOOKED AT EARLIER IN YOUR TESTIMONY?

10:19AM   16       A.    YES.

10:19AM   17       Q.    OKAY.    AND YOU WROTE, "I AM RESPONSIBLE FOR PLATFORMS FOR

10:19AM   18       WHICH PFIZER HAS A DIAGNOSTIC INTEREST AND FOR WHICH THERE IS A

10:19AM   19       CLINICAL VALIDATION."

10:19AM   20             WHAT DID YOU MEAN BY THAT?

10:19AM   21       A.    WHAT I MEANT BY THIS STATEMENT IS THAT WITH OUR CLINICAL

10:19AM   22       TRIALS IN ALL DISEASE AREAS, INCLUDING ONCOLOGY, WE WERE

10:19AM   23       LOOKING FOR DIAGNOSTIC CAPABILITIES THAT WOULD OPEN THE DOOR

10:19AM   24       FOR MORE EFFECTIVE INTAKE OF PATIENTS.

10:19AM   25             BUT THOSE ASSAYS NEED TO BE, YOU KNOW, FDA REGULATED AND



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10:19AM    1       APPROVABLE AT A LEVEL THAT WE CAN INCLUDE THEM IN OUR CLINICAL

10:19AM    2       TRIALS.

10:19AM    3       Q.    YOU THEN WRITE IN THE FIFTH PARAGRAPH, "AS WE AGREED IN

10:19AM    4       OUR DISCUSSION, I WAS TO PROVIDE COPIES OF THE DOCUMENTS THAT I

10:19AM    5       AM WORKING OFF OF SO WE ARE ON THE SAME PAGE AND SOME QUESTIONS

10:20AM    6       OF INTEREST TO START OUR CONVERSATION ON THURSDAY."

10:20AM    7             WHAT WERE YOU GETTING AT THERE?

10:20AM    8       A.    WHAT I WAS GETTING AT WAS THAT IN MY NORMAL PRACTICE WHEN

10:20AM    9       I DO AN INTERACTION WITH A COMPANY, I TRY TO MAKE SURE THAT

10:20AM   10       WE'RE BOTH WORKING WITH THE SAME DECK OF CARDS SO THAT IT

10:20AM   11       DOESN'T CAUSE CONFUSION OR THAT I DON'T MISS SOMETHING.

10:20AM   12       Q.    AND THEN YOU WROTE, "FOR ME, THE GOAL IS TO UNDERSTAND THE

10:20AM   13       THERANOS SYSTEM.

10:20AM   14             "LET'S USE MY TELECONF CODES TO SAVE SOME THERANOS SOME

10:20AM   15       COSTS."

10:20AM   16             WERE YOU SETTING UP A CONFERENCE CALL WITH FOLKS AT

10:20AM   17       THERANOS SO YOU CAN GIVE THEM AN OPPORTUNITY TO DISCUSS THEIR

10:20AM   18       TECHNOLOGY WITH YOU?

10:20AM   19       A.    YES.

10:20AM   20       Q.    AND DOWN AT THE BOTTOM THERE IS SOME LANGUAGE, "I HAVE THE

10:21AM   21       THERANOS SUMMARY TO AIDEN POWER, THE INTRODUCTION TO THERANOS

10:21AM   22       SYSTEMS, THE INFORMED CONSENT AND THE IRB SUBMISSION.           I HAVE

10:21AM   23       READ THEM.    I ATTACH THESE SO WE ARE ALL WORKING OFF THE SAME

10:21AM   24       VERSIONS OF THE DOCUMENTS."

10:21AM   25             DO YOU SEE THAT LANGUAGE?



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10:21AM    1       A.    I DO.

10:21AM    2       Q.    AND DID YOU ATTACH THOSE DOCUMENTS TO THE EMAIL THAT YOU

10:21AM    3       SENT TO MR. FRENZEL?

10:21AM    4       A.    I DID.   THESE ARE THE DOCUMENTS, AS I REMEMBER IT,

10:21AM    5       CRAIG LIPSET FORWARDED TO ME FROM THE INTERACTION THAT HE AND

10:21AM    6       AIDEN POWER WERE HAVING.

10:21AM    7       Q.    AND IF WE CAN CONTINUE TO THE NEXT PAGE, PAGE 2.          AND IF

10:21AM    8       WE CAN ZOOM IN ON THE TOP RIGHT UP TO "PLEASE," MS. HOLLIMAN.

10:21AM    9       RIGHT THERE.

10:21AM   10             MR. WEBER, YOU WROTE, "I HAVE ALSO READ U.S. PATENT," AND

10:21AM   11       THEN THERE'S A NUMBER.

10:21AM   12             DO YOU SEE THAT UP AT THE TOP?

10:22AM   13       A.    I DO.

10:22AM   14       Q.    WAS THAT A PATENT RELATING TO THERANOS?

10:22AM   15       A.    AS I REMEMBER IT, IT WOULD BE.

10:22AM   16       Q.    OKAY.    WHY DID YOU REVIEW THAT?

10:22AM   17       A.    THE REASON I WOULD REVIEW -- IN MY NORMAL PRACTICE I

10:22AM   18       REVIEW BOTH U.S. ISSUED PATENTS, WHICH IS A B LEVEL PATENT, AS

10:22AM   19       WELL AS A LEVEL PATENTS, AS WELL AS EUROPEAN OR WORLD TREATY

10:22AM   20       PATENTS.

10:22AM   21             PARTICULARLY I REVIEWED U.S. PATENTS BECAUSE THE U.S.

10:22AM   22       PATENT OFFICE DOES AN INDEPENDENT REVIEW OF THE TECHNOLOGY, AND

10:22AM   23       IN WHAT IS CALLED THE WRAPPER, THE DOCUMENTS ASSOCIATED WITH

10:22AM   24       THE PATENT, THE U.S. PATENT OFFICE PRESENTS WHAT THEY CONSIDER

10:22AM   25       PRIOR ART.



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10:22AM    1       Q.    AND YOU MENTIONED SOMETHING ABOUT AN A PATENT AND A B

10:22AM    2       PATENT.

10:22AM    3             WHAT IS THE DISTINCTION THERE?

10:22AM    4       A.    THE DISTINCTION IS THAT A B PATENT ARE ISSUED PATENTS.             A

10:23AM    5       PATENTS ARE PATENTS THAT ARE IN THE PROCESS OF BEING REVIEWED.

10:23AM    6             SO THIS IS A B2, A FINAL ISSUED U.S. PATENT.

10:23AM    7       Q.    AND WAS THIS PART OF YOUR EFFORT TO UNDERSTAND THERANOS'S

10:23AM    8       TECHNOLOGY SO YOU COULD MAKE A RECOMMENDATION TO PFIZER?

10:23AM    9       A.    IT IS.

10:23AM   10       Q.    OKAY.    YOU ALSO WROTE, "WOULD YOU PLEASE SEND, PROVIDE, OR

10:23AM   11       ANSWER."

10:23AM   12             AND I DON'T WISH TO DISPLAY THEM, BUT ARE THERE A NUMBER

10:23AM   13       OF QUESTIONS LISTED BELOW THAT THAT YOU WERE SEEKING ANSWERS

10:23AM   14       FROM THERANOS ON?

10:23AM   15       A.    YES.

10:23AM   16       Q.    OKAY.    AND WHY WERE YOU -- AT A HIGH LEVEL, WHY WERE YOU

10:23AM   17       ASKING THESE TYPES OF QUESTIONS?

10:23AM   18       A.    IN MY NORMAL PROCESS OF INTERACTION AND DUE DILIGENCE WITH

10:23AM   19       COMPANIES, I HAVE A VERBAL DISCUSSION AND THEN FOLLOW WITH A

10:23AM   20       SET OF MORE DETAILED WRITTEN QUESTIONS.        THIS ALLOWS ME TO

10:23AM   21       UNDERSTAND THE DETAILS, AND IT'S A --

10:24AM   22       Q.    LET ME NEXT DRAW YOUR ATTENTION, PLEASE, TO EXHIBIT 162,

10:24AM   23       WHICH I'LL OFFER INTO EVIDENCE PURSUANT TO STIPULATION.

10:24AM   24                     MR. CLINE:   NO OBJECTION.

10:24AM   25                     THE COURT:   IT'S ADMITTED.    IT MAY BE PUBLISHED.



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10:24AM    1             (GOVERNMENT'S EXHIBIT 162 WAS RECEIVED IN EVIDENCE.)

10:24AM    2                     MR. LEACH:   AND I'M SORRY, MS. HOLLIMAN.      I MEANT TO

10:24AM    3       GO -- I NEED TO GO BACK TO EXHIBIT 159 BRIEFLY.

10:24AM    4       Q.    MR. WEBER, I WANT TO DRAW YOUR ATTENTION TO PAGE 5 OF

10:24AM    5       EXHIBIT 159.

10:24AM    6             AND IF WE COULD PLEASE ZOOM IN ON THE TOP HALF OF THIS

10:24AM    7       DOCUMENT, MS. HOLLIMAN.      DOWN A LITTLE.    THAT'S FINE FOR NOW.

10:24AM    8       THANK YOU.

10:24AM    9             MR. WEBER, IS THIS A DOCUMENT THAT YOU ATTACHED TO YOUR

10:24AM   10       EMAIL TO MR. FRENZEL TO MAKE SURE THAT YOU WERE WORKING OFF OF

10:25AM   11       ALL OF THE SAME DOCUMENTS?

10:25AM   12       A.    THE DOCUMENT THAT I ATTACHED TO THE EMAIL OF GARY FRENZEL

10:25AM   13       WOULD BE THE ONE THAT I RECEIVED FROM AIDEN POWER VIA

10:25AM   14       CRAIG LIPSET.

10:25AM   15             IF THIS IS THE DOCUMENT THAT CAME DIRECTLY FROM

10:25AM   16       CRAIG LIPSET, THEN IT WOULD BE.

10:25AM   17       Q.    OKAY.    AND DO YOU SEE THE HEADING THERANOS REDEFINING

10:25AM   18       HEALTH CARE AT THE TOP?

10:25AM   19       A.    I DO.

10:25AM   20       Q.    AND DO YOU SEE THE LABEL CONFIDENTIAL ON THE RIGHT?

10:25AM   21       A.    I DO.

10:25AM   22       Q.    AND THE TITLE OF THIS DOCUMENT IS THERANOS ANGIOGENESIS

10:25AM   23       STUDY:

10:25AM   24             REPORT PREPARED FOR DR. AIDAN POWER.

10:25AM   25             PFIZER.



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10:25AM    1             DO YOU SEE THAT?

10:25AM    2       A.    I DO.

10:25AM    3       Q.    I WANT TO DRAW YOUR ATTENTION TO THE FOURTH PARAGRAPH THAT

10:25AM    4       IS DOWN ON THE BOTTOM ON THE SCREEN.

10:25AM    5             DO YOU SEE "FOR THIS ANGIOGENESIS PROGRAM, THERANOS WAS

10:26AM    6       ASKED TO DEVELOP MULTIPLEXED POINT-OF-CARE ASSAYS IN VEGF AND

10:26AM    7       PLGF FOR USE IN MONITORING PATIENT PHARMACODYNAMIC RESPONSE TO

10:26AM    8       ANTI-ANGIOGENESIS THERAPIES."

10:26AM    9             DO YOU SEE THAT?

10:26AM   10       A.    I DO.

10:26AM   11       Q.    AND WHAT DID YOU UNDERSTAND THAT TO MEAN?

10:26AM   12       A.    I UNDERSTOOD THAT TO MEAN, AT THE TIME THAT I REMEMBER IT,

10:26AM   13       THAT IN THIS STUDY THERANOS WAS ASKED TO DO THESE THINGS AND TO

10:26AM   14       MEASURE SOME SAMPLES.

10:26AM   15       Q.    AND VEGF AND PLGF, WHAT ARE THOSE?

10:26AM   16       A.    WELL, THESE ARE WELL-KNOWN ANALYTIC MOLECULES IN

10:26AM   17       ANGIOGENESIS, WHICH IS, YOU KNOW, CAPILLARY DEVELOPMENT.

10:26AM   18             AND THE VEGF IS THE VACULAR EPIDERMAL GROWTH FACTOR --

10:26AM   19       THIS IS THE LIGIN FOR THE VEGF RECEPTOR.         SO AS I REMEMBER IT,

10:27AM   20       THAT'S THE VASCULAR EPIDERMAL GROWTH FACTOR.

10:27AM   21       Q.    AND WAS THERANOS TASKED WITH DEVELOPING ASSAYS TO MEASURE

10:27AM   22       VEGF AND PLGF AS YOU UNDERSTOOD IT?

10:27AM   23       A.    AS I UNDERSTOOD IT, YES.

10:27AM   24       Q.    AND THERE'S ALSO A REFERENCE HERE TO VEGFR2.

10:27AM   25             DO YOU SEE THAT?



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10:27AM    1       A.    I DO.

10:27AM    2       Q.    AND IS THAT ANOTHER SUBSTANCE THAT THERANOS WAS ASKED TO

10:27AM    3       MEASURE?

10:27AM    4       A.    IT WAS.    THAT'S THE RECEPTOR FOR VEGFR -- VEGF RECEPTOR 2.

10:27AM    5       Q.    IF I COULD ASK YOU TO MOVE FORWARD TO PAGE 12, AND IF WE

10:27AM    6       COULD.

10:27AM    7             DO YOU SEE DOWN HERE AT THE BOTTOM THERE ARE A NUMBER OF

10:27AM    8       CONCLUSIONS LISTED?

10:27AM    9       A.    YES, I SEE NINE CONCLUSIONS LISTED.

10:27AM   10       Q.    OKAY.   AND THE FIRST ONE IS, "THE THERANOS SYSTEM

10:28AM   11       PERFORMED WITH EQUIVALENT OR SUPERIOR PERFORMANCE TO REFERENCE

10:28AM   12       ASSAYS WHILE RUNNING IN AN EXTREMELY RUGGED AMBULATORY

10:28AM   13       ENVIRONMENT."

10:28AM   14             DO YOU SEE THAT?

10:28AM   15       A.    I DO.

10:28AM   16       Q.    AND IF WE CAN CONTINUE TO PAGE 13.

10:28AM   17             DO THE CONCLUSIONS CONTINUE ON THIS PAGE?

10:28AM   18       A.    THEY DO.

10:28AM   19       Q.    OKAY.   AND DO YOU SEE THE FOURTH CONCLUSION, "INTER-SYSTEM

10:28AM   20       ACCURACY IS EXCELLENT"?

10:28AM   21       A.    I DO.

10:28AM   22       Q.    AND THE FIFTH CONCLUSION, "VEGFR2 ASSAY ACCURACY IS QUITE

10:28AM   23       GOOD FOR TNONC VENOUS SAMPLES."

10:28AM   24             DO YOU SEE THAT?

10:28AM   25       A.    I DO.



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10:28AM    1       Q.    NOW, IF WE COULD PLEASE GO TO EXHIBIT 162.

10:28AM    2             IF WE CAN ZOOM IN, MS. HOLLIMAN, ON THE BOTTOM EMAIL.

10:29AM    3             MR. WEBER, DOES THIS APPEAR TO BE AN EMAIL FROM

10:29AM    4       GARY FRENZEL TO YOU ON NOVEMBER 11TH, 2008?

10:29AM    5       A.    IT DOES.

10:29AM    6       Q.    OKAY.   AND MR. FRENZEL WROTE, "HI SHANE, IT SEEMS THAT YOU

10:29AM    7       DID NOT HAVE THE FINAL REPORT.       I HAVE ATTACHED IT AND THE NDA

10:29AM    8       TO THIS EMAIL."

10:29AM    9             DO YOU UNDERSTAND NDA IS AN ACRONYM FOR NONDISCLOSURE

10:29AM   10       AGREEMENT?

10:29AM   11       A.    I DO.

10:29AM   12       Q.    "ELIZABETH IS WORKING ON SOME OTHER DOCUMENTS AND WE WILL

10:29AM   13       BE GETTING THEM TO YOU SOON.       LOOKING FORWARD TO THE MEETING ON

10:29AM   14       THURSDAY."

10:29AM   15             DO YOU SEE THAT?

10:29AM   16       A.    I DO.

10:29AM   17       Q.    AND IS THAT A REFERENCE TO A MEETING THAT YOU HAD ARRANGED

10:29AM   18       WITH MS. HOLMES AND OTHERS AT THERANOS TO DISCUSS THERANOS'S

10:29AM   19       TECHNOLOGY?

10:29AM   20       A.    YES, AS I REMEMBER IT.

10:29AM   21       Q.    OKAY.   PLEASE LOOK AT PAGE 3 OF THIS DOCUMENT.

10:30AM   22             IF YOU CAN GO ALL OF THE WAY DOWN PAST THE CONCLUSIONS,

10:30AM   23       MS. HOLLIMAN, THAT WOULD BE GREAT.

10:30AM   24             SITTING HERE TODAY, DO YOU HAVE A MEMORY OF RECEIVING THIS

10:30AM   25       EMAIL FROM MR. FRENZEL?



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10:30AM    1       A.    AS I REMEMBER IT -- I'M NOT REMEMBERING RECEIVING THIS

10:30AM    2       EMAIL, BUT IN MY NORMAL COURSE, IT'S CLEAR THAT I RECEIVED IT.

10:30AM    3       Q.    OKAY.   AND IN THE -- IN YOUR NORMAL COURSE, WOULD IT BE

10:30AM    4       YOUR PRACTICE TO REVIEW WHATEVER MATERIALS A COMPANY SENT YOU

10:30AM    5       WHOSE TECHNOLOGY YOU WERE ASKED TO REVIEW?

10:30AM    6       A.    IN MY NORMAL COURSE, YES, I WOULD TRY TO REVIEW THOSE.

10:30AM    7       THIS -- I DON'T REMEMBER THIS PARTICULAR SET OF DOCUMENTS.

10:30AM    8       Q.    OKAY.   DO YOU SEE AT THE BOTTOM OF THIS REPORT THERE IS A

10:30AM    9       BULLET FOR CONCLUSIONS?

10:31AM   10       A.    I DO.

10:31AM   11       Q.    OKAY.   AND IF I COULD DRAW YOUR ATTENTION TO PAGE 26 OF

10:31AM   12       THE EXHIBIT.

10:31AM   13             AND IF WE CAN ZOOM IN ON THE ENTIRETY OF THE CONCLUSIONS,

10:31AM   14       MS. HOLLIMAN.    IF WE CAN DISPLAY THE ENTIRETY OF THE TEXT.

10:31AM   15             MR. WEBER, DO YOU SEE THIS ITERATION OF THE REPORT HAS 13

10:31AM   16       CONCLUSIONS IN IT?

10:31AM   17       A.    I DO.

10:31AM   18       Q.    SO IT'S SLIGHTLY DIFFERENT FROM THE ONE THAT YOU ATTACHED

10:31AM   19       TO THE EMAIL THAT WE SAW TO GARY FRENZEL EARLIER?

10:31AM   20       A.    THE ATTACHMENT THAT I PUT INTO THE EMAIL TO GARY FRENZEL,

10:31AM   21       AS I REMEMBER IT, DOES NOT HAVE THESE ECONOMIC CONCLUSIONS IN

10:31AM   22       THE REPORT THAT I RECEIVED FROM CRAIG LIPSET AND AIDEN POWER.

10:32AM   23       Q.    OKAY.   BUT THE 13 CONCLUSIONS WERE IN THE INITIAL DOCUMENT

10:32AM   24       THAT WE SAW THAT MS. HOLMES SENT TO AIDAN POWER AND

10:32AM   25       CRAIG LIPSET, THE VERY FIRST ONE THAT WE LOOKED AT?



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10:32AM    1       A.    CAN WE CONFIRM THAT AGAIN?      WHAT PAGE?

10:32AM    2       Q.    SURE.   IF I COULD DRAW YOUR ATTENTION TO 143, PAGE 26.

10:32AM    3       A.    YES, THEY ARE.

10:32AM    4       Q.    OKAY.   AFTER RECEIVING -- YOU'VE MADE REFERENCE TO A

10:32AM    5       MEETING OR A CONVERSATION THAT YOU HAD WITH MS. HOLMES AND THE

10:32AM    6       FOLKS FROM THERANOS ABOUT THERANOS'S TECHNOLOGY.

10:32AM    7             DID THAT HAPPEN?

10:32AM    8       A.    WE HAD A ONE HOUR TELECONFERENCE AT SOME DATE.

10:32AM    9       Q.    OKAY.   AS BEST YOU CAN TODAY, DESCRIBE THE SUBSTANCE OF

10:33AM   10       WHAT HAPPENED.

10:33AM   11       A.    IN THAT CONVERSATION THERE WERE -- MS. HOLMES, THE CEO OF

10:33AM   12       THERANOS, INTRODUCED HERSELF, AND THEN THERE WERE FIVE OR SIX

10:33AM   13       OTHER PEOPLE, DIRECTORS, WHO INTRODUCED THEMSELVES VERY

10:33AM   14       BRIEFLY.     I WAS NOT ABLE TO CATCH THE TITLES AND THE NAMES.

10:33AM   15             THERE WERE SIX QUESTIONS IN BROAD SCOPE THAT I HAD ASKED

10:33AM   16       NUMEROUS QUESTIONS AND ANGLES FROM, AND WE HAD THIS DISCUSSION.

10:33AM   17       BUT IT WAS ENTIRELY VOCALIZED BY MS. HOLMES.

10:33AM   18             AS I REMEMBER IT, NONE OF THE OTHER PEOPLE SPOKE.

10:33AM   19       Q.    AND WHEN YOU SAY "VOCALIZED BY MS. HOLMES," ARE YOU SAYING

10:33AM   20       THAT MS. HOLMES DID MOST OF THE TALKING ON THERANOS'S BEHALF ON

10:33AM   21       THIS CALL?

10:33AM   22       A.    YES.

10:33AM   23       Q.    AND WHAT WAS YOUR PURPOSE IN SPEAKING TO MS. HOLMES AND

10:34AM   24       MEMBERS OF HER TEAM ON THIS CALL?

10:34AM   25       A.    MY PURPOSE WAS TO GET A HOLISTIC UNDERSTANDING OF NOT JUST



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10:34AM    1       WHERE THIS STUDY HAD DONE, BUT WHERE THERANOS'S ROADMAP WAS

10:34AM    2       GOING SO I COULD DETERMINE IF THERE WERE WAYS THAT -- IF THERE

10:34AM    3       WERE THERANOS TECHNOLOGIES THAT WOULD MATCH CLINICAL PROGRAM

10:34AM    4       NEEDS THAT WE ACTUALLY HAD ONGOING IN DEVELOPMENT AND IN

10:34AM    5       CLINICAL TRIALS.

10:34AM    6       Q.    AND WHEN YOU SAY "NOT JUST THIS STUDY," ARE YOU REFERRING

10:34AM    7       TO THE ANGIOGENESIS STUDY REPORT THAT YOU HAD RECEIVED?

10:34AM    8       A.    YES, I'M REFERRING TO THAT STUDY.

10:34AM    9       Q.    OKAY.   AND IN ADVANCE OF THIS PHONE CALL, DID YOU ALSO

10:34AM   10       SEND THERANOS WRITTEN DUE DILIGENCE QUESTIONS?

10:34AM   11       A.    AS I REMEMBER IT, MY WRITTEN DUE DILIGENCE QUESTIONS WOULD

10:34AM   12       HAVE FOLLOWED VERBAL CONVERSATIONS.        THAT'S MY NORMAL STANDARD

10:34AM   13       PRACTICE.

10:34AM   14       Q.    OKAY.   WELL, AFTER THIS PHONE CALL WITH MS. HOLMES, WHAT

10:35AM   15       DID YOU DO?

10:35AM   16       A.    I SENT A LIST OF QUESTIONS TO GARY FRENZEL FOR THEM TO

10:35AM   17       RESPOND TO AT THEIR DISCRETION.

10:35AM   18       Q.    OKAY.   AND WHAT HAPPENED AFTER THAT?

10:35AM   19       A.    AT SOME POINT, MAYBE A WEEK OR SO OR TWO WEEKS LATER --

10:35AM   20       YOU KNOW, IT'S A LONG TIME AGO -- I RECEIVED A LIST OF -- THAT

10:35AM   21       SET OF QUESTIONS WITH A SET OF ANSWERS TO THOSE QUESTIONS.

10:35AM   22       Q.    AND WITH ALL OF THE WRITTEN MATERIALS THAT YOU HAD

10:35AM   23       RECEIVED, THE PHONE CALL WITH MS. HOLMES AND HER TEAM AND THE

10:35AM   24       WRITTEN RESPONSES TO QUESTIONS, DID YOU PREPARE A REPORT WITH

10:35AM   25       RECOMMENDATIONS FOR PFIZER BASED ON YOUR ANALYSIS OF THERANOS'S



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10:35AM    1       TECHNOLOGY?

10:35AM    2       A.     I DID.

10:35AM    3       Q.     LET ME DRAW YOUR ATTENTION, PLEASE, TO WHAT HAS BEEN

10:35AM    4       MARKED AS EXHIBIT 167.

10:36AM    5              DO YOU RECOGNIZE THIS DOCUMENT?

10:36AM    6       A.     I DO.

10:36AM    7       Q.     WHAT IS THIS?

10:36AM    8       A.     THIS IS MY FINAL SUMMARY REPORT AND RECOMMENDATIONS TO

10:36AM    9       PFIZER ON THE USE OF THE THERANOS TECHNOLOGY.

10:36AM   10       Q.     DO YOU SEE THE DATE OF DECEMBER 31ST, OR 12-31-08 AT THE

10:36AM   11       TOP?

10:36AM   12       A.     I DO.

10:36AM   13       Q.     DID YOU PREPARE THIS DOCUMENT IN THE ORDINARY COURSE OF

10:36AM   14       PFIZER'S BUSINESS?

10:36AM   15       A.     I DID.

10:36AM   16       Q.     DID YOU PREPARE THIS AT OR AROUND THE TIME OF YOUR

10:36AM   17       DIAGNOSTICS REVIEW?

10:36AM   18       A.     I DID, FOLLOWED UP BY A COUPLE OF WEEKS SO I COULD FULLY

10:36AM   19       INTEGRATE ALL OF THE INFORMATION THAT I WAS OBTAINING NOT ONLY

10:36AM   20       FROM PFIZER, BUT FROM VARIOUS POINTS IN THE OUTSIDE WORLD AND

10:36AM   21       MY CONTACTS INTERNAL.

10:37AM   22       Q.     AND DID YOU PREPARE REPORTS LIKE THIS IN THE ORDINARY

10:37AM   23       COURSE OF YOUR BUSINESS?

10:37AM   24       A.     YES, THIS IS MY STANDARD PRACTICE.

10:37AM   25       Q.     OKAY.    SO THIS ISN'T A ONE-OFF EXAMPLE?



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10:37AM    1       A.    NO.

10:37AM    2       Q.    OKAY.    AND DID PFIZER KEEP YOUR REPORT IN THE ORDINARY

10:37AM    3       COURSE OF ITS BUSINESS?

10:37AM    4       A.    IT WOULD HAVE.

10:37AM    5       Q.    OKAY.

10:37AM    6             YOUR HONOR, I OFFER PAGE 1 OF EXHIBIT 167 WITH -- AND I

10:37AM    7       ASK LEAVE TO REDACT EVERYTHING AFTER THE WORDS "DEMONSTRATED

10:37AM    8       CAPABILITY" IN THE MIDDLE OF THE PAGE IN THAT LAST -- IN THAT

10:37AM    9       PARAGRAPH CONSISTENT WITH OUR -- THE COURT'S RULINGS.

10:37AM   10                     THE COURT:   ALL RIGHT.   MR. CLINE.

10:37AM   11                     MR. CLINE:   WITH THAT REDACTION, NO OBJECTION TO

10:37AM   12       PAGE 1.

10:37AM   13                     THE COURT:   ALL RIGHT.   THANK YOU.    THAT WILL BE

10:37AM   14       REDACTED AND THE PAGE WILL BE ADMITTED AND IT MAY BE PUBLISHED.

10:38AM   15             (GOVERNMENT'S EXHIBIT 167, REDACTED PAGE 1, WAS RECEIVED

10:38AM   16      IN EVIDENCE.)

10:38AM   17       BY MR. LEACH:

10:38AM   18       Q.    MR. WEBER --

10:38AM   19             AND, MS. HOLLIMAN, IF WE COULD PLEASE ZOOM IN ON THE TOP

10:38AM   20       PORTION, EVERYTHING FROM THE TOP DOWN TO RECOMMENDATIONS.            NO,

10:38AM   21       THE ENTIRETY OF THAT PARAGRAPH.

10:38AM   22             WONDERFUL.    THANK YOU.

10:38AM   23             MR. WEBER, DO YOU SEE THE HEADING "DIAGNOSTICS REVIEW OF

10:38AM   24       THERANOS'S TECHNOLOGY AND FINAL RECOMMENDATIONS, SHANE WEBER"

10:38AM   25       AT THE TOP?



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10:38AM    1       A.    I DO.

10:38AM    2       Q.    AND IS THAT A REFERENCE TO A REVIEW THAT YOU'D BEEN

10:38AM    3       CONDUCTING OF THERANOS'S TECHNOLOGY?

10:38AM    4       A.    IT IS.

10:38AM    5       Q.    OKAY.    IN THE FIRST PARAGRAPH, IN THE THIRD LINE TOWARDS

10:38AM    6       THE END, YOU WROTE -- WELL, FIRST, THE VERY FIRST SENTENCE

10:38AM    7       SAYS, "THERANOS SYSTEMS (THERANOS) PURPORTS TO HAVE A PATIENT

10:38AM    8       HOME USE IMMUNOASSAY IN VITRO DIAGNOSTIC DEVICE PLATFORM."

10:38AM    9             DO YOU SEE THAT?

10:38AM   10       A.    I DO.

10:39AM   11       Q.    AND IS THAT CONSISTENT WITH THE THERANOS PRODUCT?

10:39AM   12       A.    IT IS.

10:39AM   13       Q.    AND YOU WROTE, "THE PURPOSE OF THIS REVIEW WAS TO CLOSE

10:39AM   14       THE LOOP ON ALL PREVIOUS EFFORTS FOR THERANOS TO LOOK FOR

10:39AM   15       BUSINESS OPPORTUNITIES WITH PFIZER, AND TO MAKE FINAL

10:39AM   16       RECOMMENDATIONS REGARDING POTENTIAL FUTURE ATTEMPTS FOR

10:39AM   17       THERANOS TO ENGAGE DIFFERENT PARTS OF PFIZER IN THEIR

10:39AM   18       PLATFORM."

10:39AM   19             DO YOU SEE THAT?

10:39AM   20       A.    I DO.

10:39AM   21       Q.    IS THAT CONSISTENT WITH WHAT YOU UNDERSTOOD YOUR

10:39AM   22       ASSIGNMENT TO BE?

10:39AM   23       A.    IT WAS.

10:39AM   24       Q.    OKAY.

10:39AM   25             LET ME NEXT DRAW YOUR ATTENTION TO THE PARAGRAPH,



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10:39AM    1       RECOMMENDATIONS.

10:39AM    2             DO YOU SEE THAT?

10:39AM    3       A.    I DO.

10:39AM    4       Q.    YOU WROTE, "THERANOS DOES NOT AT THIS TIME HAVE ANY

10:39AM    5       DIAGNOSTIC OR CLINICAL INTEREST TO PFIZER."

10:39AM    6             DO YOU SEE THAT?

10:39AM    7       A.    I DO.

10:39AM    8       Q.    WAS THAT YOUR RECOMMENDATION?

10:39AM    9       A.    IT WAS.

10:39AM   10       Q.    AND WHY WAS THAT YOUR RECOMMENDATION?

10:39AM   11       A.    SO THERE WAS NO DIAGNOSTIC OR CLINICAL INTEREST TO PFIZER

10:39AM   12       BECAUSE OUR INTERESTS WERE FOR MOLECULAR NUCLEIC ACID TESTS,

10:40AM   13       PARTICULARLY IN ONCOLOGY, AND THEY'RE FOR DIAGNOSTICS THAT ARE

10:40AM   14       READY TO USE IN A CLINICAL TRIAL AND SO THEY NEEDED TO BE

10:40AM   15       EITHER FDA APPROVED OR LABORATORY -- APPROVED LABORATORY

10:40AM   16       DEVELOPED TESTS UNDER THE CLIA LABORATORY PROCESS.

10:40AM   17             AND THE THERANOS PLATFORM WAS AN IMMUNOASSAY PLATFORM, SO

10:40AM   18       IT'S NOT NUCLEIC ACID.

10:40AM   19             AND IT ALSO WAS FOR HOME USE, AND WE NEEDED DIAGNOSTICS

10:40AM   20       THAT COULD BE USED AT PHYSICIAN'S CLINICAL INTAKE POINTS FOR

10:40AM   21       CLINICAL TRIALS.

10:40AM   22       Q.    YOU ALSO MADE REFERENCE TO DEVICES OR DIAGNOSTICS THAT ARE

10:40AM   23       READY FOR USE.

10:40AM   24             WAS IT YOUR JUDGMENT THAT THERANOS DIDN'T MEET THAT

10:40AM   25       STANDARD?



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10:40AM    1       A.    IT WAS.

10:40AM    2       Q.    OKAY.   YOU NEXT WROTE, "IT IS RECOMMENDED THAT NO FURTHER

10:40AM    3       FINANCIAL INVESTMENT OR CLINICAL SAMPLE RESOURCES BE EXTENDED

10:40AM    4       TO THERANOS."

10:41AM    5             WAS THAT YOUR RECOMMENDATION?

10:41AM    6       A.    IT WAS.

10:41AM    7       Q.    AND WHY WAS IT YOUR RECOMMENDATION?

10:41AM    8       A.    WELL, THAT RECOMMENDATION REALLY FOLLOWS FROM THE FIRST,

10:41AM    9       THAT IF THERE'S NO MATCH BETWEEN THE USE OF THERANOS TECHNOLOGY

10:41AM   10       AND PFIZER'S CLINICAL PROGRAMS, THERE WAS NO NEED FOR FURTHER

10:41AM   11       FINANCIAL INVESTMENT OR RELEASE OF CLINICAL SAMPLES FROM OTHER

10:41AM   12       PFIZER TRIALS.

10:41AM   13       Q.    IN PARAGRAPH NUMBER 3 YOU WROTE, "GOING FORWARD, THERANOS

10:41AM   14       SHOULD BE MONITORED BY MOLECULAR MEDICINE'S DIAGNOSTIC GROUP."

10:41AM   15             IS THAT YOUR GROUP?

10:41AM   16       A.    IT IS, OR IT WAS.

10:41AM   17       Q.    YOU THEN WROTE, "A ONCE EVERY SIX MONTH PHONE CALL (OR AS

10:41AM   18       MAY BE REQUESTED BY THERANOS UPON A SIGNIFICANT IMPROVEMENT ON

10:41AM   19       THEIR PLATFORM) VIA SPECIFIED POINT OF CONTACTS ON BOTH SIDES

10:41AM   20       IS SUFFICIENT TO MONITOR AND DETERMINE IF THERANOS HAS ANY

10:41AM   21       DEMONSTRATED CAPABILITY."

10:41AM   22             DO YOU SEE THAT LANGUAGE?

10:41AM   23       A.    I DO.

10:41AM   24       Q.    AND WAS THAT YOUR RECOMMENDATION?

10:42AM   25       A.    IT WAS.



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10:42AM    1       Q.    AND WHY WAS THAT YOUR RECOMMENDATION?

10:42AM    2       A.    THE WORLD CHANGES.     ONE NEVER KNOWS WHAT THE FUTURE MIGHT

10:42AM    3       BRING, AND SO A WAIT AND WATCH APPROACH SEEMED TO BE PRUDENT.

10:42AM    4       Q.    NOW IF WE CAN ZOOM OUT, MS. HOLLIMAN, AND FOCUS ON THE

10:42AM    5       LAST PARAGRAPH DOWN AT THE BOTTOM OR THE -- EVERYTHING DOWN IN

10:42AM    6       THE FIRST PARAGRAPH.

10:42AM    7             THAT'S FINE.    THANK YOU, MS. HOLLIMAN.

10:42AM    8             MR. WEBER, DO YOU SEE WHERE YOU WROTE, "REVIEW AND

10:42AM    9       COMMENTS ON" - I THINK YOU MEANT "THERANOS PROVIDED

10:42AM   10       INFORMATION."

10:42AM   11       A.    I DO.

10:42AM   12       Q.    AND YOU WROTE, "THE TECHNICAL ASSESSMENT REVIEW PROCESS

10:42AM   13       CONSISTED OF EXAMINING THERANOS CONFIDENTIAL SUMMARY REPORTS,

10:42AM   14       READING THEIR PUBLIC PATENT PUBLICATIONS, HEARING THEIR STORY

10:42AM   15       IN A ONE HOUR TELECONFERENCE WITH QUESTIONS AND ANSWERS,

10:42AM   16       READING THEIR ANSWERS TO A WRITTEN SET OF TECHNICAL DUE

10:42AM   17       DILIGENCE QUESTIONS SUBMITTED TO THEM, SURVEYING THE WEB FOR

10:43AM   18       PUBLIC INFORMATION," AND THEN IT CONTINUES.

10:43AM   19             DO YOU SEE THAT?

10:43AM   20       A.    I DO.

10:43AM   21       Q.    AND IS THIS A FAIR SUMMARY OF THE WORK THAT YOU DID AND

10:43AM   22       CONSIDERED?

10:43AM   23       A.    YES, IT IS.

10:43AM   24                     MR. LEACH:   YOUR HONOR, WITH THE COURT'S PERMISSION,

10:43AM   25       I WOULD LIKE TO DISPLAY AS A DEMONSTRATIVE PAGE 2 OF



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10:43AM    1       EXHIBIT 167.

10:43AM    2                     THE COURT:   YES.

10:43AM    3             ANY FURTHER COMMENT OTHER THAN WHAT YOU'VE MADE

10:43AM    4       PREVIOUSLY, MR. CLINE?

10:43AM    5                     MR. CLINE:   NO FURTHER COMMENT.

10:43AM    6                     THE COURT:   ALL RIGHT.   THANK YOU.    I'LL NOTE YOUR

10:43AM    7       COMMENTS.

10:43AM    8             IT MAY BE DISPLAYED, THANK YOU, AS A DEMONSTRATIVE.

10:43AM    9                     MR. LEACH:   AND IF WE CAN PLEASE ZOOM IN,

10:43AM   10       MS. HOLLIMAN, ON THE TOP PORTION DOWN TO THE BOLDED LANGUAGE.

10:43AM   11             PERFECT.    THANK YOU.

10:43AM   12       Q.    MR. WEBER, YOU WROTE AT THE TOP UP HERE, "THE INTRODUCTION

10:43AM   13       TO THERANOS SYSTEMS SLIDE DECK DOES NOT CONTAIN SUFFICIENT

10:43AM   14       INFORMATION ON THEIR PLATFORM TO DEMONSTRATE IN VITRO

10:43AM   15       DIAGNOSTIC ASSAY OR PLATFORM CAPABILITY."

10:44AM   16             DO YOU SEE THAT LANGUAGE?

10:44AM   17       A.    I DO.

10:44AM   18       Q.    AND THE "INTRODUCTION TO THERANOS SYSTEMS SLIDE DECK," IS

10:44AM   19       THAT A REFERENCE TO A POWERPOINT THAT WAS PROVIDED TO YOU?

10:44AM   20       A.    AS I REMEMBER IT, THIS IS REFERRING TO THE POWERPOINT THAT

10:44AM   21       AIDAN POWER AND CRAIG LIPSET SENT TO ME.

10:44AM   22       Q.    OKAY.    AND WHY DID YOU BELIEVE THE THERANOS SYSTEMS SLIDE

10:44AM   23       DECK DID NOT CONTAIN SUFFICIENT INFORMATION ON THEIR PLATFORM

10:44AM   24       TO DEMONSTRATE IN VITRO DIAGNOSTIC ASSAY OR PLATFORM

10:44AM   25       CAPABILITY?



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10:44AM    1       A.    I BELIEVED THIS BASED UPON MY EXTENSIVE EXPERIENCE DOING

10:44AM    2       ASSAY DEVELOPMENT, ASSAY QUALIFICATION, RECEIVER OPERATOR CURVE

10:44AM    3       ANALYSIS, THAT THERE WAS NOT SUFFICIENT INFORMATION IN THIS

10:44AM    4       REPORT TO CONVINCE ME THAT THEY WERE -- THAT THE THERANOS

10:44AM    5       SYSTEM WAS READY TO BE TAKEN FORWARD FOR CLINICAL USE THROUGH

10:44AM    6       AN FDA OR CLIA LABORATORY PROCESS.

10:44AM    7       Q.    YOU THEN WROTE, "THERANOS HAS PROVIDED A POORLY PREPARED

10:45AM    8       SUMMARY DOCUMENT OF THEIR PLATFORM FOR HOME PATIENT USE WITH

10:45AM    9       ANTI-ANGIOGENIC THERAPIES."

10:45AM   10             DO YOU SEE THAT LANGUAGE?

10:45AM   11       A.    I DO.

10:45AM   12       Q.    AND WHAT WERE YOU REFERRING TO AS THE SUMMARY DOCUMENT?

10:45AM   13       A.    AS I REMEMBER IT, I'M REFERRING TO THE SUMMARY DOCUMENT ON

10:45AM   14       THE STUDY THAT WAS SENT TO ME VIA CRAIG LIPSET AND AIDAN POWER.

10:45AM   15       Q.    THERE'S THEN A NUMBER OF, OF NUMBERED ITEMS FURTHER BELOW.

10:45AM   16             FIRST OF ALL, BEFORE I GET TO THOSE, YOU WROTE, "A SMALL

10:45AM   17       NUMBER OF PATIENTS RECEIVING SUTENT" -- IS SUTENT A PFIZER

10:45AM   18       DRUG?

10:45AM   19       A.    IT IS A PFIZER DRUG.

10:45AM   20       Q.    AND WAS THAT THE SUBJECT OF THE ANGIOGENESIS PROGRAM IN

10:45AM   21       THE STUDY REPORT?

10:45AM   22       A.    IT IS AS I REMEMBER IT.

10:45AM   23       Q.    YOU WROTE ONE, "THERANOS SYSTEMS IN THE SLIDE DECK STATES

10:46AM   24       'HUGE VARIATION BETWEEN SUBJECTS, BOTH IN THE ABSOLUTE LEVELS

10:46AM   25       AND CHANGES OVER TIME VARY GREATLY.'        NO DISCUSSION OR RIGOROUS



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10:46AM    1       GRAPHICAL MULTI-PARAMETER QUANTITATIVE ANALYSIS OF THE PATIENT

10:46AM    2       COHORT WAS DONE TO ELUCIDATE AND PROVIDE CLARITY OF CORRELATION

10:46AM    3       TO CLINICAL RESPONSE."

10:46AM    4             WHAT WERE YOU GETTING AT THERE?

10:46AM    5       A.    I WAS GETTING AT SEVERAL THINGS THERE.         WHAT I WAS GETTING

10:46AM    6       AT WAS THE ANALYSIS DIDN'T GET AT WHY WAS THIS HUGE VARIATION.

10:46AM    7       THERE WASN'T A MULTI PARAMETER APPROACH, WHICH IS OFTEN

10:46AM    8       REQUIRED FOR ONCOLOGY STUDIES IN ORDER TO UNDERSTAND WHAT WAS

10:46AM    9       GOING ON, AND THERE WASN'T A CORRELATION, AN ANALYSIS OF CLEAR

10:46AM   10       CORRELATION TO THE CLINICAL RESPONSE.

10:46AM   11       Q.    YOU THEN WROTE, "THERANOS UNCONVINCINGLY ARGUES --"

10:46AM   12                     MR. CLINE:   YOUR HONOR, I APOLOGIZE TO MR. LEACH.

10:46AM   13             YOUR HONOR, APOLOGIES.

10:46AM   14             YOUR HONOR, THIS IS THE 702 ISSUE THAT I THOUGHT WE WERE

10:47AM   15       NOT GOING TO BE DISCUSSING.

10:47AM   16                     THE COURT:   YES.   MR. LEACH, YOU DON'T INTEND TO GO

10:47AM   17       ANY FURTHER INTO DEFINITIONS OF THIS?        AND MAYBE YOU SHOULD

10:47AM   18       CLEAR UP WITH THE WITNESS ACCESSIBLE INFORMATION SUCH THAT IT

10:47AM   19       NEED NOT TOUCH ON ANY EXPERTISE.

10:47AM   20                     MR. LEACH:   THANK YOU, YOUR HONOR.     THAT WAS NOT MY

10:47AM   21       INTENTION.

10:47AM   22       Q.    IS THIS A COMMENT, MR. WEBER, ON THE SLIDE DECK THAT WAS

10:47AM   23       PROVIDED TO YOU?

10:47AM   24       A.    IT WAS.

10:47AM   25       Q.    OKAY.    AND WITHOUT RELIANCE ON YOUR EXPERTISE, IS THE



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10:47AM    1       THRUST OF YOUR COMMENT HERE THAT IT WASN'T PERSUASIVE TO YOU?

10:47AM    2       A.    IT WAS.

10:47AM    3       Q.    OKAY.   THE NEXT BULLET SAYS, "THERANOS UNCONVINCINGLY

10:47AM    4       ARGUES THE CASE FOR HAVING ACCOMPLISHED TASKS OF INTEREST TO

10:47AM    5       PFIZER."

10:47AM    6             DO YOU SEE THAT LANGUAGE?

10:47AM    7       A.    I DO.

10:47AM    8       Q.    AND WHAT IS THAT A REFERENCE TO?

10:47AM    9       A.    IT'S A REFERENCE TO THAT I WAS NOT ABLE TO SEE A CLEAR SET

10:48AM   10       OF GOALS THAT WERE ACCOMPLISHED BY THE STUDY.

10:48AM   11       Q.    YOU THEN WROTE, "THE NINE CONCLUSIONS IN THEIR SUMMARY

10:48AM   12       DOCUMENT ARE NOT BELIEVABLE BASED ON THE INFORMATION PROVIDED."

10:48AM   13             DO YOU SEE THAT?

10:48AM   14       A.    I DO.

10:48AM   15       Q.    AND THE SUMMARY DOCUMENT, IS THAT A REFERENCE TO THE STUDY

10:48AM   16       REPORT THAT YOU ATTACHED TO -- IN AN EMAIL TO MR. FRENZEL?

10:48AM   17             I GUESS WHAT DID YOU MEAN BY "STUDY REPORT" OR "SUMMARY

10:48AM   18       DOCUMENT"?

10:48AM   19       A.    THE SUMMARY DOCUMENT, AS I REMEMBER IT, IS ONE OF THE FOUR

10:48AM   20       DOCUMENTS THAT CRAIG LIPSET HAD FORWARDED TO ME TO ANALYZE.

10:48AM   21             SO THAT'S THE -- I'M REFERRING TO, AS I REMEMBER IT, THE

10:48AM   22       SUMMARY DOCUMENT.

10:48AM   23       Q.    OKAY.

10:48AM   24       A.    THE THERANOS SUMMARY DOCUMENT.

10:48AM   25       Q.    YOU THEN WROTE, "THERANOS HAS PROVIDED NON-INFORMATIVE,



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10:48AM    1       TANGENTIAL, DEFLECTIVE OR EVASIVE ANSWERS TO A WRITTEN SET OF

10:48AM    2       TECHNICAL DUE DILIGENCE QUESTIONS."

10:49AM    3             DO YOU SEE THAT?

10:49AM    4       A.    I DO.

10:49AM    5       Q.    AND WAS THAT YOUR CONCLUSION AT THE TIME?

10:49AM    6       A.    IT WAS.

10:49AM    7       Q.    AND WHAT DO YOU MEAN BY THE "DUE DILIGENCE QUESTIONS"?             IS

10:49AM    8       THAT A REFERENCE TO WRITTEN QUESTIONS THAT YOU HAD SUBMITTED TO

10:49AM    9       THERANOS?

10:49AM   10       A.    IT'S -- I'M REFERRING TO THE LIST OF QUESTIONS, TECHNICAL

10:49AM   11       DUE DILIGENCE QUESTIONS I SUBMITTED TO THERANOS VIA

10:49AM   12       GARY FRENZEL.

10:49AM   13       Q.    IF WE CAN ZOOM OUT, MS. HOLLIMAN, AND LOOK AT THE SECOND

10:49AM   14       PART OF THIS.

10:49AM   15             MR. WEBER, DO YOU SEE THE HEADING "THERAPEUTIC AREA

10:49AM   16       MOLECULAR MEDICINE LEAD INTEREST IN THERANOS OR A THERANOS-LIKE

10:49AM   17       HOME PATIENT IMMUNOASSAY IN VITRO DIAGNOSTIC PLATFORM"?

10:49AM   18       A.    I DO.

10:49AM   19       Q.    AND WHAT IS SUMMARIZED HERE IN THIS PORTION OF YOUR

10:49AM   20       REPORT?

10:49AM   21       A.    WHAT IS SUMMARIZED HERE IS THAT I REACHED OUT TO THE

10:49AM   22       CLINICAL LEADS WHO ARE RESPONSIBLE FOR ONCOLOGY STUDIES, AND SO

10:50AM   23       I'M RELYING ON THEM TO STATE THAT THERE IS NO CLINICAL

10:50AM   24       DEVELOPMENT INTEREST IN USING SUCH TYPE ASSAYS.

10:50AM   25       Q.    AND THE FEEDBACK THAT YOU GOT FROM YOUR COLLEAGUES WAS



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10:50AM    1       WHAT?

10:50AM    2       A.    THERE WAS NO INTEREST.

10:50AM    3       Q.    PLEASE LOOK AT PAGE 3, WHICH WE'LL DISPLAY AS A

10:50AM    4       DEMONSTRATIVE.

10:50AM    5             DO YOU SEE ON PAGE 3 THE HEADING "DUE DILIGENCE QUESTIONS

10:50AM    6       VERBALLY ASKED TO THERANOS IN NOVEMBER 13TH TELECONFERENCE"?

10:50AM    7       A.    I DO.

10:50AM    8       Q.    AND THERE ARE SIX QUESTIONS LISTED HERE.

10:50AM    9             DO YOU SEE THAT?

10:50AM   10       A.    I SEE THIS.

10:50AM   11       Q.    ARE THOSE QUESTIONS THAT YOU WENT OVER WITH MS. HOLMES AND

10:50AM   12       HER TEAM IN A CONFERENCE CALL?

10:50AM   13       A.    THEY ARE.

10:50AM   14       Q.    YOU WROTE, "THERANOS VERBALLY PROVIDED OBLIQUE,

10:50AM   15       DEFLECTIVE, OR EVASIVE NON-INFORMATIVE ANSWERS TO THESE

10:51AM   16       TECHNICAL DUE DILIGENCE QUESTIONS BELOW."

10:51AM   17             WAS THAT YOUR JUDGMENT AT THE TIME?

10:51AM   18       A.    IT WAS.

10:51AM   19       Q.    WHY WAS THAT?

10:51AM   20       A.    THESE SIX QUESTIONS, I SPENT 50 MINUTES IN THE CALL

10:51AM   21       ASKING, PROBING, TRYING TO FIND UNDERSTANDING OF THE ROAD MAP

10:51AM   22       OF WHERE THESE QUESTIONS WOULD LEAD AND WHAT WAS POSSIBLE FROM

10:51AM   23       THERANOS.

10:51AM   24       Q.    OKAY.   ONE OF THE QUESTIONS WAS, "WHAT IS THE APPROXIMATE

10:51AM   25       ANTICIPATED COST OF THE DEVICE IF 100 WERE DESIRED FOR A



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10:51AM    1       CLINICAL STUDY ENROLLMENT?"

10:51AM    2             DO YOU SEE THAT?

10:51AM    3       A.    I SEE THAT QUESTION.

10:51AM    4       Q.    AND WHY WERE YOU INTERESTED IN THAT?

10:51AM    5       A.    WHY I WAS INTERESTED IS IF WE COULD POTENTIALLY SEE IF WE

10:51AM    6       COULD FIND A MATCH, A WORLDWIDE CLINICAL TRIAL MIGHT ANTICIPATE

10:51AM    7       NEEDING 100 OF SUCH DEVICES, SO I WANTED TO KIND OF GET JUST A

10:52AM    8       DIRECTIONAL SCOPE OF WHAT THE COST WOULD BE.

10:52AM    9       Q.    AFTER PREPARING THIS -- WELL, FIRST, IS WHAT WE'RE LOOKING

10:52AM   10       AT IN EXHIBIT 167 YOUR FINAL REPORT, MR. WEBER?

10:52AM   11       A.    THIS IS MY FINAL REPORT.

10:52AM   12       Q.    OKAY.    AND WHAT DID YOU DO WITH IT?

10:52AM   13       A.    I FORWARDED IT TO MY DIRECT LINE MANAGER, HAKAN SAKUL, WHO

10:52AM   14       WAS THE GLOBAL HEAD OF DIAGNOSTICS FOR PFIZER; TO CRAIG LIPSET,

10:52AM   15       THE DIRECTOR OF CLINICAL INNOVATION, MY COLLEAGUE THERE IN

10:52AM   16       NEW YORK CITY; AND TO AIDAN POWER, THE HEAD OF MOLECULAR

10:52AM   17       MEDICINE.

10:52AM   18       Q.    DID YOUR SUPERVISORS AGREE WITH YOUR RECOMMENDATION?

10:52AM   19       A.    THEY DID.

10:52AM   20       Q.    OKAY.    DID YOU EVER HEAR --

10:52AM   21                     THE COURT:   I'M SORRY, SIR.    I BEG YOUR PARDON.

10:52AM   22       COULD YOU PLEASE SPELL YOUR DIRECT MANAGER'S NAME AGAIN,

10:52AM   23       PLEASE.

10:52AM   24                     THE WITNESS:   OH, YES.

10:52AM   25             MY DIRECT MANAGER IS HAKAN SAKUL.       IT'S H-A-K-A-N, SAKUL,



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10:53AM    1       S-A-K-U-L.

10:53AM    2                     THE COURT:   THANK YOU VERY MUCH.      PARDON ME,

10:53AM    3       MR. LEACH.

10:53AM    4       BY MR. LEACH:

10:53AM    5       Q.    AND YOUR UNDERSTANDING WAS THAT YOUR SUPERVISORS AGREED

10:53AM    6       WITH YOUR RECOMMENDATION?

10:53AM    7       A.    IT WAS.

10:53AM    8       Q.    AND DID YOU EVER HEAR -- DID YOU EVER CHANGE YOUR

10:53AM    9       RECOMMENDATION AT ANY POINT?

10:53AM   10       A.    NO, I DID NOT.

10:53AM   11       Q.    OKAY.    LET ME NEXT DRAW YOUR ATTENTION, PLEASE, TO WHAT WE

10:53AM   12       HAVE -- BEFORE I MOVE ON TO THE NEXT EXHIBIT, EXHIBIT 167 IS AN

10:53AM   13       INTERNAL PFIZER DOCUMENT, MR. WEBER?

10:53AM   14       A.    IT IS.

10:53AM   15       Q.    AND DID YOU EVER SHARE THAT WITH THERANOS?

10:53AM   16       A.    NO, I DID NOT.

10:53AM   17       Q.    LET ME PLEASE DRAW YOUR ATTENTION TO WHAT HAS BEEN MARKED

10:53AM   18       AS EXHIBIT 174.

10:53AM   19             AND I OFFER 174 INTO EVIDENCE PURSUANT TO STIPULATION.

10:53AM   20                     MR. CLINE:   NO OBJECTION.   MAY I CHECK WITH

10:53AM   21       MR. LEACH FOR ONE SECOND?

10:54AM   22                     THE COURT:   SURE.   OF COURSE.

10:54AM   23             (DISCUSSION OFF THE RECORD.)

10:54AM   24                     MR. CLINE:   NO OBJECTION.

10:54AM   25                     THE COURT:   174 IS ADMITTED.     IT MAY BE PUBLISHED.



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10:54AM    1             (GOVERNMENT'S EXHIBIT 174 WAS RECEIVED IN EVIDENCE.)

10:54AM    2       BY MR. LEACH:

10:54AM    3       Q.    MR. WEBER, IS THIS AN EMAIL THAT YOU SENT TO AIDAN POWER

10:54AM    4       WITH A CC TO CRAIG LIPSET AND HAKAN SAKUL ON OR ABOUT

10:54AM    5       JANUARY 30TH, 2009?

10:54AM    6       A.    IT IS.

10:54AM    7       Q.    AND THIS IS AFTER YOU SUBMITTED YOUR REPORT RELATING TO

10:54AM    8       THERANOS TO YOUR SUPERIORS?

10:54AM    9       A.    IT WAS.

10:54AM   10       Q.    OKAY.    AND IS THIS A PHONE CALL THAT YOU HAD WITH

10:54AM   11       MS. HOLMES FOLLOWING YOUR REVIEW?

10:54AM   12       A.    IT WAS, YES.

10:54AM   13       Q.    YOU WROTE, "TODAY I SPOKE WITH ELIZABETH HOLMES, CEO,

10:55AM   14       THERANOS AND EXPLAINED TO HER THAT PFIZER DID NOT HAVE AT THIS

10:55AM   15       TIME A FORESEEABLE USE OF THE THERANOS IMMUNOASSAY DEVICE FOR

10:55AM   16       AT PATIENT SELF USE AT HOME BUT SHE AND I AGREED TO STAY IN

10:55AM   17       TOUCH EVERY SIX MONTHS."

10:55AM   18             DO YOU SEE THAT?

10:55AM   19       A.    I DO.

10:55AM   20       Q.    AND THAT HAPPENED DURING THE PHONE CALL?

10:55AM   21       A.    YES.

10:55AM   22       Q.    OKAY.    YOU SEEM TO PAUSE.    WHY DO YOU PAUSE?

10:55AM   23       A.    IT WAS A LONG TIME AGO, 13 YEARS.       BUT AS I REMEMBER IT, I

10:55AM   24       WOULD HAVE BROACHED AND TRIED TO MAKE AN ARRANGEMENT TO STAY IN

10:55AM   25       TOUCH ON A REGULAR BASIS JUST TO KEEP IN TOUCH.



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10:55AM    1       Q.    CONSISTENT WITH THE FINAL RECOMMENDATION IN YOUR REPORT?

10:55AM    2       A.    YES, CONSISTENT WITH MY FINAL REPORT RECOMMENDATION.

10:55AM    3       Q.    AND YOU WROTE, "I WAS POLITE, CLEAR, CRISP AND PATIENTLY

10:56AM    4       FIRM AS SHE PUSHED BACK."

10:56AM    5             WHAT DID YOU MEAN BY THAT?

10:56AM    6       A.    WELL, WHAT I MEANT WAS I, AS A MESSENGER, AM DELIVERING A

10:56AM    7       PIECE OF INFORMATION AND A POINT OF VIEW THAT WAS NOT DESIRED,

10:56AM    8       AND SO I HAD TO BE CLEAR THAT THIS IS REALLY PFIZER'S INTENT.

10:56AM    9       Q.    YOU THEN WROTE, "SHE ASKED FOR OTHER NAMES AT PFIZER TO

10:56AM   10       APPROACH AND I POLITELY DEFLECTED."

10:56AM   11             WHY DID YOU POLITELY DEFLECT?

10:56AM   12       A.    WELL, I POLITELY DEFLECTED BECAUSE IN TERMS OF BUSINESS

10:56AM   13       INEFFICIENCIES, WE HAD MADE OUR DETERMINATION OF WHAT PFIZER'S

10:56AM   14       CLINICAL PATH NEEDS ARE AND THAT THERANOS'S IMMUNOASSAY SYSTEM

10:56AM   15       WAS NOT GOING TO FIT A MODULE IN THERE, AND SO I DID NOT WANT

10:56AM   16       MULTIPLE OTHER POINTS OF THE COMPANY BEING CONTACTED AND BEING

10:57AM   17       DISTRACTED FROM THEIR CLINICAL TRIAL DUTIES.

10:57AM   18       Q.    IN THE NEXT PARAGRAPH YOU WROTE, "I DID RECEIVE HER

10:57AM   19       CONFIRMATION THAT THERANOS HAS BEEN PAID IN FULL FOR THE

10:57AM   20       PREVIOUS ALLIANCE CONTRACT."

10:57AM   21             WHAT DID YOU MEAN BY "THE PREVIOUS ALLIANCE CONTRACT"?

10:57AM   22       A.    WHAT I MEANT, AS I REMEMBER IT, THAT WAS THE CONTRACT

10:57AM   23       UNDER WHICH THE STUDY THAT HAD BEEN DESCRIBED AND SUBMITTED TO

10:57AM   24       AIDAN POWER WAS FUNDED BY.

10:57AM   25       Q.    YOU THEN WROTE, "I HAD CONFIRMED THIS BEFORE HAND AND THAT



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10:57AM    1       IT CAME OUT OF STRATEGIC ALLIANCE BUDGET AND NOT MM BUDGET."

10:57AM    2             IS MM A REFERENCE TO MOLECULAR MEDICINE?

10:57AM    3       A.    IT IS.

10:57AM    4       Q.    AND THAT'S YOUR GROUP?

10:57AM    5       A.    IT IS.

10:57AM    6       Q.    AND WHAT DID YOU MEAN BY THIS SENTENCE?

10:57AM    7       A.    I AM INFORMING MY VICE PRESIDENT OF MOLECULAR MEDICINE

10:57AM    8       THAT HE DID NOT HAVE TO WORRY THAT THERE WAS GOING TO BE OTHER

10:58AM    9       FURTHER CHARGES COME OUT OF -- SURPRISE CHARGES GOING INTO THIS

10:58AM   10       COMING NEW YEAR AND THAT EVERYTHING HAD BEEN PAID FOR UNDER THE

10:58AM   11       CONTRACT AND PFIZER HAD MET ITS CONTRACTUAL OBLIGATIONS OF

10:58AM   12       PAYING FOR THE WORK.

10:58AM   13       Q.    IN THE NEXT PARAGRAPH YOU WROTE, "AS STEVE FELSTEAD'S

10:58AM   14       CLINICAL R&D VISION BECOMES MORE OPERATIONALLY CLEAR, I CAN

10:58AM   15       REVISIT THERANOS IF THERE ARE NEW NEEDS WHICH ARISE THAT

10:58AM   16       THERANOS CAN SOLVE IF THEIR DEVICE IS PLAUSIBLY ABLE TO DO SO."

10:58AM   17             DO YOU SEE THAT LANGUAGE?

10:58AM   18       A.    I DO.

10:58AM   19       Q.    AND WHAT DID YOU MEAN BY THAT?

10:58AM   20       A.    WHAT I MEANT BY THAT IS THAT MOLECULAR MEDICINE COMING

10:58AM   21       INTO THIS YEAR OF 2009 HAD BEEN REORGANIZED INTO A NEW CLINICAL

10:58AM   22       R&D WORLDWIDE ORGANIZATION, AND STEVE FELSTEAD WAS THE GLOBAL

10:58AM   23       HEAD OF THAT OUT OF THE SANDWICH UNITED KINGDOM SITE, AND THAT

10:59AM   24       WAS SOMEWHAT NEW TO US, THERE WAS GOING TO BE NEW POTENTIAL

10:59AM   25       PROGRAMS, AND PERHAPS THERE MIGHT BE SOMETHING IN A CLINICAL



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10:59AM    1       PROGRAM EFFORT THAT COULD USE AN IMMUNOASSAY AT HOME.

10:59AM    2       Q.    TO YOUR KNOWLEDGE, DID THAT EVER MATERIALIZE?

10:59AM    3       A.    NO, IT DID NOT.

10:59AM    4       Q.    SO WE'RE IN JANUARY OF 2009.      DO YOU SEE THAT AT THE TOP

10:59AM    5       OF THE EMAIL, MR. WEBER?

10:59AM    6       A.    I DO.

10:59AM    7       Q.    I'D LIKE TO DISPLAY FOR YOU AND DRAW YOUR ATTENTION TO

10:59AM    8       WHAT IS IN EVIDENCE AS EXHIBIT 291.

10:59AM    9             IF WE CAN ZOOM IN ON THE TOP EMAIL, MS. HOLLIMAN.

10:59AM   10             YOU ARE NOT ON THIS EMAIL, CORRECT, MR. WEBER?

10:59AM   11       A.    I AM NOT ON THIS EMAIL.

11:00AM   12       Q.    AND BEFORE MEETING WITH THE GOVERNMENT, HAD YOU EVER SEEN

11:00AM   13       THIS EMAIL?

11:00AM   14       A.    NO, I HAD NEVER SEEN THIS EMAIL BEFORE MEETING WITH THE

11:00AM   15       FEDERAL GOVERNMENT.

11:00AM   16       Q.    DO YOU SEE THAT THIS APPEARS TO BE AN EMAIL FROM

11:00AM   17       ELIZABETH HOLMES TO INDIVIDUALS AT WALGREENS?

11:00AM   18       A.    YES, I DO SEE THAT.

11:00AM   19       Q.    AND DO YOU SEE THAT ONE OF THE ATTACHMENTS IS "PFIZER

11:00AM   20       THERANOS SYSTEM VALIDATION FINAL REPORT.PDF."

11:00AM   21       A.    I SEE THAT.

11:00AM   22       Q.    DO YOU SEE THAT?

11:00AM   23             AND DO YOU SEE WHERE MS. HOLMES WROTE, "DEAR JAY, ALEX.

11:00AM   24             "AS PER OUR DISCUSSION, PLEASE FIND THREE INDEPENDENT DUE

11:00AM   25       DILIGENCE REPORTS ON THERANOS SYSTEMS ATTACHED TO THIS EMAIL.



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11:00AM    1       THESE REPORTS ARE FROM GLAXOSMITHKLINE, PFIZER, AND

11:00AM    2       SCHERING-PLOUGH, AFTER THEIR OWN TECHNICAL VALIDATION AND

11:00AM    3       EXPERIENCE WITH THERANOS SYSTEMS IN THE FIELD."

11:00AM    4             DO YOU SEE THAT LANGUAGE?

11:00AM    5       A.    I DO SEE THAT.

11:00AM    6       Q.    LET ME DRAW YOUR ATTENTION TO PAGE 8 OF THIS DOCUMENT.

11:01AM    7             IF WE CAN ZOOM IN ON THE TOP HALF ALL OF THE WAY DOWN TO

11:01AM    8       THE CONCLUSIONS, MS. HOLLIMAN.

11:01AM    9             DO YOU SEE THE PFIZER LOGO UP IN THE LEFT-HAND CORNER;

11:01AM   10       MR. WEBER?

11:01AM   11       A.    I DO.

11:01AM   12       Q.    DO YOU SEE THE THERANOS REDEFINING HEALTH CARE ON THE

11:01AM   13       RIGHT?

11:01AM   14       A.    I DO.

11:01AM   15       Q.    AND DO YOU SEE WHERE IT SAYS THERANOS ANGIOGENESIS STUDY

11:01AM   16       REPORT?

11:01AM   17       A.    I DO.

11:01AM   18       Q.    AND THEN THERE'S THE WORD PFIZER, INC. BENEATH THAT?

11:01AM   19       A.    I DO.

11:01AM   20       Q.    AND I'D LIKE TO NOW COMPARE THIS TO PAGE 3 OF EXHIBIT 143.

11:01AM   21             IF WE'RE ABLE TO SPLIT THE SCREEN, MS. HOLLIMAN?

11:02AM   22             ARE YOU ABLE TO SEE THAT ON THE SCREEN, MR. WEBER?

11:02AM   23       A.    YES, I DO SEE THE TWO PAGES.

11:02AM   24       Q.    OKAY.   PRIOR TO YOUR MEETINGS WITH THE GOVERNMENT, HAD YOU

11:02AM   25       EVER SEEN A VERSION OF THE THERANOS ANGIOGENESIS STUDY REPORT



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11:02AM    1       WITH THE PFIZER LOGO ON IT?

11:02AM    2       A.    NO, I HAVE NOT SEEN THAT BEFORE EXCEPT FOR IN THE

11:02AM    3       INTERACTION WITH THE FEDERAL GOVERNMENT.

11:02AM    4             I HAVE NOT SEEN THIS BEFORE EXCEPT WITH THE INTERACTION

11:02AM    5       WITH THE FEDERAL GOVERNMENT.

11:02AM    6       Q.    OKAY.    DID YOU APPROVE USE OF THE PFIZER LOGO ON THE

11:02AM    7       DOCUMENT PROVIDED TO WALGREENS?

11:02AM    8       A.    I DID NOT.

11:02AM    9       Q.    TO YOUR KNOWLEDGE, DID ANYONE FROM PFIZER APPROVE USE OF

11:03AM   10       THE PFIZER LOGO ON THE DOCUMENT PROVIDED TO WALGREENS IN

11:03AM   11       EXHIBIT 29 -- EXHIBIT 291?

11:03AM   12       A.    I'M NOT AWARE OF ANY PFIZER APPROVAL FOR THE USE OF THE

11:03AM   13       PFIZER TRADEMARKED LOGO ON THIS DOCUMENT.

11:03AM   14       Q.    OKAY.    DOES IT DISAPPOINT YOU TO SEE THE PFIZER LOGO

11:03AM   15       APPLIED TO THIS?

11:03AM   16                     MR. CLINE:   EXCUSE ME, YOUR HONOR.     OBJECTION TO

11:03AM   17       WHAT HE'S TALKING ABOUT.

11:03AM   18                     THE COURT:   SUSTAINED.   SUSTAINED.

11:03AM   19       BY MR. LEACH:

11:03AM   20       Q.    DID YOU APPROVE USING THE PFIZER LOGO ON ANY VERSION OF

11:03AM   21       THE THERANOS ANGIOGENESIS STUDY REPORT?

11:03AM   22       A.    I DID NOT.

11:03AM   23       Q.    TO YOUR KNOWLEDGE, DID ANYBODY FROM PFIZER?

11:03AM   24       A.    NOT THAT I'M AWARE OF.

11:03AM   25       Q.    WOULD YOU HAVE APPROVED USING THE PFIZER LOGO ON THE



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11:03AM    1       THERANOS ANGIOGENESIS STUDY REPORT?

11:03AM    2       A.    I WOULD NOT BE ABLE TO APPROVE THE USE OF A PFIZER LOGO ON

11:03AM    3       AN EXTERNAL DOCUMENT OF ANOTHER COMPANY.         THAT IS THE PURVIEW

11:04AM    4       OF PFIZER LEGAL AND TRADEMARK.

11:04AM    5       Q.    WOULD IT BE FAIR TO SAY, IN 2010 OR AFTER, THAT PFIZER

11:04AM    6       ENDORSED THERANOS'S TECHNOLOGY?

11:04AM    7       A.    NO.

11:04AM    8       Q.    WOULD IT BE FAIR TO SAY, IN 2010 OR AFTER, THAT PFIZER

11:04AM    9       COMPREHENSIVELY VALIDATED THERANOS'S TECHNOLOGY?

11:04AM   10       A.    NO.

11:04AM   11       Q.    CAN WE PLEASE GO TO PAGE 33 OF EXHIBIT 271, OR 291,

11:04AM   12       MS. HOLLIMAN.

11:04AM   13             AND IF WE CAN ZOOM IN ALL OF THE WAY DOWN TO CONCLUSION

11:04AM   14       NUMBER 10.

11:04AM   15             MR. WEBER, I'M DISPLAYING PAGE 33 OF EXHIBIT 291.

11:05AM   16             AND DO YOU HAVE THAT IN FRONT OF YOU?

11:05AM   17       A.    I DO.

11:05AM   18       Q.    OKAY.   AND DO YOU SEE THE PFIZER LOGO UP AT THE TOP OF THE

11:05AM   19       PAGE?

11:05AM   20       A.    I DO.

11:05AM   21       Q.    AND DO YOU SEE THE THERANOS LOGO TO THE RIGHT?

11:05AM   22       A.    I DO.

11:05AM   23       Q.    AND DO YOU SEE A NUMBER OF CONCLUSIONS THAT ARE LISTED IN

11:05AM   24       THIS DOCUMENT?

11:05AM   25       A.    I DO.



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11:05AM    1       Q.    OKAY.    DID YOU APPROVE USE OF THE PFIZER LOGO ON THIS PAGE

11:05AM    2       OF THE DOCUMENT PROVIDED TO WALGREENS?

11:05AM    3       A.    NO, I DID NOT.

11:05AM    4       Q.    TO YOUR KNOWLEDGE, DID ANYONE FROM PFIZER DO THAT?

11:05AM    5       A.    NOT THAT I'M AWARE OF.

11:05AM    6       Q.    OKAY.    THIS SAYS -- THE FIRST CONCLUSION, "THE THERANOS

11:05AM    7       SYSTEM PERFORMED WITH SUPERIOR PERFORMANCE TO REFERENCE ASSAYS

11:05AM    8       WHILE RUNNING IN A COMPLEX AMBULATORY ENVIRONMENT."

11:05AM    9             DO YOU SEE THAT?

11:05AM   10       A.    I DO.

11:05AM   11       Q.    AND DO YOU AGREE WITH THAT?

11:05AM   12       A.    NO, I DO NOT.

11:05AM   13       Q.    TO YOUR KNOWLEDGE, DID ANYONE FROM PFIZER AGREE WITH THAT?

11:06AM   14       A.    NOT THAT I'M AWARE OF THAT.

11:06AM   15                     MR. CLINE:   EXCUSE ME, YOUR HONOR.     I APOLOGIZE FOR

11:06AM   16       INTERRUPTING, MR. WEBER.

11:06AM   17             I THINK -- ASSUMING WE'RE GOING TO GO THROUGH THE WHOLE

11:06AM   18       LIST HERE, THIS IS 702 TERRITORY AND I OBJECT ON THAT BASIS.

11:06AM   19                     THE COURT:   IS THE QUESTION GOING TO BE SIMILAR TO

11:06AM   20       THE ONE THAT YOU JUST ASKED, WHETHER OR NOT HE APPROVED IT OR

11:06AM   21       WHETHER --

11:06AM   22                     MR. LEACH:   OR WHETHER OR NOT IT WAS HIS CONCLUSION,

11:06AM   23       HIS THOUGHTS AT THE TIME.

11:06AM   24                     THE COURT:   RIGHT.   RIGHT.

11:06AM   25             NO, HE CAN TESTIFY ABOUT THAT.



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11:06AM    1             THE OBJECTION IS OVERRULED ON 702 GROUNDS.

11:06AM    2       BY MR. LEACH:

11:06AM    3       Q.    DID YOU AGREE WITH THAT AT THE TIME, MR. WEBER, CONCLUSION

11:06AM    4       NUMBER 1?

11:06AM    5       A.    NO, I DID NOT AGREE WITH THIS CONCLUSION.

11:06AM    6       Q.    OKAY.   TO YOUR KNOWLEDGE, DID ANYONE FROM PFIZER -- DID

11:06AM    7       ANYONE FROM PFIZER TELL YOU THAT THEY AGREED WITH THAT

11:06AM    8       CONCLUSION?

11:06AM    9       A.    NO ONE FROM PFIZER TOLD ME THAT THEY AGREED WITH THIS

11:06AM   10       CONCLUSION AS I REMEMBER IT.

11:07AM   11       Q.    OKAY.   DID YOU EVER TELL ANYONE FROM THERANOS THAT THIS

11:07AM   12       WAS PFIZER'S CONCLUSION AFTER REVIEWING THERANOS'S TECHNOLOGY?

11:07AM   13       A.    NO, I DID NOT.

11:07AM   14       Q.    LET ME DRAW YOUR ATTENTION TO NUMBER 5.

11:07AM   15             DO YOU SEE WHERE IT SAYS, "INTER-SYSTEM ACCURACY IS

11:07AM   16       EXCELLENT AND WAS DEMONSTRATED ON A PLATFORM WITH SUPERIOR

11:07AM   17       PERFORMANCE SPECIFICATIONS TO REFERENCE METHODS."

11:07AM   18             DO YOU SEE THAT?

11:07AM   19       A.    I DO.

11:07AM   20       Q.    AND WAS THAT YOUR CONCLUSION?

11:07AM   21       A.    NO, IT WAS NOT.

11:07AM   22       Q.    TO YOUR KNOWLEDGE, WAS THAT THE CONCLUSION OF ANYBODY AT

11:07AM   23       PFIZER?

11:07AM   24       A.    NOT THAT I'M AWARE OF.     I'M NOT AWARE OF ANYONE AT PFIZER

11:07AM   25       THAT AGREED WITH THIS CONCLUSION, OR WOULD.



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11:07AM    1       Q.    DID YOU EVER TELL SOMEBODY AT THERANOS THAT THIS WAS

11:07AM    2       PFIZER'S CONCLUSION?

11:07AM    3       A.    NO, I DID NOT.

11:07AM    4       Q.    ARE ANY OF THE CONCLUSIONS LISTED ON PAGE 29 CONCLUSIONS

11:07AM    5       THAT YOU HAD REACHED AFTER YOUR REVIEW OF THERANOS'S

11:07AM    6       TECHNOLOGY?

11:07AM    7       A.    NO, THEY ARE NOT.

11:08AM    8       Q.    TO YOUR KNOWLEDGE, AFTER 2010 DID PFIZER DO ANY WORK,

11:08AM    9       REVENUE GENERATING WORK WITH THERANOS?

11:08AM   10       A.    I'M NOT AWARE OF ANY REVENUE GENERATING WORK BY THERANOS

11:08AM   11       WITH PFIZER AT THAT TIME.

11:08AM   12       Q.    TO YOUR KNOWLEDGE, AFTER THIS ANGIOGENESIS PROGRAM, DID

11:08AM   13       THERANOS -- OR PFIZER PAY ANY MONEY TO THERANOS?

11:08AM   14       A.    I'M NOT AWARE OF ANY MONIES BEING PAID TO THERANOS OTHER

11:08AM   15       THAN FOR THAT ANGIOGENESIS STUDY.

11:08AM   16       Q.    THE ANGIOGENESIS STUDY THAT YOU WERE REVIEWING IN LATE

11:08AM   17       2008 AND THE EARLY PART OF 2009?

11:08AM   18       A.    YES.

11:08AM   19       Q.    TO YOUR KNOWLEDGE, DID PFIZER AND THERANOS HAVE ANY

11:08AM   20       MEANINGFUL BUSINESS DEALINGS AFTER 2008?

11:08AM   21       A.    TO MY AWARENESS AND -- THERE WAS NO FURTHER INTERACTION IN

11:09AM   22       ANY MEANINGFUL WAY BETWEEN THERANOS AND PFIZER.

11:09AM   23       Q.    DO YOU AGREE WITH THE STATEMENT THAT PFIZER VALIDATED

11:09AM   24       THERANOS'S TECHNOLOGY?

11:09AM   25       A.    NO, I DO NOT.



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11:09AM    1       Q.    AND IS IT RIGHT THAT YOU CAME TO THE OPPOSITE CONCLUSION?

11:09AM    2       A.    I DID.

11:09AM    3                   MR. LEACH:    MAY I HAVE A MOMENT, YOUR HONOR?

11:09AM    4                   THE COURT:    YES.

11:09AM    5             (DISCUSSION AMONGST GOVERNMENT COUNSEL OFF THE RECORD.)

11:09AM    6                   MR. LEACH:    I HAVE NO FURTHER QUESTIONS, YOUR HONOR.

11:09AM    7             THANK YOU.

11:09AM    8             THANK YOU, MR. WEBER.

11:09AM    9                   THE COURT:    MR. CLINE, YOU'LL HAVE

11:09AM   10       CROSS-EXAMINATION?

11:09AM   11                   MR. CLINE:    I WILL.

11:09AM   12                   THE COURT:    LET'S, LET'S -- BEFORE WE TAKE THAT,

11:09AM   13       PLEASE, I THINK WE'LL TAKE OUR MORNING BREAK NOW, LADIES AND

11:09AM   14       GENTLEMEN, FOR ABOUT 30 MINUTES.

11:09AM   15             BEFORE WE DO THAT, MR. LEACH, THERE IS AN EXHIBIT THAT I

11:09AM   16       THINK WE NEED TO DEAL WITH.       I THINK IT'S 5387D, DAVID, AND I

11:09AM   17       BELIEVE THAT THAT WAS GOING TO BE OFFERED.

11:10AM   18                   MR. LEACH:    YES, YOUR HONOR.     THE GOVERNMENT MARKED

11:10AM   19       DURING THE TESTIMONY OF JUSTICE OFFEN EXHIBIT 5387A.           IT

11:10AM   20       ADMITTED A NUMBER OF TEXT MESSAGES FROM 5387B.

11:10AM   21             IN THE COURSE OF VARIOUS WITNESS TESTIMONY, WE HAVE ALSO

11:10AM   22       INTRODUCED 5387C.

11:10AM   23             WE ARE NOW OFFERING 5387D, WHICH INCLUDES ALL OF A, ALL OF

11:10AM   24       B, AND ALL OF C, AND SOME ADDITIONAL MESSAGES THAT THE DEFENSE

11:10AM   25       HAS OFFERED.



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11:10AM    1             AT THIS TIME WE OFFER 5387D.

11:10AM    2                   THE COURT:    MS. TREFZ.

11:10AM    3                   MS. TREFZ:    WE HAVE NO OBJECTION AT THIS POINT,

11:10AM    4       YOUR HONOR.    IT'S SUBJECT TO POTENTIAL OBJECTIONS TO PARTICULAR

11:10AM    5       USES IF IT COMES UP.

11:10AM    6                   THE COURT:    ALL RIGHT.    THANK YOU.

11:10AM    7             THIS IS ADMITTED THEN.     5387D, DAVID, IS ADMITTED.       THANK

11:10AM    8       YOU FOR THE CLARIFICATION OF THAT.        THAT IS ADMITTED.     THAT

11:11AM    9       EXHIBIT IS ADMITTED.

11:11AM   10             (GOVERNMENT'S EXHIBIT 5387D WAS RECEIVED IN EVIDENCE.)

11:11AM   11                   MR. LEACH:    THANK YOU, YOUR HONOR.

11:11AM   12                   THE COURT:    SUBJECT TO ANY FURTHER COMMENT FROM THE

11:11AM   13       DEFENSE.

11:11AM   14             ALL RIGHT.    LADIES AND GENTLEMEN, LET'S TAKE OUR BREAK.

11:11AM   15       SO 30 MINUTES, PLEASE, 30 MINUTES.

11:11AM   16             SIR, YOU CAN STAND DOWN AND WE'LL SEE YOU BACK IN HALF AN

11:11AM   17       HOUR.

11:11AM   18                   THE WITNESS:    THANK YOU.

11:11AM   19             (JURY OUT AT 11:11 A.M.)

11:11AM   20                   THE COURT:    ALL RIGHT.    THANK YOU.    PLEASE BE

11:11AM   21       SEATED.

11:11AM   22             THE RECORD SHOULD REFLECT THAT OUR JURY HAS LEFT.           THE

11:11AM   23       WITNESS, MR. WEBER, HAS LEFT THE COURTROOM.

11:11AM   24             I JUST WANT TO CHECK WITH COUNSEL, ANYTHING BEFORE WE

11:11AM   25       BREAK, COUNSEL?



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11:11AM    1                   MR. LEACH:    NO, YOUR HONOR.

11:11AM    2                   MR. CLINE:    NO, YOUR HONOR.

11:11AM    3                   THE COURT:    ALL RIGHT.    THANK YOU.

11:12AM    4                   THE CLERK:    COURT IS IN RECESS.

11:46AM    5             (LUNCH RECESS TAKEN AT 11:11 A.M.)

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11:51AM    1                                  AFTERNOON SESSION

11:51AM    2             (JURY IN AT 11:51 A.M.)

11:51AM    3                   THE COURT:     ALL RIGHT.   THANK YOU.    PLEASE BE

11:51AM    4       SEATED.   WE'RE BACK ON THE RECORD.

11:51AM    5             ALL PARTIES PREVIOUSLY PRESENT ARE PRESENT ONCE AGAIN.

11:51AM    6       OUR JURY IS PRESENT, AND WE'LL JUST SUMMON THE WITNESS.

11:51AM    7             MR. CLINE, YOU'LL HAVE CROSS-EXAMINATION.

11:51AM    8             THANK YOU.

11:51AM    9             MR. CLINE, YOU HAVE QUESTIONS?

11:52AM   10                   MR. CLINE:     I DO.

11:52AM   11                                  CROSS-EXAMINATION

11:52AM   12       BY MR. CLINE:

11:52AM   13       Q.    MR. WEBER, YOU CAN TAKE OFF YOUR MASK IF YOU WOULD LIKE.

11:52AM   14       A.    THANK YOU.

11:52AM   15       Q.    MY NAME IS JOHN CLINE AND I'M A LAWYER FOR MS. HOLMES.

11:52AM   16             YOUR HONOR, MAY I APPROACH?

11:52AM   17                   THE COURT:     YES.

11:52AM   18       BY MR. CLINE:

11:52AM   19       Q.    MR. WEBER, I'M GOING TO HAND YOU A BINDER, AND I MAY REFER

11:52AM   20       YOU TO ITEMS IN THAT BINDER FROM TIME TO TIME (HANDING).

11:52AM   21       A.    THANK YOU.

11:52AM   22       Q.    MR. WEBER, IS IT FAIR TO SAY THAT YOUR INVOLVEMENT IN

11:52AM   23       THERANOS WHILE YOU WERE AT PFIZER SPANNED ABOUT THREE MONTHS?

11:52AM   24       A.    MY EXAMINATION OF THE DOCUMENTS AND ASSESSMENT SPANNED

11:52AM   25       THREE, FOUR MONTHS.



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11:52AM    1       Q.    YOU WERE INTRODUCED TO THERANOS BY MR. LIPSET IN EARLY

11:52AM    2       NOVEMBER 2008; RIGHT?

11:52AM    3       A.    YES.

11:52AM    4       Q.    AND YOU HAD YOUR PHONE CALL WITH MS. HOLMES WHERE YOU

11:52AM    5       CONVEYED THE MESSAGE FROM PFIZER AT THE END OF JANUARY 2009;

11:52AM    6       RIGHT?

11:53AM    7       A.    YES, AS I REMEMBER IT.

11:53AM    8       Q.    ALL RIGHT.    SO THAT'S NOVEMBER, DECEMBER, AND JANUARY;

11:53AM    9       RIGHT?

11:53AM   10       A.    THREE MONTHS.

11:53AM   11       Q.    WE CAN AGREE THAT THAT'S THREE MONTHS?

11:53AM   12       A.    OKAY.

11:53AM   13       Q.    AND DURING THAT THREE MONTH PERIOD, YOU WERE THE DIRECTOR

11:53AM   14       OF THE DIAGNOSTICS GROUP WITHIN THE MOLECULAR MEDICINE GROUP AT

11:53AM   15       PFIZER; RIGHT?

11:53AM   16       A.    I WAS THE DIRECTOR OF DIAGNOSTICS IN MOLECULAR MEDICINE.

11:53AM   17       Q.    ALL RIGHT.    AND I THINK YOU TESTIFIED ON DIRECT THAT

11:53AM   18       MOLECULAR MEDICINE WAS A WORLDWIDE UNIT OF PFIZER.

11:53AM   19             DID I GET THAT RIGHT?

11:53AM   20       A.    YES.

11:53AM   21       Q.    AND WAS MOLECULAR MEDICINE PART, ITSELF PART OF SOME

11:53AM   22       LARGER BUSINESS UNIT AT PFIZER?

11:53AM   23       A.    YES.

11:53AM   24       Q.    AND WHAT WAS IT PART OF?

11:53AM   25       A.    IT WAS PART OF, IN '08, PART OF THE RESEARCH UNIT



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11:53AM    1       WORLDWIDE, AND THEN IN JANUARY, AS I REMEMBER, WE MOVED

11:53AM    2       DIRECTLY INTO CLINICAL DEVELOPMENT OPERATIONS.

11:53AM    3       Q.    ALL RIGHT.    BUT IN ANY EVENT, THROUGHOUT THIS PERIOD

11:54AM    4       MOLECULAR MEDICINE WAS PART OF SOME LARGER BUSINESS UNIT;

11:54AM    5       RIGHT?

11:54AM    6       A.    YES.

11:54AM    7       Q.    AND WITHIN MOLECULAR MEDICINE, YOU'VE TESTIFIED THAT YOU

11:54AM    8       WERE PART OF THE DIAGNOSTIC GROUP; RIGHT?

11:54AM    9       A.    YES.

11:54AM   10       Q.    WERE THERE OTHER GROUPS WITHIN MOLECULAR MEDICINE AS WELL?

11:54AM   11       A.    THERE WERE.

11:54AM   12       Q.    HOW MANY ROUGHLY WERE THERE?

11:54AM   13       A.    MAYBE EIGHT.

11:54AM   14       Q.    ALL RIGHT.    SO DIAGNOSTIC WAS ONE OF ROUGHLY EIGHT GROUPS

11:54AM   15       WITHIN MOLECULAR MEDICINE, WHICH WAS PART OF A LARGER BUSINESS

11:54AM   16       UNIT?

11:54AM   17       A.    YES.

11:54AM   18       Q.    NOW, IT WAS MR. LIPSET WHO ASKED YOU TO GET INVOLVED WITH

11:54AM   19       THE THERANOS REVIEW; IS THAT RIGHT?

11:54AM   20       A.    YES.

11:54AM   21       Q.    AND MR. LIPSET AT THE TIME -- WE'RE TALKING NOVEMBER OF

11:54AM   22       2008 NOW -- HE WAS ANOTHER DIRECTOR WITHIN MOLECULAR MEDICINE;

11:54AM   23       RIGHT?

11:54AM   24       A.    YES.

11:54AM   25       Q.    SO HE WAS YOUR -- BASICALLY ON THE SAME LEVEL AS YOU IN



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11:55AM    1       THE CORPORATE HIERARCHY?

11:55AM    2       A.    NO.    HE WAS ONE STEP HIGHER.

11:55AM    3       Q.    OH.    SO HE WAS -- WAS HE YOUR BOSS OR WAS HE JUST HIGHER

11:55AM    4       IN THE CORPORATE LADDER?

11:55AM    5       A.    HE WAS NOT MY BOSS.     HE WAS A PEER AT NEW YORK CITY.

11:55AM    6             HE WAS ONE OF THE COMMAND LEADERSHIP TEAM FOR MOLECULAR

11:55AM    7       MEDICINE UNDERNEATH AIDAN POWER, THE VICE PRESIDENT.

11:55AM    8       Q.    ALL RIGHT.    BUT HE WAS ONE LEVEL UP FROM YOU IN THE

11:55AM    9       CORPORATE STRUCTURE?

11:55AM   10       A.    YES.

11:55AM   11       Q.    AND BOTH YOU AND MR. LIPSET REPORTED TO DR. AIDAN POWER;

11:55AM   12       IS THAT RIGHT?

11:55AM   13       A.    CRAIG LIPSET REPORTED DIRECTLY TO AIDAN POWER.         I REPORTED

11:55AM   14       TO HAKAN SAKUL, WHO IS A PEER OF CRAIG LIPSET, AND THEN HAKAN

11:55AM   15       REPORTED TO CRAIG LIPSET.

11:55AM   16       Q.    ALL RIGHT.    AND DR. POWER WAS THE VICE PRESIDENT IN CHARGE

11:55AM   17       OF MOLECULAR MEDICINE; RIGHT?

11:56AM   18       A.    YES.

11:56AM   19       Q.    NOW, WHEN MR. LIPSET PUT YOU IN TOUCH WITH THERANOS -- AND

11:56AM   20       THIS WAS, AGAIN, EARLY NOVEMBER OF 2008; RIGHT?

11:56AM   21       A.    CORRECT.

11:56AM   22       Q.    WAS THAT YOUR FIRST CONTACT WITH THERANOS?

11:56AM   23       A.    YES.

11:56AM   24       Q.    IN FACT, AT THAT POINT IN NOVEMBER OF 2008, HAD YOU HEARD

11:56AM   25       OF THERANOS BEFORE?



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11:56AM    1       A.    I CAN'T REMEMBER.     IT WAS A LONG TIME AGO.      THERANOS WAS

11:56AM    2       ONE OF MANY COMPANIES ON, YOU KNOW, THE BIOTECH WORLD.

11:56AM    3       Q.    OKAY.   SO THE SHORT ANSWER IS YOU DON'T RECALL WHETHER YOU

11:56AM    4       EVER HEARD OF THERANOS BEFORE AT THAT POINT?

11:56AM    5       A.    YES, I DO NOT REMEMBER WHETHER I HAD HEARD OF THERANOS

11:56AM    6       BEFORE THEN.

11:56AM    7       Q.    NOW, AS OF NOVEMBER 2008, YOU HAD BEEN AT PFIZER JUST A

11:56AM    8       FEW MONTHS; RIGHT?

11:56AM    9       A.    I HAD BEEN THERE SINCE MAY AS I REMEMBER IT, SO ABOUT

11:56AM   10       MAYBE FIVE MONTHS, FOUR MONTHS.

11:56AM   11       Q.    ALL RIGHT.    YOU WERE HIRED AT PFIZER IN MAY OF 2008;

11:56AM   12       RIGHT?

11:56AM   13       A.    YES, AS I REMEMBER IT.

11:57AM   14       Q.    NOW, AFTER MR. LIPSET INTRODUCED YOU TO THERANOS, HE

11:57AM   15       PROVIDED YOU SOME MATERIALS; RIGHT?

11:57AM   16       A.    YES.

11:57AM   17       Q.    AND MR. FRENZEL, GARY FRENZEL AT THERANOS, PROVIDED YOU

11:57AM   18       SOME MATERIALS; RIGHT?

11:57AM   19       A.    YES.

11:57AM   20       Q.    AND WE WENT THROUGH THOSE MATERIALS ON YOUR DIRECT

11:57AM   21       EXAMINATION; RIGHT?     AT LEAST SOME OF THEM?

11:57AM   22       A.    YES.

11:57AM   23       Q.    AND YOU LEARNED FROM REVIEWING THOSE MATERIALS THAT

11:57AM   24       THERANOS HAD BEEN WORKING WITH PFIZER AT THAT POINT FOR A

11:57AM   25       COUPLE OF YEARS; RIGHT?



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11:57AM    1       A.    THAT'S MY UNDERSTANDING.

11:57AM    2       Q.    AND, OF COURSE, YOU HADN'T BEEN AT PFIZER DURING THAT

11:57AM    3       TIME, SO YOU HAD NO INVOLVEMENT WITH ANY OF THAT WORK; RIGHT?

11:57AM    4       A.    I HAD RECEIVED ALL OF THE DOCUMENTATION AND THE STUDIES,

11:57AM    5       SO I HAD THE BODY OF KNOWLEDGE THAT I WOULD NEED FOR AN

11:57AM    6       ASSESSMENT.

11:57AM    7       Q.    YEAH, THAT WASN'T QUITE MY QUESTION.

11:57AM    8       A.    OKAY.

11:57AM    9       Q.    YOU WEREN'T AT THERANOS DURING THE PERIOD THAT THIS WORK

11:57AM   10       WAS GOING ON, AND SO YOU WERE NOT INVOLVED IN IT PERSONALLY;

11:58AM   11       RIGHT?

11:58AM   12       A.    NO, I WAS NOT PERSONALLY INVOLVED IN IT.

11:58AM   13       Q.    THIS WAS AN ONCOLOGY STUDY THAT THERANOS HAD WORKED WITH

11:58AM   14       PFIZER ON; RIGHT?

11:58AM   15       A.    YES.

11:58AM   16       Q.    AND OVER THE YEARS THAT THERANOS HAD BEEN WORKING WITH

11:58AM   17       PFIZER BEFORE YOUR REVIEW, THERANOS HAD WORKED WITH A NUMBER OF

11:58AM   18       PFIZER SCIENTISTS; CORRECT?

11:58AM   19       A.    CORRECT.

11:58AM   20       Q.    NOW, AFTER YOU GOT INVOLVED, YOU HAD A, WHICH I THINK YOU

11:58AM   21       DESCRIBED ON DIRECT, A ROUGHLY ONE HOUR PHONE CALL WITH

11:58AM   22       MS. HOLMES AND OTHERS AT THERANOS; RIGHT?

11:58AM   23       A.    YES.

11:58AM   24       Q.    AND THAT WAS NOVEMBER 13TH, 2008; RIGHT?

11:58AM   25       A.    AS I REMEMBER IT FROM THE DOCUMENTS.



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11:58AM    1       Q.    YES.    AND THAT'S -- YOU'RE FREE TO REFRESH YOUR

11:58AM    2       RECOLLECTION FROM THE DOCUMENT.

11:58AM    3             SO THAT WAS ABOUT A WEEK AFTER YOU GOT INVOLVED; RIGHT?

11:58AM    4       A.    YES -- WELL, YEAH.

11:58AM    5       Q.    AND THEN YOU EMAILED SOME QUESTIONS TO THERANOS; RIGHT?

11:59AM    6       A.    YES.

11:59AM    7       Q.    AND THAT WAS NOVEMBER 17TH, 2008; RIGHT?

11:59AM    8       A.    AS I REMEMBER IT.

11:59AM    9       Q.    ALL RIGHT.    SO NOW YOU'RE ROUGHLY TWO WEEKS INTO YOUR

11:59AM   10       INVOLVEMENT; RIGHT?

11:59AM   11       A.    YES.

11:59AM   12       Q.    AND YOU SENT THOSE QUESTIONS TO MR. FRENZEL AT THERANOS;

11:59AM   13       RIGHT?

11:59AM   14       A.    I DID.

11:59AM   15       Q.    AND HE RESPONDED IN LATE NOVEMBER.

11:59AM   16             DO YOU RECALL THAT?

11:59AM   17       A.    I DO.

11:59AM   18       Q.    NOW, YOU REVIEWED THERANOS'S PUBLICLY FILED PATENT,

11:59AM   19       PATENTS; CORRECT?

11:59AM   20       A.    YES.

11:59AM   21       Q.    DID YOU REVIEW BOTH APPLICATIONS AND FINAL PATENTS OR JUST

11:59AM   22       THE APPROVED PATENTS?

11:59AM   23       A.    I REVIEWED ALL PUBLICLY AVAILABLE APPLICATIONS AND

11:59AM   24       APPROVED PATENTS.

11:59AM   25       Q.    YOU DID NOT, I TAKE IT, VISIT THE THERANOS HEADQUARTERS OR



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11:59AM    1       UNIT IN CALIFORNIA; RIGHT?

12:00PM    2       A.    NO, I DID NOT.

12:00PM    3       Q.    AND YOU DID NOT PHYSICALLY EXAMINE THE THERANOS DEVICE;

12:00PM    4       RIGHT?

12:00PM    5       A.    NO, I DID NOT.

12:00PM    6       Q.    PART OF YOUR PURPOSE IN CONDUCTING THIS REVIEW WAS TO

12:00PM    7       DETERMINE WHETHER PFIZER HAD ANY CURRENT BUSINESS USE FOR

12:00PM    8       THERANOS TECHNOLOGY; RIGHT?

12:00PM    9       A.    I DID, OR I DO, YES, YES.

12:00PM   10       Q.    THAT WAS PART OF YOUR PURPOSE; RIGHT?

12:00PM   11             AND IN THE COURSE OF MAKING THAT DETERMINATION, YOU TALKED

12:00PM   12       WITH SOME OF YOUR COLLEAGUES IN MOLECULAR MEDICINE; RIGHT?

12:00PM   13       A.    I DID.

12:00PM   14       Q.    YOU TALKED WITH A COUPLE OF THERAPEUTIC AREA MOLECULAR

12:00PM   15       MEDICINE LEADS; RIGHT?

12:00PM   16       A.    YES.

12:00PM   17       Q.    AND THAT'S -- ARE THEY COMMONLY REFERRED TO AS TAMML'S?

12:00PM   18       A.    WE CALLED THEM TAMML'S.

12:00PM   19       Q.    ALL RIGHT.    ONE WAS DR. ANDY WILLIAMS IN CALIFORNIA?

12:00PM   20       A.    YES.

12:00PM   21       Q.    AND ONE WAS DR. MICHAEL ROBBINS IN NEW YORK; RIGHT?

12:01PM   22       A.    YES.

12:01PM   23       Q.    AND THEY TOLD YOU THAT THEY HAD NO CURRENT OR FORESEEABLE

12:01PM   24       INTEREST IN A PATIENT IN HOME IN VITRO IMMUNOASSAY DIAGNOSTIC

12:01PM   25       IN ANY CLINICAL TRIAL; RIGHT?



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12:01PM    1       A.    YES.

12:01PM    2       Q.    AND YOU UNDERSTOOD THAT THAT'S WHAT THERANOS WAS OFFERING,

12:01PM    3       AN IMMUNOASSAY DEVICE FOR PATIENT IN HOME USE; CORRECT?

12:01PM    4       A.    THAT'S WHAT I LARGELY UNDERSTOOD FROM THE DOCUMENTATION

12:01PM    5       PROVIDED, BUT I ALSO HAD PROBED FURTHER FUTURE PATHS IN MY

12:01PM    6       VERBAL DISCUSSION WITH THEM.

12:01PM    7       Q.    RIGHT.   AND THAT'S THE UNDERSTANDING THAT YOU CAME TO;

12:01PM    8       CORRECT?

12:01PM    9       A.    I COULD NOT MAKE A DETERMINATION OF WHAT THEIR FUTURE

12:01PM   10       PATHS WERE, BUT I DID -- WAS ABLE TO DETERMINE THAT THEY HAD AN

12:01PM   11       IMMUNOASSAY PLATFORM THAT THEY WERE OFFERING FOR IN HOME USE AT

12:01PM   12       THAT TIME.

12:01PM   13       Q.    ALL RIGHT.    AND, IN FACT, ON THE VERY FIRST PAGE OF YOUR

12:01PM   14       OVERVIEW IN YOUR REPORT YOU SAY THERANOS PURPORTS TO HAVE A

12:02PM   15       PATIENT IN HOME USE IMMUNOASSAY IN VITRO DIAGNOSTIC DEVICE

12:02PM   16       PLATFORM; RIGHT?

12:02PM   17       A.    I DO.

12:02PM   18       Q.    AND YOU WERE ASSESSING WHETHER PFIZER HAD ANY CURRENT

12:02PM   19       BUSINESS USE FOR SUCH A PLATFORM; CORRECT?

12:02PM   20       A.    CORRECT.

12:02PM   21       Q.    YOU ALSO -- GOING BACK TO YOUR DISCUSSION WITH YOUR

12:02PM   22       COLLEAGUES IN MOLECULAR MEDICINE, YOU ALSO TALKED WITH PEOPLE

12:02PM   23       IN YOUR OWN DIAGNOSTIC GROUP; CORRECT?

12:02PM   24       A.    UM, UM, I CAN'T REMEMBER, BUT --

12:02PM   25       Q.    ALL RIGHT.    TAKE A LOOK IN EITHER BINDER AT EXHIBIT 167,



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12:02PM    1       PAGE 2.

12:02PM    2             WE'RE NOT GOING TO PUT THAT UP.       WE DON'T NEED TO PUT THAT

12:02PM    3       UP.

12:02PM    4             I JUST WANT TO REFRESH YOUR RECOLLECTION DOWN TOWARD THE

12:02PM    5       BOTTOM OF PAGE 2.

12:02PM    6       A.    167, PAGE 2.

12:02PM    7       Q.    DO YOU SEE THERE'S A REFERENCE THERE TO DIAGNOSTIC GROUP

12:02PM    8       MOLECULAR MEDICINE INTEREST IN THERANOS?

12:02PM    9       A.    YES.

12:03PM   10       Q.    AND DOES THAT REFRESH YOUR RECOLLECTION THAT YOU TALKED TO

12:03PM   11       COLLEAGUES IN THE DIAGNOSTIC GROUP ABOUT WHETHER THEY HAD ANY

12:03PM   12       CURRENT INTEREST IN THERANOS TECHNOLOGY?

12:03PM   13       A.    YES.

12:03PM   14       Q.    ALL RIGHT.    AND THEY TOLD YOU THAT THEIR -- AND YOU'RE

12:03PM   15       WELCOME TO FOLLOW ALONG WITH ME HERE -- THAT THEIR DIAGNOSTIC

12:03PM   16       ONCOLOGY ASSAY NEEDS WERE CURRENTLY FOR MOLECULAR NUCLEIC ACID

12:03PM   17       TESTS RUN IN PHYSICIAN CARE SITES AS POINT OF CARE DECISIONS

12:03PM   18       FOR PATIENT ENROLLMENT IN CLINICAL STUDIES; RIGHT?

12:03PM   19       A.    YES.

12:03PM   20       Q.    SO TO PUT THAT IN COMPREHENSIBLE ENGLISH, THEY WERE

12:03PM   21       LOOKING FOR A DEVICE THAT WOULD PERFORM A DIFFERENT KIND OF

12:03PM   22       TEST AND WOULD DO SO IN A POINT OF CARE, SO IN A DOCTOR'S

12:03PM   23       OFFICE, FOR EXAMPLE, AND NOT IN HOME; RIGHT?

12:03PM   24       A.    YES, IN A DOCTOR'S OFFICE FOR PATIENT ENROLLMENT, OR IT

12:03PM   25       WOULD BE AT A MEDICAL CENTER.



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12:03PM    1       Q.    ALL RIGHT.    AND SOMETHING THAT DID A DIFFERENT KIND OF

12:04PM    2       TEST, NOT IMMUNOASSAY; RIGHT?

12:04PM    3       A.    YES, AN ENTIRELY DIFFERENT PLATFORM TECHNOLOGY.

12:04PM    4       Q.    SO BASED ON THE INFORMATION THAT YOU GATHERED, YOU

12:04PM    5       PREPARED THE REPORT THAT WE TALKED ABOUT; RIGHT?          YES?

12:04PM    6       A.    YES.

12:04PM    7       Q.    DATED DECEMBER 31ST, 2008; RIGHT?

12:04PM    8       A.    YES.

12:04PM    9       Q.    AND IN THE HEADING TO THAT REPORT, YOU SAY THAT IT'S YOUR

12:04PM   10       FINAL REPORT; RIGHT?

12:04PM   11       A.    IT IS.

12:04PM   12       Q.    AND AS FAR AS YOU'RE CONCERNED, THAT IS YOUR FINAL REPORT?

12:04PM   13       A.    IT WAS MY FINAL REPORT.

12:04PM   14       Q.    AND YOU ALSO PUT DOWN AT THE BOTTOM, SUBJECT TO ONGOING

12:04PM   15       MANAGEMENT REVIEW; RIGHT?

12:04PM   16       A.    YES.

12:04PM   17       Q.    AND THAT'S SOMETHING THAT YOU COMMONLY PUT; RIGHT?

12:04PM   18       A.    THAT I WOULD COMMONLY PUT ON THE APPROPRIATE DOCUMENTS.

12:04PM   19       Q.    YES.   AND YOU WOULD PUT THAT THERE BECAUSE IT'S TRUE,

12:04PM   20       RIGHT, IT'S SUBJECT TO ONGOING MANAGEMENT REVIEW; RIGHT?

12:04PM   21       A.    IT'S A SUBJECT FOR COMMUNICATION GOING FORWARD SO IT WAS A

12:04PM   22       LIVING DOCUMENT, SO AS A FINAL REPORT PEOPLE COULD BE AWARE OF

12:04PM   23       THAT DOCUMENT.

12:04PM   24       Q.    YES.

12:04PM   25       A.    IT COULD BE COMMUNICATED TO OTHER VICE PRESIDENTS IN THE



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12:05PM    1       COMPANY.

12:05PM    2       Q.    UNDERSTOOD.    NOW, YOU SENT THIS REPORT TO YOUR BOSS'S

12:05PM    3       BOSS, DR. POWER; RIGHT?

12:05PM    4       A.    (NODS HEAD UP AND DOWN.)

12:05PM    5       Q.    YES?

12:05PM    6       A.    YES.

12:05PM    7       Q.    I'M SORRY.    I NEED YOU TO GIVE A VERBAL ANSWER.        I KNOW

12:05PM    8       WHAT YOU MEAN WHEN YOU NOD BUT IT DOESN'T SHOW UP ON THE

12:05PM    9       RECORD.

12:05PM   10       A.    I SEE.   THANK YOU.

12:05PM   11       Q.    AND YOU ALSO SENT IT TO MR. LIPSET?

12:05PM   12       A.    YES.

12:05PM   13       Q.    AND YOU SENT IT TO YOUR BOSS, DR. SAKUL; RIGHT?

12:05PM   14       A.    YES.

12:05PM   15       Q.    AND YOU DID NOT SEND THIS REPORT TO THERANOS; RIGHT?

12:05PM   16       A.    I DID NOT.

12:05PM   17       Q.    YOU DID NOT SEND THIS REPORT TO ELIZABETH HOLMES; RIGHT?

12:05PM   18       A.    I DID NOT.

12:05PM   19       Q.    YOU DID NOT SEND THIS REPORT TO MR. LIPSET; RIGHT?

12:05PM   20       A.    I DID SEND THE REPORT TO MR. LIPSET.

12:05PM   21       Q.    I'M SORRY, I GOT THE NAME WRONG.

12:05PM   22             MR. FRENZEL?

12:05PM   23       A.    OH.

12:05PM   24       Q.    MR. FRENZEL WAS AT THERANOS; RIGHT?

12:05PM   25       A.    YES.



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12:05PM    1       Q.    AND YOU DID NOT SEND THIS REPORT TO HIM?

12:05PM    2       A.    I DID NOT.

12:05PM    3       Q.    AND YOU DID SEND IT TO MR. LIPSET, WHO WAS AT PFIZER;

12:05PM    4       CORRECT?

12:05PM    5       A.    YES, TO DR. LIPSET, YES, I SEND IT.        I DID NOT SEND IT TO

12:06PM    6       DOCTOR -- OR TO GARY FRENZEL.

12:06PM    7       Q.    ALL RIGHT.    I THINK I UNDERSTOOD YOU TO SAY IN YOUR DIRECT

12:06PM    8       EXAMINATION THAT -- IS IT DR. LIPSET?

12:06PM    9       A.    IT IS.

12:06PM   10       Q.    ALL RIGHT.    I'M SORRY.    I'VE BEEN CALLING HIM MR. LIPSET.

12:06PM   11             DR. LIPSET, DR. SAKUL, AND DR. POWER AGREED WITH YOUR

12:06PM   12       ASSESSMENT.

12:06PM   13             WAS THAT YOUR TESTIMONY ON DIRECT?

12:06PM   14       A.    YES.

12:06PM   15       Q.    ALL RIGHT.    YOU'VE MET WITH THE GOVERNMENT MORE THAN ONCE;

12:06PM   16       RIGHT?

12:06PM   17       A.    YES.

12:06PM   18       Q.    BEFORE YOUR TESTIMONY HERE?

12:06PM   19       A.    YES.

12:06PM   20       Q.    AND THE FIRST SUCH MEETING WAS IN FEBRUARY 2020 IN PERSON;

12:06PM   21       RIGHT?

12:06PM   22       A.    YES.

12:06PM   23       Q.    DO YOU REMEMBER RIGHT BACK BEFORE THE PANDEMIC MADE IT

12:06PM   24       IMPOSSIBLE TO HAVE IN-PERSON MEETINGS?

12:06PM   25       A.    YES, YES, I REMEMBER THAT NOW.



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12:06PM    1       Q.    AND YOU MET IN NEW YORK CITY; RIGHT?

12:06PM    2       A.    YES.

12:06PM    3       Q.    IN THE OFFICES OF PFIZER'S LAWYERS; RIGHT?

12:07PM    4       A.    YES.

12:07PM    5       Q.    AND PRESENT THERE WERE MR. LEACH, THE PROSECUTOR WHO WAS

12:07PM    6       ASKING YOU QUESTIONS THIS MORNING; RIGHT?

12:07PM    7       A.    YES.

12:07PM    8       Q.    AND MR. BOSTIC WAS THERE.

12:07PM    9             DO YOU REMEMBER?

12:07PM   10       A.    I DON'T REMEMBER THE NAMES.

12:07PM   11       Q.    THIS GENTLEMAN SITTING HERE AT THE COUNSEL TABLE

12:07PM   12       (INDICATING)?

12:07PM   13       A.    I BELIEVE SO.

12:07PM   14       Q.    ALL RIGHT.    AND AT LEAST ONE FEDERAL AGENT WAS THERE;

12:07PM   15       RIGHT?

12:07PM   16       A.    YES.

12:07PM   17       Q.    AND PFIZER'S LAWYERS WERE THERE; RIGHT?

12:07PM   18       A.    YES.

12:07PM   19       Q.    AND, AND YOU UNDERSTOOD, OF COURSE, THAT IT WAS IMPORTANT

12:07PM   20       FOR YOU TO GIVE TRUTHFUL, COMPLETE ANSWERS TO THE QUESTIONS

12:07PM   21       THAT YOU WERE ASKED; RIGHT?

12:07PM   22       A.    YES.

12:07PM   23       Q.    AND IN THE COURSE OF THAT MEETING, YOU TOLD THE ASSEMBLED

12:07PM   24       MULTITUDE THAT YOUR FINAL ASSESSMENT WAS MET WITH SILENCE FROM

12:07PM   25       LIPSET, SAKUL, AND POWER, WHICH WAS NOT UNUSUAL.



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12:07PM    1             DO YOU REMEMBER TELLING THEM THAT?

12:07PM    2       A.    NO, I DO NOT.

12:08PM    3       Q.    ALL RIGHT.    LET ME SEE IF I CAN HELP REFRESH YOUR

12:08PM    4       RECOLLECTION.

12:08PM    5             MAY I APPROACH?

12:08PM    6                     THE COURT:   YES.

12:08PM    7       BY MR. CLINE:

12:08PM    8       Q.    I'M GOING TO HAND YOU A MEMORANDUM OF THAT INTERVIEW, AND

12:08PM    9       I'M GOING TO POINT YOU TO A PARTICULAR PORTION OF IT, BUT

12:08PM   10       YOU'RE WELCOME TO READ AS MUCH AS YOU WANT.

12:08PM   11             OKAY?

12:08PM   12                     THE COURT:   DOES THE GOVERNMENT HAVE THIS?

12:08PM   13                     MR. CLINE:   IT'S THEIR -- IT'S THEIR MEMO.

12:08PM   14                     THE COURT:   MAYBE YOU CAN JUST REFERENCE WHAT YOU'RE

12:08PM   15       SHOWING THE WITNESS.

12:08PM   16                     MR. CLINE:   YES.   IT'S THE FEBRUARY 26TH, 2020

12:08PM   17       INTERVIEW MEMORANDUM, PAGE 4.

12:08PM   18                     MR. LEACH:   I DON'T HAVE A COPY, YOUR HONOR.

12:08PM   19                     MR. CLINE:   I'LL GIVE HIM A COPY.

12:08PM   20                     MR. LEACH:   IS HE REFRESHING HIM WITH THIS?

12:08PM   21                     THE COURT:   YES.

12:08PM   22       BY MR. CLINE:

12:08PM   23       Q.    JUST READ THAT TO YOURSELF, MR. WEBER (HANDING).

12:09PM   24       A.    OKAY.    I'VE READ THIS COUPLE OF LINES HERE.

12:09PM   25       Q.    ALL RIGHT.    HAVE YOU HAD A CHANCE TO READ AS MUCH AS YOU



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12:09PM    1       NEED TO READ TO UNDERSTAND THE CONTEXT?

12:09PM    2       A.    I THINK SO.

12:09PM    3       Q.    ALL RIGHT.    DOES THAT REFRESH YOUR RECOLLECTION THAT WHAT

12:09PM    4       YOU TOLD THE FEDERAL AGENT AND THE PROSECUTORS AND THE PFIZER

12:09PM    5       LAWYERS ON FEBRUARY 26TH, 2020 WAS THAT YOUR FINAL ASSESSMENT

12:09PM    6       WAS MET WITH SILENCE FROM LIPSET, SAKUL, AND POWER?

12:09PM    7       A.    WELL, I DON'T THINK THIS IS REALLY DESCRIBING THE FULL

12:09PM    8       SITUATION.    YOU KNOW, I SPOKE WITH THEM --

12:09PM    9       Q.    EXCUSE ME, MR. WEBER.      I'M SORRY TO INTERRUPT.

12:09PM   10             MY QUESTION IS, DOES THIS REFRESH YOUR RECOLLECTION THAT

12:09PM   11       ON FEBRUARY 26TH, 2020, YOU TOLD THE AGENT, THE PROSECUTOR, AND

12:09PM   12       OTHERS, THAT YOUR FINAL ASSESSMENT WAS MET WITH SILENCE FROM

12:09PM   13       LIPSET, SAKUL, AND POWER, WHICH WAS NOT UNUSUAL?

12:09PM   14       A.    UM, AS I SEE THIS NOW, APPARENTLY I REMEMBER THIS.

12:10PM   15       Q.    WELL, DO YOU OR DON'T YOU?

12:10PM   16       A.    YOU KNOW, IT'S A WRITTEN SET OF WORDS.         I MUST HAVE SAID

12:10PM   17       IT IF IT'S RECORDED DOWN.

12:10PM   18       Q.    ALL RIGHT.    GOOD ENOUGH.

12:10PM   19             NOW, YOU SPOKE TO MS. HOLMES ABOUT A MONTH AFTER YOUR --

12:10PM   20       YOU SENT YOUR REPORT TO THE PEOPLE AT PFIZER; RIGHT?

12:10PM   21       A.    YES.

12:10PM   22       Q.    JANUARY 30TH, 2009.

12:10PM   23             DOES THAT SOUND RIGHT?

12:10PM   24       A.    IT SOUNDS RIGHT.

12:10PM   25       Q.    ALL RIGHT.    CAN WE PUT UP EXHIBIT 174, WHICH I THINK IS IN



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12:10PM    1       EVIDENCE.

12:10PM    2             DO YOU RECALL THIS, MR. WEBER, AS AN EMAIL THAT YOU WROTE?

12:10PM    3       A.    I'M TO BE LOOKING AT 174.

12:11PM    4       Q.    174.   IT'S IN BOTH BINDERS, SO EITHER ONE IS FINE.

12:11PM    5       A.    OH, THIS IS SOMETHING FROM THE ATTORNEY LEACH'S OFFICE.

12:11PM    6       I'M NOT --

12:11PM    7       Q.    I'M SORRY, GO TO THE NEXT PAGE.       THERE YOU GO.

12:11PM    8       A.    OH, OKAY.

12:11PM    9             YES, I SEE THIS DOCUMENT AND REMEMBER IT.

12:11PM   10       Q.    ALL RIGHT.    NOW, THIS IS AN EMAIL THAT YOU WROTE ON

12:11PM   11       JANUARY 30TH, 2009; RIGHT?

12:11PM   12       A.    YES.

12:11PM   13       Q.    AND YOU WROTE IT TO YOUR BOSS, DR. SAKUL; RIGHT?          YES?

12:11PM   14       A.    YES.

12:11PM   15       Q.    YOUR BOSS'S BOSS, DR. POWER; RIGHT?

12:11PM   16       A.    YES.

12:11PM   17       Q.    AND TO MR. -- OR DR. LIPSET?

12:11PM   18       A.    YES.

12:11PM   19       Q.    AND I ASSUME THAT YOU INTENDED THIS EMAIL TO BE AN

12:12PM   20       ACCURATE AND COMPLETE ACCOUNT OF YOUR CONVERSATION WITH

12:12PM   21       MS. HOLMES THAT DAY; RIGHT?

12:12PM   22       A.    YES.

12:12PM   23       Q.    AND WHAT YOU TOLD MS. HOLMES -- AND AGAIN, MS. HOLMES

12:12PM   24       DIDN'T HAVE THIS REPORT THAT YOU SPENT SO MUCH TIME ON DIRECT

12:12PM   25       TALKING ABOUT, RIGHT?      YOU DIDN'T SEND THAT TO HER?



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12:12PM    1       A.    NO, I DIDN'T SEND THAT TO HER.

12:12PM    2       Q.    SO LET'S LOOK AT -- CAN WE PULL THAT BACK UP, 174.          MY

12:12PM    3       SCREEN -- OH, THERE IT IS.        OKAY.

12:12PM    4             CAN WE BLOW UP THE FIRST PARAGRAPH?

12:12PM    5                    MS. TREFZ:    YOUR HONOR, I'M NOT SURE IF IT'S --

12:12PM    6                    THE COURT:    APPARENTLY IT'S NOT ON THE MONITORS.

12:12PM    7             DID IT COME UP ON THE JURY MONITORS?

12:12PM    8                    JUROR:   IT'S COMING.

12:12PM    9                    THE CLERK:    YES?

12:12PM   10                    THE COURT:    IT LOOKS LIKE IT'S ON.     OKAY.

12:12PM   11                    MR. CLINE:    WE HAVE IT.

12:12PM   12       Q.    SO WHAT YOU WRITE TO YOUR BOSS, YOUR BOSS'S BOSS, AND TO

12:12PM   13       DR. LIPSET IS, "TODAY I SPOKE WITH ELIZABETH HOLMES, CEO,

12:13PM   14       THERANOS AND EXPLAINED TO HER THAT PFIZER DID NOT HAVE AT THIS

12:13PM   15       TIME A FORESEEABLE USE FOR THE THERANOS IMMUNOASSAY DEVICE FOR

12:13PM   16       AT PATIENT SELF USE AT HOME BUT SHE AND I AGREED TO STAY IN

12:13PM   17       TOUCH EVERY SIX MONTHS."

12:13PM   18             RIGHT?

12:13PM   19       A.    YES.

12:13PM   20       Q.    AND THAT EMAIL WRITTEN SHORTLY AFTER YOUR CONVERSATION

12:13PM   21       WITH MS. HOLMES TO YOUR BOSS AND YOUR BOSS'S BOSS WAS ACCURATE;

12:13PM   22       RIGHT?

12:13PM   23       A.    ACCURATE?    WELL, I GUESS YES.

12:13PM   24       Q.    I MEAN, YOU WEREN'T TRYING TO MISLEAD THEM, WERE YOU?

12:13PM   25       A.    NO.



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12:13PM    1       Q.    NO.    YOU WERE TRYING TO TELL THEM WHAT YOU HAD TOLD

12:13PM    2       MS. HOLMES; RIGHT?

12:13PM    3       A.    YES, TRYING TO CLOSE THAT LOOP.

12:13PM    4       Q.    AND WHAT YOU TOLD MS. HOLMES THERE WAS CONSISTENT WITH

12:13PM    5       WHAT YOU HAD HEARD WHEN YOU TALKED TO YOUR COLLEAGUES IN THE

12:14PM    6       MOLECULAR MEDICINE SECTION; RIGHT?

12:14PM    7       A.    YES.

12:14PM    8       Q.    THE TAMML AND THE PEOPLE IN YOUR GROUP; RIGHT?

12:14PM    9       A.    YES, THE TAMML'S WERE THE ONCOLOGY REPRESENTATIVES WHO

12:14PM   10       WERE IN TOUCH WITH ALL ONCOLOGY CLINICAL TRIALS, YES.

12:14PM   11       Q.    YES.   AND THEN YOU TALKED TO YOUR OWN PEOPLE IN YOUR OWN

12:14PM   12       DIAGNOSTIC GROUP; RIGHT?

12:14PM   13       A.    YES.

12:14PM   14       Q.    AND THEY TOLD YOU THAT THEY WERE LOOKING FOR A DEVICE THAT

12:14PM   15       RAN A DIFFERENT KIND OF TEST AND THAT WAS MEANT FOR POINT OF

12:14PM   16       CAR, THAT IS, DOCTOR'S OFFICE TYPE USE; RIGHT?

12:14PM   17       A.    IT WAS MEANT FOR NOT NECESSARILY POINT OF CARE, BUT FOR

12:14PM   18       INTAKE OF PATIENTS INTO CLINICAL STUDIES.         SO IT WASN'T GOING

12:14PM   19       TO BE -- WE WERE LOOKING FOR DEVICES THAT WERE NOT GOING TO BE

12:14PM   20       USED IN THE HOME, THEY WERE USED IN A REGULATED MEDICAL

12:14PM   21       SITUATION.

12:14PM   22       Q.    ALL RIGHT.    AND AGAIN, YOUR UNDERSTANDING AT THE TIME WAS

12:14PM   23       THAT THERANOS -- WHAT THERANOS HAD IN MIND WAS A DEVICE THAT

12:14PM   24       WOULD BE USED IN THE HOME TO RUN IMMUNOASSAYS; RIGHT?

12:14PM   25       A.    THAT WAS MY UNDERSTANDING.       I HAD ASKED IN MY DUE



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12:15PM    1       DILIGENCE QUESTIONS ABOUT SINGLE INPUT --

12:15PM    2       Q.    I'M NOT QUESTIONING ANY OF THAT.        THAT WAS JUST YOUR

12:15PM    3       UNDERSTANDING AT THE TIME; RIGHT?

12:15PM    4       A.    YES.

12:15PM    5       Q.    NOW, YOU CONFIRMED IN THAT CONVERSATION WITH MS. HOLMES,

12:15PM    6       AND I THINK YOU REFLECTED IN YOUR EMAIL, THAT PFIZER HAD PAID

12:15PM    7       THERANOS IN FULL; CORRECT?

12:15PM    8       A.    THAT WAS MY UNDERSTANDING OF WHAT I HAD ACCOMPLISHED BY

12:15PM    9       CHECKING ON THE FINANCES.

12:15PM   10       Q.    SO THE ANSWER IS YES?

12:15PM   11       A.    YES.

12:15PM   12       Q.    AND THE TOTAL AMOUNT WAS $900,000; RIGHT?

12:15PM   13       A.    I DID NOT KNOW WHAT THE AMOUNT OF MONEY WAS INVOLVED.

12:15PM   14       Q.    NOW, THIS JANUARY 30TH, 2009 CALL THAT IS MEMORIALIZED IN

12:15PM   15       EXHIBIT 174 HERE, THAT WAS YOUR LAST CONTACT WITH MS. HOLMES;

12:15PM   16       RIGHT?

12:15PM   17       A.    AS I REMEMBER IT, YES.

12:16PM   18       Q.    AND YOU DIDN'T SEE HER OR SPEAK WITH HER AGAIN UNTIL YOU

12:16PM   19       WALKED INTO THIS COURTROOM; RIGHT?

12:16PM   20       A.    YES.

12:16PM   21       Q.    NOW, TAKE A LOOK AT EXHIBIT 10561 IN THE BLACK NOTEBOOK.

12:16PM   22             ARE YOU THERE?

12:16PM   23       A.    YES.

12:16PM   24                    MR. CLINE:    YOUR HONOR, I BELIEVE THIS IS ADMITTED

12:16PM   25       BY AGREEMENT, EXHIBIT 10561.



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12:16PM    1                    MR. LEACH:    THAT'S CORRECT, YOUR HONOR.

12:16PM    2                    THE COURT:    IT'S ADMITTED.    IT MAY BE PUBLISHED.

12:16PM    3             (DEFENDANT'S EXHIBIT 10561 WAS RECEIVED IN EVIDENCE.)

12:16PM    4                    MR. CLINE:    ALL RIGHT.   SO WE CAN PULL THAT UP.

12:16PM    5       Q.    THIS IS AN EMAIL, MR. WEBER, AN EMAIL EXCHANGE BETWEEN YOU

12:16PM    6       AND MR. FRENZEL OF THERANOS; RIGHT?

12:16PM    7       A.    YES.

12:16PM    8       Q.    AND IF YOU START AT THE BOTTOM, MR. FRENZEL WRITES TO YOU,

12:17PM    9       "HELLO SHANE.

12:17PM   10             "WE ARE IN THE PROCESS OF RELEASING OUR FERTILITY PANELS

12:17PM   11       AND RECALLED OUR DISCUSSION ON PREECLAMPSIA."

12:17PM   12             AM I PRONOUNCING THAT RIGHT?

12:17PM   13       A.    YOU ARE.

12:17PM   14       Q.    "ARE YOU STILL INTERESTED IN PURSUING THIS?         IF YOU HAVE

12:17PM   15       ANY FURTHER THOUGHTS AND WOULD LIKE TO DISCUSS, PLEASE LET ME

12:17PM   16       KNOW.

12:17PM   17             "GARY."

12:17PM   18             RIGHT?

12:17PM   19       A.    YES.

12:17PM   20       Q.    AND YOU WRITE BACK TO HIM; RIGHT?

12:17PM   21       A.    UH-HUH.

12:17PM   22       Q.    AND WOULD YOU READ YOUR EMAIL THERE AT THE TOP OF 10561

12:17PM   23       THAT YOU WROTE TO MR. FRENZEL?

12:17PM   24       A.    "HI GARY.

12:17PM   25             "THANKS FOR CONTACTING ME.



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12:17PM    1             "PFIZER HAS NO INTEREST IN PREECLAMPSIA.

12:17PM    2             "BEST OF LUCK, YOU ARE ON TO SOMETHING GOOD.

12:17PM    3             "HAVE A NICE WEEKEND."

12:17PM    4       Q.    AND THAT WAS YOUR VERY LAST CONTACT WITH THERANOS; RIGHT?

12:17PM    5       A.    I THINK SO.    I DON'T REMEMBER ANY FURTHER CONTACTS.         THIS

12:18PM    6       WAS 12 YEARS AGO.     YES.

12:18PM    7       Q.    AND I UNDERSTAND YOUR MEMORY IS FALLIBLE, BUT TO THE BEST

12:18PM    8       OF YOUR RECOLLECTION, THIS IS YOUR LAST CONTACT WITH THERANOS;

12:18PM    9       RIGHT?

12:18PM   10       A.    YES.

12:18PM   11       Q.    AND AS FAR AS YOU KNOW -- BY THE WAY, YOU LEFT PFIZER IN

12:18PM   12       2014; RIGHT?

12:18PM   13       A.    YES.

12:18PM   14       Q.    AND I THINK YOU TOLD THE GOVERNMENT THAT YOU WERE

12:18PM   15       DOWNSIZED; IS THAT THE TERM YOU USED?

12:18PM   16       A.    IT CERTAINLY COULD HAVE BEEN A TERM I USED, YES.

12:18PM   17       Q.    AND PFIZER WAS GOING THROUGH A LOT OF CHANGES DURING THE

12:18PM   18       PERIOD THAT YOU WERE THERE; RIGHT?

12:18PM   19       A.    YES.

12:18PM   20       Q.    AND IN THE COURSE OF THOSE CHANGES, SOME NEW PEOPLE CAME

12:18PM   21       ON AND SOME PEOPLE WHO WERE THERE WERE LET GO; RIGHT?

12:18PM   22       A.    YES.

12:18PM   23       Q.    AND IS THAT WHAT HAPPENED WITH YOU?

12:18PM   24       A.    YES.

12:18PM   25       Q.    ALL RIGHT.    BETWEEN FEBRUARY 2009 AND YOUR DEPARTURE IN



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12:18PM    1       2014, YOU WERE NOT INVOLVED IN ANY CONTACTS BETWEEN PFIZER AND

12:19PM    2       THERANOS TO THE BEST OF YOUR RECOLLECTION; RIGHT?

12:19PM    3       A.    YES.

12:19PM    4       Q.    AND AS FAR AS YOU KNEW, PFIZER AND THERANOS HAD FULLY

12:19PM    5       SEPARATED AFTER YOUR JANUARY 30TH, 2009 CONVERSATION WITH

12:19PM    6       MS. HOLMES; RIGHT?

12:19PM    7       A.    YES.

12:19PM    8       Q.    YOU'RE NOT AWARE OF ANY CONTACTS BETWEEN YOUR COLLEAGUE,

12:19PM    9       DR. LIPSET, AND THERANOS AFTER JANUARY 30TH, 2009; CORRECT?

12:19PM   10       A.    YES.

12:19PM   11       Q.    THAT'S CORRECT, YOU'RE NOT AWARE OF ANY?

12:19PM   12       A.    I'M NOT AWARE OF ANY FURTHER CONTACTS.

12:19PM   13       Q.    YOU'RE NOT AWARE OF ANY FURTHER CONTACTS BETWEEN YOUR

12:19PM   14       BOSS, DR. SAKUL, AND THERANOS AFTER JANUARY 30TH, 2009;

12:19PM   15       CORRECT?

12:19PM   16       A.    I MEAN, I VAGUELY REMEMBER MAYBE 2011 IN A GROUP

12:19PM   17       TELECONFERENCE THAT HAKAN HAD MENTIONED THE NAME THERANOS, I

12:19PM   18       DON'T REMEMBER WHAT, AND I SAID I HAD WRITTEN A REPORT.

12:19PM   19       Q.    OTHER THAN THAT, YOU DON'T RECALL ANY -- YOU'RE NOT AWARE

12:20PM   20       OF ANY CONTACT BETWEEN DR. SAKUL AND THERANOS AFTER JANUARY

12:20PM   21       30TH, 2009; RIGHT?

12:20PM   22       A.    YES, I'M NOT AWARE.

12:20PM   23       Q.    AND OTHER THAN THAT VAGUE RECOLLECTION FROM 2011, YOU'RE

12:20PM   24       NOT AWARE OF ANY CONTACTS ANYONE ELSE AT PFIZER HAD WITH

12:20PM   25       THERANOS AFTER JANUARY 30TH, 2009; RIGHT?



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12:20PM    1       A.    CORRECT.

12:20PM    2       Q.    THANK YOU, YOUR HONOR.

12:20PM    3             THAT'S ALL OF MY QUESTIONS.

12:20PM    4                     THE COURT:    REDIRECT?

12:20PM    5                     MR. LEACH:    THANK YOU, YOUR HONOR.

12:20PM    6                                  REDIRECT EXAMINATION

12:20PM    7       BY MR. LEACH:

12:21PM    8       Q.    BRIEFLY.    GOOD AFTERNOON, MR. WEBER.

12:21PM    9             IF WE COULD PLEASE DISPLAY EXHIBIT 174.         AND IF WE CAN

12:21PM   10       ZOOM IN, PLEASE, ON THE TOP HALF, MS. HOLLIMAN.

12:21PM   11             THANK YOU.

12:21PM   12             MR. WEBER, YOU WERE ASKED -- EXCUSE ME, I'LL REMOVE MY

12:21PM   13       MASK.

12:21PM   14             YOU WERE ASKED A NUMBER OF QUESTIONS ABOUT STATEMENTS YOU

12:21PM   15       MADE IN AN INTERVIEW WITH THE GOVERNMENT BACK IN 2020 BEFORE

12:21PM   16       THE PANDEMIC.

12:21PM   17             DO YOU RECALL THAT LINE OF QUESTIONING?

12:21PM   18       A.    I DO.

12:21PM   19       Q.    OKAY.    I'VE PLACED ON THE SCREEN AN EMAIL THAT YOU SENT TO

12:21PM   20       CRAIG LIPSET, HAKAN SAKUL, AND DR. POWER.

12:21PM   21             DO YOU SEE THAT?

12:21PM   22       A.    I DO.

12:21PM   23       Q.    OKAY.    AT THE TIME THAT YOU SENT THIS EMAIL, WERE YOU

12:21PM   24       SATISFIED THAT THEY HAD SUFFICIENT CONTEXT FOR WHAT YOU WERE

12:21PM   25       WRITING ABOUT IN TERMS OF A THERANOS WRAP UP?



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12:21PM    1       A.    I DO.

12:22PM    2       Q.    AND SITTING HERE TODAY, DO YOU RECALL DISCUSSIONS WITH

12:22PM    3       THEM ABOUT THE SUBSTANCE OF YOUR REPORT?

12:22PM    4       A.    I DO.

12:22PM    5       Q.    OKAY.   WHEN YOU TOLD THE GOVERNMENT IT WAS INITIALLY MET

12:22PM    6       WITH SILENCE, WHAT DID YOU MEAN BY THAT?

12:22PM    7       A.    THAT THIS WAS A MATTER THAT THEY HAD SEEN MY REPORT AND

12:22PM    8       BRIEFLY HAD ASKED, DO YOU THINK THAT THERE'S ANYTHING ELSE TO

12:22PM    9       BE DONE?     I SAID NO, AND THEY WERE SILENT AND MOVED ON.

12:22PM   10             THESE ARE VERY BUSY PEOPLE.

12:22PM   11       Q.    OKAY.   BUT YOU WERE SATISFIED THAT THEY AGREED WITH YOUR

12:22PM   12       CONCLUSIONS?

12:22PM   13       A.    YES.

12:22PM   14       Q.    MR. CLINE ALSO ASKED YOU ABOUT EXHIBIT 10561, AND THERE

12:22PM   15       WAS A STATEMENT BY YOU IN FEBRUARY OF 2009 TO THE EFFECT OF YOU

12:22PM   16       WERE ON TO SOMETHING GOOD.

12:22PM   17             DO YOU RECALL THAT TESTIMONY?

12:22PM   18       A.    I DO.

12:22PM   19       Q.    OKAY.   DID YOU MEAN BY THAT THAT PFIZER HAD

12:22PM   20       COMPREHENSIVELY VALIDATED THERANOS'S TECHNOLOGY?

12:22PM   21       A.    NO.

12:22PM   22       Q.    DID THAT REFLECT YOUR AGREEMENT TO THE 13 CONCLUSIONS THAT

12:23PM   23       WE SAW LISTED IN THE THERANOS ANGIOGENESIS STUDY REPORT?

12:23PM   24       A.    NO.

12:23PM   25       Q.    OKAY.   YOU WERE ALSO ASKED A NUMBER OF QUESTIONS ABOUT



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12:23PM    1       INTERACTIONS OTHERS MAY HAVE HAD WITH THERANOS POST 2009.

12:23PM    2             DO YOU RECALL THOSE QUESTIONS?

12:23PM    3       A.    I DO.

12:23PM    4       Q.    OKAY.

12:23PM    5             MAY I HAVE ONE MOMENT, YOUR HONOR?

12:23PM    6                     THE COURT:   YES.

12:23PM    7             (DISCUSSION AMONGST GOVERNMENT COUNSEL OFF THE RECORD.)

12:23PM    8                     MR. LEACH:   COULD WE PLEASE DISPLAY, MS. HOLLIMAN,

12:23PM    9       EXHIBIT 7753, WHICH IS IN EVIDENCE.

12:23PM   10             AND IF WE COULD GO TO THE ATTACHMENT, ATTACHMENT 2.

12:24PM   11       Q.    MR. WEBER, DO YOU SEE AN EXCEL SPREADSHEET ON YOUR SCREEN?

12:24PM   12       A.    I DO.

12:24PM   13       Q.    AND DO YOU SEE IN ROW 12 THERE'S A LINE FOR PFIZER?

12:24PM   14       A.    I DO.

12:24PM   15       Q.    AND DO YOU SEE THERE'S A $500,000 AMOUNT IN COLUMN B IN

12:24PM   16       THE YEAR 2007?

12:24PM   17       A.    I DO.

12:24PM   18       Q.    DO YOU SEE THERE'S A $400,000 ENTRY IN THE YEAR 2008?

12:24PM   19       A.    I DO.

12:24PM   20       Q.    OKAY.    DO THOSE TWO ADD UP TO 900,000?

12:24PM   21       A.    THEY DO.

12:24PM   22       Q.    OKAY.    AND I THINK YOU TESTIFIED ON CROSS-EXAMINATION THAT

12:24PM   23       YOU DON'T RECALL THE AMOUNT OF THE CONTRACT FOR THE ONCOLOGY OR

12:24PM   24       THE ANGIOGENESIS PROGRAM; IS THAT RIGHT?

12:24PM   25       A.    NO.



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12:24PM    1       Q.    OKAY.    IF WE COULD MOVE FROM THE RIGHT, MS. HOLLIMAN, FROM

12:24PM    2       2008 ALL OF THE WAY UNTIL 2015.

12:25PM    3             MR. WEBER, DO YOU SEE ANY OTHER ENTRIES OTHER THAN THE TWO

12:25PM    4       AMOUNTS THAT ADDS UP TO 900,000 IN THE GRAND TOTAL?

12:25PM    5       A.    I DO NOT.

12:25PM    6       Q.    AND THAT'S ALL OF THE WAY UP THROUGH 2014?

12:25PM    7       A.    ACCORDING TO THIS EXCEL FILE, YES.

12:25PM    8       Q.    OKAY.

12:25PM    9             THANK YOU, YOUR HONOR.        I HAVE NO FURTHER QUESTIONS.

12:25PM   10                     MR. CLINE:    NO FURTHER QUESTIONS.

12:25PM   11                     THE COURT:    MAY THIS WITNESS BE EXCUSED?

12:25PM   12                     MR. LEACH:    HE MAY.   THANK YOU, YOUR HONOR.

12:25PM   13                     MR. CLINE:    YES, YOUR HONOR.

12:25PM   14                     THE COURT:    YOU'RE EXCUSED, SIR.     THANK YOU.   YOU

12:25PM   15       CAN JUST LEAVE THOSE BINDERS THERE.        THANK YOU.

12:25PM   16             FOLKS, IF YOU WOULD LIKE TO STAND AND STRETCH WHILE WE DO

12:25PM   17       THE TRANSITION, FEEL FREE TO.

12:25PM   18             THE GOVERNMENT HAS ANOTHER WITNESS, I TAKE IT.

12:25PM   19                     MR. SCHENK:    YES, YOUR HONOR.

12:25PM   20             THE UNITED STATES CALLED BRYAN TOLBERT.

12:26PM   21                     THE COURT:    SIR, IF YOU COULD STAND THERE FOR JUST A

12:26PM   22       MOMENT RIGHT THERE AND FACE OUR COURTROOM DEPUTY.          SHE HAS A

12:26PM   23       QUESTION FOR YOU.

12:26PM   24             (GOVERNMENT'S WITNESS, JOHN BRYAN TOLBERT, WAS SWORN.)

12:26PM   25                     THE WITNESS:   YES.



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12:26PM    1                     THE COURT:    PLEASE HAVE A SEAT HERE, SIR, AND MAKE

12:26PM    2       YOURSELF COMFORTABLE.

12:26PM    3             FEEL FREE TO ADJUST THE CHAIR AND MICROPHONE AS YOU NEED.

12:26PM    4       I'LL ENCOURAGE YOU TO SPEAK DIRECTLY INTO THE MICROPHONE.

12:26PM    5             WHEN YOU ARE COMFORTABLE, WOULD YOU PLEASE STATE YOUR NAME

12:26PM    6       AND THEN SPELL IT, PLEASE.

12:26PM    7                     THE WITNESS:    CAN I TAKE MY MASK OFF?

12:27PM    8                     THE COURT:    YOU KNOW, MR. SCHENK IS GOING TO ASK YOU

12:27PM    9       A QUESTION ABOUT THAT IN JUST A MOMENT.

12:27PM   10                     THE WITNESS:    OKAY.   JOHN BRYAN TOLBERT.

12:27PM   11       T-O-L-B-E-R-T.

12:27PM   12                     THE COURT:    THANK YOU.   MR. SCHENK.

12:27PM   13                     MR. SCHENK:    THANK YOU, YOUR HONOR.

12:27PM   14                                   DIRECT EXAMINATION

12:27PM   15       BY MR. SCHENK:

12:27PM   16       Q.    MR. TOLBERT, IF YOU ARE FULLY VACCINATED, AND WITH THE

12:27PM   17       COURT'S PERMISSION, YOU MAY TESTIFY WITHOUT A MASK ON.

12:27PM   18             I WILL ALSO REMOVE MINE.        THANK YOU.

12:27PM   19             MR. TOLBERT, DO YOU WORK CURRENTLY FOR A COMPANY CALLED

12:27PM   20       HALL GROUP?

12:27PM   21       A.    I DO.

12:27PM   22       Q.    HOW LONG HAVE YOU WORKED FOR HALL GROUP?

12:27PM   23       A.    SINCE 1999.

12:27PM   24       Q.    DURING YOUR WORK AT HALL, DID YOU BECOME FAMILIAR WITH

12:27PM   25       ANOTHER COMPANY CALLED THERANOS?



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12:27PM    1       A.    I DID.

12:27PM    2       Q.    AND THROUGH YOUR WORK AT HALL GROUP, DID YOU MAKE AN

12:27PM    3       INVESTMENT IN THERANOS IN LATE 2013?

12:27PM    4       A.    WE DID.

12:27PM    5       Q.    WAS THE INVESTMENT ABOUT $5 MILLION?

12:28PM    6       A.    CORRECT.

12:28PM    7       Q.    WE'LL COME BACK TO THAT IN A MOMENT.

12:28PM    8             I WONDER IF WE CAN NOW TURN TO YOUR EDUCATIONAL

12:28PM    9       BACKGROUND.     WOULD YOU DESCRIBE FOR THE JURY YOUR UNDERGRADUATE

12:28PM   10       AND ANY GRADUATE DEGREES THAT YOU HAVE?

12:28PM   11       A.    SURE.    I DID AN UNDERGRADUATE AND A BACHELOR'S OF SCIENCE

12:28PM   12       IN PSYCHOLOGY AT THE UNIVERSITY OF GEORGIA.

12:28PM   13             AND THEN AFTER THAT I WENT TO BYU, BRIGHAM YOUNG

12:28PM   14       UNIVERSITY, AND GOT A MASTER'S IN BUSINESS.

12:28PM   15       Q.    OKAY.    AND WHAT DO YOU CURRENTLY DO AT HALL GROUP?

12:28PM   16       A.    SO I WORK IN FINANCE AND INVESTMENTS, SO I DO SOME

12:28PM   17       CORPORATE FINANCE FUNCTIONS, AS WELL AS OVERSEE OUR INVESTMENTS

12:28PM   18       IN OTHER COMPANIES.

12:28PM   19       Q.    WHERE IS HALL LOCATED?

12:28PM   20       A.    WE'RE LOCATED IN DALLAS, TEXAS.

12:28PM   21       Q.    WHAT IS YOUR CURRENT TITLE?

12:28PM   22       A.    VICE PRESIDENT OF FINANCE.

12:28PM   23       Q.    HAVE YOU HAD THAT TITLE, THE VICE PRESIDENT OF FINANCE,

12:28PM   24       SINCE YOU STARTED AT HALL?

12:28PM   25       A.    I HAVE NOT.    SO I STARTED AS A FINANCIAL ANALYST AND HAVE



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12:29PM    1       BEEN VICE PRESIDENT OF FINANCE MAYBE FOR TEN YEARS.

12:29PM    2       Q.    WHAT ARE THE RESPONSIBILITIES THAT YOU HAVE WITH YOUR

12:29PM    3       CURRENT JOB, THE VICE PRESIDENT OF FINANCE?

12:29PM    4       A.    SO, LIKE I SAID, I DO SOME CORPORATE FINANCE WORK, SO

12:29PM    5       BUDGETS AND CASH FLOWS, CORPORATE FINANCE.

12:29PM    6             AND THEN I ALSO OVERSEE OUR INVESTMENT OF -- OR OUR

12:29PM    7       PORTFOLIO OF INVESTMENTS IN PRIVATE COMPANIES.

12:29PM    8       Q.    AND WHAT ARE THE CIRCUMSTANCES UNDER WHICH HALL MAKES

12:29PM    9       INVESTMENTS IN PRIVATE COMPANIES?

12:29PM   10       A.    SO THERE ARE TIMES WHEN WE BECOME AWARE OF DIFFERENT

12:29PM   11       OPPORTUNITIES TO INVEST IN PRIVATE COMPANIES.          WE LOOK AT, YOU

12:29PM   12       KNOW, THOSE OPPORTUNITIES AS THEY COME UP AND ARE PRESENTED TO

12:29PM   13       US.   AND, YOU KNOW, WE DO THAT REGULARLY I GUESS.

12:29PM   14             BUT -- SO I GUESS WE, WE HAVE A REGULAR FLOW OF DEALS THAT

12:30PM   15       WE LOOK AT TO POTENTIALLY INVEST IN.

12:30PM   16       Q.    OKAY.   WOULD YOU SAY THAT THAT IS THE MAIN BUSINESS OF

12:30PM   17       HALL, INVESTMENT IN PRIVATE COMPANIES?

12:30PM   18       A.    IT IS NOT.

12:30PM   19       Q.    WHAT IS THE MAIN BUSINESS?

12:30PM   20       A.    SO THE MAIN BUSINESS OF HALL GROUP IS INVESTING IN REAL

12:30PM   21       ESTATE, OWNING AND DEVELOPING REAL ESTATE, AS WELL AS A

12:30PM   22       BUSINESS OF MAKING LOANS, CONSTRUCTION LOANS TO DIFFERENT REAL

12:30PM   23       ESTATE RELATED PROJECTS.

12:30PM   24       Q.    IS THE REAL ESTATE THAT HALL INVESTS IN OR WORKS WITH

12:30PM   25       LOCATED IN TEXAS OR IN OTHER PLACES?



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12:30PM    1       A.    IT'S ALL OVER THE COUNTRY.

12:30PM    2       Q.    OKAY.    LET'S TURN TO THE PRIVATE COMPANY INVESTMENTS.

12:30PM    3             ARE THERE TIMES WHEN YOU, YOURSELF, MAKE THE DECISION ON

12:30PM    4       BEHALF OF HALL TO INVEST?

12:30PM    5       A.    YOU KNOW, THAT DECISION WOULD BE MADE PRIMARILY BETWEEN ME

12:30PM    6       AND MY BOSS, MR. HALL.      TOGETHER THAT DECISION WOULD BE MADE.

12:31PM    7       Q.    OKAY.    AND IS IT THROUGH THIS PROCESS, THE INVESTMENTS IN

12:31PM    8       PRIVATE COMPANIES, THAT YOU BECAME FAMILIAR WITH THERANOS?

12:31PM    9       A.    IT IS.

12:31PM   10       Q.    WHEN DID YOU FIRST BECOME FAMILIAR WITH THERANOS IF YOU

12:31PM   11       RECALL?

12:31PM   12       A.    IT WOULD BE -- IT WOULD HAVE BEEN IN THE FALL OF 2006.

12:31PM   13       Q.    AND HOW DID YOU FIRST BECOME FAMILIAR WITH IT?

12:31PM   14       A.    YOU KNOW, AS I RECALL, MR. HALL CAME TO ME ONE DAY AND

12:31PM   15       SAID THAT, YOU KNOW, HE HAD BECOME -- HE HAD RECEIVED SOME

12:31PM   16       INFORMATION ABOUT A POTENTIAL INVESTMENT IN A COMPANY ABOUT A

12:31PM   17       COMPANY CALLED THERANOS AND ASKED ME IF I WOULD TAKE A LOOK AT

12:31PM   18       IT.

12:31PM   19             SO WE DISCUSSED IT WHEN HE BROUGHT IT TO MY ATTENTION.

12:31PM   20       Q.    SO MR. HALL TASKED YOU WITH BEGINNING A PROCESS, IS IT

12:31PM   21       CALLED DUE DILIGENCE?

12:31PM   22       A.    CORRECT.

12:31PM   23       Q.    AND WHAT DID YOU DO AT THIS TIME?

12:31PM   24       A.    EXCUSE ME?

12:31PM   25       Q.    WHAT DID YOU DO?     WHAT WERE YOUR FIRST STEPS?



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12:31PM    1       A.    SO, YOU KNOW, OUR FIRST STEPS WERE TO DO A GOOGLE SEARCH

12:32PM    2       TO SEE IF THERE WAS ANYTHING THAT WE COULD LEARN ABOUT IT.

12:32PM    3       THERE WASN'T MUCH AT THAT TIME.

12:32PM    4             AND SO WE SET UP A PHONE CALL, OR A SERIES OF PHONE CALLS,

12:32PM    5       TO HAVE SOME DISCUSSIONS ABOUT WHAT THE OPPORTUNITY WAS AND THE

12:32PM    6       PREMISE OF THE UNDERLYING COMPANY.

12:32PM    7       Q.    AND THESE EARLY CALLS, DID YOU SPEAK WITH SOMEONE AT

12:32PM    8       THERANOS?

12:32PM    9       A.    I DID.

12:32PM   10       Q.    AND WHO DID YOU SPEAK WITH?

12:32PM   11       A.    I SPOKE WITH ELIZABETH.

12:32PM   12       Q.    OKAY.

12:32PM   13             YOUR HONOR, MAY I APPROACH?

12:32PM   14                     THE COURT:    YES.

12:32PM   15                     MR. SCHENK:   (HANDING.)

12:32PM   16       Q.    MR. TOLBERT, I'VE HANDED YOU A BINDER OF DOCUMENTS, AND

12:32PM   17       I'LL ASK YOU TO OPEN THE BINDER AND NOW TURN TO TAB 3790.

12:33PM   18             DO YOU RECOGNIZE THIS DOCUMENT?

12:33PM   19       A.    I DO.

12:33PM   20       Q.    WHAT IS THIS?

12:33PM   21       A.    THIS IS AN EMAIL THAT I SENT TO MR. HALL IN OCTOBER OF

12:33PM   22       2006 REFERENCING SOME NOTES FROM A CONFERENCE CALL THAT WE HAD

12:33PM   23       HAD ABOUT THERANOS.

12:33PM   24       Q.    AND THERE'S A COUPLE OF PAGES AFTER THE EMAIL.          WHAT ARE

12:33PM   25       THOSE?



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12:33PM    1       A.    THOSE WOULD HAVE BEEN MY NOTES THAT WERE ATTACHED TO THAT

12:33PM    2       EMAIL.

12:33PM    3       Q.    AND IS THIS THE CALL THAT YOU MENTIONED A MOMENT AGO WITH

12:33PM    4       MS. HOLMES?

12:33PM    5       A.    CORRECT.

12:33PM    6                     MR. SCHENK:   YOUR HONOR, THE GOVERNMENT OFFERS 3790.

12:33PM    7                     MR. DOWNEY:   YOUR HONOR, OBJECTION UNDER 801.

12:33PM    8                     THE COURT:    801 OBJECTION.

12:33PM    9             ARE YOU OFFERING THIS FOR THE TRUTH?

12:33PM   10                     MR. SCHENK:   I AM, YOUR HONOR, YES.

12:33PM   11                     THE COURT:    CAN YOU LAY A FOUNDATION?

12:33PM   12                     MR. SCHENK:   YES, YOUR HONOR.

12:33PM   13       Q.    WHEN YOU ARE PERFORMING YOUR DUE DILIGENCE, IS ONE OF THE

12:34PM   14       THINGS THAT YOU DO IN THAT PROCESS, AS IN THIS CASE, SPEAK TO

12:34PM   15       INDIVIDUALS THAT WORK AT THE COMPANY THAT YOU MAY INVEST IN?

12:34PM   16       A.    IT IS.

12:34PM   17       Q.    AND DO YOU TAKE NOTES ON THOSE CALLS?

12:34PM   18       A.    I DO.    SOMETIMES I DO.

12:34PM   19       Q.    AND IN THIS INSTANCE, DID YOU TAKE NOTES?

12:34PM   20       A.    YOU KNOW, I DID.      SO THIS WOULD REPRESENT -- SO THIS

12:34PM   21       DOCUMENT WOULD REPRESENT NOTES THAT I TOOK WHILE I WAS ON THE

12:34PM   22       CALL, AS WELL AS ADDITIONAL INFORMATION THAT HAD BEEN SENT TO

12:34PM   23       US.   SO KIND OF A COMBINATION OF THOSE TWO SOURCES.

12:34PM   24       Q.    I'M SORRY.    MULTIPLE SOURCES OF DUE DILIGENCE?

12:34PM   25       A.    CORRECT.



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12:34PM    1       Q.    AND WOULD YOU PUT THAT ALL INTO ONE DOCUMENT?

12:34PM    2       A.    CORRECT.

12:34PM    3       Q.    AND THEN WOULD YOU MAKE SURE THAT THE CONTENT OF THAT

12:34PM    4       DOCUMENT ACCURATELY SUMMARIZED THE ORIGINAL SOURCES OF

12:34PM    5       INFORMATION?

12:34PM    6       A.    I WOULD.

12:34PM    7       Q.    AND THEN YOU WOULD SEND THE DOCUMENT, AS IN THIS CASE, TO

12:34PM    8       MR. HALL?

12:34PM    9       A.    THAT'S CORRECT.

12:34PM   10       Q.    AND WHY WOULD YOU SEND IT TO MR. HALL?

12:34PM   11       A.    SO THAT, SO THAT HE AND I COULD REVIEW IT AND WALK THROUGH

12:35PM   12       THE THINGS THAT I HAD HEARD ON THE CALL, OR THE SOURCES OF

12:35PM   13       INFORMATION AS A BASIS TO UNDERSTAND ABOUT THE COMPANY IF IT

12:35PM   14       WAS SOMETHING THAT WE WANTED TO INVEST IN.

12:35PM   15       Q.    AND THEN DID YOU USE THIS TYPE OF DOCUMENT AS A BASIS TO

12:35PM   16       INFORM YOUR DECISION WHETHER OR NOT TO INVEST?

12:35PM   17       A.    CORRECT.

12:35PM   18       Q.    WAS THIS DOCUMENT ALSO SAVED OR PRESERVED BY HALL SO THAT

12:35PM   19       YOU COULD GO BACK AND LOOK AT THE DOCUMENT IN THE FUTURE IF YOU

12:35PM   20       HAD ADDITIONAL QUESTIONS?

12:35PM   21       A.    I DON'T KNOW -- I MEAN, I'M SURE IT WAS.         BUT IF WE WOULD

12:35PM   22       HAVE REFERENCED TO THIS, IT WOULD HAVE JUST BEEN A REFERENCE TO

12:35PM   23       WHATEVER WAS ATTACHED TO THAT EMAIL.

12:35PM   24       Q.    THE ATTACHMENT?

12:35PM   25       A.    CORRECT.



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12:35PM    1                    MR. SCHENK:    THANK YOU.

12:35PM    2             YOUR HONOR, THE GOVERNMENT OFFERS 3790.

12:35PM    3                    THE COURT:    I'LL ALLOW IT UNDER 803(6).

12:35PM    4                    MR. SCHENK:    AND PERMISSION TO PUBLISH.

12:35PM    5                    THE COURT:    YES.

12:35PM    6             (GOVERNMENT'S EXHIBIT 3790 WAS RECEIVED IN EVIDENCE.)

12:35PM    7       BY MR. SCHENK:

12:36PM    8       Q.    MR. TOLBERT, FIRST THE FROM LINE.        IS THAT YOUR EMAIL?

12:36PM    9       A.    THAT IS.

12:36PM   10       Q.    AND THE TO LINE, IS THAT THE BEGINNING OF THE EMAIL

12:36PM   11       ADDRESS FOR MR. HALL?

12:36PM   12       A.    IT IS.

12:36PM   13       Q.    SO IN OCTOBER OF 2006, YOU WROTE, "ATTACHED ARE MY NOTES

12:36PM   14       FROM THE CONFERENCE CALL RE: THERANOS YESTERDAY."

12:36PM   15             YOU'RE WAITING ON ADDITIONAL INFORMATION FROM THEM.           IS

12:36PM   16       THE "THEM" THERANOS?

12:36PM   17       A.    YOU KNOW, THAT "THEM" WOULD REFERENCE A COMBINATION OF

12:36PM   18       THERANOS AND CHRIS LUCAS, BOTH OF WHOM HAD SERVED AS SOURCES OF

12:36PM   19       INFORMATION ABOUT THE INVESTMENT.

12:36PM   20       Q.    AND WHO IS CHRIS LUCAS?

12:36PM   21       A.    SO CHRIS LUCAS, HE WAS AN INVESTOR IN THERANOS AND HE HAD

12:36PM   22       A FUND THAT WE INVESTED THROUGH.         WE WERE PART OF HIS FUND.

12:36PM   23       Q.    AND WHEN YOU SAY THAT "WE INVESTED THROUGH," WHO IS THE

12:36PM   24       "WE"?

12:36PM   25       A.    I MEAN THE HALL GROUP WOULD HAVE INVESTED THROUGH



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12:36PM    1       CHRIS LUCAS'S FUND.

12:36PM    2       Q.    AND WHEN WAS THAT INVESTMENT MADE?

12:37PM    3       A.    THAT WOULD HAVE BEEN IN -- THAT WOULD HAVE BEEN THE

12:37PM    4       INVESTMENT THAT WE MADE IN LATE 2006.

12:37PM    5       Q.    SO HALL MADE AN INVESTMENT IN 2006, AND ALSO ONE IN 2013?

12:37PM    6       A.    CORRECT.

12:37PM    7       Q.    THE ONE IN 2006, THAT WAS THROUGH THIS INDIVIDUAL

12:37PM    8       CHRIS LUCAS?

12:37PM    9       A.    IT WAS THROUGH ONE OF HIS INVESTMENT FUNDS.

12:37PM   10       Q.    HOW ABOUT THE ONE IN 2013, WAS THAT ALSO THROUGH ONE OF

12:37PM   11       MR. LUCAS'S INVESTMENT FUNDS?

12:37PM   12       A.    IT WAS NOT.

12:37PM   13             IN 2013 WE HAD HAD SOME DISCUSSIONS WITH BOTH CHRIS AND

12:37PM   14       ELIZABETH TO SAY THAT OUR PREFERENCE WAS TO INVEST DIRECTLY IN

12:37PM   15       THERANOS AND NOT THROUGH A THIRD PARTY, AND SO IN 2013 WE

12:37PM   16       BECAME A DIRECT INVESTOR.

12:37PM   17       Q.    OKAY.   LET'S TURN NOW TO THE ATTACHMENT, PAGE 2 OF THE

12:37PM   18       EXHIBIT.

12:37PM   19             THERE ARE SOME CONTACTS AT THE TOP.

12:37PM   20             IF WE CAN FIRST JUST HAVE YOU EXPLAIN TO THE JURY WHO

12:37PM   21       THESE INDIVIDUALS ARE.

12:37PM   22             THE FIRST IS MS. HOLMES; IS THAT RIGHT?

12:38PM   23       A.    SO THE FIRST NAME IS ELIZABETH HOLMES.

12:38PM   24             THE SECOND NAME IS GARY NORDHEIMER.        GARY IS A FRIEND OF

12:38PM   25       MR. HALL, AND I THINK IS THE FIRST ONE THAT, THAT MADE MR. HALL



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12:38PM    1       AWARE OF AN OPPORTUNITY TO INVEST IN THERANOS.          SO THEY'RE

12:38PM    2       FRIENDS.

12:38PM    3             AND HE HAD REACHED OUT TO MR. HALL, I BELIEVE, AND HAD

12:38PM    4       INDICATED THAT THERE WAS A POTENTIAL INVESTMENT OPPORTUNITY.

12:38PM    5             AS I UNDERSTAND IT, MR. NORDHEIMER WAS AN INVESTOR THROUGH

12:38PM    6       CHRIS LUCAS, AND HIS INVESTMENT FUND AS WELL, AND THAT'S THE

12:38PM    7       THIRD NAME ON THE LIST IS CHRIS LUCAS.

12:38PM    8       Q.    AND THAT'S THE GENTLEMAN THAT WE JUST SPOKE ABOUT WHO

12:38PM    9       OWNED THE FUND THAT THE 2006 INVESTMENT WAS MADE THROUGH?

12:38PM   10       A.    CORRECT.

12:38PM   11       Q.    NOW, IF WE CAN LOOK A LITTLE FURTHER DOWN, THERE'S A LIST

12:38PM   12       OF INVESTORS.

12:38PM   13             UNDER DONALD LUCAS, TOWARDS THE END OF THAT LINE, WE SEE

12:38PM   14       HE'S THE UNCLE OF CHRIS LUCAS WHO OWNS BLACK DIAMOND VENTURES.

12:39PM   15             FIRST, DO YOU KNOW WHO DONALD LUCAS IS?

12:39PM   16       A.    I DO.

12:39PM   17       Q.    AND WHO IS HE?

12:39PM   18       A.    SO DONALD LUCAS WAS ONE OF THE, I THINK, ORIGINAL

12:39PM   19       INVESTORS IN THERANOS, WAS THE CHAIRMAN OF THE BOARD, AND WAS A

12:39PM   20       WELL-KNOWN VENTURE CAPITALIST IN CALIFORNIA.

12:39PM   21       Q.    AND THE REFERENCE HERE, CHAIRMAN OF THE BOARD, THAT'S OF

12:39PM   22       THERANOS; IS THAT RIGHT?

12:39PM   23       A.    CORRECT.

12:39PM   24       Q.    OKAY.   AND CHRIS LUCAS OWNS BLACK DIAMOND VENTURES.          WHAT

12:39PM   25       IS BLACK DIAMOND VENTURES?



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12:39PM    1       A.    SO BLACK DIAMOND VENTURES IS THE NAME OF THE FUND OR THE

12:39PM    2       COMPANY THAT CHRIS LUCAS OWNED THAT MADE THE INVESTMENT IN

12:39PM    3       THERANOS.

12:39PM    4             WE INVESTED IN BLACK DIAMOND VENTURES, WHO INVESTED IN

12:39PM    5       THERANOS.

12:39PM    6       Q.    IN 2006?

12:39PM    7       A.    IN 2006, CORRECT.

12:39PM    8       Q.    I SEE.   BUT THE 2013 INVESTMENT WAS NOT INTO BLACK DIAMOND

12:39PM    9       VENTURES?

12:39PM   10       A.    CORRECT.    THE 2013 INVESTMENT WAS DIRECTLY INTO THERANOS.

12:39PM   11       Q.    I SEE.   OKAY.

12:39PM   12             AND THEN THERE'S A FURTHER LIST OF INVESTORS, AND IF WE GO

12:39PM   13       DOWN TO THE PARAGRAPH AT THE BOTTOM -- FIRST, BEFORE I READ YOU

12:40PM   14       PARTS OF IT, I'M WONDERING WHAT WAS THE SOURCE, IF YOU RECALL,

12:40PM   15       OF THIS INFORMATION, THE PARAGRAPH THAT BEGINS "FIRST RAISE"?

12:40PM   16       A.    SO THIS PARAGRAPH WOULD REFERENCE MY NOTES FROM THAT

12:40PM   17       CONFERENCE CALL.

12:40PM   18       Q.    THE CONFERENCE CALL THAT MS. HOLMES WAS ON?

12:40PM   19       A.    CORRECT.    THE LIST OF INVESTORS ABOVE, I'M NOT A FAST

12:40PM   20       ENOUGH TYPIST TO HAVE GATHERED ALL OF THAT FROM THE CALL, SO AS

12:40PM   21       I REMEMBER, CHRIS LUCAS WOULD HAVE, OR SOMEBODY WOULD HAVE SENT

12:40PM   22       INFORMATION THAT WOULD HAVE LISTED WHO THE INVESTORS WERE AND I

12:40PM   23       WOULD HAVE CUT AND PASTE THAT LIST INTO THESE NOTES.

12:40PM   24       Q.    OKAY.

12:40PM   25       A.    BUT THE PARAGRAPH ON THE BOTTOM REPRESENTED MY NOTES FROM



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12:40PM    1       THAT CALL.

12:40PM    2       Q.    IT READS, "THE FIRST RAISE WAS $16 MILLION.         THIS ROUND IS

12:40PM    3       $30 MILLION WITH A $125 MILLION PRE-MONEY VALUATION.           EXPECTS

12:40PM    4       THIS TO BE FINAL RAISE PRE-IPO."

12:41PM    5             WHAT DOES THAT MEAN?

12:41PM    6       A.    SO THAT MEANS ON THE CALL THERE WAS DISCUSSION ABOUT THE

12:41PM    7       FACT THAT THERE WOULD BE AN IPO LIKELY THAT WOULD COME AND THAT

12:41PM    8       THIS ROUND OF INVESTMENT WOULD BE ENOUGH TO CARRY THE COMPANY

12:41PM    9       THROUGH IPO.

12:41PM   10       Q.    AND WHAT IS AN IPO?

12:41PM   11       A.    AN INITIAL PUBLIC OFFERING WHERE A COMPANY WOULD FILE TO

12:41PM   12       GO PUBLIC ON ONE OF THE PUBLIC STOCK EXCHANGES.

12:41PM   13       Q.    OKAY.   HE -- IT CONTINUES, "THE IPO IS ANTICIPATED IN THE

12:41PM   14       FIRST QUARTER OF 2008.      EXPECT THE IPO TO BE VALUED AROUND

12:41PM   15       $1 BILLION."

12:41PM   16             WAS THAT COMMUNICATED DURING THIS CALL?

12:41PM   17       A.    THAT WOULD HAVE BEEN.

12:41PM   18       Q.    PARDON ME?

12:41PM   19       A.    THAT -- CORRECT, IT WOULD HAVE BEEN NOTED ON THE CALL.

12:41PM   20       Q.    OKAY.   "$30 MILLION TO BE USED FOR 1) MANUFACTURING -

12:41PM   21       MOVING FROM A MANUAL ASSEMBLY INFRASTRUCTURE TO A FULLY

12:41PM   22       AUTOMATED SYSTEM AND 2) CONTINUE TO FUND SUCCESSIVE ITERATIONS

12:42PM   23       OF THE TECHNOLOGY INCLUDING DECREASING AMOUNT OF BLOOD REQUIRED

12:42PM   24       IN THE PINPRICK AND NUMBER OF ASSAYS IN THE CARTRIDGE."

12:42PM   25             WHAT WAS YOUR UNDERSTANDING OF WHAT THERANOS DID?          WHAT



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12:42PM    1       WAS THE TECHNOLOGY AT THIS POINT?

12:42PM    2       A.    SO MY UNDERSTANDING AT THIS TIME WAS THAT, YOU KNOW, THERE

12:42PM    3       WAS AN ABILITY TO TAKE A FINGER PRICK OF BLOOD AND PUT THAT

12:42PM    4       DROP OF BLOOD IN A CARTRIDGE.       IT WOULD HAVE BEEN PUT IN A

12:42PM    5       READER.    THAT READER COULD THEN GO AND DO DIFFERENT TESTS ON

12:42PM    6       THE BLOOD AND RETURN RESULTS.

12:42PM    7             YOU KNOW, THE EXPECTATION AT THIS TIME, AS THIS NOTES,

12:42PM    8       THAT PART OF THE INVESTMENT PROCEEDS WOULD BE USED TO KIND OF

12:42PM    9       FURTHER ADVANCE WHAT THAT TECHNOLOGY WAS ABLE TO DO, THE NUMBER

12:42PM   10       OF TESTS IT WOULD BE ABLE TO BE PERFORMED, OR, YOU KNOW, THE

12:42PM   11       AMOUNT OF BLOOD THAT WOULD BE REQUIRED.

12:42PM   12             IT WAS ALSO TO BE USED FOR MANUFACTURING.         AS I UNDERSTOOD

12:43PM   13       IT IN THESE EARLY DAYS, YOU KNOW, THERE WAS A MANUFACTURING

12:43PM   14       SYSTEM THAT THINGS WERE PUT TOGETHER BY HAND, AND THAT THE

12:43PM   15       INTENT WAS TO SCALE UP AND MEET WHAT WAS EXPECTED TO BE LARGE

12:43PM   16       DEMAND, THAT THERE WOULD HAVE TO BE SOME KIND OF AUTOMATED

12:43PM   17       MANUFACTURING SYSTEM BUILT.

12:43PM   18       Q.    WHAT DID YOU UNDERSTAND THERANOS MANUFACTURED?

12:43PM   19       A.    SO THERANOS MANUFACTURED THE CARTRIDGES THAT THE BLOOD

12:43PM   20       WOULD BE PLACED INTO, AS WELL AS THE READER THAT WOULD PERFORM

12:43PM   21       THE ACTUAL TESTS ON THE BLOOD ON THE CARTRIDGE.

12:43PM   22       Q.    IS "DEVICE" ANOTHER WORD FOR "READER" AS YOU'RE USING IT?

12:43PM   23       A.    CORRECT.

12:43PM   24       Q.    AND DID YOU HAVE AN UNDERSTANDING OF WHETHER, IN 2006, THE

12:43PM   25       DEVICE WAS A MATURE TECHNOLOGY OR WHETHER IT WAS STILL GROWING,



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12:43PM    1       DEVELOPING DIFFERENT GENERATIONS?

12:43PM    2       A.    YOU KNOW CERTAINLY, CERTAINLY MY UNDERSTANDING WAS THAT IT

12:44PM    3       WORKED AT THIS TIME.      YOU KNOW, THERE WERE PROJECTIONS THAT WE

12:44PM    4       HAD SEEN ABOUT DIFFERENT TRIALS AND DIFFERENT PHARMACEUTICAL

12:44PM    5       TRIALS THAT WOULD BE UNDERTAKEN, AND IN ORDER FOR THOSE TO BE

12:44PM    6       DONE, THERE HAD TO BE SOME KIND OF FUNCTIONING, YOU KNOW,

12:44PM    7       DEVICE OR READER SYSTEM.

12:44PM    8             THE EXPECTATION WAS THAT THAT WOULD CONTINUE TO ADVANCE

12:44PM    9       AND GET, YOU KNOW, MORE ROBUST OVER TIME.

12:44PM   10             BUT THERE WAS AT THIS TIME A FUNCTIONING PRODUCT.

12:44PM   11       Q.    IF YOU'LL TURN NOW TO THE NEXT PAGE, PAGE 3 OF THE

12:44PM   12       EXHIBIT.

12:44PM   13             AT THE TOP THERE'S A SUMMARY OF MS. HOLMES'S BACKGROUND.

12:44PM   14             DO YOU RECALL, WAS THAT DISCUSSED ON THE CALL?

12:44PM   15       A.    IT WAS.

12:44PM   16       Q.    AND THEN BELOW THAT THERE'S A SECTION CALLED FINANCIALS,

12:45PM   17       AND IT READS, "THE CURRENT BURN RATE $1 MILLION PER MONTH."

12:45PM   18             WHAT DOES THAT MEAN?

12:45PM   19       A.    THAT MEANS THAT THE COMPANY WAS SPENDING AROUND A MILLION

12:45PM   20       DOLLARS A MONTH IN OVERHEAD COSTS.

12:45PM   21       Q.    "$3 MILLION IN REVENUES SHOULD BE RECEIVED FOR 2 CONTRACTS

12:45PM   22       WHICH HAVE ALREADY BEEN SHIPPED.

12:45PM   23             "HAS SIGNED/IN NEGOTIATIONS CONTRACTS THROUGH 2007 FOR

12:45PM   24       $30-$50 MILLION.

12:45PM   25             "EXPECTS TO BE CASH FLOW POSITIVE BY THE FOURTH QUARTER OF



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12:45PM    1       2007."

12:45PM    2             EXPLAIN TO ME THE SIGNIFICANCE OF THESE SIGNED CONTRACTS,

12:45PM    3       OR IN NEGOTIATION CONTRACTS AND CASH FLOW POSITIVE.

12:45PM    4       A.    CERTAINLY.    SO, YOU KNOW, AS WE HAD LOOKED AT FINANCIAL

12:45PM    5       PROJECTIONS AT THIS TIME, YOU KNOW, THAT WERE ANTICIPATED, YOU

12:45PM    6       KNOW, OUR UNDERSTANDING WAS THAT THERE WAS A SIGNIFICANT AMOUNT

12:45PM    7       OF REVENUES THAT WERE ALREADY IN PLACE BASED ON CONTRACTS THAT

12:46PM    8       HAD PRODUCT OUT THE DOOR TO THOSE COMPANIES, AS WELL AS, YOU

12:46PM    9       KNOW, SIGNIFICANT CONTRACTS THAT WERE SIGNED OR IN

12:46PM   10       NEGOTIATIONS, WHICH FELT LIKE, YOU KNOW, THAT WAS AN EXTREMELY

12:46PM   11       EXCITING PROSPECT.

12:46PM   12             AND THE LAST NOTE I MADE, "EXPECTS TO BE CASH FLOW

12:46PM   13       POSITIVE BY 4TH QUARTER 2007," SO THAT MEANS THAT THE CONTRACTS

12:46PM   14       THAT WOULD HAVE BEEN SHIPPED OR REVENUE WOULD HAVE BEEN

12:46PM   15       RECEIVED ON WOULD HAVE BEEN FOR MORE THAN ENOUGH CASH TO COVER

12:46PM   16       ALL OF THE OPERATIONAL EXPENSES SO THE COMPANY WOULD BE

12:46PM   17       PROFITABLE AT THAT POINT.

12:46PM   18       Q.    WERE THE STATEMENTS THAT YOU RECEIVED ABOUT GENERATION OF

12:46PM   19       REVENUE AND GOING CASH FLOW POSITIVE IN THE FOURTH QUARTER OF

12:46PM   20       2007 RELEVANT TO YOUR DUE DILIGENCE PROCESS?

12:47PM   21       A.    THEY WERE.

12:47PM   22       Q.    WHY?

12:47PM   23       A.    YOU KNOW, AS WE LOOK TO EVALUATE ANY INVESTMENT

12:47PM   24       OPPORTUNITY, YOU KNOW, THERE NEEDS TO BE A SYSTEM OR A BUSINESS

12:47PM   25       IN PLACE THAT CAN GENERATE ENOUGH MONEY TO MAKE THAT INVESTMENT



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12:47PM    1       WORTHWHILE TO MAKE, AND, YOU KNOW, THESE PROJECTIONS WERE SUCH

12:47PM    2       THAT IT MEANT THAT OUR INVESTMENT WOULD INCREASE AND BE WORTH

12:47PM    3       SOMETHING MORE THAN WE INVESTED INTO IT IN THE FIRST PLACE.

12:47PM    4             AND SO THAT'S WHY THESE ARE IMPORTANT NUMBERS TO LOOK AT.

12:47PM    5       Q.    YOU RECEIVED THIS INFORMATION AROUND OCTOBER OF 2006; IS

12:47PM    6       THAT RIGHT?

12:47PM    7       A.    CORRECT.

12:47PM    8       Q.    AND THE PROJECTIONS WERE FOR 2007, THE NEXT YEAR?

12:47PM    9       A.    CORRECT.

12:47PM   10       Q.    IS THAT CLOSE IN TIME SO YOU WOULD EXPECT THEM TO BE MORE

12:47PM   11       ACCURATE, OR IS THAT FAR INTO THE FUTURE SO THAT YOU APPRECIATE

12:48PM   12       THAT THERE IS A LACK OF CERTAINTY?

12:48PM   13       A.    WELL, AND I GUESS MAYBE TO CLARIFY, AS I REMEMBER, AND I

12:48PM   14       DON'T -- AS I REMEMBER, THOSE PROJECTIONS WERE FOR 2007 AND

12:48PM   15       2008, SO FOR TWO YEARS.

12:48PM   16             AND, YOU KNOW, CERTAINLY THE FARTHER OUT IN THE FUTURE THE

12:48PM   17       PROJECTIONS ARE, THE MORE VARIABILITY THERE MAY BE INTO HOW

12:48PM   18       THOSE ARE ACTUALLY RECEIVED.

12:48PM   19             BUT WE FELT SOME COMFORT OR SOME EXCITEMENT AROUND, YOU

12:48PM   20       KNOW, THE FACT THAT THE 2007 PROJECTIONS REPRESENTED WHAT WE

12:48PM   21       BELIEVED WERE CONTRACTS THAT HAD BEEN SIGNED OR WERE DEEP IN

12:48PM   22       NEGOTIATIONS.

12:48PM   23             IN FACT, I BELIEVE THERE WAS ACTUALLY A LIST OF WHAT

12:48PM   24       THOSE, YOU KNOW, DIFFERENT CONTRACTS WERE.         SO IT FELT LIKE

12:48PM   25       THERE WAS SOME MEASURE OF CERTAINTY AROUND THOSE.



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12:48PM    1       Q.    BECAUSE THE CONTRACTS ACTUALLY WERE SIGNED?

12:49PM    2       A.    SOME PORTION OF THEM HAD BEEN SIGNED.

12:49PM    3       Q.    OKAY.    IF YOU'LL TURN IN YOUR BINDER NOW TO 4871.

12:49PM    4             YOUR HONOR, THE GOVERNMENT OFFERS THIS BY STIPULATION.

12:49PM    5                     MR. DOWNEY:   THAT'S CORRECT, YOUR HONOR.

12:49PM    6                     THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.

12:49PM    7             (GOVERNMENT'S EXHIBIT 4871 WAS RECEIVED IN EVIDENCE.)

12:49PM    8       BY MR. SCHENK:

12:49PM    9       Q.    MR. TOLBERT, I'M GOING TO ASK YOU SOME QUESTIONS ABOUT THE

12:49PM   10       INFORMATION ON PAGE 8 OF THE DOCUMENT, BUT IF YOU COULD JUST

12:49PM   11       TAKE A MOMENT AND LOOK THROUGH THIS EXHIBIT AND EXPLAIN TO THE

12:49PM   12       JURY WHAT THIS EXHIBIT IS, 4871.

12:49PM   13       A.    SO THIS DOCUMENT REPRESENTS INFORMATION THAT WOULD HAVE

12:49PM   14       BEEN GIVEN TO US IN THAT DUE DILIGENCE PROCESS IN 2006.           IT

12:49PM   15       WOULD HAVE CONTAINED SOME DETAILED INFORMATION ABOUT, YOU KNOW,

12:49PM   16       WHO THE OFFICERS AND DIRECTORS OF THE COMPANY WERE, KIND OF

12:50PM   17       WHAT THE COMPANY DID, AS WELL AS THE FINANCIAL PROJECTIONS

12:50PM   18       THEN.

12:50PM   19       Q.    YOU RECEIVED THIS INFORMATION BEFORE YOU MADE A DECISION

12:50PM   20       TO INVEST IN 2006?

12:50PM   21       A.    CORRECT.

12:50PM   22       Q.    IF YOU'LL LOOK AT PAGE 8, THERE ARE SOME CHARTS AND THE

12:50PM   23       ONE THAT WE'RE LOOKING AT NOW, THE TOP IS CALLED THERANOS PLAN

12:50PM   24       '06, BASE FORECAST, AND THEN THERE IS INCOME STATEMENT WITH A

12:50PM   25       LINE FOR REVENUE.



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12:50PM    1             DO YOU SEE THAT?

12:50PM    2       A.    I DO SEE THAT.

12:50PM    3       Q.    AND THEN WE SEE TIME GOING ACROSS THE COLUMNS ALONG THE

12:50PM    4       RIGHT.

12:50PM    5             IS THAT CORRECT?

12:50PM    6       A.    THAT IS CORRECT.

12:50PM    7       Q.    FROM THE THIRD QUARTER OF 2006 THROUGH THE FOURTH QUARTER

12:50PM    8       OF 2008?

12:50PM    9       A.    CORRECT.

12:50PM   10       Q.    IF YOU COULD EXPLAIN TO THE JURY, WHAT IS HAPPENING TO THE

12:50PM   11       REVENUE OVER THAT PERIOD OF TIME?

12:50PM   12       A.    SO THE REVENUE IN, YOU KNOW, Q4 OF '06 WHEN WE WERE HAVING

12:50PM   13       THESE DISCUSSIONS WAS ZERO, BUT, YOU KNOW, IT STARTS IN THE

12:51PM   14       BEGINNING OF 2007 TO BE -- I CAN'T TELL IF THAT'S A --

12:51PM   15       4.6 MILLION IN THE FIRST QUARTER GROWING TO 67 MILLION IN THE

12:51PM   16       FOURTH QUARTER OF '08, SO A SIGNIFICANT INCREASE IN REVENUE

12:51PM   17       OVER THAT PERIOD OF TIME.

12:51PM   18       Q.    YOU SAID THAT THE NUMBER FOR Q1 2007 IS ABOUT

12:51PM   19       $4.6 MILLION; IS THAT RIGHT?

12:51PM   20       A.    CORRECT.

12:51PM   21       Q.    AND CNA YOU EXPLAIN TO THE JURY THE CONVENTION THAT'S USED

12:51PM   22       FOR REVENUE AND IF THE ZEROS ARE ADDED?

12:51PM   23       A.    SO TYPICALLY ON THESE STATEMENTS, IN ORDER TO MAKE THE

12:51PM   24       NUMBERS EASY TO READ AND DEAL WITH, YOU TAKE OFF THE LAST THREE

12:51PM   25       ZEROS.    SO YOU DIVIDE IT BY 1,000.



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12:51PM    1             SO THESE NUMBERS WOULD ALL HAVE HAD, YOU KNOW, THREE

12:51PM    2       ZEROS, OR HAVE BEEN IN THE MILLIONS OF DOLLARS.

12:51PM    3       Q.    OKAY.   AND NOW IF WE'LL LOOK AT THE BOTTOM OF THIS CHART

12:52PM    4       THAT YOU'RE LOOKING AT NOW, THE ROW CALLED NET INCOME, IT

12:52PM    5       BEGINS IN 2006 WITH NUMBERS THAT ARE IN PARENTHETICALS, BUT

12:52PM    6       THEN IT STOPS THAT AS WE MOVE ALONG IN TIME.

12:52PM    7             WHAT IS THAT INDICATING?

12:52PM    8       A.    SO THAT NET INCOME LINE REPRESENTS WHAT THE REVENUE AND

12:52PM    9       INCOME WAS, MINUS THE EXPENSES.        AND SO WHEN WE WERE

12:52PM   10       ANTICIPATING THIS INVESTMENT IN 2006, YOU CAN SEE THAT FOR THE

12:52PM   11       FOURTH QUARTER, THE COMPANY EXPECTED TO SPEND $5 MILLION MORE

12:52PM   12       THAN IT MADE.

12:52PM   13             SO THE NET INCOME WAS NEGATIVE $5 MILLION.

12:52PM   14             BUT OVER TIME, BASED ON WHAT THE PROJECTIONS FOR THEIR

12:52PM   15       REVENUE WAS, MINUS THOSE EXPENSES, GREW TO ABOUT $12 MILLION A

12:52PM   16       QUARTER.

12:52PM   17       Q.    AND WE SEE THE NUMBER BECOMING POSITIVE IN THE FOURTH

12:53PM   18       QUARTER OF 2007?

12:53PM   19       A.    CORRECT.

12:53PM   20       Q.    AND WAS THAT REFLECTED IN THE NOTES THAT WE LOOKED AT A

12:53PM   21       MOMENT AGO?

12:53PM   22       A.    CORRECT.    SO THAT WAS, THAT WAS WHAT THE DISCUSSION HAD

12:53PM   23       BEEN THAT -- AND IN '07 IS WHEN THINGS TURNED INTO A POSITIVE

12:53PM   24       CASH FLOW POSITION.

12:53PM   25       Q.    IN ADDITION TO THE PHONE CALL THAT YOU TALKED ABOUT AND



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12:53PM    1       REVIEWING DOCUMENTS, AS PART OF DUE DILIGENCE, DID YOU ALSO GO

12:53PM    2       FROM TEXAS TO CALIFORNIA AT SOME POINT?

12:53PM    3       A.    I DID MAKE A TRIP TO CALIFORNIA.

12:53PM    4       Q.    DO YOU REMEMBER GENERALLY WHEN THAT WAS?

12:53PM    5       A.    I BELIEVE IT WAS EARLY NOVEMBER OF 2006.

12:53PM    6       Q.    WAS THAT BEFORE A DECISION REGARDING AN INVESTMENT WAS

12:53PM    7       MADE?

12:53PM    8       A.    IT WAS.

12:53PM    9       Q.    AND WHAT DID YOU DO IN CALIFORNIA?

12:53PM   10       A.    SO AS PART OF MY TRIP, I WENT TO DINNER WITH DON LUCAS AND

12:53PM   11       CHRIS LUCAS AND ELIZABETH HOLMES AND, YOU KNOW, WE SPENT, AS I

12:53PM   12       REMEMBER, A FEW HOURS AT DINNER THAT NIGHT TALKING ABOUT WHAT

12:54PM   13       THERANOS DID, TALKING ABOUT ELIZABETH'S VISION FOR THE COMPANY.

12:54PM   14             YOU KNOW, WE ALSO, I'M SURE, HEARD SOME FUN STORIES FROM

12:54PM   15       DON LUCAS, YOU KNOW, ABOUT HIS INVESTMENT CAREER.

12:54PM   16             BUT IT WAS MOSTLY FOCUSSED ON THERANOS AND WHAT THE

12:54PM   17       OPPORTUNITY WAS.

12:54PM   18       Q.    DID MS. HOLMES DESCRIBE TO YOU THE TECHNOLOGY?

12:54PM   19       A.    SHE DID.

12:54PM   20       Q.    AND DID THAT DESCRIPTION CHANGE YOUR UNDERSTANDING?

12:54PM   21             YOU DESCRIBED EARLIER THINKING THAT THEY HAD A READER THAT

12:54PM   22       TESTED BLOOD ON A CARTRIDGE DRAWN FROM A FINGERSTICK.

12:54PM   23             WAS THE DESCRIPTION THAT YOU RECEIVED DURING DINNER

12:54PM   24       CONSISTENT WITH THAT, OR DID YOU LEARN SOMETHING DIFFERENT?

12:54PM   25       A.    YEAH, I WOULD SAY IT DIDN'T, IT DIDN'T CHANGE IT THAT



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12:54PM    1       MUCH.    IT AMPLIFIED IT.    I CAME AWAY WITH A MUCH BETTER

12:54PM    2       UNDERSTANDING OF WHAT IT WOULD DO AND WHAT THE VISION WAS FOR

12:54PM    3       WHERE IT MAY GO.

12:54PM    4             BUT THE BASIC THESIS WAS THE SAME.

12:55PM    5       Q.    AND DID YOU ALSO VISIT THERANOS HEADQUARTERS DURING THIS

12:55PM    6       TRIP?

12:55PM    7       A.    YOU KNOW, AS I RECALL I DID.       IT WAS EITHER THAT DAY

12:55PM    8       BEFORE DINNER OR MAYBE THE NEXT MORNING.         I DON'T REMEMBER.

12:55PM    9       Q.    DID YOU LOOK AT ANY OF THE DEVICES THAT THERANOS

12:55PM   10       MANUFACTURED?

12:55PM   11       A.    YOU KNOW, I DON'T RECALL KIND OF TAKING A TOUR AND SEEING

12:55PM   12       THE DEVICES.     I DO KNOW -- I MAY HAVE.      I JUST DON'T REMEMBER.

12:55PM   13             I DID COME HOME FROM THAT TRIP WITH A CARTRIDGE, AN EARLY

12:55PM   14       VERSION OF THE CARTRIDGE THAT HAD A PLACE WHERE THE FINGERSTICK

12:55PM   15       BLOOD WOULD GO IN.

12:55PM   16             SO AT SOME POINT, YOU KNOW, I SAW SOMETHING THAT WOULD

12:55PM   17       HAVE BEEN RELATED TO THOSE DEVICES.        BUT I, I DON'T REMEMBER

12:55PM   18       TAKING A TOUR.

12:55PM   19       Q.    DID MS. HOLMES GIVE YOU THAT CARTRIDGE?

12:55PM   20       A.    I DON'T REMEMBER IF SHE DID OR IF SOMEBODY ELSE DID WHILE

12:55PM   21       I WAS THERE.

12:55PM   22       Q.    WHEN YOU THEN RETURNED TO TEXAS, DID YOU MAKE A

12:55PM   23       RECOMMENDATION REGARDING AN INVESTMENT IN THERANOS?

12:55PM   24       A.    YOU KNOW, AT SOME POINT AFTER THAT I WOULD HAVE RECOUNTED,

12:56PM   25       YOU KNOW, THE EXPERIENCE THAT I HAD AND MY TAKEAWAYS FROM THAT,



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12:56PM    1       AND AT SOME POINT AFTER THAT MR. HALL AND I MADE A DECISION TO

12:56PM    2       INVEST.

12:56PM    3       Q.    AND HOW MUCH DID YOU DECIDE TO INVEST?

12:56PM    4       A.    SO OUR INVESTMENT IN 2006 WAS $2 MILLION.

12:56PM    5       Q.    AND, AGAIN, THAT WAS THROUGH BLACK DIAMOND VENTURES; IS

12:56PM    6       THAT RIGHT?

12:56PM    7       A.    CORRECT.    SO IN ESSENCE WE JOINED CHRIS LUCAS'S FUND.            WE

12:56PM    8       COMMITTED $2 MILLION TO THAT FUND THAT WAS ULTIMATELY

12:56PM    9       AGGREGATED WITH OTHER INVESTORS, I BELIEVE, AND INVESTED INTO

12:56PM   10       THE COMPANY.

12:56PM   11       Q.    OKAY.    AND WAS THAT LATE 2006, OR SOMETIME AFTER THE

12:56PM   12       EVENTS THAT WE HAVE TALKED ABOUT IN 2006?

12:56PM   13       A.    YES, IT'S AFTER -- IT'S AFTER MY TRIP OUT.

12:56PM   14       Q.    I'D LIKE TO NOW TAKE A CHUNK OF TIME ALL AT ONCE WITH YOU.

12:56PM   15             FROM THIS TIME IN 2006 WHEN THIS INVESTMENT WAS MADE UNTIL

12:57PM   16       2013, HOW MUCH, IF ANY, COMMUNICATION DID YOU HAVE WITH

12:57PM   17       MS. HOLMES DURING THAT PERIOD OF TIME?

12:57PM   18       A.    NONE THAT I RECALL.

12:57PM   19       Q.    HOW ABOUT WITH ANYBODY FROM THERANOS?

12:57PM   20       A.    YOU KNOW, I DON'T RECALL ANY, ANY DIRECT COMMUNICATION

12:57PM   21       WITH ANYBODY AT THE COMPANY OVER THAT PERIOD OF TIME.

12:57PM   22       Q.    DID YOU RECEIVE ANY UPDATES AT ALL ABOUT YOUR INVESTMENT

12:57PM   23       IN THERANOS?

12:57PM   24       A.    I DID.

12:57PM   25             BECAUSE WE HAD INVESTED THROUGH CHRIS LUCAS'S, THROUGH



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12:57PM    1       BLACK DIAMOND VENTURES, I HAD REGULAR CONVERSATIONS WITH

12:57PM    2       MR. LUCAS ABOUT, YOU KNOW, ABOUT OUR INVESTMENT, ABOUT HOW

12:57PM    3       THINGS WERE GOING.

12:57PM    4             YOU KNOW, AS I UNDERSTOOD, MR. LUCAS WAS A PRETTY REGULAR

12:57PM    5       VISITOR AT THE COMPANY HEADQUARTERS AND, YOU KNOW, MAY HAVE HAD

12:57PM    6       SOME PROJECTS THAT HE WAS WORKING ON.

12:57PM    7             ANYWAY, HE WAS A REGULAR SOURCE OF INFORMATION FOR US

12:57PM    8       THROUGH THOSE YEARS.

12:57PM    9       Q.    OKAY.   WERE THERE ANY OTHER SOURCES OF INFORMATION DURING

12:57PM   10       THAT PERIOD OF TIME?      DID YOU LOOK ON THE INTERNET OR ANY OTHER

12:58PM   11       PUBLIC SOURCES?

12:58PM   12       A.    YOU KNOW, CERTAINLY I WOULD HAVE LOOKED AT GOOGLE OR THE

12:58PM   13       INTERNET.

12:58PM   14             YOU KNOW, DURING THAT TIME, AS I RECALL, THERE WAS NOT

12:58PM   15       MUCH PUBLIC INFORMATION THAT WAS PUBLICLY AVAILABLE.

12:58PM   16             YOU KNOW, IN MY CONVERSATIONS WITH CHRIS, I THINK THAT WAS

12:58PM   17       BY DESIGN, OR I UNDERSTOOD IT WAS BY DESIGN, THAT THE COMPANY

12:58PM   18       DIDN'T WANT TO LOSE A COMPETITIVE ADVANTAGE BY HAVING, YOU

12:58PM   19       KNOW, LOTS OF INFORMATION OUT IN THE PUBLIC DOMAIN.

12:58PM   20       Q.    YOU WEREN'T SURPRISED THAT THERE WASN'T MORE IN THE PUBLIC

12:58PM   21       DOMAIN?

12:58PM   22       A.    NO.   IN FACT, I WAS ENCOURAGED BECAUSE IT FELT LIKE A --

12:58PM   23       IT DID FEEL LIKE A REVOLUTIONARY TECHNOLOGY THAT YOU WANTED TO

12:58PM   24       KIND OF PRESERVE AN ADVANTAGE.

12:58PM   25       Q.    OKAY.   WE SAW IN YOUR NOTES FROM 2006 THE IPO, AND I THINK



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12:58PM    1       IT WAS THE FIRST QUARTER OF 2008.

12:58PM    2             DID YOU KNOW WHETHER THAT HAPPENED?

12:58PM    3       A.    IT DID NOT HAPPEN.

12:58PM    4       Q.    OKAY.    WE SAW IN YOUR NOTES THAT THE COMPANY WAS GOING TO

12:59PM    5       BECOME CASH FLOW POSITIVE AT ONE POINT.

12:59PM    6             DID YOU RECEIVE ANY INFORMATION ABOUT WHETHER THAT

12:59PM    7       HAPPENED?

12:59PM    8       A.    YOU KNOW, CHRIS AND I WOULD HAVE HAD SOME CONVERSATIONS

12:59PM    9       ABOUT THAT.     I DON'T RECALL WITH SPECIFICS, YOU KNOW, KNOWING

12:59PM   10       IF OR WHEN THE COMPANY BECAME CASH FLOW POSITIVE.

12:59PM   11       Q.    OKAY.    LET'S NOW TURN TO 2013, AND IF YOU'LL LOOK IN THAT

12:59PM   12       BINDER AT 3940.

12:59PM   13             MR. TOLBERT, IS THIS AN EMAIL FROM CHRIS LUCAS TO YOU

12:59PM   14       ABOUT THERANOS?

12:59PM   15       A.    IT IS.

12:59PM   16                     MR. SCHENK:   YOUR HONOR, THE GOVERNMENT OFFERS 3940.

12:59PM   17                     MR. DOWNEY:   NO OBJECTION, YOUR HONOR.

12:59PM   18                     THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.

12:59PM   19             (GOVERNMENT'S EXHIBIT 3940 WAS RECEIVED IN EVIDENCE.)

01:00PM   20                     MR. SCHENK:   THANK YOU.

01:00PM   21       Q.    FIRST LET'S NOTE THE TIME.       IT'S JULY NOW, THE END OF

01:00PM   22       JULY 2013.

01:00PM   23             CHRIS LUCAS SENDS YOU AN EMAIL AND THE SUBJECT IS THERANOS

01:00PM   24       NEW BOARD MEMBERS.

01:00PM   25             DO YOU SEE THAT?



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01:00PM    1       A.    I DO.

01:00PM    2       Q.    "THERANOS LAUNCHED THEIR NEW WEBSITE THIS MORNING AND

01:00PM    3       ANNOUNCED NEW BOARD MEMBERS.

01:00PM    4             "SHE IS CLEARLY ASSEMBLING AN IMPRESSIVE GROUP.

01:00PM    5             "HOPEFULLY, THIS ALSO MEANS THAT WE WILL START RECEIVING

01:00PM    6       MORE COMMUNICATION FROM THE COMPANY."

01:00PM    7             FIRST, IS THIS THE TYPE OF INFORMATION THAT YOU WOULD

01:00PM    8       RECEIVE FROM MR. LUCAS OVER THE YEARS?

01:00PM    9       A.    CERTAINLY THIS KIND OF INFORMATION, OR ANYTHING THAT FELT

01:00PM   10       LIKE IT WAS NEWS OR DEVELOPMENT I FELT LIKE HE WOULD RELAY TO

01:00PM   11       ME.

01:00PM   12             SO, YOU KNOW, WE HAD HAD SOME CONVERSATIONS IN ADVANCE OF

01:00PM   13       JULY ABOUT, YOU KNOW, THE POSSIBILITY THAT THERE WOULD BE AN

01:00PM   14       ANNOUNCEMENT OF A BOARD.

01:00PM   15             AND SO, YOU KNOW, HE WAS, AS I REMEMBER, EXCITED TO HAVE

01:01PM   16       SOMETHING TO SEND TO ME THAT WAS PUBLIC THAT, YOU KNOW,

01:01PM   17       EVIDENCED SOME GREAT MOMENTUM ON THE COMPANY'S PART.

01:01PM   18       Q.    MR. LUCAS WROTE THAT, HOPEFULLY, THIS MEANS THAT WE WILL

01:01PM   19       START RECEIVING MORE INFORMATION FROM THE COMPANY.

01:01PM   20             WHAT DID YOU TAKE THAT TO MEAN?

01:01PM   21       A.    YOU KNOW, CHRIS AND I HAD HAD LOTS OF CONVERSATIONS OVER

01:01PM   22       THOSE INTERVENING YEARS ABOUT, YOU KNOW, JUST WANTING

01:01PM   23       INFORMATION, MORE FINANCIAL INFORMATION, AND MORE VISIBILITY AS

01:01PM   24       TO WHAT WAS GOING ON.

01:01PM   25             SO AS I RECALL, WE HAD SOME SPECIFIC CONVERSATIONS AROUND



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01:01PM    1       THIS TIME THAT MAYBE THIS MEANT THERE WAS A DAY THAT THAT

01:01PM    2       CONVERSATION WOULD BECOME MORE FREQUENT, MORE OPEN.

01:01PM    3       Q.    AND DID YOU AGREE WITH THIS SENTIMENT, THAT THE COMPANY

01:01PM    4       HADN'T PROVIDED A LOT OF INFORMATION AND HOPEFULLY THEY WOULD

01:02PM    5       START TO PROVIDE MORE?

01:02PM    6       A.    CORRECT.

01:02PM    7       Q.    AND IS AN EXAMPLE OF THEM PROVIDING MORE INFORMATION A

01:02PM    8       PHONE CALL, FOR INSTANCE, BETWEEN YOU AND MS. HOLMES WHERE YOU

01:02PM    9       COULD LEARN MORE ABOUT THE COMPANY?         IS THAT THE KIND OF THING

01:02PM   10       THAT YOU WANTED?

01:02PM   11       A.    YOU KNOW, CERTAINLY THAT WOULD HAVE WELCOMED.          BECAUSE WE

01:02PM   12       WEREN'T A DIRECT INVESTOR AT THIS POINT, I WOULDN'T HAVE

01:02PM   13       EXPECTED THAT KIND OF DIRECT COMMUNICATION FROM THE COMPANY.

01:02PM   14             YOU KNOW, I WOULD HAVE EXPECTED SOME DIRECT COMMUNICATION

01:02PM   15       WITH CHRIS, WHO THEN WOULD HAVE KIND OF REFLECTED THAT TO US.

01:02PM   16       Q.    I SEE.

01:02PM   17             IF YOU'LL NOW TURN TO EXHIBIT 949.

01:02PM   18             IS THIS AN EMAIL CHAIN FROM AN EMPLOYEE AT CHRIS LUCAS'S

01:02PM   19       FUND, AND YOU, CONTAINING INFORMATION ABOUT THERANOS?

01:02PM   20       A.    THAT'S CORRECT.

01:02PM   21                    MR. SCHENK:    YOUR HONOR, THE GOVERNMENT OFFERS 949.

01:03PM   22                    MR. DOWNEY:    NO OBJECTION.

01:03PM   23                    THE COURT:    IT'S ADMITTED.    IT MAY BE PUBLISHED.

01:03PM   24             (GOVERNMENT'S EXHIBIT 949 WAS RECEIVED IN EVIDENCE.)

01:03PM   25       BY MR. SCHENK:



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01:03PM    1       Q.    LET'S ACTUALLY START AT THE TOP OF THIS DOCUMENT,

01:03PM    2       MR. TOLBERT.

01:03PM    3             FIRST, THIS IS FROM SOMEONE NAMED ANA QUINTANA.

01:03PM    4             DO YOU KNOW WHO THAT IS?

01:03PM    5       A.    I DO.   SHE WORKS WITH CHRIS LUCAS AT BLACK DIAMOND

01:03PM    6       VENTURES.

01:03PM    7       Q.    SO SHE'S WRITING TO YOU IN AUGUST, SO A FEW DAYS LATER

01:03PM    8       FROM THAT EMAIL FROM MR. LUCAS, "PLEASE FIND THE SHAREHOLDER

01:03PM    9       LETTER BELOW.

01:03PM   10             THE SUBJECT LINE IS BLACK DIAMOND VENTURES THERANOS

01:03PM   11       SHAREHOLDER LETTER.

01:03PM   12             DO YOU SEE THAT?

01:03PM   13       A.    YES, I DO.

01:03PM   14       Q.    AND BELOW THIS EMAIL NOW, AT THE BOTTOM OF THIS FIRST

01:03PM   15       PAGE, MS. QUINTANA IS FORWARDING TO YOU ANOTHER EMAIL THAT

01:04PM   16       SAYS, "BELOW PLEASE FIND A SHAREHOLDER UPDATE LETTER FROM

01:04PM   17       THERANOS CEO ELIZABETH HOLMES."

01:04PM   18             DO YOU SEE THAT?

01:04PM   19       A.    I DO SEE THAT.

01:04PM   20       Q.    SO THAT'S AT THE VERY BOTTOM OF THIS FIRST PAGE.

01:04PM   21             NOW, IF YOU'LL TURN WITH ME TO PAGE 2.

01:04PM   22             THERE'S AN EMAIL FROM AND TO THERANOS FROM JULY OF 2013,

01:04PM   23       "DEAR SHAREHOLDER.

01:04PM   24             "IT IS WITH GREAT PLEASURE THAT I WRITE TO INFORM YOU OF

01:04PM   25       OUR UPCOMING CONSUMER LAUNCH."



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01:04PM    1             DID YOU KNOW WHAT THAT WAS A REFERENCE TO?

01:04PM    2       A.    AT THIS TIME THERANOS WAS UNDERTAKING A CONSUMER LAUNCH

01:04PM    3       WHERE, IN PARTNERSHIP WITH DIFFERENT RETAIL ESTABLISHMENTS, TO

01:05PM    4       BE ABLE TO TAKE THEIR TECHNOLOGY DIRECTLY TO THE CONSUMER AND

01:05PM    5       PUT IT IN CLOSE PROXIMITY TO WHERE THE CONSUMERS WERE.

01:05PM    6       Q.    DO YOU KNOW IF, AT THIS TIME, YOU KNEW WHICH STORES OR

01:05PM    7       WHICH COMPANIES THERANOS WAS IN PARTNERSHIP WITH?

01:05PM    8       A.    YOU KNOW, AT THIS TIME IN JULY I DON'T BELIEVE THAT I KNEW

01:05PM    9       SPECIFICALLY.     CHRIS AND I HAD HAD SEVERAL CONVERSATIONS OVER

01:05PM   10       THE YEARS.

01:05PM   11             I SAY "OVER THE YEARS."      IN THOSE CONVERSATIONS THAT CHRIS

01:05PM   12       AND I WOULD HAVE HAD, I KNEW THAT THERE WAS A BUILDOUT BY SOME

01:05PM   13       MAJOR RETAIL CHAINS.      I THINK I KNEW THAT SAFEWAY WAS ONE OF

01:05PM   14       THOSE.    YOU KNOW, AND THERE WAS SPECULATION ABOUT WHO THE

01:05PM   15       OTHERS WOULD HAVE BEEN.

01:05PM   16             BUT I DON'T, I DON'T RECALL IF I KNEW KIND OF WHO AND

01:05PM   17       WHERE EXACTLY AT THIS POINT.

01:05PM   18       Q.    OKAY.   THE EMAIL CONTINUES.      "AS YOU ALL KNOW, WE HAVE

01:05PM   19       BEEN WORKING IN STEALTH MODE FOR SEVERAL YEARS TO PREPARE FOR

01:05PM   20       THIS."

01:05PM   21             WHAT IS STEALTH MODE A REFERENCE TO, IF YOU KNOW?

01:06PM   22       A.    YOU KNOW, I ASSUME IT'S, YOU KNOW, TRYING TO WORK BELOW

01:06PM   23       THE RADAR SO THAT YOU DON'T LOSE A COMPETITIVE ADVANTAGE BY

01:06PM   24       HAVING, YOU KNOW, OTHER PEOPLE KNOW THAT THE TECHNOLOGY IS

01:06PM   25       COMING AND IT'S GOING TO BE ROLLED OUT.



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01:06PM    1             AND SO, YOU KNOW, IN PART THAT'S WHY I THINK -- OR AT

01:06PM    2       LEAST THAT'S WHY I HADN'T BEEN AS CONCERNED THROUGH THOSE YEARS

01:06PM    3       AT THE LACK OF INFORMATION THAT WE HAD BECAUSE IT FELT LIKE

01:06PM    4       THERE WAS A SPECIFIC PURPOSE THAT, YOU KNOW, WAS BEING

01:06PM    5       ANTICIPATED.

01:06PM    6             BUT TO ANSWER YOUR QUESTION, WORKING IN STEALTH MODE WAS

01:06PM    7       TO TRY TO DO IT SO THAT THEY COULD CAPITALIZE ON THE MARKET

01:06PM    8       WITHOUT A LOT OF COMPETITION AT THE MOMENT WHEN THEY LAUNCHED.

01:06PM    9       Q.    SO WAS THE LACK OF INFORMATION THAT YOU RECEIVED FROM AT

01:06PM   10       LEAST 2006 TO 2013 SOMETHING THAT YOU THOUGHT WAS INTENTIONAL,

01:07PM   11       INTENTIONAL BY THERANOS?

01:07PM   12       A.    I CERTAINLY THOUGHT THAT IT WAS INTENTIONAL THAT THEY WERE

01:07PM   13       TRYING TO KEEP THINGS UNDER WRAPS.

01:07PM   14       Q.    THE NEXT SENTENCE IS, "WITH THIS LAUNCH, WE WILL BEGIN

01:07PM   15       SENDING INFORMATION TO OUR SHAREHOLDERS THROUGH EMAIL BRIEFS."

01:07PM   16             WHAT DID THAT MEAN TO YOU?

01:07PM   17       A.    YOU KNOW, IT MEANT THAT, YOU KNOW, BECAUSE THEY HAD COME

01:07PM   18       TO A POINT IN TIME WHERE THEY ANTICIPATED BEING MORE PUBLIC

01:07PM   19       ABOUT THE PROGRESS THE COMPANY WAS MAKING WITH THE

01:07PM   20       SHAREHOLDERS, THAT THEY WOULD SEND OUT EMAILS DIRECTLY TO THE

01:07PM   21       SHAREHOLDERS WITH UPDATED INFORMATION.

01:07PM   22       Q.    AND IT CONTINUES.

01:07PM   23             OUR FIRST WEBSITE CONTENT IS UP TODAY.         THE BOARD IS

01:07PM   24       PUBLICLY LISTED AND THEY DID THEIR COMPANY'S FIRST PRESS

01:07PM   25       RELEASE.



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01:07PM    1             DO YOU SEE THAT?

01:07PM    2       A.    I DO.

01:07PM    3       Q.    AND THEN ON THE NEXT PAGE AT THE BOTTOM, DO YOU SEE

01:08PM    4       INFORMATION REGARDING THE ADDITION OF MEMBERS OF THE BOARD OF

01:08PM    5       DIRECTORS?

01:08PM    6       A.    I DO.

01:08PM    7       Q.    "THERANOS ANNOUNCED TODAY THAT RICHARD KOVACEVICH AND

01:08PM    8       GENERAL JAMES MATTIS WERE APPOINTED TO ITS BOARD OF DIRECTORS."

01:08PM    9             DO YOU SEE THAT?

01:08PM   10       A.    I DO SEE THAT.

01:08PM   11       Q.    AND THEN FURTHER DOWN THERE'S SOME PRESS LINKS, A MARKET

01:08PM   12       WATCH AND A CNBC.

01:08PM   13             DO YOU SEE THAT?

01:08PM   14       A.    I DO.

01:08PM   15       Q.    WERE THERE OCCASIONS WHEN THERANOS SENT INFORMATION TO YOU

01:08PM   16       THAT INCLUDED LINKS TO ARTICLES IN THE PRESS?

01:08PM   17       A.    YOU KNOW, JUST TO BE CLEAR, THEY DIDN'T SEND IT TO ME

01:08PM   18       BECAUSE WE WERE NOT A DIRECT INVESTOR.         BUT THEY WOULD HAVE

01:08PM   19       SENT IT TO MR. LUCAS, AND MR. LUCAS WOULD HAVE FORWARDED IT TO

01:08PM   20       ME AND SO I WOULD HAVE RECEIVED THE LINKS.

01:08PM   21       Q.    YOU RECEIVED THIS THROUGH YOUR INVESTMENT IN BLACK DIAMOND

01:08PM   22       VENTURES?

01:08PM   23       A.    CORRECT.

01:08PM   24       Q.    AND DID YOU THINK THE CONTENT OF THESE ARTICLES THAT WAS

01:08PM   25       SENT ALONG TO INVESTORS WOULD BE ACCURATE?



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01:09PM    1       A.    I DID.

01:09PM    2       Q.    IF YOU'LL NOW TURN TO EXHIBIT 4030, EXHIBIT 4030.

01:09PM    3             MR. TOLBERT, WHAT IS THIS DOCUMENT?

01:09PM    4       A.    THIS IS AN EMAIL THAT WE WOULD HAVE GOTTEN FROM

01:09PM    5       MR. LUCAS'S BLACK DIAMOND VENTURES ABOUT AN ANNUAL MEETING THAT

01:09PM    6       THEY WERE HAVING TO REVIEW THE INVESTMENTS THAT WERE MADE IN

01:09PM    7       THEIR FUND.

01:09PM    8       Q.    AND THEN THERE'S AN ATTACHMENT BEGINNING ON PAGE 3.

01:09PM    9             DO YOU RECOGNIZE THAT ATTACHMENT?

01:09PM   10       A.    CORRECT.    SO ONE OF THEIR PORTFOLIO INVESTMENT COMPANIES

01:09PM   11       WAS OBVIOUSLY THERANOS, AND SO THIS WAS A, YOU KNOW, AN UPDATE

01:10PM   12       ON THEIR INVESTMENT AT THERANOS THAT THEY FORWARDED ALONG IN

01:10PM   13       ANTICIPATION OF THEIR SHAREHOLDER MEETING.

01:10PM   14                    MR. SCHENK:    YOUR HONOR, THE GOVERNMENT OFFERS 4030.

01:10PM   15                    MR. DOWNEY:    NO OBJECTION, YOUR HONOR.

01:10PM   16                    THE COURT:    IT'S ADMITTED.    IT MAY BE PUBLISHED.

01:10PM   17             (GOVERNMENT'S EXHIBIT 4030 WAS RECEIVED IN EVIDENCE.)

01:10PM   18       BY MR. SCHENK:

01:10PM   19       Q.    MR. TOLBERT, THE EMAIL IS FROM AN INDIVIDUAL NAMED

01:10PM   20       YASMIN IBARRA.

01:10PM   21             DO YOU KNOW WHO THAT IS?

01:10PM   22       A.    SHE WAS AN EMPLOYEE AT BLACK DIAMOND VENTURES.

01:10PM   23       Q.    AND ALSO LOOK AT THE ATTACHMENT STARTING ON PAGE 6.

01:10PM   24             ON PAGE 6 AT THE BOTTOM OF THE SLIDE, WELL, AT THE TOP IT

01:10PM   25       READS "NEWLY DEVELOPED WEBSITE."



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01:10PM    1             DID YOU UNDERSTAND THAT THERANOS HAD RECENTLY UPDATED OR

01:10PM    2       DEVELOPED ITS WEBSITE?

01:10PM    3       A.    I DID.   I WOULD HAVE -- AS SOON AS THE WEBSITE WOULD HAVE

01:10PM    4       BEEN AVAILABLE, I WOULD HAVE LOOKED AT IT.

01:10PM    5       Q.    AT THE BOTTOM IT READS, "FOR THE FIRST TIME, THERANOS IS

01:10PM    6       INTRODUCING CLIA-CERTIFIED LABORATORY SERVICES WITH THE ABILITY

01:11PM    7       TO RUN ITS TEST ON MICRO-SAMPLES."

01:11PM    8             IS THAT CONSISTENT WITH YOUR UNDERSTANDING OF THE THERANOS

01:11PM    9       TECHNOLOGY?

01:11PM   10       A.    IT IS.

01:11PM   11       Q.    AND IS THAT ALSO CONSISTENT WITH THE WAY THAT MS. HOLMES

01:11PM   12       EXPLAINED THE TECHNOLOGY TO YOU?

01:11PM   13       A.    YEAH.    I MEAN, I WILL SAY THAT WHEN -- SO WHEN THIS --

01:11PM   14       BEAR WITH ME.

01:11PM   15             WHEN THIS WAS SENT, THIS WAS NOVEMBER OF 2013, SO THE LAST

01:11PM   16       TIME I TALKED WITH MS. HOLMES AS I REMEMBER WAS IN 2006, SO

01:11PM   17       THAT WOULD HAVE BEEN A LOT OF YEARS BEFORE.

01:11PM   18             BUT THIS WAS CERTAINLY THE VISION THAT I FELT HAD BEEN

01:11PM   19       LAID OUT IN THE BEGINNING.

01:11PM   20       Q.    IN 2006, DID MS. HOLMES DESCRIBE THE TECHNOLOGY TO YOU?

01:11PM   21       A.    SHE DID.

01:11PM   22       Q.    AND ALSO HER VISION?

01:11PM   23       A.    CORRECT.

01:11PM   24       Q.    AND WAS THIS CONSISTENT WITH BOTH HER DESCRIPTION OF THE

01:11PM   25       TECHNOLOGY AND THE VISION?



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01:11PM    1       A.    YEAH.    I MEAN, I DON'T REMEMBER HOW SPECIFICALLY IT LINED

01:11PM    2       UP, BUT I KNEW DIRECTIONALLY IT WAS.

01:11PM    3       Q.    AND DID YOU READ THIS AND WERE YOU SURPRISED THAT -- DID

01:12PM    4       THIS STRIKE YOU AS INCONSISTENT?

01:12PM    5       A.    NO.   I MEAN, IT CERTAINLY MADE SENSE, AND SO THAT'S WHERE

01:12PM    6       THINGS WERE HEADED.

01:12PM    7       Q.    OKAY.

01:12PM    8       A.    AND IN MY CONVERSATIONS WITH MR. LUCAS THROUGH THE YEARS,

01:12PM    9       THAT EVOLUTION OF WHERE THE TECHNOLOGY WAS HEADED, THIS MADE

01:12PM   10       PERFECT SENSE.

01:12PM   11       Q.    IF YOU'LL TURN NOW TO PAGE 7, THE NEXT PAGE.         THIS SLIDE

01:12PM   12       IN THE MIDDLE SAYS "THE LAB TEST, REINVENTED."

01:12PM   13             DO YOU SEE THAT?

01:12PM   14       A.    I DO.

01:12PM   15       Q.    AND THERE'S AN IMAGE OF A DEVICE CALLED A NANOTAINER.

01:12PM   16             DO YOU SEE THAT?

01:12PM   17       A.    I DO.

01:12PM   18       Q.    IS THAT ALSO CONSISTENT WITH THE WAY THAT YOU UNDERSTOOD

01:12PM   19       THAT THE THERANOS TECHNOLOGY TO BE BASED ON MS. HOLMES'S

01:12PM   20       STATEMENTS TO YOU AND HER DESCRIPTION OF THE VISION?

01:12PM   21       A.    IT IS.

01:12PM   22       Q.    IF YOU'LL NOW TURN TO PAGE 8.       UNDER "WELCOME TO

01:13PM   23       THERANOS," THERE'S SOME LANGUAGE.

01:13PM   24             IS THAT CLEAR ENOUGH FOR YOU TO READ?        CAN YOU SEE IT?

01:13PM   25       A.    I CAN.



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01:13PM    1

01:13PM    2       Q.    "THERANOS'S LABORATORY CAN ANALYZE SMALLER SAMPLES THAN

01:13PM    3       PREVIOUSLY POSSIBLE WITH SPEED AND THE HIGHEST LEVELS OF

01:13PM    4       ACCURACY.     IT'S EASIER ON YOUR PATIENTS AND HELPS YOU MAKE THE

01:13PM    5       BEST DIAGNOSIS AS FAST AS POSSIBLE."

01:13PM    6             I'M GOING TO ASK YOU, ACTUALLY, IF THIS IS CONSISTENT WITH

01:13PM    7       SOMETHING THAT YOU LEARNED A LITTLE BIT LATER.

01:13PM    8             BUT FOR NOW, DID I READ THAT CORRECTLY?

01:13PM    9       A.    YOU DID.

01:13PM   10       Q.    IF YOU'LL NOW TURN TO 1346.

01:13PM   11             IS 1346 ANOTHER EMAIL FROM MS. QUINTANA REGARDING YOUR

01:13PM   12       INVESTMENT IN THERANOS THROUGH BLACK DIAMOND VENTURES?

01:13PM   13       A.    IT IS.

01:14PM   14                     MR. SCHENK:   YOUR HONOR, THE GOVERNMENT OFFERS 1346.

01:14PM   15                     MR. DOWNEY:   NO OBJECTION, YOUR HONOR.

01:14PM   16                     THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.

01:14PM   17             (GOVERNMENT'S EXHIBIT 1346 WAS RECEIVED IN EVIDENCE.)

01:14PM   18       BY MR. SCHENK:

01:14PM   19       Q.    FIRST, AT THE VERY TOP WE SEE YOUR NAME ABOVE THE BLACK

01:14PM   20       LINE.

01:14PM   21             DO YOU SEE THAT?

01:14PM   22       A.    I DO.

01:14PM   23       Q.    AND EVEN THOUGH ON THE TO LINE IT JUST SAYS ANA QUINTANA,

01:14PM   24       DID YOU RECEIVE THIS EMAIL?

01:14PM   25       A.    CORRECT.    SHE SENT IT TO SEVERAL INVESTORS I THINK AND I



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01:14PM    1       WAS ONE OF THOSE WHO WAS COPIED ON THAT.

01:14PM    2       Q.    THE DATE IS DECEMBER 18TH, 2013.

01:14PM    3             SO WE'RE COMING UP TOWARDS THE END OF THE YEAR.

01:14PM    4             SHE WRITES, "DEAR BLACK DIAMOND INVESTOR.         AN INVESTOR

01:14PM    5       CONFERENCE CALL HAS BEEN SCHEDULED FOR THIS FRIDAY,

01:14PM    6       DECEMBER 20TH, PROMPTLY STARTING AT 10:15 A.M. PACIFIC.           THE

01:14PM    7       CONFIDENTIAL UPDATE CALL WILL BE PRESENTED BY THERANOS'S CEO,

01:15PM    8       ELIZABETH HOLMES."

01:15PM    9             WAS THERE A CONFERENCE CALL ON DECEMBER 20TH?

01:15PM   10       A.    THERE WAS.

01:15PM   11       Q.    AND DID YOU PARTICIPATE IN THAT CALL?

01:15PM   12       A.    I DID.

01:15PM   13       Q.    AND WAS MS. HOLMES ALSO ON THE CALL?

01:15PM   14       A.    SHE WAS.

01:15PM   15       Q.    THE NEXT PARAGRAPH TALKS ABOUT THE THERANOS LAUNCH TO

01:15PM   16       CONSUMER HEALTH CARE THIS YEAR, THEY ARE RAPIDLY SCALING TO

01:15PM   17       ESTABLISH A NATIONAL FOOTPRINT AND CAPTURE THE OPPORTUNITY WE

01:15PM   18       HAVE TO SERVE AS THE ONLY CERTIFIED NATIONAL LABORATORY CAPABLE

01:15PM   19       OF RUNNING ANY OF ITS LABORATORY TESTS FROM A FEW TINY DROPLETS

01:15PM   20       OF BLOOD.

01:15PM   21             WAS THAT SOMETHING THAT WAS DISCUSSED ON THE CALL TWO DAYS

01:15PM   22       AFTER THIS EMAIL?

01:15PM   23       A.    IT WAS.

01:15PM   24       Q.    THE NEXT PARAGRAPH READS, "AS PART OF THIS INITIATIVE,

01:15PM   25       THEY'RE COMPLETING A SERIES OF FINANCIAL TRANSACTIONS WITH



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01:15PM    1       STRATEGIC PARTNERS THAT PROVIDE ACCESS TO ADDITIONAL CAPITAL IN

01:15PM    2       ORDER TO ACCELERATE THEIR GROWTH."

01:15PM    3             AND THEN A SENTENCE OR TWO DOWN IT CONTINUES, "THE PRICE

01:16PM    4       PER SHARE OF THERANOS SERIES C-1 PREFERRED STOCK IN THE

01:16PM    5       TRANSACTIONS CLOSING BETWEEN NOW AND DECEMBER 31ST, 2013 IS $75

01:16PM    6       PER SHARE (PRE-SPLIT)."

01:16PM    7             DID YOU EVENTUALLY SEND MONEY TO THERANOS TO INVEST AT THE

01:16PM    8       END OF THIS YEAR?

01:16PM    9       A.    WE DID.    SO ON DECEMBER 31ST, WE DID MAKE AN INVESTMENT OF

01:16PM   10       $5 MILLION AT THE $75 SHARE LEVEL.

01:16PM   11       Q.    THAT'S MY QUESTION.      YOU BOUGHT AT $75 PER SHARE?

01:16PM   12       A.    CORRECT.

01:16PM   13       Q.    AND WERE THEY THE SERIES C-1?

01:16PM   14       A.    THEY WERE.

01:16PM   15       Q.    IN 2016, DO YOU RECALL WHAT THE SHARE PRICE WAS?

01:16PM   16       A.    YOU KNOW, SO THE 2 MILLION WE INVESTED WAS A LITTLE LESS

01:16PM   17       THAN $3 A SHARE.

01:16PM   18       Q.    AND NOW THEY'RE SELLING SHARES AT $75?

01:16PM   19       A.    CORRECT.

01:16PM   20       Q.    AND DID YOU UNDERSTAND THAT BETWEEN NOW -- IT READS THE

01:17PM   21       TRANSACTIONS CLOSING BETWEEN NOW AND DECEMBER 31ST, 2013, MEANT

01:17PM   22       THAT FROM THE CALL, WHICH WAS DECEMBER 20TH, YOU HAD ABOUT 10

01:17PM   23       OR 11 DAYS TO MAKE THE INVESTMENT?

01:17PM   24       A.    CORRECT.    AS I UNDERSTOOD IT, THE INVESTMENT WINDOW CLOSED

01:17PM   25       ON DECEMBER 31ST, AND SO THERE WAS A LIMITED AMOUNT OF TIME TO



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01:17PM    1       REACT AND TO MAKE AN INVESTMENT DECISION.

01:17PM    2       Q.    OKAY.    SO YOU MENTIONED A MOMENT AGO THAT THERE WAS A

01:17PM    3       CALL, THE CALL HAPPENED ON DECEMBER 20TH; IS THAT RIGHT?

01:17PM    4       A.    THERE WAS A CALL.

01:17PM    5       Q.    AND DID YOU PARTICIPATE IN THIS CALL?

01:17PM    6       A.    I DID.

01:17PM    7       Q.    AND DID YOU RECORD THE CALL?

01:17PM    8       A.    I DID RECORD THE CALL.

01:17PM    9       Q.    AND WHEN DID YOU MAKE THE DECISION TO RECORD THE CALL?

01:17PM   10       A.    THE MORNING OF THE CALL, OR I GUESS AS THE CALL WAS

01:17PM   11       GETTING READY TO START.

01:17PM   12       Q.    WHY?    WHY DID YOU DECIDE TO RECORD THE CALL?

01:17PM   13       A.    YOU KNOW, SO MR. HALL AND I, THROUGH CONVERSATIONS THAT I

01:18PM   14       HAD HAD WITH CHRIS LUCAS, WE KNEW THAT THERE WAS A POTENTIAL

01:18PM   15       INVESTMENT OPPORTUNITY AND, YOU KNOW, WE HAD KIND OF DISCUSSED

01:18PM   16       THERANOS AND THE PROGRESS THAT THEY HAD MADE AND, YOU KNOW,

01:18PM   17       KIND OF ANTICIPATED WHAT A FURTHER INVESTMENT WOULD LOOK LIKE.

01:18PM   18             WE HAD ALSO HAD SOME FRUSTRATION THAT WE HADN'T, YOU KNOW,

01:18PM   19       THROUGH THOSE YEARS, HAD THE KIND OF FINANCIAL INFORMATION THAT

01:18PM   20       WE WOULD HAVE HAD FROM A NORMAL INVESTMENT.

01:18PM   21             AND SO MR. HALL AND I DISCUSSED DIFFERENT QUESTIONS THAT

01:18PM   22       WE WANTED TO ASK ELIZABETH, OR HEAR ASKED ON THIS CALL.

01:18PM   23             AND MR. HALL WAS GOING TO BE TRAVELLING POTENTIALLY, OR

01:18PM   24       NOT HAVE AN ABILITY TO BE ON THE CALL AND SO, YOU KNOW, THAT

01:18PM   25       MORNING, AS I THOUGHT ABOUT HOW TO CAPTURE THE INFORMATION ON



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01:18PM    1       THE CALL, I'M NOT A VERY FAST TYPIST, AND SO I ELECTED TO

01:19PM    2       RECORD THE CALL TO MAKE SURE THAT I COULD RELAY TO MR. HALL ALL

01:19PM    3       OF THE PERTINENT INVESTMENT INFORMATION THAT WAS ON IT.

01:19PM    4       Q.    AND WHERE WERE YOU WHEN YOU WERE PARTICIPATING IN THE

01:19PM    5       CALL?

01:19PM    6       A.    I WAS IN MY OFFICE IN FRISCO, TEXAS.

01:19PM    7       Q.    DO YOU KNOW WHETHER MR. HALL -- WHERE WAS MR. HALL?           DO

01:19PM    8       YOU KNOW?

01:19PM    9       A.    DO YOU KNOW, HE WAS TRAVELLING, AND SO WHEN THE CALL

01:19PM   10       STARTED, I DIDN'T KNOW WHERE HE WAS OR EVEN IF HE WOULD BE ON

01:19PM   11       THE CALL.

01:19PM   12       Q.    DURING THE CALL, DID YOU LEARN WHETHER MR. HALL MADE IT TO

01:19PM   13       PARTICIPATE IN THE CALL?

01:19PM   14       A.    I DO.    HE ASKED A QUESTION, SO I ANTICIPATED HE WAS ON.

01:19PM   15       Q.    OKAY.    WHEN YOU HEARD HIM ASK A QUESTION ON THE CALL, DID

01:19PM   16       YOU SAY, WELL, I DON'T NEED THE TAPE ANYMORE, AND TURN OFF THE

01:19PM   17       TAPE?

01:19PM   18       A.    NO.   AT THAT POINT I WAS RECORDING AND I JUST CONTINUED TO

01:19PM   19       TYPE AND MAKE MY NOTES OF THE CALL, BUT CONTINUED TO RECORD IT.

01:19PM   20       Q.    AND AFTER THE CALL WAS OVER, DID YOU SAVE OR PRESERVE THE

01:20PM   21       TAPE?

01:20PM   22       A.    I DID.   I PUT THE TAPE IN MY DESK DRAWER AND THAT'S WHERE

01:20PM   23       IT STAYED.

01:20PM   24       Q.    AND AT SOME POINT, DID YOU THEN PRODUCE THAT TAPE TO THE

01:20PM   25       FEDERAL GOVERNMENT?



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01:20PM    1       A.    I DIDN'T PRODUCE IT TO THE FEDERAL GOVERNMENT.

01:20PM    2             AT SOME POINT A FEW YEARS LATER WHEN I REMEMBERED I HAD

01:20PM    3       IT, I GAVE IT TO MY ATTORNEY AND I ASSUME THAT MY ATTORNEY MUST

01:20PM    4       HAVE PRODUCED IT.

01:20PM    5       Q.    AND HAVE YOU LISTENED TOD THAT RECORDING?

01:20PM    6       A.    I HAVE.

01:20PM    7       Q.    AND IN 2006, YOU SAID YOU HAD DINNER WITH MS. HOLMES?

01:20PM    8       A.    I DID.

01:20PM    9       Q.    AND DID YOU HAVE AN OPPORTUNITY TO OBSERVE HER VOICE AT

01:20PM   10       THAT DINNER?

01:20PM   11       A.    I DID.

01:20PM   12       Q.    AND WHEN YOU LISTENED TO THE RECORDING, DID YOU ALSO HAVE

01:20PM   13       AN OPPORTUNITY TO HEAR HER VOICE?

01:20PM   14       A.    I HEARD HER ON THE CALL.

01:20PM   15       Q.    AND DID YOU RECOGNIZE THE VOICE AS THE VOICE OF

01:20PM   16       MS. HOLMES?

01:20PM   17       A.    I DID.

01:20PM   18       Q.    DO YOU -- WHEN YOU LISTENED TO THE RECORDING, DO YOU

01:20PM   19       RECOGNIZE IT AS A RECORDING OF THIS DECEMBER 20TH, 2013 CALL?

01:21PM   20       A.    I DO.

01:21PM   21       Q.    AND DO YOU THINK THAT IT ACCURATELY RECORDS OR CAPTURES

01:21PM   22       THE CALL AS YOU HEARD IT THAT DAY?

01:21PM   23       A.    IT DOES.

01:21PM   24                     MR. SCHENK:   SO THE RECORDING IS EXHIBITS 1348 AND

01:21PM   25       1349.



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01:21PM    1             YOUR HONOR, AT THIS TIME THE GOVERNMENT WOULD OFFER 1348

01:21PM    2       AND 1349.

01:21PM    3                    MR. DOWNEY:    NO OBJECTION, YOUR HONOR.

01:21PM    4                    THE COURT:    THOSE EXHIBITS ARE ADMITTED.

01:21PM    5             (GOVERNMENT'S EXHIBITS 1348 AND 1349 WERE RECEIVED IN

01:21PM    6       EVIDENCE.)

01:21PM    7                    THE COURT:    WHAT DO YOU INTEND TO DO WITH THOSE

01:21PM    8       EXHIBITS?

01:21PM    9                    MR. SCHENK:    YOUR HONOR, I'VE TALKED TO THE DEFENSE

01:21PM   10       ABOUT 106 ISSUES.     WE'VE AGREED ON CLIPS TO PLAY.

01:21PM   11             SO WITH THE COURT'S PERMISSION, I WOULD LIKE TO PLAY A

01:21PM   12       HANDFUL OF CLIPS FROM 1348 AND 1349.

01:21PM   13                    THE COURT:    THANK YOU.   DO YOU HAVE -- ARE YOU GOING

01:21PM   14       TO OFFER TRANSCRIPTS AT ALL OF THESE CALLS?

01:21PM   15                    MR. SCHENK:    NO, YOUR HONOR.

01:21PM   16                    THE COURT:    ALL RIGHT.   THANK YOU.

01:21PM   17             LADIES AND GENTLEMEN, WE'RE GOING TO -- YOU'RE NOW GOING

01:21PM   18       TO HEAR CLIPS, AS MR. SCHENK SAYS, FROM PHONE CALLS.

01:21PM   19             AND I'LL ASK YOU, MR. SCHENK, TO AUTHENTICATE THESE BEFORE

01:21PM   20       THE CLIP IS PLAYED, JUST THE DATE AND TIME, AND IF THEY RELATE

01:22PM   21       TO THE TESTIMONY THAT WE JUST HEARD.

01:22PM   22             YOU WILL NOT HAVE A TRANSCRIPT TO FOLLOW OF THESE, SO

01:22PM   23       PLEASE, LADIES AND GENTLEMEN, PLEASE LISTEN CLOSELY TO THE

01:22PM   24       CONVERSATIONS AND THE CONTENTS OF THE TAPES.

01:22PM   25             AND WHICH ONE WILL YOU PLAY FIRST?



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01:22PM    1             GO AHEAD, MR. SCHENK.

01:22PM    2                    MR. SCHENK:    THANK YOU.

01:22PM    3       Q.    MR. TOLBERT, ON THE FIRST CALL -- I'M SORRY, THE FIRST

01:22PM    4       EXHIBIT, 1348, I HAVE SEVEN CLIPS THAT I'D LIKE TO PLAY FOR

01:22PM    5       YOU, SO I'LL REFER TO THEM AS 1348-1 THROUGH 1348-7, AND THEN I

01:22PM    6       HAVE ONE CLIP ON 1349, SO THAT WILL JUST BE 1349-1.

01:22PM    7             JUST A COUPLE OF QUESTIONS BEFORE WE GET STARTED ON THAT.

01:22PM    8             DID MS. HOLMES KNOW THAT YOU WERE RECORDING?

01:22PM    9       A.    SHE DID NOT.

01:22PM   10       Q.    ON THE RECORDING WE CAN HEAR SOME TYPING.         HAVE YOU

01:22PM   11       NOTICED THAT?

01:22PM   12       A.    I HAVE.

01:22PM   13       Q.    WHO IS THAT?

01:22PM   14       A.    THAT'S ME TYPING.

01:22PM   15       Q.    THAT'S YOU TAKING NOTES DURING THE CALL?

01:23PM   16       A.    CORRECT.

01:23PM   17                    MR. SCHENK:    OKAY.   SO THEN AGAIN WITH YOUR

01:23PM   18       PERMISSION, YOUR HONOR, WE'LL START WITH 1348-1.

01:23PM   19                    THE COURT:    ARE YOU ASKING THAT THESE RECORDINGS

01:23PM   20       NEED NOT BE RECORDED BY THE COURT REPORTERS?

01:23PM   21                    MR. SCHENK:    YES, I THINK THAT THAT'S FINE, BUT I

01:23PM   22       THINK I PROBABLY WOULD THEN APPEND TO THE TRANSCRIPT, APPEND TO

01:23PM   23       THE TRAIL TRANSCRIPT A TRANSCRIPT OF THE RECORDINGS, BUT I CAN

01:23PM   24       MEET AND CONFER WITH THE DEFENSE ON THAT.

01:23PM   25                    THE COURT:    IF YOU'LL AGREE TO THAT, AN AGREED



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01:23PM    1       TRANSCRIPT THAT COULD BE APPENDED, THAT WOULD BE ACCEPTABLE.

01:23PM    2       THEN OUR COURT REPORTERS NEED NOT TRANSCRIBE THESE CALLS.

01:23PM    3                    MR. SCHENK:    YES, THANK YOU.

01:23PM    4                    THE COURT:    DO YOU AGREE WITH THAT, MR. DOWNEY?

01:23PM    5                    MR. DOWNEY:    WELL, I WOULD RATHER CONFER.      I HAD

01:23PM    6       ASKED IF THEY WOULD HAVE A TRANSCRIPT IN ADVANCE AND THEY SAID

01:23PM    7       NO, SO I GUESS IF IT'S AN ISSUE OF THE COURT REPORTERS

01:23PM    8       RECORDING THE TRANSCRIPT NOW.

01:24PM    9             I'M GOING TO TURN TO THE COURT REPORTER AND SEE IF IT'S

01:24PM   10       POSSIBLE TO RECORD THEM NOW.

01:24PM   11             (DISCUSSION OFF THE RECORD.)

01:24PM   12                    THE COURT:    OUR COURT REPORTER SAYS SHE CAN TAKE

01:24PM   13       THESE DOWN.    I DON'T KNOW HOW FAST THE SPEAKING IS, BUT IF

01:24PM   14       THERE'S A PROBLEM WITH THIS, THE COURT REPORTER WILL LET US

01:24PM   15       KNOW AND OR WE CAN STOP OR WE CAN REPLAY IT.

01:24PM   16                    MR. SCHENK:    YES.

01:24PM   17                    MR. DOWNEY:    I SHOULD SAY ALSO, WE'LL HAVE NO

01:24PM   18       OBJECTION AT THE TIME THE JURY DELIBERATES TO RELISTENING TO

01:24PM   19       THE RECORDING.

01:24PM   20                    THE COURT:    ALL RIGHT.   THANK YOU.    OKAY.   GO AHEAD,

01:24PM   21       MR. SCHENK.

01:24PM   22                    MR. SCHENK:    THANK YOU VERY MUCH.

01:24PM   23             SO, MS. HOLLIMAN, IF WE COULD START WITH 1348-1.

01:24PM   24       Q.    I'LL PLAY THE WHOLE CLIP FOR YOU, AND SOMETIMES I MIGHT

01:24PM   25       HAVE SOME FOLLOW-UP QUESTIONS, AND SOMETIMES WE MIGHT JUST MOVE



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01:24PM    1       TO THE NEXT CLIP.

01:24PM    2                    THE COURT:    I'M SORRY, MR. SCHENK.     CAN YOU TELL US,

01:24PM    3       HOW LONG ARE THESE CLIPS?

01:24PM    4                    MR. SCHENK:    THE LONGEST IS EIGHT MINUTES, BUT MOST

01:24PM    5       OF THEM ARE CLOSER TO TWO TO FOUR MINUTES.

01:25PM    6                    THE COURT:    THAT'S HELPFUL.    THANK YOU.

01:25PM    7                    MR. DOWNEY:    YOUR HONOR, MAY I JUST TALK TO

01:25PM    8       MR. SCHENK?

01:25PM    9                    THE COURT:    YES, OF COURSE.

01:25PM   10             (DISCUSSION OFF THE RECORD.)

01:26PM   11                    MR. DOWNEY:    YOUR HONOR, JUST THE APPROACH OF

01:26PM   12       PLAYING IT, I THOUGHT THAT OUR AGREEMENT WAS THAT WE WOULD PLAY

01:26PM   13       THE ENTIRE TAPE AND NOT BREAK IT UP, WHICH WAS THE SUBJECT OF

01:26PM   14       OUR 106 DISCUSSIONS.

01:26PM   15             I THINK MR. SCHENK HAD A DIFFERENT UNDERSTANDING, SO WE'RE

01:26PM   16       AT A LITTLE BIT OF A -- WE'LL NEED SOME GUIDANCE.

01:26PM   17                    THE COURT:    OH.

01:26PM   18                    MR. SCHENK:    YOUR HONOR, MY UNDERSTANDING IS THAT

01:26PM   19       THE DEFENSE IS REQUESTING THAT WE PLAY ALL -- THERE ARE EIGHT

01:26PM   20       TOTAL CLIPS, WE PLAY ALL EIGHT CLIPS, AND THEN I GO BACK AND

01:26PM   21       PLAY EACH ONE SEPARATELY AND ASK FOLLOW-UP QUESTIONS.

01:26PM   22             IN OUR MEET AND CONFER, MY UNDERSTANDING WAS THAT THE

01:26PM   23       DEFENSE WANTED TWO OF THE CLIPS TO BE PLAYED CONSECUTIVELY

01:26PM   24       BECAUSE IT CARRIES OVER.         THE LAST ONE OF 1348 AND THE FIRST

01:26PM   25       ONE OF 1349 ARE ABOUT THE SAME TOPIC.



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01:26PM    1             SO I INTENDED TO DO THAT AND TO NOT SEPARATE THOSE TWO.

01:27PM    2             SO MY INTENTION WAS NOT TO PLAY ALL OF THEM AND THEN

01:27PM    3       REPLAY ALL OF THEM, BUT RATHER TO CAPTURE JUST THAT ONE.

01:27PM    4             BUT I MIGHT HAVE MISUNDERSTOOD DURING OUR MEET AND CONFER.

01:27PM    5                    MR. DOWNEY:    YES, I APOLOGIZE.     I THINK WE DID NOT

01:27PM    6       CONNECT ON THAT.

01:27PM    7             I THINK WE VIEW THE ENTIRE CONVERSATION AS RELEVANT FOR

01:27PM    8       THE CONTEXT, AND I UNDERSTAND THAT, LIKE A DOCUMENT, THERE MAY

01:27PM    9       BE INDIVIDUAL PIECES OF IT THAT MR. SCHENK WANTS TO QUESTION

01:27PM   10       ABOUT, AND THAT'S OBVIOUSLY FAIR GAME.

01:27PM   11             AND HE'S GIVEN US SOME CLIPS WITH WHICH HE INTENDS TO DO

01:27PM   12       THAT.

01:27PM   13             SO I JUST WOULD HAVE THE RECORD REFLECT THAT I DIDN'T

01:27PM   14       CONSENT TO KIND OF SPLITTING THE TAPE UP AS IT'S PLAYED.

01:27PM   15                    THE COURT:    ALL RIGHT.   BUT IT SOUNDS LIKE THE 1348

01:27PM   16       AND 1349 WILL BE PLAYED CONSECUTIVE FOR 106 PURPOSES AT LEAST

01:27PM   17       AS TO THAT.

01:27PM   18                    MR. SCHENK:    YES.

01:27PM   19                    THE COURT:    AND YOU DON'T HAVE ANY PROBLEM WITH THAT

01:27PM   20       OF COURSE.

01:27PM   21                    MR. DOWNEY:    THAT'S FINE.

01:27PM   22                    THE COURT:    ALL RIGHT.   WELL, THANK YOU FOR THIS.

01:27PM   23             I THINK, MR. SCHENK, WHY DON'T YOU PLAY THEM THE WAY THAT

01:27PM   24       YOU'VE INDICATED THAT YOU INTEND TO.        YOU'LL PLAY AND THEN

01:28PM   25       YOU'RE GOING TO EXAMINE, AND THEN PLAY AND THEN EXAMINE; IS



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01:28PM    1       THAT RIGHT.

01:28PM    2                    MR. SCHENK:    YES, YOUR HONOR.

01:28PM    3                    THE COURT:    I THINK THAT MAKES SENSE TO PROCEED THAT

01:28PM    4       WAY.

01:28PM    5                    MR. DOWNEY:    FAIR ENOUGH.

01:28PM    6                    THE COURT:    THANK YOU.

01:28PM    7                    MR. SCHENK:    PERMISSION TO PUBLISH?

01:28PM    8                    THE COURT:    YES, PLEASE.

01:28PM    9                    MR. SCHENK:    SO, MS. HOLLIMAN, IF WE COULD START

01:28PM   10       WITH 1348-1.

01:28PM   11              (AUDIO PLAYED IN OPEN COURT ON THE RECORD.)

01:28PM   12              "MS. HOLMES:    ABSOLUTELY.   IT'S WONDERFUL TO SPEAK WITH

01:28PM   13       YOU ALL.    AND IT'S WONDERFUL TO -- TO BE IN A PLACE IN WHICH WE

01:28PM   14       CAN BEGIN TO TALK ABOUT THIS.        AS YOU ALL KNOW, WE HAVE BEEN

01:28PM   15       WORKING VERY HARD FOR A LONG TIME TO BUILD UP THIS

01:28PM   16       INFRASTRUCTURE.

01:28PM   17              "AND WHEN I STARTED THE COMPANY, WE KNEW THAT IT WOULD

01:28PM   18       TAKE US A LONG TIME TO BE ABLE TO ESTABLISH AN INFRASTRUCTURE

01:28PM   19       THAT COULD DO ANY LAB TEST THAT IS RUN IN A TRADITIONAL LAB

01:28PM   20       FROM A MICRO SAMPLE OR THESE TINY DROPLETS THAT WE TAKE NOW

01:28PM   21       FROM THE FINGER.

01:28PM   22              "AND WE THUS BUILT A BUSINESS AROUND OUR PARTNERSHIPS WITH

01:29PM   23       PHARMACEUTICAL COMPANIES AND OUR CONTRACTS WITH THE MILITARY

01:29PM   24       WHEREIN WE COULD DEPLOY OUR FRAMEWORK IN THE ONE CASE FOR

01:29PM   25       HELPING TO ACCELERATE CLINICAL TRIALS AND IN THE OTHER FOR



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01:29PM    1       EXTREME USE CASE SITUATIONS IN TRAUMA AND OTHER AREAS WHERE

01:29PM    2       THERE WAS A VERY COMPELLING VALUE PROPOSITION.

01:29PM    3             "IN ORDER TO BUILD OUT OUR TEST MENU AND OUR

01:29PM    4       INFRASTRUCTURE TO BE ABLE TO GET TO THIS POINT, SEVERAL YEARS

01:29PM    5       AGO WE REALIZED THAT WE HAD CREATED AN INFRASTRUCTURE THAT

01:29PM    6       COULD, IN FACT, MAKE IT POSSIBLE TO GET RID OF PHLEBOTOMY OR

01:29PM    7       THE BIG TUBES OF BLOOD THAT ARE DRAWN FROM THE ARM IN ITS

01:29PM    8       ENTIRETY.

01:29PM    9             "AND WE BEGAN THIS WORK TO BE ABLE TO CREATE A FRAMEWORK

01:30PM   10       WHEREIN WORKING WITH INSURANCE COMPANIES, WORKING WITH

01:30PM   11       MEDICARE, WORKING WITH MEDICAID, WORKING WITH PHYSICIAN AND

01:30PM   12       HOSPITALS GROUPS, AND NOW RETAIL, WE COULD ESTABLISH WHAT HAS

01:30PM   13       THE OPPORTUNITY TO BE ULTIMATELY THE LARGEST LAB IN THE

01:30PM   14       COUNTRY.

01:30PM   15             "AND MOST IMPORTANTLY, TO CHANGE THE REALITY IN LAB

01:30PM   16       TESTING TODAY, WHICH IS THAT IT'S VERY PAINFUL AND 50 PERCENT

01:30PM   17       OF THE POPULATION DOESN'T DO IT IN TERMS OF COMPLIANCE WITH THE

01:30PM   18       REQUISITION FROM A PHYSICIAN TO DO A TEST BECAUSE THE FEAR OF

01:30PM   19       NEEDLES IS SUCH A GREAT PHOBIA.        AND EQUALLY THE FEAR OF HAVING

01:30PM   20       TO WAIT LONG PERIODS OF TIME FOR THE RESULTS DETERS MANY PEOPLE

01:30PM   21       FROM GETTING TESTED IN THE FIRST PLACE BECAUSE THEY DON'T WANT

01:30PM   22       TO BE SITTING AROUND WORRYING WHETHER THEY'RE POSITIVE WITH

01:31PM   23       SOMETHING OR NOT, FOR EXAMPLE."

01:31PM   24                    MR. SCHENK:    THAT'S THE END OF 1348-1.

01:31PM   25             YOUR HONOR, I WONDER IF IT WOULD BE HELPFUL TO PROVIDE THE



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01:31PM    1       COURT REPORTER A COPY OF THE TRANSCRIPT, EVEN IF WE'RE NOT

01:31PM    2       ATTACHING IT.

01:31PM    3                    THE COURT:    IT WOULD BE.    I THINK IT WOULD BE, YES,

01:31PM    4       IF YOU HAVE ONE.

01:31PM    5                    MR. SCHENK:    YES.

01:32PM    6             (DISCUSSION OFF THE RECORD.)

01:32PM    7                    MR. SCHENK:    I HAVE A COPY FOR THE COURT.

01:32PM    8                    THE COURT:    THAT WOULD BE HELPFUL.     THANK YOU.

01:32PM    9             I HAVE JUST BEEN INFORMED THAT OUR OVERFLOW ROOM, THE

01:32PM   10       REMOTE CONNECTION WE HAVE SOMEHOW IS DISCONNECTED, AND THEY'RE

01:32PM   11       ATTEMPTING TO REESTABLISH THAT.

01:32PM   12             SO MAYBE WE'LL TAKE OUR BREAK NOW, IF THAT'S CONVENIENT TO

01:32PM   13       EVERYONE.    WE'LL TAKE OUR BREAK.      LET'S TAKE 30 MINUTES.

01:32PM   14             THE OVERFLOW ROOM HAS A ZOOM CONNECTION.         APPARENTLY THE

01:32PM   15       ZOOM HAS DROPPED, AND IN FAIRNESS TO THE PUBLIC WHO ARE

01:32PM   16       WATCHING THIS TRIAL -- I AM INFORMED THERE ARE MEMBERS OF THE

01:32PM   17       PUBLIC IN THAT ROOM, AND IN FAIRNESS TO THEM, I THINK WE SHOULD

01:32PM   18       TRY TO GET THAT CONNECTION STARTED.

01:32PM   19             SO WE'LL TAKE OUR BREAK NOW.        30 MINUTES, I BELIEVE,

01:32PM   20       30 MINUTES, AND WE'LL SEE IF WE CAN GET THAT RESOLVED.

01:32PM   21             THANK YOU.    WE'LL BE IN RECESS FOR 30 MINUTES.

01:33PM   22                    THE CLERK:    COURT IS IN RECESS.

01:33PM   23             (RECESS FROM 1:33 P.M. UNTIL 2:02 P.M.).

02:02PM   24             (JURY IN AT 2:02 P.M.)

02:02PM   25                    THE COURT:    THANK YOU.   PLEASE BE SEATED.



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02:02PM    1             WE'RE BACK ON THE RECORD.      WE'LL GET OUR WITNESS BACK.

02:02PM    2                     MR. SCHENK:   YES, YOUR HONOR.

02:02PM    3                     THE COURT:    BEFORE WE CONCLUDE FOR THE DAY, I'VE

02:02PM    4       GONE OVER OUR SCHEDULE AND I WANTED TO OFFER SOME CHANGES TO

02:02PM    5       OUR SCHEDULE AT THE END OF THE DAY TODAY FOR EVERYONE'S BENEFIT

02:02PM    6       AND ASK OUR JURY TO DO SOME RESEARCH WITH THEIR SCHEDULES OVER

02:02PM    7       THE WEEKEND.     BUT WE'LL SHARE THAT AT THE END OF THE DAY TODAY.

02:02PM    8                     MR. SCHENK:   THANK YOU.

02:03PM    9             (PAUSE IN PROCEEDINGS.)

02:03PM   10                     THE COURT:    WE'RE BACK ON THE RECORD.     ALL COUNSEL

02:03PM   11       ARE PRESENT.     MS. HOLMES IS PRESENT.     OUR JURY IS PRESENT.

02:03PM   12       MR. TOLBERT IS BACK ON THE STAND.

02:03PM   13             MR. SCHENK.

02:03PM   14                     MR. SCHENK:   THANK YOU VERY MUCH.

02:03PM   15       Q.    MR. TOLBERT, I'LL REMIND YOU THAT YOU'RE STILL UNDER OATH.

02:03PM   16             BEFORE WE BROKE, I PLAYED FOR YOU THE FIRST CLIP.          IT'S

02:03PM   17       LABELLED 1348-1.

02:03PM   18             DO YOU RECALL THAT?

02:03PM   19       A.    I DO.

02:03PM   20       Q.    THE VOICE ON THE TAPE, DO YOU RECOGNIZE THAT VOICE?

02:03PM   21       A.    THAT WAS MS. HOLMES.

02:04PM   22       Q.    ON THAT, ON THAT SECTION, MS. HOLMES SAYS THAT WHEN SHE

02:04PM   23       STARTED THE COMPANY, SHE KNEW IT WOULD TAKE A LONG TIME TO

02:04PM   24       ESTABLISH AN INFRASTRUCTURE THAT COULD DO ANY LAB TESTS THAT

02:04PM   25       COULD DO ANY LAB TEST THAT IS RUN IN A TRADITIONAL LAB WITH A



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02:04PM    1       MICRO SAMPLE OR THESE TINY DROPLETS THAT WE NOW TAKE FROM A

02:04PM    2       FINGER.

02:04PM    3             WHEN WE HEARD THAT, DID YOU DRAW ANY CONCLUSIONS ABOUT THE

02:04PM    4       CURRENT CAPABILITIES OF THE THERANOS TECHNOLOGY?

02:04PM    5       A.    WELL, MY UNDERSTANDING WAS THAT, YOU KNOW, WHEN THINGS HAD

02:04PM    6       STARTED IN 2006 OR WHEN WE HAD, YOU KNOW, THAT OPPORTUNITY TO

02:04PM    7       EXPLORE THINGS IN 2006, THAT WAS TRUE THAT THERE HAD BEEN A

02:04PM    8       PROGRESSION OF THINGS IN 2013 WHEN THE INVESTOR CALL WAS MADE.

02:04PM    9             SO MY UNDERSTANDING WAS THAT OVER THE YEARS THE

02:05PM   10       TECHNOLOGY, THEY HAD PERFECTED IT OR IMPROVED IT AND MADE LOTS

02:05PM   11       OF ADVANCES FROM BEING ABLE TO DO, YOU KNOW, SOME TEST, AND

02:05PM   12       BEING ABLE TO DO LOTS AND LOTS OF TESTS ON THE SAME DROP OF

02:05PM   13       BLOOD.

02:05PM   14       Q.    WAS THAT REPRESENTATION IMPORTANT TO YOU AND YOUR DECISION

02:05PM   15       TO INVEST LATER IN DECEMBER OF 2013?

02:05PM   16       A.    IT WAS.

02:05PM   17       Q.    WHY?

02:05PM   18       A.    WELL, YOU KNOW, IF THEY HAD SPENT SEVEN YEARS WORKING ON

02:05PM   19       BUILDING A DEVICE THAT COULD DO TESTS AND THEY COULDN'T DO ANY

02:05PM   20       MORE TESTS THAN THEY DID SEVEN YEARS PRIOR, THEN IT WOULD HAVE

02:05PM   21       BEEN CONCERNING BECAUSE THERE WOULDN'T HAVE BEEN A LOT OF

02:05PM   22       PROGRESS THAT WOULD HAVE BEEN MADE.

02:05PM   23             BUT MY UNDERSTANDING WAS THAT THINGS REALLY PROGRESSED AND

02:05PM   24       IT REALLY PRESENTED AN OPPORTUNITY TO ENGAGE IN THIS CONSUMER

02:05PM   25       ROLLOUT WHERE ANYBODY COULD GO TO THEIR DOCTOR AND GET AN ORDER



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02:05PM    1       TO HAVE THE TEST DONE AND THAT TEST COULD BE DONE ON THIS

02:06PM    2       DEVICE.

02:06PM    3       Q.    LATER IN THAT SAME CLIP WHEN MS. HOLMES SAYS, "WE HAVE

02:06PM    4       THUS BUILT A BUSINESS AROUND OUR PARTNERSHIPS WITH

02:06PM    5       PHARMACEUTICAL COMPANIES AND OUR CONTRACTS WITH THE MILITARY

02:06PM    6       WHEREIN WE CAN DEPLOY OUR FRAMEWORK IN THE ONE CASE FOR HELPING

02:06PM    7       TO ACCELERATE CLINICAL TRIALS AND IN THE OTHER FOR EXTREME USE

02:06PM    8       CASE SITUATIONS IN TRAUMA AND OTHER AREAS WHERE THERE WAS A

02:06PM    9       VERY COMPELLING VALUE PROPOSITION."

02:06PM   10             DID YOU UNDERSTAND MS. HOLMES TO BE MAKING STATEMENTS

02:06PM   11       ABOUT THE WORK THAT THERANOS HAD DONE FIRST WITH PHARMACEUTICAL

02:06PM   12       COMPANIES AND SECOND WITH THE MILITARY?

02:06PM   13       A.    I DID.

02:06PM   14       Q.    AND WERE THOSE REPRESENTATIONS IMPORTANT WHEN YOU DECIDED

02:06PM   15       TO INVEST LATER THAT MONTH?

02:06PM   16       A.    THEY WERE.

02:06PM   17       Q.    WHY?

02:06PM   18       A.    WELL, IT REPRESENTED BUSINESS THAT THERANOS NEEDED TO HAVE

02:06PM   19       TO GENERATE REVENUE.      IF THEY HAD NOT HAD, YOU KNOW, AN ABILITY

02:06PM   20       TO DO WHAT THEY SET OUT TO DO, THEN THERE WOULDN'T HAVE BEEN A

02:07PM   21       REASON TO INVEST.

02:07PM   22       Q.    LATER ON IN THAT CLIP MS. HOLMES SAYS, "WE COULD ESTABLISH

02:07PM   23       WHAT HAS THE OPPORTUNITY TO BE ULTIMATELY THE LARGEST LAB IN

02:07PM   24       THE COUNTRY."

02:07PM   25             DID YOU UNDERSTAND THAT AT THIS TIME IN DECEMBER OF 2013



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02:07PM    1       THERANOS WAS NOT YET THE LARGEST LAB IN THE COUNTRY?

02:07PM    2       A.    OH, I DIDN'T -- YOU KNOW, IN MY MIND I DIDN'T REALLY THINK

02:07PM    3       ABOUT THERANOS AS ITS OWN LAB.

02:07PM    4             I THOUGHT THAT THERE WERE THESE, YOU KNOW, DEVICES THAT A

02:07PM    5       DROP OF BLOOD WOULD BE, YOU KNOW, KIND OF TESTED ON SITE AND

02:07PM    6       SO, YOU KNOW, I GUESS MAYBE THINKING ABOUT ALL OF THOSE DEVICES

02:07PM    7       AS BEING CONNECTED AS A LABORATORY THAT WOULD HAVE MADE SENSE,

02:07PM    8       BUT I DIDN'T REALIZE, YOU KNOW, EXACTLY WHAT THAT -- I DIDN'T

02:07PM    9       THINK ABOUT THERANOS AS ONE BIG LAB.        I THOUGHT ABOUT IT AS

02:08PM   10       THIS DISTRIBUTED NETWORK OF, YOU KNOW, TESTING CAPABILITIES, IT

02:08PM   11       COULD KIND OF BE DEPLOYED ANYWHERE.

02:08PM   12       Q.    AND WHEN MS. HOLMES SAID THAT THEY HAD THE OPPORTUNITY TO

02:08PM   13       ULTIMATELY BE THE LARGEST LAB, DID YOU UNDERSTAND HER TO, IN

02:08PM   14       THAT INSTANCE, TO BE FORWARD LOOKING, SOMETHING THAT THEY HAD

02:08PM   15       NOT YET ACCOMPLISHED, BUT THAT THEY COULD ACCOMPLISH

02:08PM   16       POTENTIALLY IN THE FUTURE?

02:08PM   17       A.    WELL, I CERTAINLY THOUGHT THAT THERE WOULD BE CONTINUED

02:08PM   18       GROWTH OF CAPABILITIES, YOU KNOW, WELL INTO THE FUTURE.           I

02:08PM   19       DIDN'T THINK THAT THE TECHNOLOGY HAD FINISHED EVOLVING OR WAS

02:08PM   20       AT A PERFECT STATE.

02:08PM   21             YOU KNOW, I THOUGHT THAT IT REPRESENTED AN OPPORTUNITY TO

02:08PM   22       GO HAVE TESTS DONE, YOU KNOW, BY ANY, ANY CONSUMER OR BY, YOU

02:08PM   23       KNOW, ON THOSE PHARMACEUTICAL TRIALS OR IN MILITARY

02:08PM   24       APPLICATIONS.

02:08PM   25             SO, YOU KNOW, MY UNDERSTANDING WAS THAT THERE WAS



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02:08PM    1       SIGNIFICANT CAPABILITY AT THIS MOMENT IN TIME, BUT THAT IT

02:09PM    2       WOULD CONTINUE TO PROGRESS AND BE PERFECTED.

02:09PM    3       Q.    OKAY.

02:09PM    4             YOUR HONOR, WITH PERMISSION I'LL NOW PUBLISH 1348-2.

02:09PM    5                     THE COURT:   YES.

02:09PM    6       BY MR. SCHENK:

02:09PM    7       Q.    MR. TOLBERT, THE VOICE THAT WE'RE GOING TO HEAR IS ALSO

02:09PM    8       MS. HOLMES'S VOICE?

02:09PM    9       A.    I ASSUME IT WILL BE.

02:09PM   10       Q.    OKAY.    I'LL ASK YOU THAT WHEN THE CLIP IS OVER.

02:09PM   11       A.    OKAY.

02:09PM   12       Q.    THANK YOU.

02:09PM   13             (AUDIO PLAYED IN OPEN COURT ON THE RECORD.)

02:09PM   14             "MS. HOLMES:    AND SO NOW IN THIS FRAMEWORK THAT WE HAVE

02:09PM   15       CREATED, WE'VE BUILT AN OPPORTUNITY FOR PEOPLE TO BE ABLE TO DO

02:09PM   16       THEIR TEST IN A WHOLE NEW WAY AND BECOME MORE COMPLIANT WITH

02:09PM   17       BEING ABLE TO GET ACCESS TO THIS LABORATORY DATA, WHICH IS

02:09PM   18       INCREDIBLY POWERFUL INFORMATION THAT DRIVES SO MUCH OF CLINICAL

02:09PM   19       DECISION MAKING AND IN DOING SO CREATES A RICHER DATA FRAMEWORK

02:09PM   20       FOR THE PURPOSE OF BEING ABLE TO BETTER CHARACTERIZE THE

02:10PM   21       PROGRESSION OF CERTAIN CONDITIONS BY VIRTUE OF THE FACT THAT

02:10PM   22       NOT ONLY ARE WE HELPING TO GET PEOPLE TESTED -- BECAUSE IT'S A

02:10PM   23       SMALL SAMPLE, WE CAN GET PEOPLE TESTED AT THE NEEDED

02:10PM   24       FREQUENCIES.

02:10PM   25             "AND BECAUSE NOW THE SAMPLE IS FRESH AND IT'S NOT, YOU



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02:10PM    1       KNOW, A BIG SERIES OF TUBES OF BLOOD THAT ARE SITTING ON A

02:10PM    2       COUNTER AND EXPOSED TO TEMPERATURE, WE DON'T SUFFER THE RATES

02:10PM    3       OF DECAY OF KEY ANALYTES THAT HAPPEN WHEN YOU SHIP SAMPLES OFF

02:10PM    4       TO A CENTRAL LAB.

02:10PM    5             "AND THEN BY VIRTUE OF THE FACT THAT OUR ANALYTICAL

02:10PM    6       INFRASTRUCTURE IS STANDARDIZED SO WE DON'T HAVE THE VARIABILITY

02:10PM    7       THAT IS ASSOCIATED WITH TRADITIONAL LABORATORY TESTING.

02:10PM    8       MEANING, TODAY IF YOU GO TO A LAB IN SAN FRANCISCO AND YOU GO

02:10PM    9       TO A LAB IN L.A. ON THE SAME DAY FOR THE SAME VALUE, ONE COULD

02:11PM   10       REPORT A RESULT THAT IS, FOR EXAMPLE, ON A TEST LIKE HDL

02:11PM   11       CHOLESTEROL, PLUS OR MINUS 30 PERCENT FROM SOME STANDARD AND BE

02:11PM   12       CONSIDERED ACCURATE IN THE EYES OF REGULATORS.

02:11PM   13             "WHICH MEANS ON THE SAME DAY FOR A SINGLE TEST, BASED ON

02:11PM   14       THE FACT THAT EACH LAB IS CENTRALIZED AND HAS ITS OWN LAB

02:11PM   15       DIRECTOR AND HAS ITS OWN REFERENCE RANGE AND USES ITS OWN

02:11PM   16       EQUIPMENT WHICH IS DIFFERENT FROM WHAT OTHER LABS USE, YOU

02:11PM   17       COULD SEE A 60 PERCENT VARIANCE IN DATA.

02:11PM   18             "AND IF YOU START TO THINK ABOUT HOW THAT COMPOUNDS OVER

02:11PM   19       TIME, IT MAKES IT VERY DIFFICULT TO LOOK LONGITUDINALLY AT THE

02:11PM   20       PROGRESSION OF A CONDITION BY VIRTUE OF THE FACT THAT THERE'S

02:11PM   21       SO MUCH NOISE BETWEEN TIME POINTS.

02:11PM   22             "AND HERE BECAUSE THIS IS A SINGLE FRAMEWORK AND WE HAVE

02:12PM   23       BUILT THIS OUT IN SUCH A WAY IN WHICH WE HAVE A LESS THAN

02:12PM   24       5 PERCENT VARIANCE ON OUR TESTS, IF WE BEGIN TO SEE A CHANGE OF

02:12PM   25       30 PERCENT IN PATIENT VALUES OVER TIME, IT'S BECAUSE IT'S



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02:12PM    1       CLINICAL.

02:12PM    2             "AND THIS IS A RICHNESS OF DATA FOR THE PHYSICIAN

02:12PM    3       COMMUNITY THAT HAS NOT BEEN ACCESSIBLE BEFORE.          AND IT ALLOWS

02:12PM    4       THE PHYSICIAN TO BEGIN LOOKING AT LABORATORY DATA IN THE SAME

02:12PM    5       WAY THAT PEOPLE TALK ABOUT LOOKING AT A TEST FOR PSA, FOR

02:12PM    6       CANCER, PROSTATE CANCER, CALLED PSA, WHICH THEY FOCUS MORE ON

02:12PM    7       THE RATE OF RANGE OR ITS VELOCITY THAN THEY DO ON ITS ABSOLUTE

02:12PM    8       CONCENTRATION AT ANY GIVEN POINT IN TIME.

02:12PM    9             "AND WE'RE GOING TO BE ABLE TO START PRESENTING THIS

02:12PM   10       LABORATORY INFORMATION IN THAT WAY SO THAT IT CAN BE USED MORE

02:12PM   11       TOWARDS EARLY DETECTION."

02:12PM   12       BY MR. SCHENK:

02:12PM   13       Q.    MR. TOLBERT, THAT'S THE END OF 1348-2.

02:13PM   14             DID YOU RECOGNIZE THE VOICE ON THAT RECORDING?

02:13PM   15       A.    I DID.   THAT WAS MS. HOLMES.

02:13PM   16       Q.    IN THAT PORTION WHEN MS. HOLMES SAYS THAT "BECAUSE NOW THE

02:13PM   17       SAMPLE IS FRESH AND IT'S NOT, YOU KNOW, A BIG SERIES OF TUBES

02:13PM   18       OF BLOOD THAT ARE SITTING ON A COUNTER AND EXPOSED TO

02:13PM   19       TEMPERATURE, WE DON'T SUFFER THE RATES OF DECAY OF KEY ANALYTES

02:13PM   20       THAT HAPPEN WHEN YOU SHIP SAMPLES OFF TO A CENTRAL LAB."

02:13PM   21             WHEN MS. HOLMES SAYS IT'S NOT "A BIG SERIES OF TUBES OF

02:13PM   22       BLOOD," DID YOU UNDERSTAND THAT TO BE A REPRESENTATION ABOUT

02:13PM   23       THE WAY THERANOS, AND THE VOLUME OF BLOOD THAT THERANOS

02:13PM   24       COLLECTS?

02:13PM   25       A.    I DID.



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02:13PM    1       Q.    WHAT DID YOU UNDERSTAND THAT TO MEAN?

02:13PM    2       A.    WELL, WHEN I GO TO THE DOCTOR AND HAVE A LAB TEST, THEY

02:13PM    3       DRAW LOTS OF VIALS OF BLOOD AND THOSE GET SHIPPED OFF TO A

02:13PM    4       CENTRAL LABORATORY SITE WHERE THEY GET TESTED.

02:13PM    5             YOU KNOW, MY UNDERSTANDING OF THERANOS IS THAT I WOULD

02:14PM    6       POTENTIALLY GO TO THE DOCTOR, OR WHEREVER, AND GIVE A FINGER

02:14PM    7       PRICK OF BLOOD AND THEY CAN RUN THOSE TESTS ON SITE WITHOUT

02:14PM    8       HAVING TO BE SHIPPED OFF BECAUSE BEING SHIPPED OFF CAUSE SOME

02:14PM    9       VARIABILITY IN THE RESULTS.

02:14PM   10             AND SO, YOU KNOW, IT FELT LIKE IT WAS A BIG ADVANTAGE TO

02:14PM   11       BE ABLE TO DO THAT TESTING KIND OF IN HOUSE OR ON SITE.

02:14PM   12       Q.    AND HOW ABOUT THE VOLUME ALSO?       FOR INSTANCE, WHEN YOU GO

02:14PM   13       TO YOUR DOCTOR AND YOU GET BLOOD DRAWN FROM THE VEIN IN YOUR

02:14PM   14       ARM, IS THE VOLUME DIFFERENT THAN WHAT YOU UNDERSTOOD THERANOS

02:14PM   15       TO BE OFFERING?

02:14PM   16       A.    SURE.   THAT'S ONE OF THE REASONS WHY I WAS SO EXCITED

02:14PM   17       ABOUT IT.     I -- WHEN I SEE THOSE FOUR OR FIVE VIALS OF BLOOD

02:14PM   18       COMING OUT, I START FEELING A LITTLE -- THE EFFECTS OF THAT.

02:14PM   19             THE IDEA OF BEING ABLE TO HAVE MY FINGER STUCK AND GIVE

02:14PM   20       THAT SAMPLE AND HAVE THOSE TESTS RUN FROM THAT SMALL SAMPLE

02:15PM   21       SIZE WAS INTRIGUING, AND, YOU KNOW, CERTAINLY SEEMED TO SPEAK

02:15PM   22       TO WHAT -- TO THE REFERENCE THAT HAD BEEN MADE THAT MORE AND

02:15PM   23       MORE PEOPLE WOULD DO MORE AND MORE TESTS BECAUSE IT WOULD BE

02:15PM   24       MUCH LESS INVASIVE.

02:15PM   25       Q.    IF THERANOS DREW THOSE BIG TUBES OR VIALS OF BLOOD FROM



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02:15PM    1       THE VEIN IN THE ARM, WOULD YOU LOSE THIS ADVANTAGE THAT YOU

02:15PM    2       JUST DESCRIBED TO ME?

02:15PM    3       A.    CERTAINLY.

02:15PM    4       Q.    FURTHER ON IN THIS PORTION MS. HOLMES SAYS, "BECAUSE THIS

02:15PM    5       IS A SINGLE FRAMEWORK AND WE HAVE BUILT THIS OUT IN SUCH A WAY

02:15PM    6       IN WHICH WE HAVE A LESS THAN 5 PERCENT VARIANCE ON OUR TESTS,

02:15PM    7       IF WE BEGIN TO SEE A CHANGE OF 30 PERCENT IN PATIENT VALUES

02:15PM    8       OVER TIME, IT'S BECAUSE IT'S CLINICAL."

02:15PM    9             DID YOU UNDERSTAND MS. HOLMES TO BE MAKING REPRESENTATIONS

02:15PM   10       ABOUT THE VARIANCE IN THERANOS TEST RESULTS DEVICE TO DEVICE

02:15PM   11       BEING LESS THAN THE VARIANCE IN, LET'S SAY, ONE LAB TO ANOTHER

02:16PM   12       LAB WITH TRADITIONAL PHLEBOTOMY?

02:16PM   13       A.    I DID.

02:16PM   14       Q.    AND WAS THAT REPRESENTATION SIGNIFICANT IN YOUR DECISION

02:16PM   15       TO INVEST?

02:16PM   16       A.    IT WAS.    CERTAINLY IF, YOU KNOW, IF A NORMAL LAB COMPANY

02:16PM   17       HAD A 30 PERCENT OR GREATER VARIANCE AND I COULD GO IN AND HAVE

02:16PM   18       A LOT MORE CONFIDENCE THAT THE RESULTS DIDN'T HAVE THAT KIND OF

02:16PM   19       VARIANCE, I WOULD -- YOU KNOW, IT WOULD BE A MUCH MORE VALUABLE

02:16PM   20       TEST.

02:16PM   21             MY UNDERSTANDING FROM THE BEGINNING HAD ALSO BEEN THAT ONE

02:16PM   22       OF THE ADVANTAGES TO THE PHARMACEUTICAL COMPANIES IS WHEN THEY

02:16PM   23       DO THOSE DRUG TRIALS THAT, YOU KNOW, SOMEBODY TAKES A DRUG AND

02:16PM   24       THEN THEY MAY BE TESTED ONCE A WEEK OR ONCE A DAY.

02:16PM   25             BUT IF WE COULD NOW TEST, BECAUSE IT WAS IN A LOT LESS



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02:16PM    1       INVASIVE WAY, THOSE TESTS COULD BE PERFORMED MUCH MORE

02:17PM    2       FREQUENTLY THAN WE -- I SAY "WE" -- THAT THERANOS WOULD HAVE

02:17PM    3       BEEN ABLE TO, YOU KNOW, CAPITALIZED ON DOING SOMETHING THAT

02:17PM    4       HADN'T BEEN DONE BEFORE.

02:17PM    5       Q.     OKAY.    WITH PERMISSION, YOUR HONOR, I WOULD NOW PLAY

02:17PM    6       1348-3.

02:17PM    7                      THE COURT:   YES.

02:17PM    8              (AUDIO PLAYED IN OPEN COURT ON THE RECORD.)

02:17PM    9              "MS. HOLMES:    WE HAVE LAUNCHED OUR RETAIL INFRASTRUCTURE.

02:17PM   10       WE ARE OPERATING NOW IN CALIFORNIA AND IN ARIZONA.           AND WE HAVE

02:17PM   11       OPENED OUR FIRST STORES AND HAVE PATIENTS COMING IN LIVE EVERY

02:17PM   12       DAY.    AND WE ARE WORKING TO EXPAND THAT AS FAST AS POSSIBLE.

02:17PM   13       THE SPEED WITH WHICH WE EXPAND IS CRITICAL IN THE CONTEXT OF

02:17PM   14       CAPTURING THE MARKET OPPORTUNITY THAT WE HAVE CREATED.

02:17PM   15              "AND WE'RE PUTTING A LOT OF RESOURCES INTO ESTABLISHING A

02:17PM   16       NATIONAL FOOTPRINT AS FAST AS WE CAN.         BUT THAT STARTS WITH

02:18PM   17       EXCELLENCE IN EACH LOCAL MARKET AND CAPTURING MARKET SHARE IN

02:18PM   18       EACH LOCAL MARKET, WHICH IS WHERE WE ARE FOCUSSED NOW.           AND AS

02:18PM   19       WE DO THAT, WE'RE LEVERAGING CAPITAL FROM OUR STRATEGIC

02:18PM   20       PARTNERS AND ALSO FROM EQUITY OPPORTUNITIES THAT WE HAVE ON THE

02:18PM   21       TABLE TO BE ABLE TO GROW VERY FAST.

02:18PM   22              "AND AS YOU ALL KNOW, WE HAVE RECENTLY ISSUED SHARES AT

02:18PM   23       $75 A SHARE.      AND FOR REFERENCE, THE INITIAL INVESTMENT IN

02:18PM   24       THERANOS THAT YOU ALL MADE WAS AT 82 CENTS.           AND SO WE ARE

02:18PM   25       ALREADY CREATING SIGNIFICANT VALUE.        AND OF COURSE, WE'RE --



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02:18PM    1       WE'RE JUST GETTING STARTED IN THE CONTEXT OF BEING ABLE TO

02:18PM    2       ESTABLISH AND ROLL OUT THIS INFRASTRUCTURE.

02:19PM    3              AS WE GO FORWARD INTO 2014, IN ADDITION TO THE SPEED OF

02:19PM    4       SCALE PUTTING THE RESOURCES INTO THE BUSINESS TO BE ABLE TO

02:19PM    5       BUILD THE ORGANIZATIONS THAT ARE REQUIRED TO HANDLE THIS TYPE

02:19PM    6       OF CONSUMER TYPE BUSINESS IS ANOTHER CORE AREA OF FOCUS FOR US.

02:19PM    7       OBVIOUSLY, A GREAT CONTRAST IN THE CONTEXT OF A PHARMACEUTICAL

02:19PM    8       DEAL COULD BE VERY GREAT FINANCIALLY, BUT IT WAS VERY SMALL

02:19PM    9       RELATIVELY SPEAKING IN THE CONTEXT OF VOLUME.          AND NEXT TO WHAT

02:19PM   10       WE'RE FACING NOW, THERE'S, YOU KNOW, 7 MILLION PEOPLE IN THE

02:19PM   11       BAY AREA, 39 MILLION IN CALIFORNIA.        AND THAT SCALE IS VERY

02:19PM   12       DIFFERENT FROM THE SCALE ON WHICH WE'VE OPERATED IN THE PAST.

02:19PM   13              "SO WE'RE VERY FOCUSSED ON BEING ABLE TO ESTABLISH THE

02:20PM   14       OPERATIONAL FRAMEWORK TO BE ABLE TO HANDLE THAT TYPE OF VOLUME.

02:20PM   15       AND IT'S -- IT'S AN AREA THAT WE'RE SPENDING A LOT OF TIME ON

02:20PM   16       NOW.

02:20PM   17              "THE RETAIL INFRASTRUCTURE IS THE FOUNDATION FOR BEING

02:20PM   18       ABLE TO REACTIVATE A LOT OF THE PHARMACEUTICAL PROGRAMS THAT WE

02:20PM   19       DID THAT ALLOWED US TO BUILD THE BUSINESS FROM CASH FROM

02:20PM   20       OPERATIONS SINCE WE DID OUR SERIES C ROUND IN 2006.           AND

02:20PM   21       THERE'S A VERY STRONG SYNERGY BETWEEN THE ABILITY TO RUN

02:20PM   22       CLINICAL TRIALS AT RETAIL AND THE ABILITY TO SPEED AND ROLL IT

02:20PM   23       AND BETTER DEMONSTRATE THAT IT'S POSSIBLE TO DELIVER THERAPIES

02:20PM   24       IN A NEW WAY BY VIRTUE OF THE FACT THAT THIS TESTING CAN BE

02:20PM   25       DONE PRACTICALLY INSIDE A RETAIL PHARMACY WHERE THE DRUG IS



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02:21PM    1       DELIVERED IN AND OF ITSELF.

02:21PM    2             "SO -- AND THE FOCUS ON THE PHARMACEUTICAL BUSINESS IS

02:21PM    3       STILL A SIGNIFICANT FOCUS FOR US AND WILL CONTINUE EFFECTIVELY

02:21PM    4       AS A BUSINESS UNIT AS WE NOW GROW AND WILL BE VERY SYNERGISTIC

02:21PM    5       WITH WHAT WE HAVE ESTABLISHED IN RETAIL.

02:21PM    6             "SO MAYBE -- CHRIS, LET ME PAUSE THERE AND JUST SEE OUT OF

02:21PM    7       WHAT I HAVE SAID SO FAR IF THERE'S ANY QUESTIONS ON ANYTHING WE

02:21PM    8       HAVE COVERED UP TO NOW."

02:21PM    9       BY MR. SCHENK:

02:21PM   10       Q.    MR. TOLBERT, THAT WAS THE END OF 1348-3.         WAS THAT

02:21PM   11       MS. HOLMES VOICE?

02:21PM   12       A.    YES, IT WAS.

02:21PM   13       Q.    AND WHEN MS. HOLMES SAYS "WE'RE LEVERAGING CAPITAL FROM

02:21PM   14       OUR STRATEGIC PARTNERS AND ALSO FROM EQUITY OPPORTUNITIES THAT

02:21PM   15       WE HAVE ON THE TABLE TO BE ABLE TO GROW VERY FAST," WHAT DID

02:21PM   16       YOU UNDERSTAND THAT TO BE SPEAKING TO?

02:22PM   17       A.    IF I REMEMBER RIGHT, THE WALGREENS PARTNERSHIP HAD BEEN

02:22PM   18       ANNOUNCED AND THERE WAS A POTENTIAL OF 8,000-PLUS RETAIL

02:22PM   19       LOCATIONS THAT NEEDED TO BE OUTFITTED, YOU KNOW, WITH EQUIPMENT

02:22PM   20       BUILDOUT AND PEOPLE, AND THAT THE PROCEEDS OF THIS FUND RAISE

02:22PM   21       THAT WAS UNDERWAY WOULD BE USED TO SCALE THAT OPPORTUNITY AGAIN

02:22PM   22       SO THAT, YOU KNOW, SO THAT THERE WEREN'T OTHER COMPETITORS THAT

02:22PM   23       WOULD COME IN AND TAKE ADVANTAGE OF UNDERSTANDING WHAT THERANOS

02:22PM   24       WAS DOING.

02:22PM   25       Q.    WHEN YOU JUST SAID THE PROCEEDS OF THIS FINANCIAL RAISE,



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02:22PM    1       THIS FUND RAISING, DID YOU MEAN IF YOU INVESTED, THIS IS HOW

02:22PM    2       YOUR MONEY WOULD BE SPENT?

02:22PM    3       A.    CORRECT.    I THOUGHT THE INVESTMENT CASE, THE USE OF THE

02:22PM    4       PROCEEDS FROM OUR INVESTMENT THAT WE ULTIMATELY WOULD MAKE, AS

02:22PM    5       WELL AS OTHERS THAT WERE REFERENCED THERE BY STRATEGIC, BY

02:22PM    6       OTHER NOT JUST INVESTORS LIKE US, BUT BY RETAIL PARTNERS AND

02:23PM    7       OTHERWISE WOULD BE TO, YOU KNOW, TO SPEED THAT ROLLOUT AND TO

02:23PM    8       MAKE IT GO FASTER AND, YOU KNOW, KIND OF ACCOMPLISH WHAT IT WAS

02:23PM    9       DESIGNED TO ACCOMPLISH.

02:23PM   10       Q.    AND ARE YOU NOW DRAWING A DISTINCTION BETWEEN YOUR MONEY

02:23PM   11       BEING SPENT ON THE RETAIL ROLLOUT AS OPPOSED TO R&D AT

02:23PM   12       THERANOS, RESEARCH AND DEVELOPMENT TO ACTUALLY CREATE THE

02:23PM   13       TECHNOLOGY NECESSARY TO DO THE BLOOD TESTING?

02:23PM   14       A.    CORRECT.    IT FELT LIKE THE PROCEEDS OF THIS FUND RAISE

02:23PM   15       WERE NOT ABOUT PERFECTING THE TECHNOLOGY, ALTHOUGH I'M

02:23PM   16       CONFIDENT THAT THAT WOULD HAVE CONTINUED TO EVOLVE, BUT IT WAS

02:23PM   17       NOW AT A PLACE, RIGHT, WHERE THE COMPANY WAS OUT OF STEALTH

02:23PM   18       MODE, THEY ANNOUNCED THIS PARTNERSHIP, AND WE'RE GOING TO PUT

02:23PM   19       THESE, THIS CAPABILITY IN ALL OF THESE LOCATIONS JUST COSTS A

02:24PM   20       LOT OF MONEY TO PHYSICALLY DO THAT, AND SO THE POINT OF RAISING

02:24PM   21       THIS MONEY WAS TO BE ABLE TO ACCELERATE THAT DEPLOYMENT.

02:24PM   22       Q.    WAS THIS IMPORTANT IN YOUR DECISION TO INVEST, AND BY THIS

02:24PM   23       I MEAN THAT YOUR MONEY WOULD BE SPENT TO ACCELERATE THE

02:24PM   24       DEPLOYMENT THAT YOU JUST DESCRIBED?

02:24PM   25       A.    THAT'S CORRECT.     YOU KNOW, IF IT FELT TO US LIKE THE



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02:24PM    1       TECHNOLOGY STILL WAS IN ITS INFANCY OR DIDN'T WORK THE WAY IT

02:24PM    2       SEEMED TO, YOU KNOW, OUR INVESTMENT CONSIDERATION WOULD HAVE

02:24PM    3       BEEN A LOT DIFFERENT.

02:24PM    4       Q.    AND THAT SAME PORTION WHERE MS. HOLMES SAYS, "THE RETAIL

02:24PM    5       INFRASTRUCTURE IS THE FOUNDATION FOR BEING ABLE TO REACTIVATE A

02:24PM    6       LOT OF THE PHARMACEUTICAL PROGRAMS THAT WE DID THAT ALLOWED US

02:24PM    7       TO BUILD THE BUSINESS FROM CASH FROM OPERATIONS SINCE WE DID

02:24PM    8       OUR SERIES C ROUND IN 2006."

02:25PM    9             WHAT DID YOU UNDERSTAND THAT TO BE A REFERENCE TO,

02:25PM   10       BUILDING THE BUSINESS FROM CASH FROM OPERATIONS?

02:25PM   11       A.    WELL, MY UNDERSTANDING FROM THE TIME WE MADE OUR FIRST

02:25PM   12       INVESTMENT WAS THE BACKBONE OF THE BUSINESS HAD BEEN THESE

02:25PM   13       PHARMACEUTICAL TRIALS THAT THERANOS WAS ABLE TO HELP, AND SO

02:25PM   14       THERE WAS A LOT OF VALUE FOR THE PHARMACEUTICAL COMPANIES TO DO

02:25PM   15       THAT.

02:25PM   16             SO I HAD, YOU KNOW, ANTICIPATED FROM THAT FIRST INVESTMENT

02:25PM   17       THAT THE COMPANY HAD BEEN ABLE TO RECOGNIZE SIGNIFICANT AMOUNTS

02:25PM   18       OF CASH, PROFIT, TO BE ABLE TO REINVEST NOT ONLY IN R&D, BUT TO

02:25PM   19       KIND OF COVER ITS OWN OPERATIONAL BURN RATES.

02:25PM   20             AND THAT, YOU KNOW, WE WERE NOW AT A POINT WHERE THE

02:25PM   21       RETAIL FOCUS WOULD TAKE OVER.

02:25PM   22             BUT STILL, EVEN FROM DAY ONE AS I UNDERSTOOD IT, IT STILL

02:26PM   23       REPRESENTED A GREAT ADVANCEMENT FOR THESE PHARMACEUTICAL

02:26PM   24       COMPANIES BECAUSE NOW INSTEAD OF HAVING TO RECRUIT PATIENTS FOR

02:26PM   25       DRUG TRIALS TO COME TO SPECIFIC LOCATIONS, THEY COULD ENROLL



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02:26PM    1       PEOPLE IN TRIALS THAT COULD JUST GO TO THEIR DOCTOR'S OFFICE OR

02:26PM    2       LOCAL PHARMACY.

02:26PM    3             AND SO IT REPRESENTED A GREAT GAIN AND EFFICIENCY FOR

02:26PM    4       THESE PHARMACEUTICAL COMPANIES TO CONTINUE AS WELL.

02:26PM    5       Q.    OKAY.    AND I WANT TO BE CLEAR, YOU SAID THAT YOU HAD AN

02:26PM    6       UNDERSTANDING THAT THERANOS WAS DOING SOME OF THIS

02:26PM    7       PHARMACEUTICAL WORK FROM BACK IN YOUR 2006 INVESTMENT AND ON,

02:26PM    8       SOMETIME AFTER THAT.

02:26PM    9             DID YOU GET THAT UNDERSTANDING IN PART FROM CHRIS LUCAS?

02:26PM   10       A.    CORRECT.    SO THOSE CONVERSATIONS THAT I HAD WITH CHRIS

02:26PM   11       OVER THE YEARS SUGGESTED THAT THOSE PHARMACEUTICAL TRIALS, YOU

02:26PM   12       KNOW, CONTINUED TO BE SOMETHING THAT THERANOS HAD AS A STAPLE

02:26PM   13       OF BUSINESS.

02:27PM   14       Q.    AND NOW ON THIS CALL, IS MS. HOLMES CONFIRMING THAT FOR

02:27PM   15       YOU, THAT THE PHARMACEUTICAL WORK WAS GENERATING CASH FOR

02:27PM   16       OPERATIONS?

02:27PM   17                     MR. DOWNEY:   EXCUSE ME, YOUR HONOR.     OBJECTION,

02:27PM   18       YOUR HONOR, TO THOSE TWO STATEMENTS.

02:27PM   19             I THINK HE CAN CERTAINLY COMMENT ON HIS UNDERSTANDING,

02:27PM   20       WHICH HE HAS.

02:27PM   21             I THINK TO LINK STATEMENTS FROM TWO PEOPLE TOGETHER AND

02:27PM   22       TRY TO GET A CONFIRMATION IS INAPPROPRIATE.

02:27PM   23                     THE COURT:    OVERRULED.

02:27PM   24                     MR. SCHENK:   YOUR HONOR, WITH PERMISSION, I'LL NOW

02:27PM   25       TURN TO -- OH, I'M SORRY.       ONE MORE QUESTION.



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02:27PM    1       Q.    ON 1348-3, WHAT WE HAVE JUST LISTENED TO, WHEN MS. HOLMES

02:27PM    2       SAYS "THE FOCUS ON THE PHARMACEUTICAL BUSINESS IS STILL A

02:27PM    3       SIGNIFICANT FOCUS FOR US," WHAT DID YOU TAKE THAT TO MEAN?

02:28PM    4       A.    JUST THAT FROM THE VERY BEGINNING, LIKE I DESCRIBED, I

02:28PM    5       THOUGHT PHARMACEUTICAL, THE PHARMACEUTICAL BUSINESS, YOU KNOW,

02:28PM    6       WAS A PROFITABLE OR A FOUNDATIONAL PART OF WHAT THERANOS WAS

02:28PM    7       DOING AND SO, YOU KNOW, I HAD NO INDICATION THAT THAT HAD NEVER

02:28PM    8       BEEN THE CASE.

02:28PM    9       Q.    AND WHEN SHE SAID IT IS STILL A SIGNIFICANT FOCUS AND YOU

02:28PM   10       HAD THIS CALL IN DECEMBER OF 2013 --

02:28PM   11       A.    DECEMBER OF 2013.

02:28PM   12       Q.    YES, I'M SORRY.      DID YOU THINK THAT THAT PHARMACEUTICAL

02:28PM   13       BUSINESS WAS STILL, IN DECEMBER OF 2013, A SIGNIFICANT FOCUS?

02:28PM   14       A.    I DID.

02:28PM   15                    MR. SCHENK:    YOUR HONOR, WITH YOUR PERMISSION, I'LL

02:28PM   16       NOW PLAY 1348-4.

02:28PM   17                    THE COURT:    YES.

02:28PM   18                    MR. SCHENK:    THANK YOU.

02:28PM   19             (AUDIO PLAYED IN OPEN COURT ON THE RECORD.)

02:28PM   20             "QUESTIONER:    THANK YOU.    HI, ELIZABETH.     I GUESS I HAVE A

02:28PM   21       TWO-PART QUESTION.      FIRST OF ALL, IF YOU COULD JUST COVER

02:29PM   22       GENERALLY THE CURRENT CAPITALIZATION IN TERMS OF WHAT THE --

02:29PM   23       WHAT THE $75 A SHARE, WHAT THE CAPITALIZATION WOULD BE AND WHAT

02:29PM   24       YOU'RE LOOKING TO RAISE AND WHAT THE -- I TAKE IT FROM WHAT

02:29PM   25       YOU'VE SAID, BUT MAYBE YOU COULD GO INTO A LITTLE MORE OF THE



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02:29PM    1       USE.    IS IT -- IS IT HEAVILY WEIGHTED TOWARD THE RETAIL BUILD

02:29PM    2       OUT WHICH YOU'RE LOOKING TO DO ON A NATIONAL BASIS AND HOW LONG

02:29PM    3       DO YOU EXPECT THE TIME-WISE TO DO THE BUILD OUT OF THE RETAIL

02:29PM    4       SIDE OF IT?

02:29PM    5              "MS. HOLMES:    ABSOLUTELY.   SO AND -- SO WHEN YOU ALL CAME

02:29PM    6       IN IN THE SERIES B AT PRE MONEY WAS ABOUT $20 MILLION VALUATION

02:29PM    7       OF THE COMPANY AND THAT WAS -- IT WAS PREVIOUSLY ASSOCIATED

02:29PM    8       WITH THE SERIES A PRICE OF 75 CENTS A SHARE.          NOW THE VALUATION

02:29PM    9       OF THE COMPANY IS -- IS JUST OVER $7 BILLION AND THAT'S AT THE

02:30PM   10       $75 A SHARE.

02:30PM   11              "AND THE RETAIL IS EXACTLY WHERE WE'RE FOCUSSING OUR

02:30PM   12       INVESTMENT AND THE -- IT'S REALLY NOW A QUESTION OF HOW FAST DO

02:30PM   13       WE SCALE, YOU KNOW, WHAT -- THE FACT THAT WE WILL SCALE IS A

02:30PM   14       GIVEN.    OUR RETAIL PARTNERS HAVE INVESTED HUNDREDS OF MILLIONS

02:30PM   15       OF DOLLARS IN BUILDING OUT THIS FRAMEWORK.         AND WE TOO HAVE

02:30PM   16       BEEN PREPARING FOR THIS FOR MANY YEARS NOW.           AND THE GOAL IS TO

02:30PM   17       BE ABLE TO BE NATIONAL VERY, VERY, VERY QUICKLY.

02:30PM   18              "SO THE IMMEDIATE FOCUS IS CALIFORNIA AND ARIZONA.

02:30PM   19       CERTAINLY, YOU KNOW, AS WE GO INTO 2014, ONE OF OUR GOALS FOR

02:30PM   20       2014 IS TO HAVE THOSE MARKETS AND BEACH HEADS IN TERMS OF

02:30PM   21       REALLY OWNING THE MARKETPLACE AND BEING ABLE TO EXPAND FROM

02:30PM   22       THEM.

02:30PM   23              "BUT THE ABILITY TO EXPAND THROUGHOUT RETAIL, ONCE YOU'VE

02:31PM   24       OPERATIONALIZED A GIVEN MARKET, IT IS -- IT'S NOT VERY

02:31PM   25       COMPLICATED.     AND, YOU KNOW, COMPANIES LIKE WALGREENS HAVE DONE



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02:31PM    1       THIS VERY WELL IN AREAS LIKE THE FLU SHOT OR VACCINATION

02:31PM    2       BUSINESS WHERE THEY TRAINED ALL OF THEIR PHARMACISTS AND HAD IT

02:31PM    3       DEPLOYED NATIONALLY WITHIN, I THINK, ABOUT AN 18-MONTH PERIOD.

02:31PM    4             "AND THERE'S -- THERE'S A PARALLEL TO WHAT CAN BE DONE

02:31PM    5       HERE AND WE'RE WORKING TO DO THAT."

02:31PM    6       BY MR. SCHENK:

02:31PM    7       Q.    MR. TOLBERT, I'VE PLAYED FOR YOU NOW 1348-4.

02:31PM    8             DO YOU RECOGNIZE TWO INVOICES ON THIS PORTION?

02:31PM    9       A.    I DO.

02:31PM   10       Q.    AND WHO ARE THOSE INDIVIDUALS?

02:31PM   11       A.    THE FIRST INDIVIDUAL WAS CRAIG HALL, WHO IS MY BOSS, AND

02:31PM   12       THE SECOND WAS ELIZABETH HOLMES.

02:31PM   13       Q.    SO WAS THIS THE MOMENT YOU REALIZED MR. HALL DID MAKE IT

02:31PM   14       TO THE CALL?

02:31PM   15       A.    IT WAS.

02:31PM   16       Q.    AND I THINK YOU SAID YOU DIDN'T STOP THE RECORDING?

02:32PM   17       A.    I DID NOT.

02:32PM   18       Q.    AND DESCRIBE FOR THE JURY FOR A MOMENT THE STRUCTURE OF

02:32PM   19       THE CALL.     THE FIRST CLIPS WE HEARD MS. HOLMES TALKING, AND

02:32PM   20       THIS TIME WE HEARD A QUESTION.

02:32PM   21       A.    SO AT THE BEGINNING OF THE CALL, CHRIS LUCAS HAD JUST HAD

02:32PM   22       AN INTRODUCTORY COMMENT OR TWO AND THEN TURNED IT OVER TO

02:32PM   23       ELIZABETH.

02:32PM   24             YOU KNOW, SHE KIND OF WALKED THROUGH AN UPDATE OF WHERE

02:32PM   25       THE COMPANY WAS AND WHAT WAS GOING ON.



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02:32PM    1             AND THEN AT THIS POINT, OR AT SOME POINT AROUND THIS TIME

02:32PM    2       ON THE CALL, IT OPENED UP FOR Q AND A, AND THIS WAS ONE OF THE

02:32PM    3       FIRST QUESTIONS.

02:32PM    4       Q.    SO THE FIRST PORTION THAT I'VE PLAYED FOR YOU BEFORE

02:32PM    5       MR. HALL, WAS THAT MS. HOLMES SPEAKING NOT IN RESPONSE TO

02:32PM    6       QUESTIONS, BUT RATHER GIVING, AS YOU SAID, I THINK AN OVERVIEW?

02:32PM    7       A.    CORRECT.

02:32PM    8       Q.    AND THEN THE INDIVIDUALS ON THE CALL HAD THE OPPORTUNITY

02:32PM    9       TO ASK QUESTIONS?

02:32PM   10       A.    CORRECT.

02:32PM   11       Q.    AND WHEN SHE RESPONDS TO MR. HOLMES'S QUESTION BY SAYING,

02:32PM   12       "IT'S REALLY NOW A QUESTION OF HOW WE SCALE.          YOU KNOW, THE

02:33PM   13       FACT THAT WE WILL SCALE IS A GIVEN."

02:33PM   14             WHAT DID YOU UNDERSTAND THAT TO MEAN?

02:33PM   15       A.    WELL, WE KNEW THAT WALGREENS WAS A BIG OPPORTUNITY WITH

02:33PM   16       SOMETHING OVER 8,000 LOCATIONS.        I THINK AT THE TIME OF THIS

02:33PM   17       CALL THERE MAY HAVE BEEN, YOU KNOW, A DOZEN LOCATIONS OPENED OR

02:33PM   18       SOMETHING.

02:33PM   19             AND SO THE NEED TO GO FROM, YOU KNOW, 10 TO 8,000 IS

02:33PM   20       PRETTY SUBSTANTIAL.

02:33PM   21             SO IT FELT LIKE IT WAS GOING TO HAPPEN, IT'S JUST HOW FAST

02:33PM   22       CAN WE MAKE IT HAPPEN?      HOW FAST CAN WE GET IN ALL OF THESE

02:33PM   23       LOCATIONS?

02:33PM   24       Q.    AND WAS THAT SIGNIFICANT OR IMPORTANT IN YOUR DECISION TO

02:33PM   25       INVEST?



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02:33PM    1       A.    IT WAS.    I MEAN, THAT -- YOU KNOW, THE OPPORTUNITY TO DO

02:33PM    2       THAT VOLUME OF TESTS, RIGHT, IF IT'S IN 8,000 LOCATIONS AND

02:33PM    3       REPRESENTED A SIGNIFICANT OPPORTUNITY, AND SO, YOU KNOW,

02:34PM    4       CERTAINLY IF, IF WE HAD THOUGHT THAT THOSE LOCATIONS WOULD NOT

02:34PM    5       BECOME OPERATIONAL, IT WOULD HAVE BEEN A BIG NEGATIVE FOR THE

02:34PM    6       INVESTMENT.

02:34PM    7                    MR. SCHENK:    YOUR HONOR, WITH PERMISSION I'LL PLAY

02:34PM    8       1348-5.

02:34PM    9                    THE COURT:    YES.

02:34PM   10             (AUDIO PLAYED IN OPEN COURT ON THE RECORD.)

02:34PM   11             "MEETING OPERATOR:      THANK YOU.   THE NEXT QUESTION COMES

02:34PM   12       FROM LARRY (INAUDIBLE).       PLEASE GO AHEAD.    LARRY, ARE YOU

02:34PM   13       THERE?

02:34PM   14             "QUESTIONER:    YES, I AM.

02:34PM   15             "HI ELIZABETH, THIS IS LARRY (INAUDIBLE).

02:34PM   16             "MS. HOLMES:    HI LARRY, HOW ARE YOU?

02:34PM   17             "QUESTIONER:    GOOD.    GOOD.   CONGRATULATIONS ON ALL OF THIS

02:34PM   18       PROGRESS.

02:34PM   19             "MS. HOLMES:    WELL, THANK YOU.

02:34PM   20             "QUESTIONER:    NOW, ELIZABETH, YOU MENTIONED THAT YOU MIGHT

02:34PM   21       HAVE SOME ADDITIONAL EQUITY ROUNDS THAT ARE COMING UP.           CAN YOU

02:34PM   22       GIVE ANY INDICATION OF HOW MUCH MONEY YOU WANT TO RAISE AND

02:34PM   23       WHAT MARKET CAPS YOU WOULD LIKE TO SEE YOURSELF ACHIEVE IN

02:34PM   24       THOSE ROUNDS?

02:34PM   25             "MS. HOLMES:    SURE.    ABSOLUTELY.    SO WE -- THIS RECENT



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02:34PM    1       TRANSACTION AT $75 A SHARE IS ACTUALLY PART OF CONTRACTS THAT

02:35PM    2       WE HAVE WITH STRATEGIC ENTITIES AND PARTNERS WHO PREVIOUSLY HAD

02:35PM    3       AN EQUITY RELATIONSHIP WITH THERANOS AND HAD AN OPTION TO

02:35PM    4       EXERCISE TO INVEST ADDITIONAL CAPITAL BEFORE THE END OF 2013,

02:35PM    5       WHICH THEY LITERALLY JUST EXERCISED.        AND SO WE'RE WORKING

02:35PM    6       THROUGH THAT NOW, AS MANY OF YOU ALL KNOW IN SOME OF THE RECENT

02:35PM    7       SHAREHOLDER CONSENT AND -- AND THAT VALUATION THAT I PREVIOUSLY

02:35PM    8       MENTIONED IS ASSOCIATED WITH THOSE TRANSACTIONS.

02:35PM    9             "WE DO HAVE OFFERS ON THE TABLE RIGHT NOW FROM FINANCIAL

02:35PM   10       INSTITUTIONS THAT ARE IN THE SEVERAL HUNDRED MILLION DOLLAR

02:35PM   11       RANGE IN TERMS OF THE AMOUNT OF CAPITAL AND WE'RE CONSIDERING

02:35PM   12       THAT IN THE CONTEXT OF HOW WE -- HOW WE INVEST.          AND ALSO WE'RE

02:36PM   13       AWARE THAT CERTAIN SHAREHOLDERS HAVE SOME LIQUIDITY NEEDS.               AND

02:36PM   14       SO THE ABILITY TO PUT A LARGE AMOUNT OF CAPITAL INTO THE

02:36PM   15       COMPANY AND THEN WHEREIN AS RELEVANT AND AT THE RIGHT TIME FOR

02:36PM   16       THE BUSINESS ADDRESS THAT.       LIQUIDITY IS -- IS HOW WE'RE

02:36PM   17       LOOKING AT THAT AND THERE'S A VERY HIGH LIKELIHOOD THAT WE

02:36PM   18       WILL -- WE WILL DO TRANSACTIONS THAT ARE IN THE SEVERAL HUNDRED

02:36PM   19       MILLION DOLLAR RANGE.

02:36PM   20             "INSOFAR AS THE VALUATION, WE KNOW THAT IT IS HIGHER THAN

02:36PM   21       $75 A SHARE.     WE ARE HAVING NEGOTIATIONS RIGHT NOW ABOUT

02:36PM   22       EXACTLY WHAT PRICE WE PICK AND MORE IMPORTANTLY WHO WE PICK AS,

02:36PM   23       YOU KNOW, THE INVESTOR BASE HERE.

02:36PM   24             "AND SOME OF THIS IN TERMS OF WHAT THE ACTUAL PRICE PER

02:36PM   25       SHARE AND THEREFORE THE ASSOCIATED EQUITY CAPITALIZATION OF THE



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02:36PM    1       COMPANY WILL BE IS GOING TO DEPEND ON HOW THAT PLAYS OUT, BUT

02:37PM    2       THAT'S SOMETHING THAT -- THAT IS GOING ON AS WE SPEAK AND --

02:37PM    3       AND WILL LIKELY BE EFFECTED EARLY IN Q1."

02:37PM    4                    MR. SCHENK:    THAT'S THE END OF 1348-5.

02:37PM    5       Q.    MR. TOLBERT, DID WE HEAR A QUESTION AND MS. HOLMES'S VOICE

02:37PM    6       IN RESPONSE?

02:37PM    7       A.    WE DID.

02:37PM    8       Q.    AND MS. HOLMES MAKES A STATEMENT ABOUT THE AMOUNT OF MONEY

02:37PM    9       SHE INTENDED TO RAISE AND SHARE PRICE.

02:37PM   10             WAS THAT STUFF THAT WAS ALSO IMPORTANT TO YOU IN YOUR

02:37PM   11       DECISION TO INVEST?

02:37PM   12       A.    THEY WERE.    CERTAINLY TO THE EXTENT LIKE WE FELT LIKE IF

02:37PM   13       WE INVESTED, THERE WERE SEVERAL HUNDRED MILLION DOLLARS

02:37PM   14       ADDITIONAL INVESTMENT THAT WOULD COME THAT WOULD HELP

02:37PM   15       ACCOMPLISH THE DESIGNS OF THIS ROLLOUT THAT, YOU KNOW, IT WOULD

02:37PM   16       MAKE IT A LOT MORE CERTAIN THAT THERE WOULD BE A POSITIVE

02:37PM   17       OUTCOME TO IT.

02:37PM   18       Q.    SO IF THE -- AS YOU TESTIFIED A MOMENT AGO, IF THE

02:37PM   19       INVESTOR MONEY WOULD BE SPENT FOR THE WALGREENS ROLLOUT, IT WAS

02:37PM   20       IMPORTANT TO YOU THAT THERE WAS MORE MONEY COMING IN, NOT JUST

02:37PM   21       YOUR 5 MILLION?

02:37PM   22       A.    CORRECT.    YOU KNOW, THE ADDITIONAL MONEY THAT WOULD COME

02:38PM   23       IN JUST REPRESENTED ADDITIONAL SPEED AND CAPABILITY AND MORE

02:38PM   24       MARKETS THAT COULD BE SERVICED, PUT INTO SERVICE SOONER.

02:38PM   25       Q.    THANK YOU.



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02:38PM    1                    MR. SCHENK:    YOUR HONOR, WITH YOUR PERMISSION I'LL

02:38PM    2       NOW PLAY 1348-6.

02:38PM    3                    THE COURT:    YES.

02:38PM    4              "QUESTIONER:    HI, ELIZABETH.    ALSO CONGRATULATIONS FROM

02:38PM    5       US.    THAT'S REMARKABLE WHAT YOU HAVE ACCOMPLISHED.

02:38PM    6              "AND JUST TO FOLLOW ON WHAT YOU WERE JUST DISCUSSING, I

02:38PM    7       ASSUME THAT WOULD ALL BE PRIVATE AND I'M WONDERING IF YOU SEE A

02:38PM    8       PUBLIC LIQUIDITY EVENT AT SOME POINT WHERE YOU GO OUT WITH AN

02:38PM    9       IPO.    I'M WONDERING ABOUT THAT.

02:38PM   10              "AND AS LONG AS I'M SPEAKING, I WAS -- I WAS ALSO CURIOUS

02:38PM   11       IF THERE'S A MILITARY ASPECT THAT YOU'RE GOING TO PURSUE.

02:38PM   12              "AND, AGAIN, SINCE I HAVE THE FLOOR, WITH REGARD TO

02:39PM   13       COMPETITION, CHRIS HAD MENTIONED THAT THERE DOESN'T APPEAR TO

02:39PM   14       BE ANY OUT THERE.      I'M WONDERING IF YOUR PATENT SIDE IS LOOKING

02:39PM   15       AT ANY CONCERNS THERE OR IF YOU THINK THERE'S ANY POSSIBILITY

02:39PM   16       FOR PATENT INFRINGEMENT OR -- OR OTHERS DOING SOMETHING SIMILAR

02:39PM   17       AND COMPETING WITH YOU.

02:39PM   18              "MS. HOLMES:    ABSOLUTELY.   AND I WILL START WITH THE FIRST

02:39PM   19       ONE.    SO THESE IMMEDIATE TRANSACTIONS WHEN WE'RE TALKING IN

02:39PM   20       DECEMBER, JANUARY, EARLY Q1 TIMEFRAME ARE ALL PRIVATE

02:39PM   21       TRANSACTIONS.

02:39PM   22              "WE HAVE PUT A CORPORATE STRUCTURE IN PLACE THAT POSITIONS

02:39PM   23       US TO BE ABLE TO PROCEED WITH FUTURE EQUITY RELATED EVENTS AND

02:39PM   24       RETAIN THE CONTROL TO REALIZE THE LONG-TERM VISION THAT WE

02:39PM   25       HAVE.    AND AS YOU KNOW, THIS COMPANY IS ABOUT BEING ABLE TO



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02:40PM    1       CHANGE THE HEALTH CARE INDUSTRY.        AND THAT'S SOMETHING THAT,

02:40PM    2       YOU KNOW, WE PLAN ON DOING FOR THE NEXT 10, 20, 30, 40, 50,

02:40PM    3       60 YEARS.

02:40PM    4             "WE HAVE THE OPPORTUNITY TO CREATE AN INDUSTRY HERE AND

02:40PM    5       THAT'S WHAT THIS IS ABOUT.       SO WE HAVE ALWAYS BEEN VERY

02:40PM    6       LONG-TERM IN OUR MINDSET.       AND THE POTENTIAL FOR SOME TYPE OF

02:40PM    7       PUBLIC TRANSACTION, A PUBLIC OFFERING TRANSACTION DOWN THE ROAD

02:40PM    8       IS THERE.

02:40PM    9             "RIGHT NOW WE THINK THERE'S A LOT OF ADVANTAGES TO

02:40PM   10       CONTINUING TO OPERATE AS A PRIVATE COMPANY, ESPECIALLY IN THE

02:40PM   11       CONTEXT OF WHAT WE'VE JUST DONE WHERE WE MADE SOME VERY

02:40PM   12       DIFFICULT DECISIONS WHEN WE SIGNED OUR RETAIL CONTRACTS TO

02:40PM   13       EFFECTIVELY AGREE TO CONTRACTS THAT SAID WE COULDN'T TALK ABOUT

02:40PM   14       THIS BECAUSE THESE COMPANIES WERE PUTTING HUNDREDS OF MILLIONS

02:40PM   15       OF DOLLARS INTO THE INFRASTRUCTURE AND THEY HADN'T ANNOUNCED IT

02:40PM   16       TO THE STREET AND IT WAS MATERIAL AND PUBLIC INFORMATION AND

02:40PM   17       SOME OF IT STILL IS.

02:41PM   18             "AND SO -- AND SO WHAT WE GOT OUT OF THAT IS WE GOT A LEAD

02:41PM   19       TIME AND WE WERE ABLE TO LAUNCH AND -- AND REALLY SURPRISE THE

02:41PM   20       MARKET IN TERMS OF THE EXISTENCE OF THIS CAPABILITY AND THERE'S

02:41PM   21       A LOT OF POWER IN THAT FROM A MARKET OWNERSHIP STANDPOINT.               BUT

02:41PM   22       WE ARE -- WE ARE LOOKING AT LIQUIDITY OPTIONS AND AN IPO WOULD

02:41PM   23       BE ONE OF THEM.

02:41PM   24             "IN TERMS OF THE MILITARY ASPECT OF THIS, MILITARY IS A

02:41PM   25       BIG DEAL FOR US AND I CAN TELL YOU CONFIDENTIALLY A COUPLE OF



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02:41PM    1       THE AREAS WHICH WE HAVE BEEN FOCUSSED THERE.

02:41PM    2             "ONE IS IN THE CONTEXT OF WORK IN THE MIDDLE EAST AND

02:41PM    3       SPECIFICALLY IN AFGHANISTAN.       THE SURVIVAL RATE OF OUR MEN AND

02:41PM    4       WOMEN IN THE FIELD WHEN THEY'RE HIT IS 98 PERCENT IF THEY GET

02:42PM    5       THROUGH THE DOORS OF AN EMERGENCY ROOM WITHIN 60 MINUTES FROM

02:42PM    6       THE POINT OF INJURY.      AND IF WE MISS THAT WINDOW THAT'S WHERE

02:42PM    7       THE BULK OF OUR FATALITIES OCCUR.

02:42PM    8             "AND SO THE ABILITY TO TAKE A TECHNOLOGY LIKE THIS AND PUT

02:42PM    9       IT IN FLIGHT, SPECIFICALLY ON A MEDEVAC, HAS THE POTENTIAL TO

02:42PM   10       CHANGE SURVIVAL RATES.      AND WHAT IT DOES IS IT MAKES IT

02:42PM   11       POSSIBLE TO BEGIN TRANSFUSION AND STABILIZATION IN PLACE.            AND

02:42PM   12       SO WE'RE BEEN DOING A LOT OF WORK THERE.

02:42PM   13             "WE HAVE ALSO BEEN DOING A LOT OF WORK FOR SPECIAL

02:42PM   14       OPERATIONS COMMAND IN THE CONTEXT OF MISSIONS IN REMOTE AREAS

02:42PM   15       WHERE NOT ONLY IS THERE NO CAPABILITY TO DO TESTING FOR CERTAIN

02:42PM   16       THINGS THAT NEED TO BE MEASURED, BUT IF SITUATIONS ARISE IN

02:42PM   17       WHICH THOSE TESTS ARE WARRANTED, THE MISSION IS ABORTED AND

02:43PM   18       PEOPLE ARE EVACUATED GENERALLY OUT OF CONTINENT.          AND SO WE'VE,

02:43PM   19       YOU KNOW, CREATED A DISTRIBUTED SYSTEM THAT CAN BE USED IN

02:43PM   20       REMOTE AREAS AND THAT IS -- THAT IS ANOTHER VENUE AND FOCUS FOR

02:43PM   21       US.   AND AS WE NOW REACH THIS STAGE IN OUR BUSINESS AND GOING

02:43PM   22       BACK TO THE COMMENT THAT I MADE EARLIER ON ORGANIZATION THAT

02:43PM   23       REALLY IS ANOTHER BUSINESS UNIT.

02:43PM   24             "AND SO THAT, THE PHARMACEUTICAL BUSINESS AND RETAIL ARE

02:43PM   25       THESE THREE UNITS THAT WE HAVE.        OBVIOUSLY TO BE ABLE TO DO



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02:43PM    1       WHAT WE'VE JUST DONE, WE HAD TO PAUSE A LARGE NUMBER OF OUR

02:43PM    2       ONGOING PHARMACEUTICAL AND MILITARY PROGRAMS SO THAT WE COULD

02:43PM    3       FOCUS LIKE A LASER ON THIS AND EXECUTING ON THIS.

02:43PM    4             "AND THE SCALE OF THIS RETAIL INFRASTRUCTURE NOW IS WHERE

02:43PM    5       WE WILL CONTINUE TO FOCUS LIKE A LASER.         BUT AS WE GET THE

02:43PM    6       RESOURCES AND ORGANIZATIONS TO CAPTURE SOME OF THESE ADDITIONAL

02:44PM    7       OPPORTUNITIES IN PARALLEL, WE WILL PROCEED WITH THE

02:44PM    8       PHARMACEUTICAL AND MILITARY BUSINESS IN LEVERAGING SOME OF THIS

02:44PM    9       INFRASTRUCTURE AND THE RESOURCES FROM IT THAT WE'RE BUILDING

02:44PM   10       OUT NOW.    SO THAT, FOR THE LONG-TERM, WILL BE AN IMPORTANT

02:44PM   11       THING FOR US.     AND IT'S ALSO VERY SYMBOLIC BECAUSE IT'S OUR WAY

02:44PM   12       OF BEING ABLE TO HELP MAKE A DIFFERENCE IN WHATEVER SMALL WAY

02:44PM   13       WE CAN THERE."

02:44PM   14                    MR. SCHENK:    THAT'S THE END OF 1348-6.

02:44PM   15             WITH THE COURT'S PERMISSION, I'LL CONTINUE PLAYING 1348-7

02:44PM   16       AND THEN 1349-1.     IT'S ALL A CONTINUATION.

02:44PM   17                    THE COURT:    YES, PLEASE.

02:44PM   18             (AUDIO PLAYED IN OPEN COURT ON THE RECORD.)

02:44PM   19             "QUESTIONER:    INSOFAR AS COMPETITION IS CONCERNED, EXACTLY

02:45PM   20       THE REASON THAT WE WERE SO AGGRESSIVE ABOUT BEING IN SELF-MODE

02:45PM   21       WAS TO PRESERVE THE WINDOW FOR CAPTURING AS MUCH MARKET SHARE

02:45PM   22       AS POSSIBLE WITHOUT DIRECT COMPETITION.         WE HAVE NOT SEEN OTHER

02:45PM   23       COMPANIES DOING THIS THAT --"

02:45PM   24                    MR. SCHENK:    AND THEN THAT'S THE END OF 1348-7.

02:45PM   25       Q.    MR. TOLBERT, DOES THE RECORDING CUT OFF AT THAT POINT?



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02:45PM    1       A.    IT DOES.

02:45PM    2       Q.    AND THEN WHAT DID YOU DO?

02:45PM    3       A.    AND THEN I FLIPPED THE TAPE OVER AND STARTED RECORDING ON

02:45PM    4       THE SECOND SIDE OF THE TAPE.

02:45PM    5                    MR. SCHENK:    OKAY.   MS. HOLLIMAN NOW, WITH THE

02:45PM    6       COURT'S PERMISSION, IF WE CAN PLAY 1349-1.

02:45PM    7                    THE COURT:    YES.

02:45PM    8             (AUDIO PLAYED IN OPEN COURT ON THE RECORD.)

02:45PM    9             "MS. HOLMES:    -- LIKE, FOR EXAMPLE, THE ABILITY TO USE THE

02:45PM   10       CLOUD TO CONTROL A HEALTH DEVICE OR THE ABILITY TO RUN ANY

02:46PM   11       COMBINATION OF LAB TESTS ON, YOU KNOW, THESE DISTRIBUTED

02:46PM   12       DEVICES.    AND, OBVIOUSLY, WE HAVE COMPLIMENTED THOSE WITH A

02:46PM   13       VERY BROAD PORTFOLIO OF VERY NARROW CLAIMS, YEAH, BUT -- BUT WE

02:46PM   14       HAVE BEEN PREPARING FOR LITIGATION IN THE CONTEXT OF BEING ABLE

02:46PM   15       TO PROTECT THEM AND INTEND TO PROTECT THEM VERY AGGRESSIVELY.

02:46PM   16             "IN OUR CASE, IP LITIGATION IS NOT ABOUT LICENSING -- OR

02:46PM   17       IP PROSECUTION IS NOT ABOUT LICENSING, BUT IT'S ABOUT BEING

02:46PM   18       ABLE TO MAINTAIN OUR OWNERSHIP OF THIS SPACE.          WE HAVE A GREAT

02:46PM   19       LAWYER, DAVID BOIES, WHO JOINS US AT ALL OF OUR BOARD MEETINGS

02:46PM   20       WHO ALSO DOES OUR IP LITIGATION.        AND WE DID FILE A LAWSUIT

02:46PM   21       ABOUT A YEAR AND A HALF AGO OR TWO YEARS AGO AGAINST A PATENT

02:46PM   22       TROLL WHO HAD GONE TO SOME ELABORATE MEANS TO ATTEMPT TO STEAL

02:47PM   23       FROM AN INTELLECTUAL PROPERTY.

02:47PM   24             "AND OUR MAIN POINT THERE IS WE WILL NOT SETTLE ON ANY

02:47PM   25       INTELLECTUAL PROPERTY VIOLATION.        IN THAT CASE, THE SPECIFIC



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02:47PM    1       PATENT IN QUESTION WAS -- WAS NOT -- WE HAVE THAT CONTENT

02:47PM    2       COVERED BY OTHER OF OUR PATENTS, BUT -- BUT SETTING THE

02:47PM    3       PRECEDENT THAT WE HAVE A ZERO TOLERANCE APPROACH TO

02:47PM    4       INTELLECTUAL PROPERTY VIOLATIONS OR PEOPLE TRYING TO THREATEN

02:47PM    5       US OR TRYING TO GET US TO SETTLE AND PAY THEM MONEY.           IT'S JUST

02:47PM    6       NOT SOMETHING THAT WE'RE GOING TO DO.

02:47PM    7             "AND I THINK ULTIMATELY AS WE GO FORWARD, OBVIOUSLY

02:47PM    8       CONTINUING TO BUILD OUT THE PORTFOLIO AND DEFENDING IT

02:47PM    9       AGGRESSIVELY ARE GOING TO BE TWO VERY IMPORTANT THINGS WHICH WE

02:47PM   10       WILL DO IN A BIG WAY.      BUT ULTIMATELY, OUR REAL STRATEGY HERE

02:47PM   11       IS THE SPEED OF EXECUTION AND THE WAY WE PRICE IN THE MARKET

02:47PM   12       WHICH IS A BIG DEAL.

02:48PM   13             "WE HAVEN'T TALKED ABOUT THIS DIRECTLY ON THIS CALL, BUT

02:48PM   14       WE ARE CHANGING THE COST STRUCTURE OF LABORATORY TESTING.            AND

02:48PM   15       THAT, YOU KNOW, ALSO HAS A COMPETITIVE ASPECT TO IT IN TERMS OF

02:48PM   16       WINNING AND OWNING THIS SPACE.       AND THEN DOING WHAT -- WHAT WE

02:48PM   17       LOVE AND TRY TO DO BEST, WHICH IS BEING ON VERSION 12 OF THIS

02:48PM   18       TYPE OF SYSTEM BY THE TIME ANYBODY ELSE CAN TRY TO BE ON

02:48PM   19       VERSION 1.    AND THAT'S A -- THAT'S AN ONGOING FOCUS FOR US

02:48PM   20       INTERNALLY."

02:48PM   21             "MEETING OPERATOR:     THERE ARE NO FURTHER QUESTIONS AT THIS

02:48PM   22       TIME.

02:48PM   23             "MR. LUCAS:    WELL, IF THERE'S ANYONE, PLEASE QUEUE UP WITH

02:48PM   24       DAWN IF THERE'S ANY OTHER QUESTIONS.

02:48PM   25             "ELIZABETH, JUST AS -- AS, YOU KNOW, AS AN OBSERVATION,



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02:48PM    1       WHEN YOU PUBLISHED YOUR PRICES ON THE WEBSITE THAT ARE

02:48PM    2       SIGNIFICANTLY CLEARLY LOWER THAN -- THAN WHAT TYPICALLY LABS

02:49PM    3       CHARGE, HOW DOES THAT STRATEGY EVOLVE AND AS IT RELATES TO

02:49PM    4       MEDICAID OR MEDICARE AND SO FORTH?

02:49PM    5             "MS. HOLMES:    ABSOLUTELY.    AND I -- SO -- SO THERE'S --

02:49PM    6       THERE'S MULTIPLE ASPECTS OF THIS.        ONE IS OUR BELIEF THAT

02:49PM    7       ACCESS TO THIS LABORATORY INFORMATION, THIS BIOCHEMICAL

02:49PM    8       INFORMATION WHICH DRIVES MOST OF CLINICAL DECISIONS, IS A BASIC

02:49PM    9       HUMAN RIGHT AND IT SHOULD COST THE SAME NO MATTER WHO YOU ARE,

02:49PM   10       IF YOU'RE INSURED, YOU'RE UNINSURED, YOU'RE MEDICARE, YOU'RE

02:49PM   11       MEDICAID.    AND THAT -- THAT IS VERY DIFFERENT THAN THE WAY THAT

02:49PM   12       OTHER COMPANIES OPERATE IN THIS SPACE."

02:49PM   13             "MR. LUCAS:    OH, GOOD.    THANK YOU, ELIZABETH.

02:50PM   14             "MS. HOLMES:    WE ALSO BELIEVE THAT THE ABILITY TO CREATE A

02:50PM   15       TECHNOLOGY DRIVEN BUSINESS MODEL WHERE WE'RE GOING AFTER VOLUME

02:50PM   16       IN A BIG WAY AND MAKE THESE TESTS AVAILABLE AT REALLY LOW COSTS

02:50PM   17       AT THE SAME TIME HAS A GREAT POTENTIAL.

02:50PM   18             "AND IT'S ALSO DIFFERENT FROM WAYS PEOPLE HAVE OPERATED IN

02:50PM   19       THIS SPACE.    BECAUSE GENERALLY THE CONVERSATION IS, OH,

02:50PM   20       WE'VE -- YOU INVENTED THIS NEW TEST AND IT'S GOING TO BE REALLY

02:50PM   21       GOOD SO WE'RE GOING TO GO TRY TO CONVINCE MEDICARE TO PAY

02:50PM   22       $5,000 FOR THE TEST.      WE'RE TAKING THE SAME TESTS AND MAKING

02:50PM   23       THEM AVAILABLE FOR $30 AND WE'LL CONTINUE TO DO THAT.           WE ARE

02:50PM   24       THE FIRST COMPANY WHO HAS BILLED MEDICARE AND MEDICAID AT A

02:50PM   25       FRACTION OF WHAT THEY'RE WILLING TO REIMBURSE.          AND THAT'S VERY



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02:50PM    1       INTERESTING BECAUSE WHAT HAPPENS AS A RESULT IS THAT THEY

02:50PM    2       SURVEY EVERY YEAR WHAT THEY'RE BEING BILLED AND REDUCE THEIR

02:51PM    3       REIMBURSEMENT THRESHOLDS ACCORDINGLY.

02:51PM    4             "AND SO IN THE CONTEXT OF THIS LOWER PRICING, THEIR

02:51PM    5       REIMBURSEMENT THRESHOLD WILL FALL AND WILL BE REDUCED OVER

02:51PM    6       TIME.    AND THE SAVINGS TO MEDICARE AND MEDICAID ARE SIGNIFICANT

02:51PM    7       AT -- IT'S PROJECTED TO BE AT LEAST $160 BILLION IN DIRECT OUT

02:51PM    8       OF POCKET SAVINGS OVER THE COURSE OF THE NEXT TEN YEARS.

02:51PM    9             "AND THERE ARE ADDITIONAL SAVINGS THAT COME WITH THE WAY

02:51PM   10       THAT IT CHANGES THE CARE PROCESS, MEANING WHAT'S HAPPENING

02:51PM   11       RIGHT NOW IN PALO ALTO IS THAT UNLIKE IN THE PAST WHERE I WOULD

02:51PM   12       GO SEE MY DOC.     THE DOC WOULD SAY, ELIZABETH, I HAVEN'T SEEN

02:51PM   13       YOU FOR A YEAR AND GO DO A TEST.

02:51PM   14             "I WOULD GO AND DO MY TEST AND COME BACK.         AND THE DOC

02:51PM   15       SAYS, OH, YOU KNOW, YOUR HEMOGLOBIN WAS SEVEN AND THAT MEANS

02:52PM   16       YOU'RE REALLY ANEMIC.      I DON'T KNOW WHAT KIND OF ANEMIA IT IS

02:52PM   17       SO I'M GOING TO PUT YOU ON THIS ANEMIA DRUG IMMEDIATELY AND GO

02:52PM   18       DO ANOTHER TEST SO I CAN FIGURE OUT WHAT KIND OF ANEMIA IT IS.

02:52PM   19             "SO I GO GET MY PRESCRIPTION, THE HEAVY DUTY DRUG.          AND IN

02:52PM   20       THE MEANTIME I DO MY SECOND LAB TEST AND I COME BACK FOR MY

02:52PM   21       THIRD OFFICE VISIT.      AND THE DOC SAYS, OH, IRON DEFICIENCY.

02:52PM   22       GET OFF THE DRUG AND TAKE SOME IRON PILLS.

02:52PM   23             "AND YOU HAVE THIS SIX-WEEK PROCESS WITH THREE OFFICE

02:52PM   24       VISITS, TWO LABS, ONE UNNECESSARY PRESCRIPTION.          AND BECAUSE WE

02:52PM   25       HAVE MADE IT POSSIBLE TO RUN ANY COMBINATION OF LAB TESTS FROM



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02:52PM    1       THESE TINY SAMPLES, THE PHYSICIAN CAN NOW SAY ON THE LAB FORM

02:52PM    2       IF, IN MY EXAMPLE, HEMOGLOBIN IS LOW, AUTOMATICALLY RUN IRON

02:52PM    3       AND B12 AND OTHER TESTS ON THE SAME SAMPLE BECAUSE BIG

02:52PM    4       DEDICATED TUBES OF BLOOD ARE NO LONGER REQUIRED TO RUN EACH OF

02:53PM    5       THOSE DIFFERENT ASSAY METHODOLOGIES WHICH REQUIRE THEIR OWN BIG

02:53PM    6       ANALYZERS IN A TRADITIONAL LAB.

02:53PM    7             "AND SO WE GET THESE LAB FORMS THAT SAY, OKAY, YOU KNOW,

02:53PM    8       IF THIS IS OUT OF RANGE, THEN RUN THIS.         AND ON THE SAME SAMPLE

02:53PM    9       IN THAT SAME WINDOW WHEN WE'RE PROCESSING THE SAMPLE, WE CAN DO

02:53PM   10       WHAT WE CALL THIS AUTOMATED REFLEX TO THOSE ADDITIONAL TESTS

02:53PM   11       AND THEN SEND THE DATA BACK TO THE DOC.         AND BECAUSE WE'VE

02:53PM   12       GENERATED THE DATA SO FAST, NAMELY, WITHIN HOURS, I, AS A

02:53PM   13       PATIENT, THEN COULD GO SEE MY DOC THAT AFTERNOON AND THE DOC

02:53PM   14       ALREADY HAS THE DATA.

02:53PM   15             "SO WE'RE STARTING TO SEE A SHIFT IN THE WORKFLOW WHERE,

02:53PM   16       FOR PEOPLE WHO HAVE PHYSICIANS, THEY'RE SENDING THE TESTS AHEAD

02:53PM   17       OF TIME AND THEN THEY'RE SEEING THE PATIENT.          AND THAT

02:53PM   18       SIGNIFICANTLY CHANGES SOME OF THE REDUNDANCY IN COSTS AROUND

02:53PM   19       VISITS THAT ARE ASSOCIATED WITH FOLLOW UP LAB TESTS AND/OR NOT

02:54PM   20       HAVING THE INFORMATION THAT IS NEEDED AT THE TIME A DIAGNOSIS

02:54PM   21       IS MADE.

02:54PM   22             "SO FROM A SAVINGS PERSPECTIVE TO MEDICARE AND MEDICAID

02:54PM   23       THAT IS A MUCH BIGGER DEAL THAN THE DIRECT OUT OF POCKET

02:54PM   24       SAVINGS THAT I PREVIOUSLY REFERENCED AND ULTIMATELY WILL LEAD

02:54PM   25       TO -- TO BETTER CARE IS THE GOAL."



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02:54PM    1       BY MR. SCHENK:

02:54PM    2       Q.     MR. TOLBERT, FOR THE RECORD I'VE JUST PLAYED FOR YOU

02:54PM    3       1348-6, 1348-7, AND 1349-1.

02:54PM    4              ON EACH OF THOSE, DID YOU HEAR AND RECOGNIZE MS. HOLMES'S

02:54PM    5       VOICE?

02:54PM    6       A.     I DID.

02:54PM    7       Q.     AND IF WE COULD WORK THROUGH THEM BACKWARDS, SO THE MOST

02:54PM    8       RECENT ONE, 1349-1, DID YOU HEAR A GENTLEMAN ASK A QUESTION?

02:54PM    9       A.     I DID.

02:54PM   10       Q.     DID YOU RECOGNIZE THAT VOICE?

02:54PM   11       A.     I BELIEVE IT WAS CHRIS LUCAS.

02:54PM   12       Q.     IN MS. HOLMES'S RESPONSE SHE SAYS, "AND BECAUSE WE HAVE

02:55PM   13       MADE IT POSSIBLE TO RUN ANY COMBINATION OF LAB TESTS FROM THESE

02:55PM   14       TINY SAMPLES."

02:55PM   15              DID YOU BELIEVE -- WHAT DID YOU TAKE THAT TO MEAN?

02:55PM   16       A.     WELL, I TOOK IT AT FACE VALUE, RIGHT?       THAT THERE WAS AN

02:55PM   17       OPPORTUNITY OUT OF A FINGERSTICK OF BLOOD TO RUN MULTIPLE TESTS

02:55PM   18       ON IT, AND TO RUN REFLECTS OF TESTS SO THAT IF TEST A SAID I

02:55PM   19       HAD A CERTAIN RESULT, THEN TEST B OR TEST C OR TEST D COULD BE

02:55PM   20       RUN.

02:55PM   21       Q.     AND WHEN SHE SAID THAT IT WAS POSSIBLE TO RUN ANY

02:55PM   22       COMBINATION OF THESE LAB TESTS, YOU SAID YOU TOOK IT AT FACE

02:55PM   23       VALUE.    DID YOU TRUST THAT SHE WAS TELLING YOU SOMETHING THAT

02:55PM   24       THERANOS CURRENTLY COULD DO, IT WAS A PRESENT CAPABILITY?

02:55PM   25       A.     I BELIEVE IT WAS A CAPABILITY THAT THEY HAD AT THAT POINT.



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02:55PM    1       Q.    WHEN SHE SAID THAT "BIG DEDICATED TUBES OF BLOOD ARE NO

02:55PM    2       LONGER REQUIRED," WHAT DID YOU TAKE THAT TO MEAN?

02:55PM    3       A.    THAT THE TECHNOLOGY WAS AT A PLACE THAT A FINGERSTICK OF

02:56PM    4       BLOOD COULD BE USED TO DO THOSE TESTS AND THAT, YOU KNOW, IT

02:56PM    5       NEGATED THE NEED FOR THE BIG TUBES OF BLOOD.

02:56PM    6       Q.    AND SHE TALKED ABOUT SOMETHING THAT SHE CALLED AUTOMATED

02:56PM    7       REFLEX.

02:56PM    8             DID YOU UNDERSTAND WHAT SHE WAS TALKING ABOUT THERE?

02:56PM    9       A.    I DID.

02:56PM   10       Q.    AND WHAT DID YOU TAKE THAT TO MEAN?

02:56PM   11       A.    WELL, IF TEST A GIVES A CERTAIN RESULT, THEN TEST B OR

02:56PM   12       TEST C OR TEST D COULD HAVE BEEN RUN, AND, YOU KNOW, IN

02:56PM   13       RESPONSE TO WHAT TEST A SHOWED.

02:56PM   14       Q.    AND WHEN SHE SAID "WE CAN DO WHAT WE CALL THIS AUTOMATED

02:56PM   15       REFLEX," DID YOU UNDERSTAND THAT SHE WAS DESCRIBING REFLEX

02:56PM   16       TESTING AS A PRESENT CAPABILITY?

02:56PM   17       A.    I DID.

02:56PM   18       Q.    IF WE TURN BACK TO 1348-6.

02:56PM   19             DO YOU RECALL MS. HOLMES MAKING SOME STATEMENTS ABOUT THE

02:56PM   20       MILITARY?

02:56PM   21       A.    I DO.

02:56PM   22       Q.    AND I'D LIKE TO ASK YOU SOME QUESTIONS ABOUT THAT.

02:56PM   23             SHE SAYS, "IN TERMS OF A MILITARY ASPECT OF THIS, MILITARY

02:56PM   24       IS A BIG DEAL FOR US AND I CAN TELL YOU CONFIDENTIALLY A COUPLE

02:57PM   25       THE AREAS IN WHICH WE HAVE BEEN FOCUSSED THERE."



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02:57PM    1             WHEN SHE SAID THE WORD THERE THAT SHE COULD TELL YOU

02:57PM    2       CONFIDENTIALLY, WHAT DID YOU TAKE THAT TO MEAN?

02:57PM    3       A.    THAT THIS IS INFORMATION THAT WASN'T PUBLIC AND THAT

02:57PM    4       WASN'T TO BE SHARED PUBLICLY, BUT THAT IT REPRESENTED

02:57PM    5       CAPABILITIES THAT THERANOS AND THE COMPANY HAD DEVELOPED AND

02:57PM    6       WERE, YOU KNOW, WERE OPERATIONAL AT THAT POINT.

02:57PM    7       Q.    AND WHEN SHE SAID, "ONE IS IN THE CONTEXT OF WORK IN THE

02:57PM    8       MIDDLE EAST AND SPECIFICALLY AFGHANISTAN," DID YOU TAKE THAT TO

02:57PM    9       MEAN THAT THERANOS HAD DONE WORK IN AFGHANISTAN?

02:57PM   10       A.    I DID.

02:57PM   11       Q.    AND SO WHEN SHE SAID "THE ABILITY TO TAKE A TECHNOLOGY

02:57PM   12       LIKE THIS AND PUT IT IN FLIGHT, SPECIFICALLY ON A MEDEVAC, HAS

02:57PM   13       THE POTENTIAL TO CHANGE SURVIVAL RATES," WHAT DID YOU TAKE THAT

02:57PM   14       TO MEAN?

02:57PM   15       A.    YOU KNOW, MY UNDERSTANDING FROM WHAT WE LISTENED TO WAS

02:57PM   16       THAT THE SOONER A TEST COULD BE ADMINISTERED TO FIGURE OUT, YOU

02:58PM   17       KNOW, HOW TO ADDRESS WHATEVER TRAUMATIC SITUATION THAT

02:58PM   18       HAPPENED, THAT SURVIVAL RATES WENT UP EXPONENTIALLY.

02:58PM   19             YOU KNOW, THIS IS SOMETHING THAT REALLY RESONATED WITH ME.

02:58PM   20       I HAVE A BROTHER WHO IS IN THE MARINES, AND HE DID A TOUR IN

02:58PM   21       AFGHANISTAN, SO THE THOUGHT THAT OUR SERVICE MEN AND WOMEN, IF

02:58PM   22       THEY GOT HURT, THERE WAS AN ABILITY TO, YOU KNOW, DO EVERYTHING

02:58PM   23       THAT WE COULD TO HELP THEM WAS SOMETHING THAT I THOUGHT

02:58PM   24       THERANOS WAS DOING.

02:58PM   25       Q.    SHE CONTINUES.     "AND WHAT IT DOES IS IT MAKES IT MAKES IT



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02:58PM    1       POSSIBLE TO BEGIN TRANSFUSION AND STABILIZATION IN PLACE.            AND

02:58PM    2       SO WE HAVE BEEN DOING A LOT OF WORK THERE."

02:58PM    3             WHAT DID YOU UNDERSTAND THAT TO MEAN?

02:58PM    4       A.    SO I UNDERSTOOD THAT THERE HAD BEEN SIGNIFICANT WORK BEING

02:58PM    5       DONE TO DEPLOY THE THERANOS SYSTEM IN THEATRE AS IT WERE.

02:58PM    6       Q.    SHE SAYS, "WE HAVE ALSO BEEN DOING A LOT OF WORK FOR

02:58PM    7       SPECIAL OPERATIONS COMMAND IN THE CONTEXT OF MISSIONS IN REMOTE

02:59PM    8       AREAS WHERE NOT ONLY IS THERE NO CAPABILITY TO DO TESTING FOR

02:59PM    9       CERTAIN THINGS THAT NEED TO BE MEASURED, BUT IF SITUATIONS

02:59PM   10       ARISE IN WHICH THOSE TESTS ARE WARRANTED, THE MISSION IS

02:59PM   11       ABORTED AND PEOPLE ARE EVACUATED GENERALLY OUT OF CONTINENT."

02:59PM   12             WHAT DID YOU TAKE HER STATEMENTS ABOUT SPECIAL OPERATIONS

02:59PM   13       COMMAND?

02:59PM   14       A.    MY UNDERSTANDING WAS THAT THERANOS HAD BEEN, YOU KNOW,

02:59PM   15       WORKING WITH SPECIAL OPERATIONS COMMAND AND IT REPRESENTED A

02:59PM   16       PORTION OF THE BUSINESS THAT THEY HAD BEEN ENGAGED IN.

02:59PM   17             AND LIKE WE HEARD EARLIER, IT WASN'T THE PRIMARY FOCUS AT

02:59PM   18       THIS MOMENT IN TIME, BUT IT CERTAINLY REPRESENTED A CAPABILITY

02:59PM   19       AND A BUSINESS THAT THEY HAD PURSUED.

02:59PM   20       Q.    SHE SAYS, "AND SO WE'VE, YOU KNOW, CREATED A DISTRIBUTED

02:59PM   21       SYSTEM THAT CAN BE USED IN REMOTE AREAS AND THAT IS -- THAT IS

02:59PM   22       ANOTHER VENUE AND FOCUS FOR US."

02:59PM   23             WHAT DID YOU TAKE THAT TO MEAN?

03:00PM   24       A.    THAT THESE, YOU KNOW, DEPLOYMENTS IN MILITARY KIND OF

03:00PM   25       SITUATIONS WAS ONE OF THE THREE, YOU KNOW, BUSINESS UNITS THAT



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03:00PM    1       HAD BEEN REPRESENTED TO KIND OF COMPLEMENT, YOU KNOW, THE

03:00PM    2       PHARMACEUTICAL BUSINESS AND THE CURRENT BIG RETAIL OPPORTUNITY

03:00PM    3       THAT WAS THE GENESIS FOR THIS CALL.

03:00PM    4       Q.    DID MS. HOLMES'S STATEMENTS ABOUT THE MILITARY PLAY A ROLE

03:00PM    5       IN YOUR DECISION TO INVEST?

03:00PM    6       A.    CERTAINLY THEY WOULD HAVE BEEN SUPPORTIVE TO AN INVESTMENT

03:00PM    7       DECISION TO PROCEED.

03:00PM    8       Q.    WHY?

03:00PM    9       A.    WELL, IF -- YOU KNOW, THIS WAS A SITUATION WHERE THERE WAS

03:00PM   10       AN INVESTMENT OPPORTUNITY THAT REPRESENTED A POTENTIAL TO MAKE

03:00PM   11       MONEY ON OUR INVESTMENT, BUT IT'S ALSO ONE THAT REPRESENTED AN

03:00PM   12       OPPORTUNITY TO DO GOOD AND TO, YOU KNOW, TO HELP CHANGE AN

03:00PM   13       INDUSTRY FOR THE BETTER.

03:00PM   14             AND SO, YOU KNOW, UNDERSTANDING THAT THERE WAS AN ABILITY

03:01PM   15       FOR, FOR WORK TO BE DONE WITH THE MILITARY TO HELP SERVICE MEN

03:01PM   16       AND WOMEN WHO WERE INJURED REPRESENTED, YOU KNOW, SOMETHING

03:01PM   17       THAT WAS AN EXCITING PART OF THE INVESTMENT BASIS FOR US.

03:01PM   18       Q.    AND MS. HOLMES SAYS, "AND IT'S ALSO VERY SYMBOLIC BECAUSE

03:01PM   19       IT'S OUR WAY TO HELP MAKE A DIFFERENCE IN WHATEVER SMALL WAY WE

03:01PM   20       CAN THERE."

03:01PM   21             DID YOU TAKE HER TO BE AGREEING WITH THE SENTIMENT THAT

03:01PM   22       YOU JUST EXPRESSED THAT YOU CAN MAKE MONEY, BUT YOU CAN ALSO DO

03:01PM   23       GOOD?

03:01PM   24       A.    YOU KNOW, CERTAINLY THAT'S WHAT I TOOK AWAY FROM THOSE

03:01PM   25       COMMENTS IS THAT, YOU KNOW, THERANOS WASN'T JUST ABOUT AN



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03:01PM    1       OPPORTUNITY TO MAKE MONEY, BUT THAT IT WAS ABOUT -- IT WAS

03:01PM    2       ABOUT AN OPPORTUNITY TO MAKE MONEY, BUT TO DO SO IN A WAY THAT

03:01PM    3       WAS BENEFICIAL FOR LOTS AND LOTS AND LOTS OF PEOPLE.

03:01PM    4       Q.    AND THEN ON THE WHOLE OR IN GENERAL, WAS THIS CALL

03:01PM    5       IMPORTANT IN YOUR DECISION TO INVEST $5 MILLION?

03:01PM    6       A.    IT WAS.

03:01PM    7       Q.    WHY?

03:02PM    8       A.    WELL, YOU KNOW, LIKE I DESCRIBED BEFORE, AS WE, YOU KNOW,

03:02PM    9       HAD MADE AN INITIAL INVESTMENT AND HAD OVER TIME LEARNED ABOUT

03:02PM   10       WHAT THE COMPANY WAS DOING AND HAD SEEN THE PROGRESS THAT WE

03:02PM   11       FELT ALONG THE WAY, THIS FELT LIKE VALIDATION OF WHAT THAT

03:02PM   12       PROGRESS WAS.

03:02PM   13             BUT IT ALSO REPRESENTED A GREAT FUTURE OPPORTUNITY.           YOU

03:02PM   14       KNOW, THERE WOULD BE AN ABILITY TO SEE THIS ROLLOUT HAPPEN AND

03:02PM   15       TO HAVE, TO HAVE THE BENEFITS COME OUT OF THAT.

03:02PM   16             AND SO IT -- AND THIS CALL WAS CENTRAL TO, YOU KNOW, TO

03:02PM   17       OUR DECISION TO INVEST FURTHER FUNDS.

03:02PM   18       Q.    MR. TOLBERT, NOW, IF YOU'LL GO BACK TO THE BINDER IN FRONT

03:02PM   19       OF YOU AND TURN TO 3530.       3530.

03:02PM   20             YOUR HONOR, THE GOVERNMENT OFFERS 3530 BY STIPULATION.

03:02PM   21                    MR. DOWNEY:    THAT'S CORRECT, YOUR HONOR.

03:03PM   22                    THE COURT:    IT'S ADMITTED.    IT MAY BE PUBLISHED.

03:03PM   23             (GOVERNMENT'S EXHIBIT 3530 WAS RECEIVED IN EVIDENCE.)

03:03PM   24                    MR. SCHENK:    THANK YOU, YOUR HONOR.

03:03PM   25       Q.    MR. TOLBERT, DO YOU RECOGNIZE THE DOCUMENT LOCATED AT



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03:03PM    1       3530?

03:03PM    2       A.    I DO.

03:03PM    3       Q.    WHAT IS THIS DOCUMENT?

03:03PM    4       A.    THIS IS THE STOCK PURCHASE AGREEMENT THAT REPRESENTED THE

03:03PM    5       ABILITY TO PURCHASE STOCK IN 2013.

03:03PM    6       Q.    OKAY.    AND WAS THIS AN AGREEMENT THAT YOU ENTERED INTO

03:03PM    7       AFTER THAT CALL WHEN YOU INVESTED THE 5 MILLION THAT WE'VE BEEN

03:03PM    8       TALKING ABOUT?

03:03PM    9       A.    IT WAS.

03:03PM   10       Q.    AND DID YOU BUY IN SERIES C-1?

03:03PM   11       A.    CORRECT.

03:03PM   12       Q.    AND IF YOU'LL LOOK AT PAGE 5 OF THE EXHIBIT AT THE TOP IN

03:03PM   13       THAT FIRST PARAGRAPH.      IT SAYS, "AMENDED AND RESTATED SERIES

03:03PM   14       C-1 PREFERRED STOCK PURCHASE AGREEMENT."

03:03PM   15             SO DID YOU THINK THAT WHEN YOU WERE SIGNING THIS DOCUMENT,

03:03PM   16       YOU WERE BUYING THE SHARES OF SERIES C-1 STOCK WE'VE TALKED

03:03PM   17       ABOUT?

03:03PM   18       A.    I DID.

03:03PM   19       Q.    IF YOU WILL TURN TO PAGE 11 AT THE BOTTOM, 4.4, AND THEN

03:04PM   20       IT WILL CARRY ON OVER TO THE NEXT PAGE.

03:04PM   21             4.4 READS, "SPECULATIVE NATURE OF INVESTMENT.          SUCH

03:04PM   22       INVESTOR UNDERSTANDS AND ACKNOWLEDGES THAT THE COMPANY HAS A

03:04PM   23       LIMITED FINANCIAL AND OPERATING HISTORY AND THAT AN INVESTMENT

03:04PM   24       IN THE COMPANY IS," AND THEN IT CONTINUES ON THE NEXT PAGE,

03:04PM   25       "HIGHLY SPECULATIVE AND INVOLVES SUBSTANTIAL RISKS.           SUCH



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03:04PM    1       INVESTOR CAN BEAR THE ECONOMIC RISK OF SUCH INVESTOR'S

03:04PM    2       INVESTMENT AND IS ABLE, WITHOUT IMPAIRING SUCH INVESTOR'S

03:04PM    3       FINANCIAL CONDITION, TO HOLD THE SHARES AND THE CONVERSION

03:04PM    4       SHARES FOR AN INDEFINITE PERIOD OF TIME AND TO SUFFER A

03:04PM    5       COMPLETE LOSS OF SUCH INVESTOR'S INVESTMENT."

03:04PM    6              THIS SECTION HAS SOME REPRESENTATIONS ABOUT YOU OR HALL'S

03:04PM    7       GROUP ABILITY TO BEAR THE LOSS.

03:04PM    8              WERE THOSE ALL TRUE AT THE TIME YOU SIGNED THIS?

03:04PM    9       A.     THEY WERE TRUE.

03:05PM   10       Q.     AND EARLIER ON IN THIS SECTION IT TALKS ABOUT LIMITED

03:05PM   11       FINANCIAL AND OPERATING HISTORY.

03:05PM   12              DID YOU ALSO UNDERSTAND THAT TO BE TRUE?

03:05PM   13       A.     I DID.

03:05PM   14       Q.     AND DID YOU UNDERSTAND THAT ONE OF THE RISKS, OR ONE OF

03:05PM   15       THE SPECULATIVE ASPECTS OF THIS INVESTMENT WAS THAT INFORMATION

03:05PM   16       THAT MS. HOLMES WOULD PROVIDE TO YOU WOULD BE INACCURATE?            WAS

03:05PM   17       THAT A RISK THAT YOU UNDERSTOOD?

03:05PM   18       A.     THAT IS NOT.

03:05PM   19       Q.     4.5, ACCESS TO DATA IS JUST BELOW THE SECTION I READ TO

03:05PM   20       YOU.

03:05PM   21              IT SAYS THAT YOU HAD, "SUCH INVESTOR HAS HAD AN

03:05PM   22       OPPORTUNITY TO ASK QUESTIONS OF, AND RECEIVE ANSWERS FROM, THE

03:05PM   23       OFFICERS OF THE COMPANY CONCERNING THE AGREEMENTS, THE EXHIBITS

03:05PM   24       AND SCHEDULES," AND IT CONTINUES.

03:05PM   25              DID YOU HAVE THE OPPORTUNITY TO ASK MS. HOLMES QUESTIONS?



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03:05PM    1       A.    WE DID ON THAT CALL.

03:05PM    2       Q.    WE LISTENED TO THE CALL; IS THAT RIGHT?

03:05PM    3       A.    CORRECT.

03:05PM    4       Q.    WERE THE ANSWERS THAT SHE GAVE ON THAT CALL PUT INTO THIS

03:05PM    5       AGREEMENT?

03:05PM    6       A.    THE ANSWERS WERE NOT APPENDED TO THIS AGREEMENT, NO.

03:05PM    7       Q.    SO DID YOU UNDERSTAND THAT WHEN IT TALKS ABOUT YOU HAD THE

03:06PM    8       OPPORTUNITY TO ASK QUESTIONS, YOU RECEIVED ANSWERS TO THOSE,

03:06PM    9       AND THAT'S ALSO WHAT CAUSED YOU TO INVEST?

03:06PM   10       A.    CORRECT.

03:06PM   11       Q.    4.6 SAID ACCREDITED INVESTOR.       THAT'S JUST BELOW THE

03:06PM   12       SECTION THAT I JUST READ TO YOU.

03:06PM   13             "THE INVESTOR IS AN ACCREDITED INVESTOR WITHIN THE MEANING

03:06PM   14       OF REGULATION D."

03:06PM   15             HAVE YOU HEARD THAT PHRASE, AN ACCREDITED INVESTOR?

03:06PM   16       A.    I HAVE.

03:06PM   17       Q.    AND WERE YOU AND HALL GROUP AN ACCREDITED INVESTOR AT THE

03:06PM   18       TIME THAT YOU SIGNED?

03:06PM   19       A.    THEY WERE.    WE WERE.

03:06PM   20       Q.    WOULD YOU NOW TURN TO PAGE 24 OF THIS EXHIBIT.

03:06PM   21             ABOVE THE NAME ELIZABETH HOLMES, CHIEF EXECUTIVE OFFICER,

03:06PM   22       IS THERE A SIGNATURE?

03:06PM   23       A.    THERE IS.

03:06PM   24       Q.    AND IF YOU WILL TURN TO PAGE 32.

03:07PM   25             ON PAGE 32 UNDER SOMETHING CALLED HALL BLACK DIAMOND, IS



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03:07PM    1       THAT YOUR SIGNATURE?

03:07PM    2       A.    THAT IS MY SIGNATURE.

03:07PM    3       Q.    AND ALSO DID YOU WRITE IN YOUR NAME AND DATE IT?

03:07PM    4       A.    I DID.

03:07PM    5       Q.    AND WHAT IS HALL BLACK DIAMOND?

03:07PM    6       A.    HALL BLACK DIAMOND IS THE ENTITY THAT WE USED TO INVEST

03:07PM    7       THE $5 MILLION.

03:07PM    8       Q.    AND JUST TO BE CLEAR, THE ADDRESS THAT WE'RE SEEING,

03:07PM    9       THAT'S NOT YOUR PERSONAL ADDRESS, THAT'S HALL GROUP'S ADDRESS;

03:07PM   10       IS THAT RIGHT?

03:07PM   11       A.    CORRECT.

03:07PM   12       Q.    AND THEN THERE'S A SIGNATURE ON THAT SAME PAGE ABOVE

03:07PM   13       ELIZABETH HOLMES, CHIEF EXECUTIVE OFFICER.

03:07PM   14             DO YOU SEE THAT?

03:07PM   15       A.    I DO.

03:07PM   16       Q.    THIS IS DATED 12/31/2013.      IS THAT THE DATE THAT YOU

03:07PM   17       SIGNED AND SENT A WIRE TRANSFER TO PURCHASE THESE SHARES?

03:07PM   18       A.    THAT IS THE DATE.

03:07PM   19                     MR. SCHENK:   YOUR HONOR, WE WOULD ADMIT 4845,

03:08PM   20       PAGE 20, THE CUSTODIAN FROM THE FEDERAL RESERVE BANK.

03:08PM   21                     THE COURT:    YES.

03:08PM   22       BY MR. SCHENK:

03:08PM   23       Q.    I THINK IT IS ALSO IN YOUR BINDER IF IT'S EASIER FOR YOU

03:08PM   24       TO SEE, MR. TOLBERT.

03:08PM   25       A.    IF YOU BLOW IT UP I CAN SEE IT.



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03:08PM    1       Q.    OKAY.    IF WE COULD -- THAT'S GREAT.

03:08PM    2             ARE YOU FAMILIAR WITH TEXAS CAPITAL BANK?

03:08PM    3       A.    I AM.

03:08PM    4       Q.    AND THEN THERE IS, UNDER AMOUNT, 4,875,000.

03:08PM    5             DOES THAT AMOUNT LOOK FAMILIAR TO YOU?

03:08PM    6       A.    THAT IS.    THAT IS THE AMOUNT THAT WE SENT IN.

03:08PM    7       Q.    WE'VE BEEN TALKING, YOU AND I, ABOUT $5 MILLION.          THE WIRE

03:08PM    8       TRANSFER IS FOR A LITTLE OVER 4.8 MILLION.         CAN YOU EXPLAIN

03:08PM    9       THAT?

03:08PM   10       A.    I CAN.   SO, YOU KNOW, OUR FIRST INVESTMENT HAD BEEN

03:09PM   11       THROUGH CHRIS LUCAS'S INVESTMENT FUND, BLACK DIAMOND VENTURES.

03:09PM   12             YOU KNOW, OUR DESIRE WAS TO BE A DIRECT INVESTOR INTO THE

03:09PM   13       COMPANY SO THAT WE WOULD HAVE ACCESS OF THE DIRECT

03:09PM   14       COMMUNICATION FROM THE COMPANY TO ITS SHAREHOLDERS AND NOT RELY

03:09PM   15       ON CHRIS TO BE OUR SOLE SOURCE OF INFORMATION.

03:09PM   16             AND SO OUR AGREEMENT, THE AGREEMENT WE CAME TO WITH CHRIS

03:09PM   17       AND ELIZABETH AROUND THIS INVESTMENT WAS THAT WE WOULD PAY

03:09PM   18       CHRIS A COMMISSION TO BE A DIRECT INVESTOR AND TO NOT BE

03:09PM   19       INVESTED THROUGH HIS FUND.

03:09PM   20             AND SO THE $125,000 DIFFERENCE HERE REPRESENTS THE CASH

03:09PM   21       THAT WE PAID TO CHRIS FOR HIS COMMISSION ON THAT INVESTMENT.

03:09PM   22       Q.    I SEE.   A LITTLE FURTHER DOWN ON THIS DOCUMENT, THERE'S

03:09PM   23       SOMETHING CALLED HALL PHOENIX INWOOD LTD.

03:10PM   24             DO YOU SEE THAT?

03:10PM   25       A.    YES.



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03:10PM    1       Q.    AND WHAT IS THAT?

03:10PM    2       A.    SO HALL PHOENIX INWOOD IS THE PRIMARY OPERATING COMPANY OF

03:10PM    3       HALL GROUP, AND HALL PHOENIX INWOOD WOULD HAVE WIRED THIS MONEY

03:10PM    4       ON BEHALF OF HALL BLACK DIAMOND TO --

03:10PM    5       Q.    TO WHERE?    WHERE DID THE WIRE GO?

03:10PM    6       A.    THE WIRE WOULD HAVE GONE TO THERANOS.        IT SAYS HERE ON THE

03:10PM    7       LINE IT WENT TO THEIR ACCOUNT AT COMERICA BANK.

03:10PM    8       Q.    OKAY.    I UNDERSTAND MULTIPLE PEOPLE WORK AT HALL GROUP.

03:10PM    9       DID YOU PUT IN PLACE OR INITIATE THE WIRE TRANSFER?

03:10PM   10       A.    I GAVE AUTHORIZATION FOR THE WIRE TO BE INITIATED, AND

03:10PM   11       THEN ONCE IT HAD BEEN INITIATED, I APPROVED IT.

03:10PM   12       Q.    OKAY.    AND HOW ABOUT THE AMOUNT, THE DOLLAR AMOUNT?         DID

03:10PM   13       YOU DECIDE THE AMOUNT THAT HALL GROUP WOULD INVEST IN THERANOS?

03:10PM   14       A.    I DID.    MR. HALL AND I HAD DISCUSSIONS ABOUT WHAT THAT

03:11PM   15       AMOUNT WOULD BE, AND, YOU KNOW, THE $5 MILLION THAT WE SETTLED

03:11PM   16       ON IS THE ONE THAT I INDICATED WE WOULD SEND, AND SO WE SENT

03:11PM   17       THAT AMOUNT.

03:11PM   18       Q.    OKAY.    AND DO YOU KNOW WHETHER ULTIMATELY MR. HALL LEFT IT

03:11PM   19       UP TO YOU TO DECIDE THE EXACT AMOUNT, OR MAYBE EVEN WHETHER YOU

03:11PM   20       INVESTED?

03:11PM   21       A.    HE DID.

03:11PM   22       Q.    OKAY.

03:11PM   23             YOUR HONOR, MAY I JUST HAVE ONE MOMENT?

03:11PM   24                     THE COURT:   YES.

03:11PM   25             (DISCUSSION AMONGST GOVERNMENT COUNSEL OFF THE RECORD.)



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03:11PM    1                     MR. SCHENK:    THANK YOU, YOUR HONOR.

03:11PM    2             NO FURTHER QUESTIONS AT THIS TIME.

03:11PM    3                     THE COURT:    CROSS-EXAMINATION?

03:11PM    4                     MR. DOWNEY:    YES, YOUR HONOR.

03:11PM    5                     THE COURT:    FOLKS, FEEL FREE TO STAND UP AND STRETCH

03:11PM    6       WHILE WE DO THE TRANSITION IF YOU WOULD LIKE.

03:11PM    7             SAME WITH YOU, MR. TOLBERT, IF YOU WOULD LIKE TO STAND AND

03:11PM    8       STRETCH.

03:11PM    9                     THE WITNESS:   THANK YOU, YOUR HONOR.

03:11PM   10             (STRETCHING.)

03:12PM   11                                   CROSS-EXAMINATION

03:12PM   12       BY MR. DOWNEY:

03:12PM   13       Q.    GOOD AFTERNOON, MR. TOLBERT.       MY NAME IS KEVIN DOWNEY, AND

03:12PM   14       I REPRESENT MS. HOLMES.

03:12PM   15             I WANT TO START BY ASKING YOU ABOUT HOW THE RELATIONSHIP

03:12PM   16       WITH THERANOS BEGAN IN VERY SUMMARY FORM, BECAUSE I THINK WE'VE

03:12PM   17       HEARD ABOUT IT DURING THE COURSE OF YOUR DIRECT.

03:13PM   18             AS I UNDERSTAND IT, MR. HALL GOT A PHONE CALL FROM

03:13PM   19       SOMEBODY THAT INFORMED HIM ABOUT THERANOS AND A POTENTIAL

03:13PM   20       OPPORTUNITY TO INVEST; IS THAT RIGHT?

03:13PM   21       A.    I BELIEVE THAT'S CORRECT.

03:13PM   22       Q.    AND THAT TELEPHONE CALL CAME FROM DON LUCAS, DIDN'T IT?

03:13PM   23       A.    THAT -- I DON'T BELIEVE THAT'S CORRECT.

03:13PM   24       Q.    OKAY.    WELL, DO YOU KNOW -- DID THE TELEPHONE CALL COME

03:13PM   25       FROM GARY NORDHEIMER?



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03:13PM    1       A.    I BELIEVE THAT'S CORRECT.

03:13PM    2       Q.    AND GARY NORDHEIMER WAS AN INDIVIDUAL WHO WAS AN INVESTOR

03:13PM    3       IN THERANOS; CORRECT?

03:13PM    4       A.    YOU KNOW, I DON'T KNOW IF HE WAS A PRIOR INVESTOR, BUT I

03:13PM    5       KNOW HE WAS CONTEMPLATING AN INVESTMENT IN 2006.

03:13PM    6       Q.    OKAY.

03:13PM    7       A.    AND SO HE CALLED MR. HALL TO PUT THE OPPORTUNITY ON HIS

03:13PM    8       RADAR SCREEN.

03:13PM    9       Q.    OKAY.   AND DID HE SUGGEST TO MR. HALL OR TO YOU THAT YOU

03:14PM   10       SPEAK WITH DON LUCAS ABOUT THE POTENTIAL OPPORTUNITY TO INVEST?

03:14PM   11       A.    HE MAY HAVE.    HE MAY HAVE REFERENCED THAT WITH MR. HALL.

03:14PM   12             I NEVER TALKED WITH MR. NORDHEIMER DIRECTLY AT THAT POINT.

03:14PM   13       Q.    SO THE CONVERSATION THAT MR. HALL WOULD HAVE HAD WITH

03:14PM   14       MR. LUCAS YOU'RE PERSONALLY NOT AWARE OF?

03:14PM   15       A.    I AM NOT.

03:14PM   16       Q.    SO MR. HALL GOT IN TOUCH WITH YOU AND ASKED YOU TO DO DUE

03:14PM   17       DILIGENCE; CORRECT?

03:14PM   18       A.    CORRECT.

03:14PM   19       Q.    AND THAT WOULD INVOLVE GETTING AS MUCH INFORMATION ABOUT

03:14PM   20       THE COMPANY AS YOU COULD GET; CORRECT?

03:14PM   21       A.    CORRECT.

03:14PM   22       Q.    DID YOU KNOW AT THE OUTSET THAT THE ARRANGEMENT WOULD BE

03:14PM   23       ONE THAT WOULD HAVE TO GO THROUGH, THROUGH A THIRD PARTY, OR

03:14PM   24       DID YOU THINK THIS MIGHT BE AN OPPORTUNITY WHERE YOU COULD

03:14PM   25       INVEST DIRECTLY IN THERANOS?



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03:14PM    1       A.    NO.    MY UNDERSTANDING WAS THAT IT WAS AN INVESTMENT

03:14PM    2       THROUGH CHRIS LUCAS, YOU KNOW, THROUGH THAT SERIES OF

03:14PM    3       CONVERSATIONS THAT HE'S THE ONE THAT PRESENTED THE OPPORTUNITY

03:14PM    4       TO US AND SO THE INVESTMENT WOULD GO THROUGH THAT, THROUGH HIS

03:15PM    5       VEHICLE.

03:15PM    6       Q.    OKAY.   SO SOMEHOW THE OPPORTUNITY BECAME NOTICED -- THE

03:15PM    7       HALL GROUP BECAME AWARE OF THE OPPORTUNITY, MR. HALL SPOKE TO

03:15PM    8       SOMEONE ABOUT THE OPPORTUNITY, HE ASKED YOU TO DO DUE

03:15PM    9       DILIGENCE, AND YOU CALLED CHRIS LUCAS; IS THAT RIGHT?

03:15PM   10       A.    CORRECT.

03:15PM   11       Q.    AND THEN YOU HAD A -- I BELIEVE YOU HAD AT LEAST ONE OR

03:15PM   12       TWO TELEPHONE CONVERSATIONS WITH -- INVOLVING MR. LUCAS BEFORE

03:15PM   13       YOU WENT TO THERANOS?

03:15PM   14       A.    BEFORE I MADE THE TRIP TO THERANOS?

03:15PM   15       Q.    YES.

03:15PM   16       A.    CORRECT.

03:15PM   17       Q.    AND YOU TALKED ABOUT THOSE CONVERSATIONS THUS FAR,

03:15PM   18       EITHER -- MS. HOLMES WAS EITHER ON ONE OR TWO OF THOSE CALLS;

03:15PM   19       IS THAT RIGHT?

03:15PM   20       A.    CORRECT.

03:15PM   21       Q.    AND THEN YOU TOOK THE TRIP TO THERANOS AND YOU HAD THE

03:15PM   22       DINNER THAT YOU DESCRIBED; CORRECT?

03:15PM   23       A.    CORRECT.

03:15PM   24       Q.    AND IN ADDITION TO YOURSELF, MS. HOLMES, DON LUCAS, AND

03:15PM   25       CHRIS LUCAS WERE AT THAT DINNER; CORRECT?



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03:16PM    1       A.    THEY BOTH WERE.

03:16PM    2       Q.    OKAY.    AND DID YOU, AT THAT DINNER, ASK FOR INFORMATION

03:16PM    3       FROM ALL THREE ABOUT THERANOS?

03:16PM    4       A.    YOU KNOW, CERTAINLY IN THE DISCUSSIONS WE HAD THAT NIGHT

03:16PM    5       ALL THREE OF THEM PARTICIPATED.

03:16PM    6       Q.    DID YOU LEARN THAT DON LUCAS WAS THE CHAIR OF THE BOARD OF

03:16PM    7       THERANOS?

03:16PM    8       A.    I DID.

03:16PM    9       Q.    AND DID YOU UNDERSTAND THAT CHRIS LUCAS WAS HIS NEPHEW?

03:16PM   10       A.    I DID.

03:16PM   11       Q.    AND DID YOU ASK, AT ANY POINT, YOURSELF TO SPEAK WITH

03:16PM   12       DON LUCAS TO HAVE A ONE-ON-ONE CONVERSATION ABOUT INFORMATION

03:16PM   13       THAT HE KNEW ABOUT THERANOS?

03:16PM   14       A.    I DID NOT.

03:16PM   15       Q.    OKAY.    DO YOU KNOW IF MR. HALL HAD THAT TYPE OF A

03:16PM   16       CONVERSATION?

03:16PM   17       A.    I DON'T REMEMBER.

03:16PM   18       Q.    OKAY.    SO YOU HAD A COUPLE OF CALLS, THE DINNER, AND THEN

03:16PM   19       YOU VISITED THE FACILITY THE NEXT MORNING; CORRECT?

03:16PM   20       A.    I BELIEVE THAT'S CORRECT.

03:16PM   21       Q.    OKAY.    AND THEN FROM THAT TIME FOR THE FOLLOWING SIX

03:17PM   22       YEARS, YOU'VE NEVER HAD ANY DIRECT CONTACT WITH THERANOS; IS

03:17PM   23       THAT RIGHT?

03:17PM   24       A.    CORRECT.

03:17PM   25       Q.    AND THEN YOU PARTICIPATED IN THE PHONE CALL, A PORTION OF



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03:17PM    1       WHICH WE'VE HEARD THIS AFTERNOON; CORRECT?

03:17PM    2       A.    CORRECT.

03:17PM    3       Q.    AND THEN YOU MADE YOUR SECOND INVESTMENT DIRECTLY IN

03:17PM    4       THERANOS; CORRECT?

03:17PM    5       A.    THAT'S CORRECT.

03:17PM    6       Q.    SO THE ONLY CONTACTS THAT YOU HAD WITH MS. HOLMES DURING

03:17PM    7       THOSE SIX YEARS WERE -- SEVEN YEARS, WERE THOSE LIMITED

03:17PM    8       OCCASIONS; CORRECT?

03:17PM    9       A.    THAT'S CORRECT.

03:17PM   10       Q.    OKAY.   LET ME ASK YOU ABOUT THE CONTACT THAT YOU HAD WITH

03:17PM   11       MR. LUCAS IN THE INTERVENING PERIOD.

03:17PM   12             HOW OFTEN WOULD YOU TALK TO CHRIS LUCAS DURING THAT PERIOD

03:17PM   13       ABOUT THERANOS?

03:17PM   14       A.    YOU KNOW, AS I RECALL, I WOULD PROBABLY TALK TO HIM THREE

03:17PM   15       OR FOUR TIMES A YEAR.

03:17PM   16       Q.    OKAY.   SO YOU HAD A QUARTERLY CALL, LET'S SAY, WITH

03:17PM   17       MR. LUCAS?

03:17PM   18       A.    SOMETHING LIKE THAT.

03:17PM   19       Q.    AND YOUR CONVERSATIONS WITH CHRIS LUCAS WERE BECAUSE YOUR

03:18PM   20       INVESTMENT WAS THROUGH HIM; CORRECT?

03:18PM   21       A.    THAT'S CORRECT.

03:18PM   22       Q.    AND, IN FACT, YOU WERE PAYING HIM TO MANAGE THAT

03:18PM   23       INVESTMENT; CORRECT?

03:18PM   24       A.    CORRECT, WE DID HAVE A MANAGEMENT FEE THAT WE WERE PAYING

03:18PM   25       TO HIM.



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03:18PM    1       Q.    AND SO A PERCENTAGE OF THE MONEY THAT YOU INVESTED WITH

03:18PM    2       THERANOS EACH YEAR YOU WERE PAYING TO HIM; CORRECT?

03:18PM    3       A.    WELL, YOU KNOW, TO BE CLEAR ABOUT IT, WE PAID HIM A

03:18PM    4       MANAGEMENT FEE FOR A CERTAIN PERIOD OF TIME, FOR TWO YEARS.

03:18PM    5       AND SO AS I RECALL, IT WAS TWO YEARS, AND SO THAT MANAGEMENT

03:18PM    6       FEE WE PAID TWO YEARS.

03:18PM    7             AND THEN AN ADDITIONAL SEVEN OR SIX YEARS, WHATEVER IT

03:18PM    8       WOULD BE, WE DID NOT PAY A MANAGEMENT FEE.

03:18PM    9       Q.    AND THE FEE THAT YOU PAID HIM IN THE FIRST TWO YEARS WAS A

03:18PM   10       PERCENTAGE OF THE AMOUNT THAT YOU HAD INVESTED; CORRECT?

03:18PM   11       A.    I BELIEVE THAT'S CORRECT.

03:18PM   12       Q.    AND DID YOU AT ANY TIME TRY TO CONTACT MS. HOLMES DURING

03:18PM   13       THAT PERIOD?

03:18PM   14       A.    NOT DIRECTLY TO MY RECOLLECTION.

03:18PM   15       Q.    OKAY.    DID YOU TRY TO CONTACT ANY THERANOS EMPLOYEE DURING

03:18PM   16       THAT TIME PERIOD?

03:19PM   17       A.    I DID NOT.

03:19PM   18       Q.    OKAY.    DID YOU ASK, THROUGH MR. LUCAS, FOR ANY FINANCIAL

03:19PM   19       STATEMENTS THAT THERANOS HAD GIVEN HIM?

03:19PM   20       A.    I DID.

03:19PM   21       Q.    AND DID HE PROVIDE YOU ANY FINANCIAL STATEMENTS?

03:19PM   22       A.    WELL, AS I RECALL, HE HAD NOT RECEIVED ANY FINANCIALS, SO

03:19PM   23       I NEVER RECEIVED ANY FROM HIM DURING THOSE INTERVENING YEARS.

03:19PM   24       Q.    AND HE TOLD YOU HE HAD NOT RECEIVED THEM?

03:19PM   25       A.    YOU KNOW, THAT WAS MY RECOLLECTION.        WHEN I WOULD ASK HIM



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03:19PM    1       FOR FINANCIALS, HE WOULD SAY, I HAVEN'T RECEIVED ANYTHING

03:19PM    2       SPECIFICALLY FROM THE COMPANY.

03:19PM    3       Q.    OKAY.    DID HE TELL YOU WHETHER HE HAD BEEN GIVEN ANY

03:19PM    4       ACCESS TO INFORMATION FROM THE COMPANY FOR PURPOSES OF

03:19PM    5       PREPARING REVENUE PROJECTIONS?

03:19PM    6                     MR. SCHENK:    OBJECTION.   HEARSAY.

03:19PM    7                     THE COURT:    OVERRULED.

03:19PM    8             IF YOU KNOW.

03:19PM    9                     THE WITNESS:   OH, CAN YOU --

03:19PM   10       BY MR. DOWNEY:

03:19PM   11       Q.    I'M ONLY ASKING WHAT YOU WERE TOLD.

03:19PM   12             DID MR. LUCAS TELL YOU THAT HE HAD BEEN GIVEN FINANCIAL

03:19PM   13       INFORMATION ABOUT THE COMPANY FOR PURPOSES OF PREPARING

03:20PM   14       FINANCIAL PROJECTIONS?

03:20PM   15       A.    I DON'T KNOW IF -- I DON'T RECALL HIM SAYING THAT HE HAD

03:20PM   16       RECEIVED INFORMATION TO PREPARE PROJECTIONS.

03:20PM   17             I KNEW THAT MR. LUCAS HAD TOLD ME THAT HE WAS, YOU KNOW,

03:20PM   18       AT THE COMPANY HEADQUARTERS A LOT, THAT HE WAS -- THERE WERE

03:20PM   19       SOME KIND OF PROJECTS THAT HE WAS INVOLVED IN THAT GAVE HIM

03:20PM   20       ACCESS TO INFORMATION, BUT I DIDN'T KNOW SPECIFICALLY WHAT THAT

03:20PM   21       WAS OR FOR WHAT PURPOSE IT WAS.

03:20PM   22       Q.    DID HE EVER TELL YOU SPECIFICALLY THAT I, CHRIS LUCAS,

03:20PM   23       HAVE PREPARED FINANCIAL PROJECTIONS FOR THE COMPANY?

03:20PM   24       A.    HE DID NOT.

03:20PM   25       Q.    DID YOU EVER, DURING THAT PERIOD, HAVE ANY FURTHER CONTACT



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03:20PM    1       WITH MR. DON LUCAS?

03:20PM    2       A.    NOT DIRECTLY I DID NOT.

03:20PM    3       Q.    DID THE FACT THAT MR. LUCAS, MR. DON LUCAS WAS INVOLVED IN

03:21PM    4       THE INVESTMENT PLAY ANY ROLE IN THE HALL GROUP'S INITIAL

03:21PM    5       DECISION TO MAKE AN INVESTMENT?

03:21PM    6       A.    IT CERTAINLY WAS A POSITIVE.       YOU KNOW, WE -- YOU KNOW, I

03:21PM    7       BECAME AWARE OF WHO MR. LUCAS WAS AND OF HIS, YOU KNOW,

03:21PM    8       INVESTMENT BACKGROUND, AND SOME OF THE THINGS -- SOME OF THE

03:21PM    9       OPPORTUNITIES THAT HE HAD HELPED CULTIVATE ALONG, AND SO THAT

03:21PM   10       WAS, THAT WAS A POSITIVE.

03:21PM   11       Q.    YOU KNEW THAT HE HAD A REPUTATION AS A SAVVY INVESTOR IN

03:21PM   12       TECHNOLOGY; CORRECT?

03:21PM   13       A.    I DID.

03:21PM   14       Q.    AND YOU KNEW THAT HE HAD EXPERIENCE WITH A NUMBER OF

03:21PM   15       TECHNOLOGY COMPANIES THAT HAD GROWN FROM STARTUPS INTO WELL

03:21PM   16       RESPECTED NATIONAL COMPANIES; CORRECT?

03:21PM   17       A.    THAT'S CORRECT.

03:21PM   18       Q.    AND YOU KNEW THAT HE WAS AN INVESTOR IN THERANOS; CORRECT?

03:21PM   19       A.    I DID.

03:21PM   20       Q.    AND YOU KNEW THAT CHRIS LUCAS WAS AN INVESTOR IN THERANOS?

03:21PM   21       A.    I DID.

03:21PM   22       Q.    YOU WERE TASKED WITH PERFORMING DUE DILIGENCE DURING THIS

03:21PM   23       PERIOD; CORRECT?

03:22PM   24       A.    THAT'S CORRECT.

03:22PM   25       Q.    PRIOR TO THE FIRST INVESTMENT; CORRECT?



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03:22PM    1       A.     CORRECT.

03:22PM    2       Q.     DID DON LUCAS TALK TO YOU AT ALL ABOUT THE DUE DILIGENCE

03:22PM    3       THAT HE HAD PERFORMED BEFORE HIS DECISION TO MAKE AN

03:22PM    4       INVESTMENT?

03:22PM    5       A.     NO, I HAD NO CONVERSATIONS WITH DON LUCAS, SO HE WOULDN'T

03:22PM    6       HAVE HAD AN OCCASION TO.

03:22PM    7       Q.     OKAY.   WELL, I THOUGHT YOU SAID HE WAS AT THE DINNER WITH

03:22PM    8       YOU.

03:22PM    9       A.     OH, AT THE DINNER.

03:22PM   10       Q.     IN 2006?

03:22PM   11       A.     OH, I THOUGHT YOU WERE TALKING ABOUT SUBSEQUENT OR AFTER

03:22PM   12       THAT.

03:22PM   13       Q.     NO.   I'M ASKING YOU NOW ABOUT YOUR INITIAL INVESTMENT

03:22PM   14       DECISION --

03:22PM   15       A.     OH, OKAY.

03:22PM   16       Q.     -- IN 2006.

03:22PM   17              DID HE PROVIDE ACCESS TO ANY OF THE DUE DILIGENCE THAT HE

03:22PM   18       HAD DONE?

03:22PM   19       A.     NO, HE DID NOT.    THERE WAS -- HE DIDN'T COMMUNICATE

03:22PM   20       ANYTHING TO ME OTHER THAN AT THE DINNER.         HE DIDN'T SEND ME ANY

03:22PM   21       ADDITIONAL INFORMATION.

03:22PM   22       Q.     OKAY.   DID HE TELL YOU, FOR EXAMPLE, THAT HE HAD PERFORMED

03:22PM   23       DUE DILIGENCE ON THE PATENT PORTFOLIO OF THE COMPANY?

03:22PM   24       A.     HE DID NOT.

03:23PM   25       Q.     NOW, AFTER SIX YEARS, I THINK YOU TESTIFIED ABOUT THE



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03:23PM    1       CONTACT THAT HAD LED YOU TO WANT TO MAKE THE SECOND INVESTMENT,

03:23PM    2       AND THAT'S IN CONNECTION WITH THIS CALL AND YOUR CONVERSATIONS

03:23PM    3       WITH CHRIS LUCAS AROUND THAT TIME PERIOD; CORRECT?

03:23PM    4       A.    CORRECT.

03:23PM    5       Q.    HAD CHRIS LUCAS SAID TO YOU AT ANY POINT IN 2013, THE

03:23PM    6       OPPORTUNITY TO INVEST MIGHT PRESENT ITSELF DURING THE COURSE OF

03:23PM    7       THIS YEAR?

03:23PM    8       A.    AS I RECALL, IN SOME OF OUR -- IN SOME OF OUR PHONE CALLS

03:23PM    9       EARLIER IN THAT YEAR -- AND IT WASN'T JUST IN THAT YEAR, AT

03:23PM   10       OTHER TIMES OVER THAT PERIOD OF TIME HE HAD REFERENCED THAT

03:23PM   11       THERE MAY BE A FURTHER INVESTMENT OPPORTUNITY.

03:23PM   12             BUT CERTAINLY IN 2013 HE DID INDICATE THAT THERE WOULD

03:23PM   13       LIKELY BE ANOTHER INVESTMENT OPPORTUNITY COMING.

03:23PM   14       Q.    OKAY.   AND WHEN YOU HEARD THAT, DID YOU ASK ANY QUESTIONS

03:23PM   15       OF HIM ABOUT, YOU KNOW, WHAT THE OPPORTUNITY WOULD BE AND THE

03:24PM   16       STATE OF THERANOS'S BUSINESS?

03:24PM   17       A.    YEAH, CERTAINLY.     I WAS ALWAYS ASKING HIM ABOUT THE STATE

03:24PM   18       OF THERANOS'S BUSINESS BECAUSE IT FELT LIKE HE HAD ACCESS TO

03:24PM   19       INFORMATION AND I WAS TRYING TO ELICIT THAT FROM HIM.

03:24PM   20       Q.    OKAY.   SO THE STATE OF THE RELATIONSHIP UP UNTIL REALLY

03:24PM   21       THAT TELEPHONE CALL WAS YOU PERCEIVED HIM TO KNOW A LOT ABOUT

03:24PM   22       THERANOS; CORRECT?

03:24PM   23       A.    THAT'S CORRECT.

03:24PM   24       Q.    AND YOU WOULD ASK HIM QUESTIONS; CORRECT?

03:24PM   25       A.    THAT'S CORRECT.



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03:24PM    1       Q.    AND HE WOULD PROVIDE YOU INFORMATION; CORRECT?

03:24PM    2       A.    THAT'S CORRECT.

03:24PM    3       Q.    AND THAT WOULD BE IN THESE QUARTERLY CALLS?

03:24PM    4       A.    YEAH, THAT WOULD BE IN THESE CALLS, THAT'S CORRECT.

03:24PM    5       Q.    OKAY.   DID HE PROVIDE ANY INFORMATION ABOUT THE TECHNOLOGY

03:24PM    6       OF THERANOS DURING THAT PERIOD IN THE NATURE OF ANY KIND OF AN

03:24PM    7       ANALYSIS OR WRITTEN PRESENTATION OF HOW THERANOS WAS PLANNING

03:24PM    8       TO ROLL OUT ITS TECHNOLOGY?

03:24PM    9       A.    NOT THAT I RECALL.

03:24PM   10       Q.    WOULD YOU HAVE BELIEVED THAT WAS RESPONSIVE TO YOUR

03:25PM   11       REQUEST FOR THE INFORMATION THAT YOU WERE SEEKING?

03:25PM   12       A.    I WOULD HAVE.

03:25PM   13       Q.    YOU HAD HEARD, I THINK, DURING THE COURSE OF THAT SEVEN

03:25PM   14       YEAR PERIOD SOME INFORMATION ABOUT THE PROSPECT THAT THERE

03:25PM   15       WOULD BE RETAIL PARTNERSHIPS WITH SOME LARGE RETAILERS;

03:25PM   16       CORRECT?

03:25PM   17       A.    THAT'S CORRECT.

03:25PM   18       Q.    AND IS THAT INFORMATION THAT YOU LEARNED THROUGH

03:25PM   19       CHRIS LUCAS AS WELL?

03:25PM   20       A.    THAT'S WHERE I WOULD HAVE LEARNED THAT.

03:25PM   21       Q.    AND IS IT FAIR TO SAY THAT IN THE TELEPHONE CALL THAT YOU

03:25PM   22       HAD IN DECEMBER OF 2013 THAT MS. HOLMES INDICATED THAT DURING

03:25PM   23       THAT PERIOD THAT WOULD FOLLOW THE INVESTMENT, THAT THE COMPANY

03:25PM   24       WOULD BE FOCUSSED INTENSELY ON THAT RETAIL OUTLET?

03:25PM   25       A.    I DID --



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03:25PM    1       Q.    RETAIL ROLLOUT?

03:25PM    2       A.    THAT'S CORRECT.       I MEAN, THAT WAS THE CENTRAL FOCUS OF

03:26PM    3       WHAT THAT ADDITIONAL INVESTMENT OPPORTUNITY WAS ABOUT.

03:26PM    4       Q.    INDEED, MR. SCHENK PLAYED YOU SOME TAPES IN WHICH THERE

03:26PM    5       WERE REFERENCES TO THE PHARMACEUTICAL BUSINESS AND THE MILITARY

03:26PM    6       BUSINESS.

03:26PM    7             DO YOU RECALL THAT?

03:26PM    8       A.    I DO.

03:26PM    9       Q.    BUT DURING THE COURSE OF THE CALL, MS. HOLMES TOLD YOU

03:26PM   10       THAT, IN FACT, THERANOS WAS GOING TO PAUSE ITS WORK ON THOSE

03:26PM   11       BUSINESSES IN ORDER TO FOCUS ON THE RETAIL BUSINESS ROLLOUT;

03:26PM   12       CORRECT?

03:26PM   13       A.    YEAH.    I DON'T REMEMBER THE EXACT LANGUAGE, BUT I DO

03:26PM   14       REMEMBER THAT REFERENCE.

03:26PM   15       Q.    WELL, LET ME PLAY THAT PORTION OF THE TAPE FOR YOU.

03:26PM   16       A.    OKAY.

03:26PM   17                     MR. DOWNEY:    YOUR HONOR, I'VE DIVIDED OUR CLIPS BY

03:26PM   18       LETTER JUST TO AVOID CONFUSION IN THAT REGARD.          SO I WILL OFFER

03:26PM   19       1348F.

03:27PM   20             "OBVIOUSLY TO BE ABLE TO DO."

03:27PM   21                     THE COURT:    I BEG YOUR PARDON.    MR. SCHENK?

03:27PM   22                     MR. SCHENK:    IS THIS SOMETHING THAT HAS ALREADY BEEN

03:27PM   23       PLAYED?

03:27PM   24                     MR. DOWNEY:    THIS HAS ALREADY BEEN PLAYED.

03:27PM   25                     THE COURT:    THAT WAS MY UNDERSTANDING.     CAN YOU JUST



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03:27PM    1       IDENTIFY FOR THE PARTIES WHERE IT IS?

03:27PM    2                    MR. DOWNEY:    ON THE TRANSCRIPT I HAVE, IT'S ON

03:27PM    3       PAGE 6.    I DON'T HAVE THE TRANSCRIPT THAT THE GOVERNMENT

03:27PM    4       PREPARED.

03:27PM    5                    THE COURT:    OH, I SEE.

03:27PM    6                    MR. DOWNEY:    YEAH.

03:27PM    7                    THE COURT:    CAN YOU JUST TAKE A MOMENT TO SHARE YOUR

03:27PM    8       TRANSCRIPTS?     IS THAT POSSIBLE.

03:27PM    9             (DISCUSSION OFF THE RECORD.)

03:27PM   10                    MR. DOWNEY:    ACTUALLY, I THINK I CAN IDENTIFY IT,

03:27PM   11       YOUR HONOR.

03:27PM   12                    THE COURT:    SURE.

03:28PM   13             (PAUSE IN PROCEEDINGS.)

03:28PM   14                    MR. DOWNEY:    MAY I CONFER WITH MR. SCHENK?       THIS

03:28PM   15       DOESN'T MATCH.

03:28PM   16                    THE COURT:    YES, PLEASE.

03:28PM   17             (DISCUSSION OFF THE RECORD.)

03:29PM   18                    MR. DOWNEY:    YOUR HONOR, I JUST WANT TO RETRIEVE

03:29PM   19       MINE.

03:29PM   20                    THE COURT:    SURE.

03:29PM   21             (PAUSE IN PROCEEDINGS.)

03:30PM   22                    MR. DOWNEY:    YOUR HONOR, I DON'T SEE IT ON THIS

03:30PM   23       TRANSCRIPT EITHER, SO LET ME JUST HAVE ONE MORE MOMENT.

03:30PM   24                    THE COURT:    OF COURSE.

03:31PM   25             (PAUSE IN PROCEEDINGS.)



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03:31PM    1              (DISCUSSION OFF THE RECORD.)

03:31PM    2                    MR. DOWNEY:    YOUR HONOR, THIS WILL BE ON THE

03:31PM    3       TRANSCRIPT THAT WE GOT FROM THE GOVERNMENT ON PAGE 18 OF SIDE

03:32PM    4       A, STARTING AT LINE 19.

03:32PM    5                    THE COURT:    THANK YOU.   AND YOU'D LIKE TO PLAY THAT

03:32PM    6       NOW?

03:32PM    7                    MR. DOWNEY:    I'D LIKE TO PLAY IT.

03:32PM    8       Q.     BUT JUST TO REORIENT US TO WHERE WE WERE, MY QUESTION TO

03:32PM    9       YOU IS, MS. HOLMES TOLD YOU DURING THE COURSE OF THIS CALL THAT

03:32PM   10       THERANOS WOULD BE PUTTING A PAUSE ON ITS RETAIL AND MILITARY

03:32PM   11       BUSINESSES; CORRECT?

03:32PM   12       A.     I BELIEVE ON THE PHARMACEUTICAL AND RETAIL --

03:32PM   13       PHARMACEUTICAL AND MILITARY BUSINESSES.

03:32PM   14                    MR. DOWNEY:    OKAY.   I'D LIKE TO JUST PLAY THAT

03:32PM   15       SECTION OF THE TAPE.

03:32PM   16                    THE COURT:    SURE.

03:32PM   17              "MS. HOLMES:    OBVIOUSLY, TO BE ABLE TO DO WHAT WE JUST

03:32PM   18       HAVE DONE, WE HAD TO PAUSE A LARGE NUMBER OF OUR ONGOING

03:32PM   19       PHARMACEUTICAL AND MILITARY PROGRAMS SO THAT WE COULD FOCUS

03:32PM   20       LIKE A LASER ON THIS AND EXECUTING ON THIS.

03:32PM   21              "AND THE SCALE OF THIS RETAIL INFRASTRUCTURE NOW IS WHERE

03:32PM   22       WE WILL CONTINUE TO FOCUS LIKE A LASER.         BUT AS WE GET THE

03:33PM   23       RESOURCES AND ORGANIZATIONS TO CAPTURE SOME OF THESE ADDITIONAL

03:33PM   24       OPPORTUNITIES IN PARALLEL, WE WILL PROCEED WITH THE

03:33PM   25       PHARMACEUTICAL AND MILITARY BUSINESS IN LEVERAGING SOME OF THIS



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03:33PM    1       INFRASTRUCTURE AND RESOURCES FROM IT THAT WE'RE BUILDING OUT

03:33PM    2       NOW.    SO THAT, FOR THE LONG-TERM, WILL BE AN IMPORTANT THING

03:33PM    3       FOR US.    AND IT'S ALSO VERY SYMBOLIC BECAUSE IT'S OUR WAY OF

03:33PM    4       BEING ABLE TO HELP MAKE A DIFFERENCE IN WHATEVER SMALL WAY WE

03:33PM    5       CAN THERE."

03:33PM    6       BY MR. DOWNEY:

03:33PM    7       Q.     WAS THAT MS. HOLMES'S VOICE THAT YOU JUST HEARD?

03:33PM    8       A.     IT WAS.

03:33PM    9       Q.     AND MAY I ASK YOU, DID YOU ASK ANY QUESTIONS DURING THE

03:33PM   10       CALL?

03:33PM   11       A.     I DID NOT.

03:33PM   12       Q.     DID YOU FOLLOW UP AT ALL ON THAT COMMENT TO FIND OUT WHAT

03:33PM   13       THE PAUSE WOULD BE OR HOW LONG IT WOULD BE?

03:33PM   14       A.     I DIDN'T.    I MEAN, AS I JUST LISTENED TO IT, IT DIDN'T

03:33PM   15       SOUND LIKE IT WAS A COMPLETE PAUSE.        IT SOUNDED LIKE IT WAS A

03:33PM   16       PAUSE THAT -- I DON'T REMEMBER THE EXACT WORDING -- BUT IT

03:34PM   17       WASN'T COMPLETE.

03:34PM   18              BUT, NO, I DID NOT FOLLOW UP WITH ANY SPECIFIC QUESTIONS

03:34PM   19       ABOUT THAT.

03:34PM   20       Q.     OKAY.   DID YOU FOLLOW UP AFTER THE CALL TO ASK TO SEE ANY

03:34PM   21       CONTRACTS OR OTHER AGREEMENTS BETWEEN THERANOS AND THE

03:34PM   22       MILITARY?

03:34PM   23       A.     I DID NOT.

03:34PM   24       Q.     DID YOU FOLLOW UP AFTERWARDS TO SEE ANY CONTRACTS OR OTHER

03:34PM   25       ARRANGEMENT THAT WERE IN PLACE WITH PHARMACEUTICAL COMPANIES?



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03:34PM    1       A.     I DID NOT.

03:34PM    2       Q.     OKAY.   DURING THE COURSE OF THE CALL, MR. HALL DID ASK

03:34PM    3       SOME QUESTIONS; CORRECT?

03:34PM    4       A.     CORRECT.

03:34PM    5       Q.     DID ANY OF THE QUESTIONS THAT MR. HALL ASKED RELATE TO THE

03:34PM    6       MILITARY ASPECT OF THERANOS'S BUSINESS?

03:34PM    7       A.     YOU KNOW, I DON'T BELIEVE SO.      I MEAN, I'D HAVE TO LOOK

03:34PM    8       BACK AT THE TRANSCRIPT TO KNOW FOR SURE.

03:34PM    9       Q.     OKAY.

03:34PM   10       A.     BUT I DON'T BELIEVE.

03:34PM   11       Q.     DID, DID, DID -- DID MR. HALL, TO YOUR KNOWLEDGE, DO ANY

03:34PM   12       FOLLOWUP TO ASK FOR FURTHER INFORMATION FROM THERANOS AFTER THE

03:34PM   13       CALL ABOUT THOSE TWO BUSINESS UNITS?

03:35PM   14       A.     YOU KNOW, I -- HERE'S -- LET ME ANSWER YOUR QUESTION THIS

03:35PM   15       WAY.

03:35PM   16              SO PRIOR TO THIS CALL --

03:35PM   17       Q.     WELL, LET ME JUST GET AN ANSWER TO THE QUESTION I'VE

03:35PM   18       ASKED.

03:35PM   19              DO YOU KNOW -- AND IF YOU DON'T, IT'S FINE.        DID MR. HALL

03:35PM   20       FOLLOW UP TO ASK FOR MORE INFORMATION ABOUT THOSE TWO BUSINESS

03:35PM   21       UNITS?

03:35PM   22       A.     SO I KNOW MR. HALL HAD A FOLLOW-ON CONVERSATION WITH

03:35PM   23       ELIZABETH A FEW DAYS LATER.

03:35PM   24       Q.     OKAY.

03:35PM   25       A.     I DON'T KNOW IF HE SPECIFICALLY ASKED THOSE QUESTIONS OR



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03:35PM    1       NOT.

03:35PM    2       Q.     OKAY.    AND WAS -- IS THE RECORDING OF THE CALL THE FIRST

03:35PM    3       TIME THAT YOU HAVE ANY RECORDED COMMUNICATION WITH THERANOS OR

03:35PM    4       ANYONE ELSE REFERENCING A MILITARY BUSINESS AT THERANOS?

03:35PM    5       A.     THAT'S THE FIRST RECORDING THAT I HAVE, PERIOD.

03:35PM    6       Q.     WELL, DID YOU HAVE ANY -- DID YOU RECEIVE ANY WRITTEN

03:35PM    7       INFORMATION IN ADVANCE OF THIS CALL ABOUT A MILITARY BUSINESS

03:35PM    8       AT THERANOS?

03:35PM    9       A.     NOT THAT I REMEMBER.

03:35PM   10       Q.     OKAY.    DID YOU KNOW THE PARTICULAR PHARMACEUTICAL

03:36PM   11       COMPANIES THAT THERANOS HAD WORKED WITH PRIOR TO 2013?

03:36PM   12       A.     NOT BY NAME.

03:36PM   13       Q.     OKAY.    DID YOU UNDERSTAND FROM MR. CHRIS LUCAS THAT THERE

03:36PM   14       HAD BEEN REFINEMENT AND DEVELOPMENT OF THE TECHNOLOGY PRIOR TO

03:36PM   15       2013?

03:36PM   16       A.     I DID.

03:36PM   17       Q.     AND DID HE GIVE PERIODIC UPDATES ON THAT DURING THE COURSE

03:36PM   18       OF THOSE YEARS?

03:36PM   19       A.     YOU KNOW, CERTAINLY IN OUR CONVERSATIONS I WOULD HAVE

03:36PM   20       ASKED HIM, OR WE WOULD HAVE HAD DISCUSSIONS ABOUT THE STATE OF

03:36PM   21       THE TECHNOLOGY.

03:36PM   22       Q.     OKAY.    AND DO YOU RECALL IF HE MENTIONED THAT THERE WERE

03:36PM   23       VARIOUS SERIES OF THE TECHNOLOGY THAT THERANOS HAD DEVELOPED?

03:36PM   24       A.     I DON'T REMEMBER SPECIFIC CONVERSATIONS ABOUT SERIES.

03:36PM   25       Q.     OKAY.    DO YOU RECALL WHEN THERE WAS A FIRST CONVERSATION



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03:37PM    1       THAT THERE HAD BEEN A REFERENCE TO A THERANOS 1.0 DEVICE?

03:37PM    2       A.    I REMEMBER SEEING 1.0 --

03:37PM    3       Q.    YEAH.

03:37PM    4       A.    -- IN SOME OF THOSE EARLY MATERIALS THAT WE RECEIVED.

03:37PM    5       Q.    OKAY.   AND DO YOU KNOW WHAT SERIES THERANOS HAD DEVELOPED

03:37PM    6       TO BY 2013?

03:37PM    7       A.    I DON'T KNOW THE SPECIFICS SERIES NUMBER.

03:37PM    8       Q.    OKAY.   YOU DIDN'T HAVE THE DETAILED INFORMATION ABOUT

03:37PM    9       WHERE THEY WERE IN THE DEVELOPMENT OF THEIR TECHNOLOGY?

03:37PM   10       A.    WELL, I KNEW THE TECHNOLOGY HAD STARTED FROM A LIMITED SET

03:37PM   11       OF TESTS, OR A SMALL SET OF TESTS TO, YOU KNOW, I THINK AROUND

03:37PM   12       THIS 2013 TIMEFRAME THERE WERE THOUSANDS OF TESTS THAT COULD BE

03:37PM   13       RUN AND SO THAT REPRESENTED A SUBSTANTIAL IMPROVEMENT.

03:37PM   14             SO I DON'T KNOW IF IT WENT FROM 1.0 TO 12.0 OR 10.0, BUT

03:37PM   15       THERE WAS --

03:37PM   16       Q.    DID MS. HOLMES MAKE REFERENCE IN THE RECORDING WE JUST

03:37PM   17       HEARD TO THOUSANDS OF TESTS?

03:37PM   18       A.    SHE DID NOT.

03:37PM   19       Q.    DID SHE ASSOCIATE THERANOS'S DEVICE AT THAT TIME WITH

03:38PM   20       THOUSANDS OF TESTS?

03:38PM   21       A.    NOT ON THAT CALL.

03:38PM   22       Q.    OKAY.   NOW, YOU WERE ASKED QUESTIONS ABOUT THE PORTION OF

03:38PM   23       THIS CONVERSATION THAT RELATED TO QUESTIONING OF MS. HOLMES;

03:38PM   24       CORRECT?

03:38PM   25       A.    I'M SORRY, I DON'T UNDERSTAND.



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03:38PM    1       Q.     WELL, THE PORTIONS OF THE CALL THAT HAVE BEEN PLAYED THUS

03:38PM    2       FAR ARE PORTIONS OF A CALL WHERE MS. HOLMES IS PRESENT ON THE

03:38PM    3       CALL; CORRECT?

03:38PM    4       A.     CORRECT.

03:38PM    5       Q.     BUT THEN THE TAPE CONTINUED; CORRECT?

03:38PM    6       A.     THAT'S CORRECT.

03:38PM    7       Q.     AND INDIVIDUALS ON THE CALL HAD THE OPPORTUNITY TO ASK

03:38PM    8       QUESTIONS OF CHRIS LUCAS; CORRECT?

03:38PM    9       A.     CORRECT.

03:38PM   10       Q.     AND DID YOU ASK ANY QUESTIONS OF CHRIS LUCAS DURING THAT

03:38PM   11       TIME?

03:38PM   12       A.     NOT ON THAT CALL.

03:38PM   13       Q.     DID MR. HALL ASK QUESTIONS OF CHRIS LUCAS DURING THAT

03:39PM   14       PERIOD?

03:39PM   15       A.     I THINK HE MAY HAVE ASKED A FOLLOWUP.

03:39PM   16       Q.     LET ME ASK THAT THE FOLLOWING SEGMENT OF 1349 BE PLAYED.

03:39PM   17              1349-A.

03:39PM   18                    MR. SCHENK:    I'M SORRY.     IS THIS SOMETHING THAT HAS

03:39PM   19       BEEN PREVIOUSLY PUBLISHED?

03:39PM   20                    MR. DOWNEY:    WELL, IT'S WITHIN THE RECORDING THAT HE

03:39PM   21       HAS ALREADY AUTHENTICATED, YES.

03:39PM   22                    THE COURT:    OKAY.   THAT'S FINE.    THAT CAN BE PLAYED

03:39PM   23       NOW.

03:39PM   24              "MEETING OPERATOR:     THANK YOU.    THE NEXT QUESTION COMES

03:39PM   25       FROM CRAIG HALL.     PLEASE GO AHEAD."



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03:39PM    1                    MR. SCHENK:    I'M SORRY, YOUR HONOR.     OBJECTION.

03:39PM    2             THIS IS NOT SOMETHING THAT WAS PREVIOUSLY PLAYED FOR THE

03:39PM    3       JURY.    THIS IS A DIFFERENT PART OF 1349.       HEARSAY.

03:39PM    4                    MR. DOWNEY:    IT'S PART OF THE SAME RECORDING.       THIS

03:39PM    5       IS JUST A SEGMENT THAT WE WISH TO PLAY FOR THE BENEFIT OF THE

03:39PM    6       JURY.

03:39PM    7                    THE COURT:    WELL, LET'S SEE.    ALL RIGHT.    LET'S

03:40PM    8       IDENTIFY THIS SO I CAN FIND IT.

03:40PM    9             THIS IS IN 1349.     THIS IS SIDE B THEN?

03:40PM   10                    MR. SCHENK:    YES, YOUR HONOR.

03:40PM   11                    THE COURT:    AND DO YOU HAVE -- MR. DOWNEY, DO YOU

03:40PM   12       HAVE THE GOVERNMENT'S TRANSCRIPT THAT YOU COULD GUIDE ME TO?

03:40PM   13                    MR. DOWNEY:    I DO, YOUR HONOR, AND IT WILL BE

03:40PM   14       TOWARDS THE BACK OF THE TRANSCRIPT.

03:40PM   15                    MR. SCHENK:    YOUR HONOR, I BELIEVE IT'S ON PAGE 18,

03:40PM   16       LINE 6.

03:40PM   17                    THE COURT:    YES.   THIS WAS NOT PLAYED PREVIOUSLY.

03:40PM   18                    MR. DOWNEY:    IT WAS NOT PLAYED PREVIOUSLY, BUT IT IS

03:40PM   19       PART OF THE SAME RECORDING THAT MR. SCHENK PLAYED.

03:40PM   20                    MR. SCHENK:    YOUR HONOR, WE MET ON 106 AND THIS WAS

03:40PM   21       NOT PRESENTED TO THE GOVERNMENT.

03:40PM   22                    MR. DOWNEY:    I BEG YOUR PARDON, I THOUGHT IT WAS.

03:40PM   23                    THE COURT:    LET ME LET YOU MEET AND CONFER FOR JUST

03:40PM   24       A MOMENT ABOUT THIS WHILE I LOOK AT THIS.         THANK YOU.

03:41PM   25             (DISCUSSION OFF THE RECORD.)



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03:42PM    1                    MR. SCHENK:    YOUR HONOR, WE STILL OBJECT ON HEARSAY,

03:42PM    2       AND I'M NOT SURE -- THIS HAS NOT BEEN PREVIOUSLY PLAYED FOR THE

03:42PM    3       JURY.    IT HASN'T BEEN MOVED INTO EVIDENCE YET, SO I THINK WE

03:42PM    4       HAVE TO GET OVER THAT HURDLE BEFORE IT COMES IN.

03:42PM    5                    THE COURT:    IT ALSO SEEMS TO BE A DIFFERENT PARTY

03:42PM    6       SPEAKING.

03:42PM    7                    MR. SCHENK:    YES, YOUR HONOR.

03:42PM    8                    MR. DOWNEY:    IT IS THE PARTY THROUGH WHOM

03:42PM    9       MR. TOLBERT HAS TESTIFIED HE INVESTED AND RECEIVED INFORMATION

03:42PM   10       ABOUT THE COMPANY FOR THE PRIOR SEVEN YEARS, AND IT'S AN

03:43PM   11       EXCHANGE THAT COMPLETES THE CALL AND PURPORTS TO EXPLAIN

03:43PM   12       PORTIONS OF THE CALL THAT HAVE PREVIOUSLY -- IN WHICH

03:43PM   13       MS. HOLMES PREVIOUSLY PARTICIPATED AND --

03:43PM   14                    THE COURT:    I SEE THAT.

03:43PM   15             BUT THE SPEAKER IS NOT MS. HOLMES.        IT'S SOMEBODY ELSE

03:43PM   16       ANSWERING A QUESTION --

03:43PM   17                    MR. DOWNEY:    THAT'S CORRECT.

03:43PM   18                    THE COURT:    -- THAT'S POSED ABOUT A DIFFERENT TOPIC.

03:43PM   19                    MR. DOWNEY:    THAT'S CORRECT.

03:43PM   20                    THE COURT:    AND I DON'T SEE THE 106 CONNECTION

03:43PM   21       THERE.    THAT'S MY PROBLEM.

03:43PM   22                    MR. DOWNEY:    WELL, THIS WITNESS HAS BEEN TESTIFYING

03:43PM   23       ABOUT WHAT'S IMPORTANT TO HIS ENTITY AS AN INVESTOR.

03:43PM   24             THE QUESTION IS THE ONLY QUESTION THAT HIS ENTITY ASKS,

03:43PM   25       OTHER THAN THE ONE THAT HAS BEEN PLAYED.



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03:44PM    1                    THE COURT:    WELL, THE QUESTION IS TO -- AS I READ

03:44PM    2       THE TRANSCRIPT, MR. DOWNEY, I JUST DON'T SEE THE RELATIONSHIP

03:44PM    3       BETWEEN THAT AND THE QUESTION THAT HE'S PREVIOUSLY ASKED.            I

03:44PM    4       JUST DON'T SEE IT IN THE 106 CONTEXT.

03:44PM    5             MAYBE YOU CAN ASK SOME MORE QUESTIONS ABOUT THIS FOR

03:44PM    6       FOUNDATION.

03:44PM    7                    MR. DOWNEY:    SURE.

03:44PM    8                    THE COURT:    WELL, MR. LOOBY IS GOING TO GIVE YOU A

03:44PM    9       LIFELINE HERE.

03:44PM   10                    MR. DOWNEY:    YOUR HONOR, IF THERE ARE PORTIONS OF

03:44PM   11       THIS -- WELL, LET ME EXPLAIN AGAIN FOR JUST ONE MOMENT.

03:44PM   12             I THINK THE WITNESS ALREADY TESTIFIED THAT THE ENTIRE TAPE

03:44PM   13       IS A TAPE RECORDING OF THE SAME CONVERSATION.          THE ONLY

03:44PM   14       VARIATION IS PARTICIPANTS GOING IN AND OUT.

03:44PM   15             THERE'S ONLY A PORTION OF THE TAPE FOR MS. HOLMES IS A

03:44PM   16       PARTICIPANT.

03:45PM   17             THE TAPE THEN CONTINUES AND THEN THERE'S A DISCUSSION,

03:45PM   18       WHICH IS A DISCUSSION OF INFORMATION THAT IS IMPORTANT TO

03:45PM   19       POTENTIAL INVESTORS, INCLUDING THE WITNESS'S GROUP, AS TO

03:45PM   20       WHETHER TO INVEST OR NOT AT THIS TIME.

03:45PM   21             I WOULD CERTAINLY THINK IT GOES TO MATERIALITY.

03:45PM   22             THERE'S NOT -- I DON'T KNOW IF THERE'S A HEARSAY CONCERN

03:45PM   23       OR WHAT THE CONCERN IS.       IT'S NOT A 106 CONCERN CERTAINLY.

03:45PM   24                    THE COURT:    WELL, THE RELEVANCE OF THIS IS YOU'RE

03:45PM   25       TRYING TO SEE WHETHER OR NOT THIS INFORMATION WAS MATERIAL TO



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03:45PM    1       THIS WITNESS'S INVESTMENT?

03:45PM    2                    MR. DOWNEY:    THAT'S CORRECT.

03:45PM    3                    THE COURT:    AND MAYBE YOU SHOULD HAND THE WITNESS

03:45PM    4       THE TRANSCRIPT AND SEE IF THAT ANSWER -- HE READS THE

03:45PM    5       TRANSCRIPT AND THEN YOU CAN ASK THE QUESTION, AND IF IT WAS,

03:45PM    6       THEN MAYBE YOU PLAY IT.

03:45PM    7                    MR. DOWNEY:    SURE.

03:45PM    8             IS THERE A REASON, YOUR HONOR, WE CAN'T -- I DON'T

03:46PM    9       UNDERSTAND THE BASIS ON WHICH WE WOULDN'T BE ABLE TO PLAY

03:46PM   10       PORTIONS OF THE SAME CALL WHERE THE DISCUSSION IS ALL RELATED

03:46PM   11       TO THE SAME THING.

03:46PM   12                    THE COURT:    WELL, WHAT YOU'VE TOLD ME IS THAT THE

03:46PM   13       BASIS OF THIS COMING IN IS THAT YOU THINK IT'S MATERIAL TO

03:46PM   14       THAT.

03:46PM   15             BUT IF IT'S NOT MATERIAL, THEN IT'S NOT RELEVANT, IS IT?

03:46PM   16                    MR. DOWNEY:    THAT'S RIGHT.

03:46PM   17             BUT THE GOVERNMENT WAS ALLOWED TO PLAY THE ENTIRE TAPES

03:46PM   18       AND THEN HAVE THE DISCUSSION AFTER THE TAPE WAS PLAYED.

03:46PM   19                    THE COURT:    RIGHT.   BUT YOU'RE OFFERING THIS FOR --

03:46PM   20       I GUESS I'M JUST SAYING, SHOULDN'T WE FIND OUT WHETHER OR NOT

03:46PM   21       THIS WAS MATERIAL TO HIS DECISION?

03:46PM   22                    MR. DOWNEY:    WELL, IT'S NOT ENTIRELY DEPENDENT ON

03:46PM   23       HIS TESTIMONY.     IT'S CONTEMPORANEOUS EVIDENCE OF WHAT WAS

03:46PM   24       IMPORTANT.

03:46PM   25                    THE COURT:    WELL, THEN WE'RE BACK TO THE 106 THEN.



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03:46PM    1       WE'RE KIND OF GOING IN A CIRCLE HERE.

03:46PM    2                    MR. DOWNEY:    I DON'T THINK IT'S A 106 ISSUE.

03:46PM    3             MR. SCHENK HAS HAD THE OPPORTUNITY TO, TO REVIEW IT.           I

03:46PM    4       MEAN, WE CAN PLAY THE ENTIRE TAPE, WHICH I SUGGESTED BEFORE,

03:46PM    5       BUT I JUST DON'T -- WE'VE ALREADY HEARD THE ONE QUESTION THAT

03:46PM    6       THIS ENTITY ASKED.

03:46PM    7             I JUST WANT TO PLAY THE OTHER ONE.

03:46PM    8                    THE COURT:    AND YOU'D LIKE TO PLAY FROM LINE 6 --

03:47PM    9       PAGE 18, LINE 6, THROUGH PAGE 20, LINE 22?         OR LESS THAN THAT?

03:47PM   10                    MR. DOWNEY:    YES -- PAGE 18, LINE 6, THROUGH PAGE

03:47PM   11       20, LINE 25.

03:47PM   12                    THE COURT:    DOWN TO THE BOTTOM.

03:47PM   13             AND YOU HAVE QUESTIONS FOR THIS WITNESS REGARDING THIS

03:47PM   14       COLLOQUY?

03:47PM   15                    MR. DOWNEY:    I DO.

03:47PM   16                    THE COURT:    SO IS IT POSSIBLE -- CAN YOU FRAME YOUR

03:47PM   17       QUESTION AND THEN PLAY THE TAPE AND ASK HIM IF IT ANSWERS THE

03:48PM   18       QUESTION.

03:48PM   19                    MR. DOWNEY:    WELL, I THINK I HAVE A SERIES OF

03:48PM   20       QUESTIONS.    THE FIRST QUESTION WILL BE WHETHER THE VOICE THAT

03:48PM   21       IS ASKING THE QUESTION IS, IN FACT, MR. HALL TO WHOM HE

03:48PM   22       REPORTS.

03:48PM   23             BUT THEN THE SECOND QUESTION WILL -- I DON'T PLAN TO

03:48PM   24       QUESTION IN DETAIL HERE.       THIS WAS THE QUESTION --

03:48PM   25                    THE COURT:    I'M NOT TRYING TO GIVE YOU TROUBLE HERE.



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03:48PM    1                    MR. DOWNEY:    YES.

03:48PM    2                    THE COURT:    WE'RE DISCUSSING WHETHER THIS IS AN

03:48PM    3       8 TRACK TAPE, A CASSETTE, OR A MICROCASSETTE.

03:48PM    4             BUT -- WELL, I'LL ALLOW THIS TO BE PLAYED.         IT'S LINE 6

03:48PM    5       THROUGH -- ON PAGE 18, THROUGH PAGE 20, LINE 25.

03:48PM    6             DO YOU HAVE THAT CUED UP ALREADY?

03:48PM    7                    MR. DOWNEY:    YES.

03:48PM    8                    THE COURT:    AND YOU'D LIKE TO PLAY THE ENTIRETY?

03:48PM    9       YOU HAVE THE EXAMINATION FOLLOWING THAT?

03:48PM   10                    MR. DOWNEY:    YES.

03:48PM   11                    THE COURT:    ALL RIGHT.   THANK YOU.    WE'LL PLAY THAT.

03:48PM   12       THANK YOU.

03:48PM   13             "MEETING OPERATOR:      THANK YOU.   OUR NEXT QUESTION COMES

03:48PM   14       FROM CRAIG HALL.     PLEASE GO AHEAD.

03:48PM   15             "QUESTIONER:    HI, CHRIS.    I'M CONFUSED A LITTLE BIT ON THE

03:48PM   16       SHARE PRICING.     ELIZABETH TALKED FAIRLY QUICKLY ABOUT 13.4 OR 5

03:49PM   17       MILLION AND UP TO THAT NUMBER AT $15 A SHARE.          AND THEN 225

03:49PM   18       MILLION AT HIGHER SHARE PRICES ALL RELATED TO SOME STRATEGIC

03:49PM   19       PARTNER AGREEMENT.      AND THEN SHE TALKED ABOUT A SHARE SPLIT AND

03:49PM   20       EARLIER SHE TALKED ABOUT $75 IN SHARE.         SO IS THE $15 THE SAME

03:49PM   21       THING AS THE $75 AFTER THE MULTIPLE OR -- HOW DOES IT ALL

03:49PM   22       RELATE TO THE CAPITALIZATION AND KIND OF WHERE WE ARE NOW AT

03:49PM   23       WHAT IS BEING OFFERED HERE?        IT'S A LITTLE HARD FOR ME TO

03:49PM   24       FOLLOW THE BOUNCING BALL.

03:49PM   25             "MR. LUCAS:    SO, CRAIG, THANKS.     HI.   SO, YES, SHE RAN



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03:49PM    1       THROUGH THOSE NUMBERS QUICKLY AND -- I WAS DOING THE MATH ALSO

03:49PM    2       IN MY HEAD.    SO TO BE CLEAR, WHEN THE -- WE'VE INVESTED TWICE

03:49PM    3       IN THERANOS, SERIES B AND SERIES C.        SERIES B WE INVESTED AT

03:50PM    4       ABOUT 90 CENTS A SHARE.       SERIES C WAS A LITTLE UNDER $3 PER

03:50PM    5       SHARE.    OKAY?   AND THAT RELATES TO THE $75 VALUE.       SO THAT'S

03:50PM    6       ALL PRE-SPLIT SHARES.      SO, IF YOU PAID $3, YOU KNOW, IN SERIES

03:50PM    7       C, THAT $3 IS NOW WORTH $75.

03:50PM    8             "WHAT THEY EFFECTED, AND THESE ARE IN SOME OF THE

03:50PM    9       DOCUMENTS I'VE SIGNED, IS A FIVE FOR ONE FORWARD SPLIT.           SO

03:50PM   10       THERE ARE FIVE TIMES AS MANY SHARES THAT THE COMPANY HAS AND

03:50PM   11       THAT WE OWN AND SO NOW THE PRICE IS AT $15 PER SHARE.           SO

03:50PM   12       THAT'S THE PRICE THAT SHE'S TALKING ABOUT.

03:50PM   13             "GOING FORWARD -- NOW, IF I WAS DOING THE MATH CORRECTLY,

03:50PM   14       SHE SAYS THERE'S ABOUT 13 MILLION SHARES THAT CAN BE EXERCISED

03:51PM   15       THIS YEAR.    AND SO IF YOU MULTIPLY 15 TIMES 13 THAT'S, YOU

03:51PM   16       KNOW, CLOSE TO $200 MILLION THAT SHE TALKED ABOUT.           THEN IF WE

03:51PM   17       GO FORWARD, SHE SAID NEXT YEAR THERE ARE A COUPLE HUNDRED

03:51PM   18       MILLION SHARES THAT ARE AUTHORIZED.

03:51PM   19             "SO I SHOULD SAY THAT ACTIONS THAT SHE'S TAKING JUST

03:51PM   20       COOPERATE-WISE IN THE DOCUMENTS THAT I HAVE BEEN SIGNING

03:51PM   21       RECENTLY, FIRST OFF, I SHOULD SAY SHE -- SHE HAS CONTROLLING

03:51PM   22       INTERESTS OF THE COMPANY.       SHE HAS A FIRM GRASP ON THE COMPANY.

03:51PM   23       OKAY?    LET THERE BE NO MISTAKE, BOTH IN HOW SHE LEADS IT AND

03:51PM   24       THEN LEGALLY AND CONTRACTUALLY.

03:51PM   25             "SHE HAS DONE SOME THINGS IN THOSE DOCUMENTS THAT ALLOWS



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03:51PM    1       HER TO MAINTAIN CONTROL BECAUSE SHE IS CONCERNED ABOUT SOME

03:51PM    2       FOLKS THAT MAY END UP INVESTING IN THE COMPANY, A PARTNER AND

03:52PM    3       SO FORTH, WHERE, GEE, THEY AREN'T ACTING RESPONSIBLY AS A

03:52PM    4       PARTNER AND SO MAYBE SHE WOULD WANT TO CASH THEM OUT.           SO SHE

03:52PM    5       WOULD HAVE THE RIGHT TO DO THAT.

03:52PM    6             "SO LET THERE BE NO MISTAKE, JUST LIKE SOME OF THE OTHER

03:52PM    7       HIGH FLYING COMPANIES IN SILICON VALLEY, THE STRUCTURE IS IN

03:52PM    8       PLACE THAT EVEN AFTER THE COMPANY GOES PUBLIC -- AND THAT IS

03:52PM    9       WHY THE SPLIT AND SO FORTH AND DIFFERENT CLASSES OF STOCK --

03:52PM   10       THAT EVEN AFTER THE COMPANY GOES PUBLIC, SHE WILL MAINTAIN THE

03:52PM   11       ESSENTIAL CONTROL, WHICH HAS BEEN BRILLIANTLY PLANNED BY

03:52PM   12       THEMSELVES AND THEIR LAW FIRM.       AND HAVING SAID THAT, FOLLOWING

03:52PM   13       THE SAME PLAY BOOK AS SOME OF THE OTHER NOTABLE COMPANIES.

03:52PM   14             "I WOULD MAKE ANOTHER COMMENT JUST IN THIS FINANCING, AS

03:52PM   15       SHE SAID, THERE ARE A HOST OF HIGH PROFILE COMPANIES THAT ARE

03:52PM   16       INTERESTED IN INVESTING AT THAT HIGHER DOLLAR AMOUNT.           SO IT

03:53PM   17       GIVES ME CONFIDENCE THAT THIS IS BEING WELL-VETTED BY THE VERY

03:53PM   18       SOPHISTICATED MONEY.      AND AS YOU CAN IMAGINE, THE TOP TIER

03:53PM   19       BANKS AROUND THE COUNTRY ARE ALL OVER WANTING TO PARTICIPATE IN

03:53PM   20       THIS.

03:53PM   21             "SO HOPEFULLY, CRAIG, THAT ANSWERS WHAT YOU'RE ASKING.

03:53PM   22       AND IF NOT, PLEASE, YOU KNOW, ASK OR CALL ME, CERTAINLY."

03:53PM   23       BY MR. DOWNEY:

03:53PM   24       Q.    MR. TOLBERT, DO YOU RECOGNIZE THE VOICE OF THE PERSON WHO

03:53PM   25       ASKED THAT QUESTION AS CRAIG HALL?



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03:53PM    1       A.    I DO.

03:53PM    2       Q.    AND DO YOU RECOGNIZE THE VOICE OF THE PERSON WHO ANSWERED

03:53PM    3       THAT QUESTION AS CHRIS LUCAS?

03:53PM    4       A.    I DO.

03:53PM    5       Q.    AND IN SUMMARY FORM, DID MR. HALL'S QUESTION RELATE TO THE

03:53PM    6       AMOUNT OF MONEY THAT THE HALL GROUP WOULD HAVE REALIZED ON THE

03:53PM    7       PROFIT IT HAD MADE THUS FAR?

03:53PM    8       A.    I THINK HIS QUESTION RELATED TO WHAT THE VALUE WAS THAT WE

03:54PM    9       WERE INVESTING, THAT OUR 2013 POTENTIAL INVESTMENT WOULD BE

03:54PM   10       MADE AT.

03:54PM   11       Q.    OKAY.   BUT HE DID NOT ASK ANY QUESTION OF MR. LUCAS EITHER

03:54PM   12       ABOUT THE PHARMA BUSINESS; CORRECT?

03:54PM   13       A.    NOT IN THAT INTERCHANGE.

03:54PM   14       Q.    AND HE DID NOT ASK MR. LUCAS ANY QUESTIONS ABOUT WHAT

03:54PM   15       MS. HOLMES HAD JUST SAID ABOUT THE MILITARY BUSINESS; CORRECT?

03:54PM   16       A.    NOT IN THAT INTERCHANGE.

03:54PM   17       Q.    AND ARE THERE ANY OTHER QUESTIONS THAT YOU ARE AWARE OF

03:54PM   18       THAT MR. HALL ASKED DURING THE COURSE OF THAT TAPE OR

03:54PM   19       CONVERSATION?

03:54PM   20       A.    I DON'T BELIEVE THERE'S ANY OTHERS.

03:54PM   21       Q.    OKAY.   HOW SOON AFTER THAT CONVERSATION DID THE HALL GROUP

03:54PM   22       DECIDE TO MAKE AN INVESTMENT IN THERANOS?

03:54PM   23       A.    SO I BELIEVE THAT PHONE CALL WAS ON DECEMBER 20TH.          WE

03:55PM   24       MADE THE INVESTMENT AND WIRED THE FUNDS ON DECEMBER 31ST, SO

03:55PM   25       THAT WOULD HAVE BEEN 11 DAYS.



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03:55PM    1       Q.    DO YOU KNOW IN THAT INTERIM WHEN THE DECISION WAS MADE?

03:55PM    2       A.    NOT SPECIFICALLY.

03:55PM    3       Q.    AND AGAIN, BETWEEN THE 20TH OF DECEMBER AND THE 31ST OF

03:55PM    4       DECEMBER, DID YOU REQUEST ANY FURTHER INFORMATION -- YOU

03:55PM    5       PERSONALLY REQUEST ANY FURTHER INFORMATION OF THERANOS?

03:55PM    6       A.    NOT DIRECTLY.

03:55PM    7       Q.    WHEN YOU SAY "NOT DIRECTLY," DID YOU ASK FOR INFORMATION

03:55PM    8       INDIRECTLY?

03:55PM    9       A.    I THINK I PROBABLY HAD A CONVERSATION WITH CHRIS LUCAS --

03:55PM   10       WELL, I KNOW I HAD SEVERAL CONVERSATIONS WITH CHRIS AFTER THIS

03:55PM   11       PHONE CALL ON THE 20TH AND BEFORE THE 31ST, AND SO I WOULD HAVE

03:55PM   12       ASKED HIM FOR -- WE WOULD HAVE HAD ADDITIONAL DISCUSSION AND

03:55PM   13       THERE WOULD HAVE BEEN THINGS THAT I ASKED HIM FOR.

03:55PM   14       Q.    DID YOU ASK HIM TO GO AND GET DOCUMENTS, FOR EXAMPLE, FROM

03:55PM   15       THERANOS?

03:55PM   16       A.    I DON'T REMEMBER SPECIFICALLY.

03:55PM   17       Q.    OKAY.   DID YOU ASK HIM TO GET ANY OF THE CONTRACTS THAT

03:56PM   18       THERANOS HAD IN PLACE WITH RETAILERS, FOR EXAMPLE?

03:56PM   19       A.    I DID NOT ASK HIM THAT.

03:56PM   20       Q.    YOU HEARD DURING THE COURSE OF THE CALL SEGMENTS THAT

03:56PM   21       MR. SCHENK PLAYED TO YOU THAT THERE WAS REFERENCE TO STRATEGIC

03:56PM   22       PARTNERS MAKING AN INVESTMENT.

03:56PM   23             YOU HEARD THAT?     DO YOU RECALL THAT?

03:56PM   24       A.    I DID, YEP.

03:56PM   25       Q.    AND DO YOU KNOW WHAT HAD HAPPENED TO CHANGE THE TERMS OF



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03:56PM    1       THOSE RELATIONSHIPS AND LED TO AN INVESTMENT AT THE END OF

03:56PM    2       2013?

03:56PM    3       A.    WELL, MY UNDERSTANDING FROM THOSE PERIODIC PHONE CALLS

03:56PM    4       WITH MR. LUCAS IS THAT THE COMPANY WAS MAKING GREAT PROGRESS

03:56PM    5       AND IT WAS EVIDENCED BY COMING OUT OF STEALTH MODE AND THE

03:56PM    6       ANNOUNCEMENT OF THE PARTNERSHIP WITH WALGREENS.

03:56PM    7             SO THOSE WERE THE THINGS THAT I THOUGHT KIND OF INDICATED

03:56PM    8       THAT THERE WAS MOMENTUM AROUND THOSE RELATIONSHIPS.

03:56PM    9       Q.    DID YOU KNOW ANYTHING ABOUT AGREEMENTS THAT WERE SIGNED IN

03:56PM   10       THAT WINDOW BETWEEN DECEMBER 20TH AND DECEMBER 31ST BETWEEN

03:57PM   11       RETAILERS AND THERANOS?

03:57PM   12       A.    I HADN'T SEEN SPECIFIC CONTRACTS.

03:57PM   13       Q.    AND YOU HADN'T ASKED FOR SPECIFIC CONTRACTS; RIGHT?

03:57PM   14       A.    NO.

03:57PM   15       Q.    AND DID YOU IN THAT PERIOD GO TO ONE OF THE WALGREENS

03:57PM   16       STORES WHERE, YOU KNOW, THE THERANOS OPERATION WAS IN PLACE?

03:57PM   17       A.    NOT IN 2013.

03:57PM   18       Q.    OKAY.    YOU WENT AT A LATER TIME; CORRECT?

03:57PM   19       A.    I DID GO AT A LATER TIME.

03:57PM   20       Q.    AND WHEN YOU WENT AT A LATER TIME, DID YOU HAVE AN ORDER

03:57PM   21       FROM YOUR PHYSICIAN FOR A BLOOD TEST?

03:57PM   22       A.    I DID.

03:57PM   23       Q.    AND WHEN YOU GAVE THAT ORDER TO THE PHLEBOTOMIST OR TO THE

03:57PM   24       PERSON AT WALGREENS, THEY TOLD YOU THAT YOUR BLOOD WOULD HAVE

03:57PM   25       TO BE DRAWN BY VENOUS DRAW; CORRECT?



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03:57PM    1       A.    WELL, ON THE ORDER -- JUST TO BE CLEAR, ON THE ORDER THERE

03:57PM    2       WERE TWO OR THREE DIFFERENT TESTS THAT WERE NOTED, AND THEY

03:57PM    3       TOLD ME THAT FOR ONE OF THE TESTS THERE WOULD HAVE TO BE A

03:57PM    4       VENOUS DRAW DONE.

03:57PM    5       Q.    OKAY.   AND DID YOU THEN HAVE THE VENOUS DRAW DONE?

03:58PM    6       A.    I DID NOT.    I HAD THE FINGERSTICK DONE FOR THE PORTION

03:58PM    7       THAT I COULD DO THAT WAY.       BUT I DID NOT HAVE THE VENOUS DRAW

03:58PM    8       DONE.

03:58PM    9       Q.    SO YOU CANCELLED OUT ESSENTIALLY ONE OF THE ORDERS THAT

03:58PM   10       YOUR DOCTOR HAD FILLED OUT IN THE FORM FOR YOU; IS THAT RIGHT?

03:58PM   11       A.    CORRECT.

03:58PM   12       Q.    NOW, I THINK YOU HAD TESTIFIED THAT YOUR UNDERSTANDING IN

03:58PM   13       THIS CALL IN 2013 WAS THAT, YOU KNOW, THERANOS HAD MADE VENOUS

03:58PM   14       DRAWS NO LONGER NECESSARY.       IS THAT THE ESSENCE OF WHAT YOU

03:58PM   15       SAID TO MR. SCHENK?

03:58PM   16       A.    THAT'S WHAT I BELIEVED IN 2013.

03:58PM   17       Q.    AND SO WERE YOU SHOCKED WHEN YOU WENT IN 2015 AND HAD TO

03:58PM   18       HAVE A VENOUS DRAW?

03:58PM   19       A.    I WAS SURPRISED.

03:58PM   20       Q.    AND DID YOU CONTACT MR. CHRIS LUCAS AT THAT TIME?

03:58PM   21       A.    YOU KNOW, I DIDN'T -- I BELIEVE I DID HAVE A CONVERSATION

03:58PM   22       WITH CHRIS WHERE I REFERENCED THAT EXPERIENCE.

03:58PM   23       Q.    OKAY.   AND DID YOU CONTACT MS. HOLMES ABOUT THAT

03:58PM   24       EXPERIENCE?

03:58PM   25       A.    I DID NOT CALL MS. HOLMES.



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03:58PM    1       Q.    AND DID YOU CALL ANYONE ELSE AT THERANOS ABOUT THAT

03:58PM    2       EXPERIENCE?

03:58PM    3       A.    I DID NOT.

03:58PM    4       Q.    I'D LIKE TO SHOW YOU A DOCUMENT THAT IS MARKED AS

03:59PM    5       EXHIBIT 1393.

03:59PM    6       A.    IS THAT ONE IN THE BINDER THAT I CURRENTLY HAVE OR IS THAT

03:59PM    7       IN THE --

03:59PM    8       Q.    IT SHOULD BE IN THE BINDER THAT YOU CURRENTLY -- LET ME --

03:59PM    9       ACTUALLY, I DON'T THINK I'VE GIVEN YOU YOUR BINDER YET, SO --

03:59PM   10             YOUR HONOR, MAY I APPROACH THE WITNESS?

03:59PM   11                    THE COURT:    YES.

04:00PM   12             (PAUSE IN PROCEEDINGS.)

04:00PM   13                    THE COURT:    MR. DOWNEY, LET ME JUST ASK YOU, SIR,

04:00PM   14       HOW MUCH LONGER DO YOU THINK YOU HAVE?

04:00PM   15                    MR. DOWNEY:    MAYBE 15 TO 20 MINUTES.

04:00PM   16                    THE COURT:    AND I'M JUST TRYING TO TIME THIS.

04:00PM   17             AND I THINK THIS IS AN OUT OF TOWN WITNESS.         IS THAT

04:00PM   18       RIGHT?

04:00PM   19                    MR. DOWNEY:    I BELIEVE IT IS, YES.

04:00PM   20                    MR. SCHENK:    YES.

04:00PM   21                    THE COURT:    AND THEN, MR. SCHENK, WHAT DO YOU

04:00PM   22       THINK -- I'M TRYING TO SEE HOW MUCH TIME WE HAVE LEFT WITH THIS

04:00PM   23       WITNESS AND THEN I CAN ASK THE JURY WHETHER OR NOT IT'S,

04:01PM   24       THEY'RE WILLING TO STAY TO COMPLETE THIS WITNESS'S TESTIMONY

04:01PM   25       JUST BECAUSE OF THE TRAVEL.



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04:01PM    1                    MR. SCHENK:    MR. DOWNEY SAID 15 TO 20 MINUTES?       I

04:01PM    2       THINK IF WE WENT TO THE BOTTOM OF THE HOUR -- ONE QUESTION

04:01PM    3       REMAINS THAT WE HAD DISCUSSED THIS MORNING ABOUT TIMING AND

04:01PM    4       WHETHER DOCUMENTS AFTER A CERTAIN DATE WOULD COME IN, AND

04:01PM    5       THAT'S STILL UNKNOWN TO ME AND SO THAT MIGHT AFFECT IT.

04:01PM    6                    MR. DOWNEY:    I DON'T THINK THAT WILL BE -- I DON'T

04:01PM    7       THINK THAT WILL EVENTUATE, YOUR HONOR.

04:01PM    8                    THE COURT:    IT SOUNDS LIKE THAT'S NOT GOING TO BE AN

04:01PM    9       ISSUE.

04:01PM   10                    MR. SCHENK:    I WOULD THINK I HAVE 15 MINUTES IN

04:01PM   11       REDIRECT, MAYBE LESS.

04:01PM   12                    THE COURT:    IT SOUNDS LIKE WE WOULD BE GOING BEFORE

04:01PM   13       5:00 O'CLOCK, IF I WERE TO ASK THIS GOOD JURY IF THEY WOULD

04:01PM   14       STAY UNTIL 5:00 O'CLOCK.

04:01PM   15                    MR. DOWNEY:    I THINK FOR CERTAIN, YOUR HONOR, YES.

04:01PM   16                    THE COURT:    OKAY.   LET ME TURN TO THE JURY.

04:01PM   17             LADIES AND GENTLEMEN, I -- I WANT TO KNOW IF I CAN PRESS

04:01PM   18       ON YOU THIS AFTERNOON FOR ANOTHER 40 MINUTES OR SO TO FINISH

04:01PM   19       THIS WITNESS.

04:02PM   20             DOES ANYONE HAVE AN ISSUE WITH THAT?

04:02PM   21             THANK YOU SO MUCH.      I DON'T SEE ANY HANDS.     THAT'S VERY

04:02PM   22       GENEROUS OF YOU.

04:02PM   23                    MR. DOWNEY:    AND I'LL TRY TO GO THROUGH IT QUICKLY.

04:02PM   24                    THE WITNESS:    YOUR HONOR, CAN I SAY THANK YOU AS

04:02PM   25       WELL?



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04:02PM    1             (LAUGHTER.)

04:02PM    2                     THE COURT:    TO OUR JURY, YES.

04:02PM    3                     MR. DOWNEY:    YOUR HONOR, I'VE PASSED UP THROUGH

04:02PM    4       MS. KRATZMANN A COPY FOR THE COURT.

04:02PM    5       Q.    MR. TOLBERT, CAN I ASK YOU TO LOOK AT EXHIBIT 1393 IN THAT

04:02PM    6       NOTEBOOK?

04:02PM    7                     MR. SCHENK:    YOUR HONOR, I DON'T HAVE THAT DOCUMENT.

04:03PM    8                     THE WITNESS:   I DON'T SEE THAT ONE.

04:03PM    9                     THE COURT:    IT DIDN'T GET IN HERE YET.

04:03PM   10                     MR. DOWNEY:    I'M SORRY.   IT'S NUMBERED TWICE, BUT

04:03PM   11       IT'S 7384.

04:03PM   12                     THE COURT:    THANK YOU.

04:03PM   13                     THE CLERK:    SO FOR THE RECORD, COUNSEL, THE EXHIBIT

04:03PM   14       IS 7384?

04:03PM   15                     MR. DOWNEY:    THAT'S CORRECT.

04:03PM   16             (PAUSE IN PROCEEDINGS.)

04:04PM   17       BY MR. DOWNEY:

04:04PM   18       Q.    HAVE YOU HAD AN OPPORTUNITY TO REVIEW THAT?

04:04PM   19       A.    I HAVE.

04:04PM   20       Q.    DO YOU RECOGNIZE THIS AS AN EMAIL EXCHANGE RELATED TO THE

04:04PM   21       INVESTMENT THAT THE HALL GROUP MADE IN THERANOS BETWEEN

04:04PM   22       YOURSELF AND OTHERS?

04:04PM   23       A.    I DO.

04:04PM   24                     MR. DOWNEY:    YOUR HONOR, I MOVE THE ADMISSION OF

04:04PM   25       7384.



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04:04PM    1                    MR. SCHENK:    YOUR HONOR, TWO OBJECTIONS.      FIRST,

04:04PM    2       IT'S HEARSAY.     SECOND, IT IS AFTER THE DATE WE DISCUSSED,

04:04PM    3       12-31-2013.

04:04PM    4                    MR. DOWNEY:    YOUR HONOR, I THINK THE EMAIL IS FROM

04:04PM    5       2014.    THE DATE WE DISCUSSED WAS THE END OF 2015.

04:05PM    6                    THE COURT:    AND IS IT HEARSAY?

04:05PM    7                    MR. DOWNEY:    WELL, I -- LET ME SEE.

04:05PM    8                    THE COURT:    SURE.

04:05PM    9       BY MR. DOWNEY:

04:05PM   10       Q.    IS THIS AN EMAIL THAT WAS EXCHANGED DURING THE COURSE OF

04:05PM   11       BUSINESS OF THE HALL GROUP RELATED TO ITS INVESTMENTS IN

04:05PM   12       COMPANIES?

04:05PM   13       A.    IT WAS.

04:05PM   14       Q.    AND IS THERE A SYSTEM IN PLACE AT THE HALL GROUP TO

04:05PM   15       PRESERVE THE EMAILS THAT IT SENDS?

04:05PM   16       A.    THERE IS.

04:05PM   17       Q.    AND WAS THIS EMAIL -- EXCHANGE OF EMAILS, ARE THOSE

04:05PM   18       EMAILS, WHEN THEY ARE EXCHANGED, DO THEY -- ARE THEY GENERALLY

04:05PM   19       MADE AT OR NEAR THE TIME OF THE EVENTS THAT THEY REFER TO?

04:05PM   20       A.    YEAH, I GUESS I DON'T -- I DON'T UNDERSTAND THAT QUESTION,

04:05PM   21       SO --

04:05PM   22       Q.    WELL, DO THEY RELATE TO EVENTS THAT ARE CURRENT AT THE

04:05PM   23       TIME THAT IS EXCHANGED IN THE EMAIL?

04:05PM   24       A.    YES.

04:05PM   25       Q.    AND DO PERSONS AT THE HALL GROUP STRIVE FOR THE EMAILS TO



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04:06PM    1       ACCURATELY REFLECT WHAT IS GOING ON?

04:06PM    2       A.    I BELIEVE SO.

04:06PM    3       Q.    OKAY.

04:06PM    4                     MR. DOWNEY:   YOUR HONOR, I MOVE THE ADMISSION OF

04:06PM    5       7384.

04:06PM    6                     MR. SCHENK:   YOUR HONOR, SAME OBJECTION.      IT'S FROM

04:06PM    7       MR. HALL'S AOL TO SOMEONE WHO DOESN'T WORK AT HALL, AND THE

04:06PM    8       INDIVIDUAL THAT IT'S SENT TO I THINK WAS NOT PART OF THE

04:06PM    9       ORDINARY BUSINESS OF THE HALL GROUP.        I THINK IT HAD TO DO WITH

04:06PM   10       A SPECIAL ARRANGEMENT THAT MR. HALL MADE WITH SOME OTHER

04:06PM   11       INDIVIDUAL.     THIS IS NOT A BUSINESS RECORD.

04:06PM   12                     MR. DOWNEY:   YOUR HONOR, I WOULD JUST SAY COUPLE OF

04:06PM   13       THINGS.    FIRST, THIS WITNESS HAS ACTUALLY HIMSELF SIGNED AN

04:06PM   14       AUTHENTICATION OF DOCUMENTS THAT HAVE BEEN PRODUCED AS BUSINESS

04:06PM   15       RECORDS.

04:06PM   16             SECOND, THIS EMAIL GOES TO THIS WITNESS AT THE BUSINESS

04:06PM   17       ADDRESS, I BELIEVE, OF THE HALL GROUP.         AND SO IT WAS PRINTED,

04:06PM   18       I THINK, THERE.

04:06PM   19                     THE COURT:    WELL, THERE'S -- LET ME JUST SAY, I

04:06PM   20       THINK THERE'S A FEW GAPS HERE AS FAR AS 803(6).

04:07PM   21             BUT -- AND THE QUESTION IS RELIABILITY.

04:07PM   22             WHY DON'T YOU JUST ASK -- I'LL ALLOW THIS TO COME IN BASED

04:07PM   23       ON YOU --

04:07PM   24                     MR. DOWNEY:   WELL, I DON'T HAVE TO PUBLISH IT,

04:07PM   25       YOUR HONOR, IF THAT'S THE ISSUE.



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04:07PM    1                     THE COURT:    SURE.   WHY DON'T YOU JUST PROBE THIS AND

04:07PM    2       GET WHAT YOU NEED OUT OF IT.        MINE IT FOR WHAT YOU NEED AND

04:07PM    3       THEN WE CAN MOVE ON.

04:07PM    4                     MR. DOWNEY:   OKAY.

04:07PM    5       Q.    DO YOU RECALL THAT MR. HALL LEFT TO TAKE A TRIP DURING THE

04:07PM    6       LATTER PART OF 2013 WHEN THIS INVESTMENT WAS UNDER

04:07PM    7       CONSIDERATION?

04:07PM    8       A.    I DO.

04:07PM    9       Q.    AND DO YOU RECALL THAT WHEN HE LEFT, THE HALL GROUP HAD

04:07PM   10       NOT YET MADE A DECISION AS TO WHETHER OR NOT TO INVEST?

04:07PM   11       A.    I DO.

04:07PM   12       Q.    AND DO YOU RECALL THAT HE ADVISED YOU THAT THERE WAS A

04:07PM   13       RANGE OF INVESTMENT AMOUNT AND YOU COULD SELECT THAT WHEN THE

04:07PM   14       INVESTMENT DECISION WAS MADE?

04:07PM   15       A.    THAT'S CORRECT.

04:07PM   16       Q.    AND DO YOU RECALL THAT HE TOLD YOU YOU COULD EVEN CHOOSE

04:07PM   17       NOT TO INVEST IF YOU THOUGHT THAT WAS APPROPRIATE?

04:08PM   18       A.    CORRECT.

04:08PM   19       Q.    AND SO WAS IT THE CASE THAT YOU PERSONALLY ULTIMATELY MADE

04:08PM   20       THE DECISION TO INVEST IN THERANOS?

04:08PM   21       A.    YEAH.    YOU KNOW, SO WE -- MY DISCUSSIONS WITH MR. HALL HAD

04:08PM   22       BEEN THAT WE WERE, THAT WE WERE GOING TO INVEST UP TO

04:08PM   23       $5 MILLION.

04:08PM   24             WHEN HE LEFT, HE ANTICIPATED THAT WE WERE GOING TO MAKE AN

04:08PM   25       INVESTMENT.     SO HE WOULD HAVE BEEN SURPRISED IF WE HAD NOT



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04:08PM    1       INVESTED ANYTHING.

04:08PM    2             BUT I THINK YOU'RE ACCURATE THAT, YOU KNOW, IF I WOULD

04:08PM    3       HAVE CHOSEN NOT TO MAKE AN INVESTMENT, THAT WOULD HAVE BEEN

04:08PM    4       OKAY.

04:08PM    5       Q.    AND DO YOU RECALL THAT HE HAD A TECHNICAL ISSUE RELATED

04:08PM    6       TO -- THAT RAISED A CONCERN FOR HIM IN CONNECTION WITH THE

04:08PM    7       INVESTMENT?

04:08PM    8       A.    I'M NOT AWARE OF IT.      I MEAN, MY DISCUSSIONS WITH MR. HALL

04:08PM    9       HAD BEEN PRIMARILY AROUND THE FACT THAT WE WANTED TO BE A

04:08PM   10       DIRECT INVENTOR WITH THERANOS, AND SO I THINK THAT THE TECH

04:09PM   11       ISSUE THAT HE REFERS TO HERE IS A TECHNICAL ISSUE, AN ISSUE OF

04:09PM   12       WANTING TO MAKE SURE THAT WE WOULD BE A DIRECT INVESTOR OF THE

04:09PM   13       COMPANY.

04:09PM   14       Q.    DO YOU RECALL DISCUSSING WITH MR. HALL HIS VIEW OF

04:09PM   15       ANALYZING AND DILIGENCE THAT COULD BE DONE ON THE INVESTMENT?

04:09PM   16       A.    CERTAINLY WE HAD HAD LOTS OF DISCUSSIONS ABOUT HOW TO

04:09PM   17       ANALYZE THE OPPORTUNITY THAT, YOU KNOW, EXISTED.

04:09PM   18       Q.    OKAY.   DID HE TELL YOU THAT HE THOUGHT IT WAS A DEAL THAT

04:09PM   19       HAD HUGE POTENTIAL?

04:09PM   20       A.    CERTAINLY.    YEAH, IN THOSE DISCUSSIONS WE BOTH FELT LIKE

04:09PM   21       THERE WAS POTENTIAL.

04:09PM   22       Q.    OKAY.   AND DO YOU THINK THAT HE -- DO YOU RECALL HIM

04:09PM   23       HAVING THE VIEW THAT THE DEAL WAS REALLY HARD TO ANALYZE OR

04:09PM   24       UNDERSTAND?

04:09PM   25       A.    YOU KNOW, I KNOW HE REFERENCES THAT HERE.         YOU KNOW, I



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04:09PM    1       KNOW THAT WE BOTH, OVER THOSE LOTS OF YEARS LIKE WE TALKED

04:09PM    2       ABOUT, HAD WISHED WE HAD MORE CONCRETE FINANCIAL INFORMATION.

04:10PM    3             AND, YOU KNOW, SO IT'S HARD TO -- I MEAN, I KNOW HE SAYS

04:10PM    4       HERE THAT IT'S HARD TO UNDERSTAND OR ANALYZE.

04:10PM    5             I DON'T KNOW SPECIFICALLY WHAT THINGS HE WAS TALKING

04:10PM    6       ABOUT.    BUT I WOULD AGREE THAT IT WAS HARD TO ANALYZE.

04:10PM    7       Q.    BUT YOUR BEST UNDERSTANDING AT THE TIME THAT YOU MADE THE

04:10PM    8       INVESTMENT WAS THAT THERANOS -- FIRST, THAT THERANOS WAS IN

04:10PM    9       RETAIL PARTNERSHIPS AND THOSE STORES WOULD ROLL OUT; CORRECT?

04:10PM   10       A.    CORRECT.

04:10PM   11       Q.    AND THEN IF THAT WAS SUCCESSFUL, THEY MIGHT RETURN TO

04:10PM   12       OTHER AREAS OF THEIR BUSINESS, INCLUDING THE PHARMACEUTICAL

04:10PM   13       BUSINESS AND THE MILITARY BUSINESS; CORRECT?

04:10PM   14       A.    WELL, LIKE I SAID, I DIDN'T REALIZE THAT WAS A COMPLETE

04:10PM   15       PAUSE, AND FROM THE LANGUAGE WE READ EARLIER, IT DIDN'T SEEM

04:10PM   16       LIKE A COMPLETE PAUSE.

04:10PM   17             BUT, YOU KNOW, I DID KNOW THAT RETAIL REPRESENTED A LARGE

04:10PM   18       ENOUGH OPPORTUNITY AND A LARGE ENOUGH INVESTMENT OF TIME AND

04:10PM   19       CAPITAL THAT IT WAS THE PRIMARY OPPORTUNITY AT THE MOMENT.

04:10PM   20       Q.    AND YOU THOUGHT THE FACT THAT WALGREENS HAD MADE A

04:10PM   21       DECISION TO ENTER INTO A RETAIL PARTNERSHIP WITH THERANOS WAS

04:11PM   22       SIGNIFICANT; CORRECT?

04:11PM   23       A.    I DID THINK IT WAS VERY SIGNIFICANT.

04:11PM   24       Q.    AND YOU THOUGHT THAT WALGREENS HAD LIKELY DONE A FAIR

04:11PM   25       AMOUNT OF DUE DILIGENCE IN CONNECTION WITH ITS DECISION TO DO



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04:11PM    1       THAT; CORRECT?

04:11PM    2       A.    I WOULD HAVE BELIEVED THAT.

04:11PM    3       Q.    AND THAT WOULD HAVE BEEN IMPORTANT TO YOU IN MAKING YOUR

04:11PM    4       DECISION; CORRECT?

04:11PM    5       A.    IT WOULD HAVE FACTORED INTO IT.

04:11PM    6       Q.    AND YOU ALSO KNEW DURING THE PERIOD IN BETWEEN YOUR TWO

04:11PM    7       INVESTMENTS THAT DON LUCAS AND CHRIS LUCAS HAD SOME INVOLVEMENT

04:11PM    8       IN CONNECTION WITH THERANOS; CORRECT?

04:11PM    9       A.    I DID.

04:11PM   10       Q.    AND I THINK AS WE DISCUSSED BEFORE, DON LUCAS WAS A VERY

04:11PM   11       SOPHISTICATED INVESTOR AND A PERSON WITH A SUBSTANTIAL

04:11PM   12       REPUTATION AS A TECHNOLOGY INVESTOR; CORRECT?

04:11PM   13       A.    CORRECT.

04:11PM   14       Q.    AND THAT WAS IMPORTANT TO YOU IN MAKING YOUR DECISION;

04:11PM   15       CORRECT?

04:11PM   16       A.    THAT FACTORED INTO IT.

04:11PM   17       Q.    AND I THINK WE SAW DURING YOUR --

04:11PM   18       A.    NOW, LET ME SAY THIS.      SO, YOU KNOW, DON'S INVOLVEMENT

04:12PM   19       FACTORED IN A BIG WAY INTO OUR FIRST INVESTMENT.

04:12PM   20             AND TO THIS 2013 INVESTMENT, I DON'T REMEMBER WITH

04:12PM   21       CLARITY.    I KNOW AT SOME POINT HE STEPPED AWAY FROM THE

04:12PM   22       COMPANY, OR AT LEAST STEPPED FARTHER AWAY, AND SO I DON'T

04:12PM   23       REMEMBER EXACTLY WHEN IN THE TIMEFRAME, BUT CERTAINLY HIS

04:12PM   24       INVOLVEMENT -- OR HIS INVOLVEMENT I DON'T THINK WAS AS MUCH

04:12PM   25       AROUND THIS SECOND INVESTMENT AS IT WAS AROUND THE FIRST.



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04:12PM    1       Q.    BUT YOU ASSUMED IN CONNECTION WITH THE RELATIONSHIP THAT

04:12PM    2       HALL GROUP HAD WITH THERANOS THROUGH THOSE YEARS THAT HE HAD

04:12PM    3       DONE -- HE HAD THE ABILITY TO EVALUATE THERANOS; CORRECT?

04:12PM    4       A.    I -- CORRECT.

04:12PM    5       Q.    AND YOU KNEW HE WAS CHAIRMAN OF THE BOARD; CORRECT?

04:12PM    6       A.    CORRECT.

04:12PM    7       Q.    AND YOU ASSUMED THE BOARD OF DIRECTORS HAD REGULAR

04:12PM    8       MEETINGS, FOR EXAMPLE; CORRECT?

04:12PM    9       A.    I DID ASSUME THAT.

04:12PM   10       Q.    AND THAT WOULD HAVE INFLUENCED YOU AS TO WHETHER THERANOS

04:12PM   11       WOULD HAVE CONTINUED ITS DEVELOPMENT THROUGH THOSE YEARS;

04:13PM   12       CORRECT?

04:13PM   13       A.    CORRECT.

04:13PM   14       Q.    AND I THINK MR. SCHENK SHOWED YOU A RELEASE THAT THERANOS

04:13PM   15       PUT OUT IN THE MIDDLE OF 2013 RELATED TO ITS BOARD; CORRECT?

04:13PM   16       A.    CORRECT.

04:13PM   17       Q.    AND IS IT SAFE TO SAY THAT RECOGNIZING THAT THEY HAD A

04:13PM   18       BOARD WITH PEOPLE WHO WERE WELL REGARDED WAS -- INFLUENCED YOU

04:13PM   19       IN CONNECTION WITH MAKING YOUR 2013 INVESTMENT?

04:13PM   20       A.    THAT CERTAINLY WOULD HAVE BEEN A POSITIVE, NOT A NEGATIVE.

04:13PM   21       Q.    OKAY.   IS THAT SOMETHING THAT YOU TYPICALLY EVALUATE IN

04:13PM   22       CONNECTION WITH MAKING INVESTMENTS?

04:13PM   23       A.    YOU KNOW, CERTAINLY WE LOOK AT MANAGEMENT TEAMS AND BOARD

04:13PM   24       OF DIRECTORS AND EXPERTISE THAT THEY HAVE.

04:13PM   25       Q.    OKAY.   AND IS IT FAIR TO SAY THAT YOU UNDERSTOOD THAT



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04:13PM    1       THERANOS HAD A VERY SUBSTANTIAL PATENT PORTFOLIO?

04:13PM    2       A.    I DID.

04:13PM    3       Q.    AND DID THAT INFLUENCE YOUR DECISION TO MAKE AN INVESTMENT

04:13PM    4       IN 2013?

04:13PM    5       A.    YOU KNOW, I DON'T KNOW IN 2013.       IT CERTAINLY DID IN 2006.

04:14PM    6       Q.    OKAY.    DID YOU GAIN ANY MORE INFORMATION THAT YOU RECALL

04:14PM    7       IN THE PERIOD 2006 TO 2013 ABOUT THE PATENT PORTFOLIO?

04:14PM    8       A.    YOU KNOW, I BELIEVE IN MY CONVERSATIONS WITH CHRIS WE

04:14PM    9       WOULD HAVE REFERENCED ONCE OR TWICE THAT THERE WOULD HAVE BEEN

04:14PM   10       ONGOING PATENTS THAT WOULD HAVE BEEN APPLIED FOR AND GRANTED,

04:14PM   11       OR THAT THERE WERE -- THERE WAS A LOT OF WORK RELATIVE TO THE

04:14PM   12       INTELLECTUAL PROPERTY THAT WAS ONGOING.

04:14PM   13             IN FACT, I THINK IT WAS EVEN REFERENCED ON ONE OF THE

04:14PM   14       TAPES, ONE OF THE SEGMENTS OF THE TAPE THAT WE LISTENED TO.

04:14PM   15       Q.    OKAY.    BUT IT'S FAIR TO SAY THAT YOU, YOU -- IN MAKING THE

04:14PM   16       INVESTMENT, YOU VIEWED THIS AS A COMPANY THAT HAD A LOT OF

04:14PM   17       POTENTIAL FOR THE FUTURE; CORRECT?

04:14PM   18       A.    THAT'S CORRECT.

04:14PM   19       Q.    AND YOU WERE ATTRACTED TO ITS MISSION; CORRECT?

04:14PM   20       A.    I WAS, CORRECT.

04:14PM   21       Q.    AND YOU FELT THAT THE -- AS A RESULT OF ALL OF THE

04:14PM   22       INFORMATION THAT YOU HAD BEEN ABLE TO GATHER OVER THE YEARS,

04:14PM   23       THE INVESTMENT MADE SENSE; CORRECT?

04:14PM   24       A.    I DID.

04:14PM   25       Q.    AND YOU HAD THE ABILITY TO PARTICIPATE OR NOT PARTICIPATE



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04:15PM    1       IN THE INVESTMENT; CORRECT?

04:15PM    2       A.    CORRECT.

04:15PM    3       Q.    MR. SCHENK SHOWED YOU THE LANGUAGE IN THE LEGAL DOCUMENTS

04:15PM    4       RELATED TO ACTUALLY MAKING THE INVESTMENT; CORRECT?

04:15PM    5       A.    THAT'S CORRECT.

04:15PM    6       Q.    ARE THOSE THE ONLY DOCUMENTS THAT YOU RECEIVED FROM

04:15PM    7       THERANOS IN THE WINDOW BETWEEN DECEMBER 20TH AND DECEMBER 31ST?

04:15PM    8       A.    I BELIEVE THEY ARE.

04:15PM    9       Q.    DID THOSE DOCUMENTS ACCURATELY DESCRIBE THE SOPHISTICATION

04:15PM   10       OF THE HALL GROUP AS INVESTORS?

04:15PM   11       A.    THEY DID.

04:15PM   12       Q.    AND WAS IT THE CASE THAT YOU HAD ASKED ALL OF THE

04:15PM   13       QUESTIONS THAT YOU WANTED TO ASK PRIOR TO THE TIME THAT YOU

04:15PM   14       MADE THE INVESTMENT?

04:15PM   15       A.    YOU KNOW, CERTAINLY WE HAD LOTS OF ADDITIONAL QUESTIONS

04:15PM   16       THAT WE WOULD HAVE LIKED TO HAVE ASKED, BUT WE FELT SATISFIED

04:15PM   17       THAT WE HAD ENOUGH INFORMATION TO MOVE FORWARD WITH THE

04:15PM   18       INVESTMENT.

04:15PM   19       Q.    OKAY.

04:15PM   20             YOUR HONOR, I THINK I MIGHT BE DONE, BUT ONE MOMENT?

04:15PM   21                     THE COURT:    SURE.

04:16PM   22             (DISCUSSION AMONGST DEFENSE COUNSEL OFF THE RECORD.)

04:16PM   23                     MR. DOWNEY:   YOUR HONOR, THAT'S ALL FOR

04:16PM   24       CROSS-EXAMINATION.

04:16PM   25                     THE COURT:    ALL RIGHT.   THANK YOU VERY MUCH.



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04:16PM    1             THANK YOU, MR. DOWNEY.

04:16PM    2             MR. SCHENK.

04:16PM    3                    MR. SCHENK:    YES.   THANK YOU.

04:16PM    4                                REDIRECT EXAMINATION

04:16PM    5       BY MR. SCHENK:

04:16PM    6       Q.    MR. TOLBERT, MR. DOWNEY ASKED YOU SOME QUESTIONS AND

04:16PM    7       PLAYED A PORTION OF A RECORDING THAT I PLAYED FOR YOU.           IT

04:16PM    8       WAS --

04:16PM    9             YOUR HONOR, FOR THE RECORD, IT'S AT LINE 22 ON PAGE 18 OF

04:16PM   10       SIDE A.

04:16PM   11             AND IN THIS SECTION I WANT TO GIVE YOU AN OPPORTUNITY TO

04:16PM   12       EXPAND.    YOU SAID, I DON'T THINK THAT THEY WERE PAUSING

04:16PM   13       EVERYTHING, ALL MILITARY AND ALL PHARMACEUTICAL WORK.

04:16PM   14             MS. HOLMES SAYS, "OBVIOUSLY, TO BE ABLE TO DO WHAT WE HAVE

04:17PM   15       JUST DONE, WE HAD TO PAUSE A LARGE NUMBER OF OUR ONGOING

04:17PM   16       PHARMACEUTICAL AND MILITARY PROGRAMS SO THAT WE COULD FOCUS

04:17PM   17       LIKE A LASER ON THIS AND EXECUTING ON THIS."

04:17PM   18             IS THERE MORE YOU WANTED TO TESTIFY ABOUT FOR THAT

04:17PM   19       CONCEPT?

04:17PM   20       A.    WELL, YOU KNOW WE, WE -- MY UNDERSTANDING WAS THAT THERE

04:17PM   21       WERE LOTS OF PHARMACEUTICAL CONTRACTS AND WORK GOING ON AND

04:17PM   22       THERE WAS A LARGE NUMBER OF, YOU KNOW, MILITARY DEPLOYMENT

04:17PM   23       APPLICATIONS.

04:17PM   24             AND SO WHEN IT SAID WE'RE PAUSING -- WHAT WAS THE LANGUAGE

04:17PM   25       AGAIN?



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04:17PM    1       Q.    A LARGE NUMBER.

04:17PM    2       A.    -- A LARGE NUMBER, YOU KNOW, I DIDN'T TAKE THAT TO MEAN A

04:17PM    3       MAJORITY OR ALL OF THEM.

04:17PM    4             I JUST THOUGHT IT MEANT IF THERE WAS 100 GOING ON, MAYBE

04:17PM    5       WE WOULD PAUSE 30 OR 40, OR WHATEVER THE CASE MAY BE.

04:17PM    6             SO, YOU KNOW, I DIDN'T -- WHEN I HEARD THAT, I DIDN'T

04:17PM    7       THINK, OH, EVERYTHING HAS STOPPED EXCEPT FOR RETAIL.

04:17PM    8       Q.    WHEN MS. HOLMES SAID THAT THEY HAD TO PAUSE ONGOING

04:18PM    9       PHARMACEUTICAL WORK, DID YOU THINK THAT THERANOS HAD ONGOING

04:18PM   10       PHARMACEUTICAL WORK IN DECEMBER OF 2013?

04:18PM   11       A.    I BELIEVE THEY DID.

04:18PM   12       Q.    WHEN MS. HOLMES SAID THAT SHE HAD TO PAUSE ONGOING

04:18PM   13       MILITARY PROGRAMS, DID YOU THINK THAT THEY HAD ONGOING MILITARY

04:18PM   14       PROGRAMS IN DECEMBER OF 2013?

04:18PM   15       A.    I DID.

04:18PM   16       Q.    MR. DOWNEY ALSO ASKED YOU IF THERE WAS A TIME DURING THE

04:18PM   17       CALL WHERE MS. HOLMES SAID THAT THE TECHNOLOGY COULD DO

04:18PM   18       THOUSANDS OF TESTS.

04:18PM   19             DO YOU REMEMBER THAT QUESTION?

04:18PM   20       A.    I DO.

04:18PM   21       Q.    AND DO YOU RECALL MS. HOLMES SAYING, "AND BECAUSE WE HAVE

04:18PM   22       MADE IT POSSIBLE TO RUN ANY COMBINATION OF LAB TESTS FROM THESE

04:18PM   23       TINY SAMPLES, THE PHYSICIAN CAN NOW SAY ON THE LAB FORM IF IN

04:18PM   24       MY EXAMPLE HEMOGLOBIN IS LOW, AUTOMATICALLY RUN IRON AND B12

04:18PM   25       AND OTHER TESTS ON THE SAME SAMPLE BECAUSE BIG DEDICATED TUBES



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04:18PM    1       OF BLOOD ARE NO LONGER REQUIRED TO RUN EACH OF THOSE DIFFERENT

04:18PM    2       ASSAY METHODOLOGIES WHICH REQUIRE THEIR OWN BIG ANALYZERS IN A

04:18PM    3       TRADITIONAL LAB."

04:19PM    4             DO YOU RECALL MS. HOLMES SAYING THAT?

04:19PM    5       A.    I DO.

04:19PM    6       Q.    AND INSTEAD OF MS. HOLMES SAYING THEY COULD RUN THOUSANDS

04:19PM    7       OF TESTS, THE QUESTION THAT MR. DOWNEY ASKED YOU, DID SHE SAY

04:19PM    8       THAT THEY COULD RUN ANY COMBINATION OF LAB TESTS FROM THESE

04:19PM    9       TINY SAMPLES?

04:19PM   10       A.    CORRECT.

04:19PM   11       Q.    THANK YOU.

04:19PM   12             NO FURTHER QUESTIONS, YOUR HONOR.

04:19PM   13                     THE COURT:   MR. DOWNEY?

04:19PM   14                                  RECROSS-EXAMINATION

04:19PM   15       BY MR. DOWNEY:

04:19PM   16       Q.    JUST TWO QUESTIONS I THINK.

04:19PM   17             YOU RECALL THE QUESTION AND ANSWER BETWEEN MR. HALL AND

04:19PM   18       MS. HOLMES THAT APPEARED ON THE TAPE?

04:19PM   19             YOU HAVE TO GIVE A VERBAL AUDIBLE ANSWER.

04:19PM   20       A.    YES, I DO REMEMBER.

04:19PM   21       Q.    AND DO YOU RECALL THAT MR. HALL ASKED, REALLY WHAT IS THE

04:19PM   22       PURPOSE OF THESE INVESTMENTS?

04:19PM   23             DO YOU RECALL THAT?

04:19PM   24       A.    I DO.

04:19PM   25       Q.    AND DO YOU RECALL THAT MS. HOLMES ANSWERED BY DESCRIBING



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04:19PM    1       DEVELOPMENTS THAT WOULD TAKE PLACE IN CONNECTION WITH THE

04:19PM    2       RETAIL PROJECTS OF THERANOS?

04:20PM    3       A.    I DO.

04:20PM    4                     MR. DOWNEY:    THAT'S ALL I HAVE, YOUR HONOR.

04:20PM    5                     THE COURT:    THANK YOU.

04:20PM    6                     MR. SCHENK:    NO FURTHER QUESTIONS.

04:20PM    7                     THE COURT:    MAY THIS WITNESS BE EXCUSED?

04:20PM    8                     MR. SCHENK:    YES.

04:20PM    9                     MR. DOWNEY:    YES, YOUR HONOR.

04:20PM   10                     THE COURT:    YOU'RE EXCUSED, SIR.     THANK YOU.

04:20PM   11                     THE WITNESS:   THANK YOU.

04:20PM   12                     THE COURT:    YOU'RE WELCOME.   JUST LEAVE THAT THERE.

04:20PM   13       THANK YOU.

04:20PM   14             ALL RIGHT.    THANK YOU, LADIES AND GENTLEMEN.       WE'LL NOW

04:20PM   15       TAKE OUR WEEKEND BREAK.       THANK YOU FOR YOUR GENEROSITY OF GOING

04:20PM   16       OVER THIS.     THIS WITNESS WAS FROM OUT OF TOWN AND, AS HE SAID,

04:20PM   17       HE WAS GRATEFUL ALSO FOR THE ABILITY TO LEAVE ON A FRIDAY.

04:20PM   18             I DO WANT TO, BEFORE WE ADJOURN, I DID WANT TO TALK TO YOU

04:20PM   19       ABOUT A SCHEDULE CHANGE FOR -- THIS IS FOR EVERYONE'S BENEFIT.

04:20PM   20             I'D LIKE TO CAPTURE SOME TIME.       I'VE TALKED TO YOU ABOUT

04:20PM   21       OUR DEFAULT NOW IS 3:00 O'CLOCK.         I'M GOING TO THINK ABOUT 4:00

04:21PM   22       O'CLOCK.    I'LL ASK YOU TO CONSIDER THAT, PLEASE.

04:21PM   23             BUT I ALSO WANT TO ASK YOU TO WRITE THESE DATES DOWN

04:21PM   24       BECAUSE THIS MIGHT -- I'M GOING TO ASK YOU IF WE CAN MEET ON

04:21PM   25       THESE DATES IN ADDITION.



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04:21PM    1             NEXT WEEK, THE 28TH.      WE DON'T MEET ON THURSDAYS, AS YOU

04:21PM    2       KNOW, AND WE'RE NOT MEETING ON THE 29TH.

04:21PM    3             I'M CURIOUS IF WE CAN MEET ON THE 28TH AT SOME TIME.           THAT

04:21PM    4       SOME TIME WOULD BE AFTER -- I THINK I HAVE SOME MATTERS IN THE

04:21PM    5       MORNING FROM 9:00 TO MAYBE 10:00 O'CLOCK, MAYBE 11:00 O'CLOCK,

04:21PM    6       SO IF WE CAN MEET MAYBE AT NOON FOR SOME TIME, I THINK THAT

04:21PM    7       MIGHT INTERFERE WITH ONE OF OUR JUROR'S TRAVEL TIME, THOUGH.

04:21PM    8             SO LET ME MOVE TO THE NEXT MONTH.        THAT IS NOVEMBER.

04:21PM    9             WE HAVE -- WE'RE NOT IN SESSION ON MONDAYS, AND I THINK I

04:21PM   10       TOLD YOU I HAVE AN AFTERNOON CALENDAR, TYPICALLY MONDAY

04:22PM   11       AFTERNOONS.    BUT I DO HAVE MONDAY MORNINGS AVAILABLE.         IF YOU

04:22PM   12       CAN CHECK WITH WHATEVER YOU NEED TO, YOUR EMPLOYERS AND OTHERS,

04:22PM   13       IF THERE'S A POSSIBILITY OF MEETING ON MONDAY MORNINGS.

04:22PM   14             AND THIS WOULD BE THE -- WE HAVE FIVE MONDAYS IN NOVEMBER,

04:22PM   15       AND IF YOU CAN CHECK YOUR SCHEDULES TO SEE IF IT'S PERMITTED

04:22PM   16       FOR YOU TO COME MONDAY MORNING FROM 9:00 TO NOON, THAT WOULD BE

04:22PM   17       HELPFUL.    I THINK 9:00 TO 1 :00.

04:22PM   18             COUNSEL, THIS IS FOR YOU ALSO OF COURSE.

04:22PM   19             I'M ALSO -- CURRENTLY WE'RE SCHEDULED TO BE HERE ON

04:22PM   20       NOVEMBER 24TH.     AS YOU ALL KNOW, NOVEMBER 25TH IS THE

04:22PM   21       THANKSGIVING HOLIDAY.

04:22PM   22             I'M WONDERING IF YOU WOULD AGREE TO SWAP NOVEMBER 18TH FOR

04:22PM   23       NOVEMBER 24TH.     THAT MIGHT BE SOMETHING THAT WOULD BE HELPFUL.

04:22PM   24       THAT IS, WE'LL MEET ON THE 18TH.        WE'RE NOT SCHEDULED TO MEET

04:22PM   25       ON THE 18TH NOW, BUT I CAN MAKE OURSELVES AVAILABLE, THIS COURT



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04:23PM    1       AVAILABLE, FOR THE 18TH IF PARTIES WISH TO.          WE DON'T HAVE TO

04:23PM    2       MEET ON THE 24TH IF THAT'S CONVENIENT FOR FOLKS.

04:23PM    3             I JUST WANT TO OFFER THOSE DATES OUT, AND THEN WE'LL THINK

04:23PM    4       ABOUT THAT OVER THE WEEKEND, AND COUNSEL AS WELL, YOUR TEAMS.

04:23PM    5             AND MONDAY WE'LL TAKE THOSE UP TO SEE IF WE CAN CAPTURE

04:23PM    6       SOME ADDITIONAL TIME.

04:23PM    7             I ALSO HAVE TO SAY ON THE 17TH, I THINK I'VE TOLD YOU

04:23PM    8       THIS -- MAYBE NOT -- THE 17TH OF NOVEMBER I'M UNAVAILABLE FOR

04:23PM    9       AN HOUR FROM 10:30 TO 11:30.       SO HOPEFULLY WE CAN GET A BREAK.

04:23PM   10       NOVEMBER 17TH, THAT'S A WEDNESDAY.

04:23PM   11             AND I BELIEVE THAT'S ALL THE CHANGES THAT I HAVE TO

04:23PM   12       SUGGEST NOW.

04:23PM   13             SO PLEASE THINK ABOUT THOSE THINGS.        WE'LL TALK ABOUT

04:24PM   14       THOSE MONDAY.

04:24PM   15             BEFORE YOU LEAVE, PLEASE DO NOT DISCUSS THIS CASE, DO NOT

04:24PM   16       FORM ANY OPINIONS ABOUT ANYTHING ON THIS CASE UNTIL YOU HAVE

04:24PM   17       BEEN ASSIGNED TO THAT TASK FOR YOUR FINAL DELIBERATIONS.

04:24PM   18             DO NOT WATCH, DO ANY INVESTIGATION, WATCH OR LISTEN TO ANY

04:24PM   19       NEWS CASTS, DO NOT READ ANYTHING OR DO ANYTHING THAT MIGHT

04:24PM   20       CAUSE YOU ANY INFORMATION ABOUT THE CASE, EXCEPT WHAT YOU HEAR

04:24PM   21       IN THE COURTROOM.

04:24PM   22             THANK YOU VERY MUCH.      HAVE A GOOD WEEKEND.

04:24PM   23             I THINK IT'S GOING TO BE -- I THINK IT'S GOING TO BE RAINY

04:24PM   24       SUNDAY, RIGHT?     THAT'S WHAT I HEAR.     SO PLEASE USE CAUTION WHEN

04:24PM   25       YOU'RE DRIVING.



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04:24PM    1             MR. CLINE?

04:24PM    2                    MR. CLINE:    YOUR HONOR, I APOLOGIZE.      THIS MAY BE

04:24PM    3       ONLY MY CONFUSION, BUT YOU MENTIONED POSSIBLY MEETING ON

04:24PM    4       MONDAY, AND THEN YOU SAID JUST NOW THAT YOU WOULD TALK WITH US

04:24PM    5       ON MONDAY.

04:24PM    6             IS THERE SESSION ON MONDAY?

04:24PM    7                    THE COURT:    THERE'S NO SESSION ON MONDAY, NO.       WE'RE

04:24PM    8       GOING TO TALK ABOUT -- MONDAYS WOULD BE IN NOVEMBER,

04:25PM    9       NOVEMBER 1ST.     WE'RE GOING TO TALK ABOUT IT -- EXCUSE ME.

04:25PM   10       WE'LL TALK ABOUT IT ON TUESDAY.         YES, WE'LL TALK ABOUT IT AT

04:25PM   11       OUR NEXT SESSION.

04:25PM   12             IT'S THE END OF THE WEEK, MR. CLINE.        GIVE ME A BREAK

04:25PM   13       HERE.

04:25PM   14             (LAUGHTER.)

04:25PM   15                    THE COURT:    ALL RIGHT.    THANKS EVERYONE.    HAVE A

04:25PM   16       GOOD WEEKEND.     WE'LL SEE YOU.

04:25PM   17             COUNSEL, IF YOU WOULD JUST REMAIN FOR A MOMENT.

04:25PM   18             (JURY OUT AT 4:25 P.M.)

04:25PM   19                    THE COURT:    PLEASE BE SEATED.    THANK YOU.

04:25PM   20             THE RECORD SHOULD REFLECT THAT OUR JURY HAS LEFT FOR THE

04:25PM   21       WEEKEND.    ALL COUNSEL AND MS. HOLMES ARE PRESENT.

04:25PM   22             I JUST WANT TO ASK, ANYTHING ELSE BEFORE WE LEAVE FOR THE

04:26PM   23       WEEKEND, MR. SCHENK, FROM YOUR TEAM?

04:26PM   24                    MR. SCHENK:    YOUR HONOR, I'M NOT SURE IF THIS WAS

04:26PM   25       UNCLEAR OR NOT.



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04:26PM    1             I JUST WANT THE RECORD TO REFLECT THAT THE RECORDINGS THAT

04:26PM    2       I PLAYED TODAY, I PROVIDED ALL OF THEM TO THE DEFENSE BEFORE

04:26PM    3       TODAY, AND I ONLY PLAYED RECORDINGS THAT I PROVIDED TO THEM, I

04:26PM    4       THINK IT WAS SEPTEMBER 23RD.       WE SENT A LIST OF WHAT WE

04:26PM    5       INTENDED TO PLAY.

04:26PM    6             AND THE DEFENSE, ABOUT A WEEK OR SO AGO, SENT US THEIR 106

04:26PM    7       ADDITIONS.    WE INCORPORATED EVERYTHING THAT THEY ASKED, AND

04:26PM    8       THEN THAT IS WHAT WAS PLAYED TODAY.

04:26PM    9             I THINK THAT THAT WAS CLEAR ON THE RECORD, BUT I JUST WANT

04:26PM   10       TO MAKE CLEAR.

04:26PM   11                    THE COURT:    THANK YOU.

04:26PM   12             MR. DOWNEY.

04:26PM   13                    MR. DOWNEY:    LET ME SAY TO MR. SCHENK, I APOLOGIZE

04:26PM   14       TO MR. SCHENK IF THAT IS THE CASE.

04:26PM   15             MY UNDERSTANDING IS THAT I PLAYED ONE CLIP WHICH WAS NOT

04:26PM   16       PART OF HIS TAPE AND WHICH OBVIOUSLY CAUSED SUBSTANTIAL

04:26PM   17       CONFUSION AND DELAY.

04:26PM   18             I BELIEVE IT IS THE CASE THAT WE SENT IT, BUT IF HE SAYS

04:26PM   19       IT IS NOT, I ACCEPT HIS WORD AND I APOLOGIZE.

04:27PM   20                    THE COURT:    THANK YOU.   THANK YOU.    I APPRECIATE IT.

04:27PM   21             IT DID CAUSE A LITTLE HICCUP, BUT THIS JURY IS WONDERFUL

04:27PM   22       ABOUT GETTING DONE WHAT WE NEED TO GET DONE.          THANK YOU.

04:27PM   23             MR. DOWNEY, ANYTHING ELSE FROM YOUR TEAM?

04:27PM   24             MR. WADE?

04:27PM   25                    MR. WADE:    I JUST WANT TO FLAG AND GET SOME GUIDANCE



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04:27PM    1       FROM THE COURT.

04:27PM    2             THE MEMBERS OF OUR TEAM HAVE INDICATED THAT THE ECF IS

04:27PM    3       DOWN THIS WEEKEND, WHICH IS --

04:27PM    4                    THE COURT:    WHAT'S WRONG WITH THAT?

04:27PM    5             (LAUGHTER.)

04:27PM    6                    MR. WADE:    WHICH IS WELCOME NEWS TO I'M SURE MANY IN

04:27PM    7       THE COURTROOM.

04:27PM    8             WE INTEND TO MEET AND CONFER WITH THE GOVERNMENT ON THE

04:27PM    9       WITNESSES COMING UP.      I ASSUME IF THERE'S SOME MOTION THAT

04:27PM   10       COMES UP, SHOULD WE EMAIL IT THROUGH MS. KRATZMANN THIS

04:27PM   11       WEEKEND?

04:27PM   12             OUR HOPE IS THAT THERE ISN'T, BUT IN THE EVENT THAT WE

04:27PM   13       NEED TO PUT THE COURT ON NOTICE OF A PLEADING, SHOULD WE -- HOW

04:27PM   14       SHOULD WE DO THAT?       SHOULD WE DO IT ON THE WEEKEND AND FILE IT

04:27PM   15       WHEN THE ECF IS BACK UP?

04:27PM   16                    THE COURT:    YEAH, I DON'T KNOW WHAT -- I CAN'T

04:28PM   17       REMEMBER IF IT'S DOWN ALL WEEKEND OR NOT.

04:28PM   18                    THE CLERK:    IT IS ALL WEEKEND.

04:28PM   19                    MR. WADE:    AND OBVIOUSLY IF WE DO IT, WE WANT TO GET

04:28PM   20       IT TO THE COURT AS QUICKLY AS WE CAN TO GIVE AS MUCH NOTICE AS

04:28PM   21       POSSIBLE.

04:28PM   22             THERE MAY NOT BE ISSUES.      WE'RE GOING TO MEET AND CONFER.

04:28PM   23                    THE COURT:    I'M VERY CONFIDENT THERE WON'T BE.

04:28PM   24             (DISCUSSION OFF THE RECORD.)

04:28PM   25                    THE CLERK:    6:00 A.M. SATURDAY, OCTOBER 23RD, TO



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04:28PM    1       6:00 A.M. MONDAY, OCTOBER 25TH.

04:28PM    2             (PAUSE IN PROCEEDINGS.)

04:28PM    3                    MR. WADE:    WHATEVER THE COURT'S PREFERENCE IS.       I

04:28PM    4       JUST --

04:29PM    5                    THE COURT:    WELL, I DON'T THINK THERE'S ANYTHING

04:29PM    6       ELSE WE CAN DO.     ECF IS DOWN, SO YOU WON'T BE ABLE TO FILE IT,

04:29PM    7       ANYTHING ELSE YOU HAVE.

04:29PM    8             I THINK WE'RE AT THE MERCY OF ECF.        IF YOU FILE IT AT 6:00

04:29PM    9       A.M., YOU KNOW, WE'LL DO THE BEST WE CAN.         THAT'S ALL I CAN

04:29PM   10       TELL YOU.

04:29PM   11             YOU KNOW, WE'RE NOT IN SESSION ON MONDAY, SO SHOULD IT BE

04:29PM   12       NECESSARY, WE'LL JUST, WE'LL JUST -- JUST FILE IT WHEN YOU CAN

04:29PM   13       AND WE'LL DO WHAT WE CAN DO.

04:29PM   14                    MR. WADE:    WOULD YOU LIKE US TO SEND A COURTESY COPY

04:29PM   15       TO THE COURT IF IT'S AVAILABLE BEFORE ECF GOES BACK UP?

04:29PM   16                    THE COURT:    IS THERE -- LET ME ASK, IS THERE AN

04:29PM   17       EMAIL?    DO WE HAVE A GENERAL EMAIL THAT I CAN ACCESS?

04:29PM   18             (DISCUSSION OFF THE RECORD.)

04:30PM   19                    THE COURT:    THANK YOU.   I THINK YOU CAN SEND IT TO

04:30PM   20       OUR COURT REPORTER AND SHE'LL GET IT TO ME.          IT SOUNDS LIKE

04:30PM   21       THAT.    BUT WHY DON'T YOU STICK AROUND AND SPEAK WITH HER.

04:30PM   22             THE CONDITION IS THAT YOU'RE GOING TO HAVE TO BE WITH HERE

04:30PM   23       AT 5:00 A.M.

04:30PM   24                    MR. WADE:    THAT'S THE CONDITION WITH A LOT OF

04:30PM   25       AUDIOTAPES.    HOPEFULLY THAT WILL BE AN INCENTIVE WITHOUT HAVING



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04:30PM    1       TO BURDEN ANYONE.

04:30PM    2             THANK YOU, YOUR HONOR.

04:30PM    3                    THE COURT:    ALL RIGHT.   THANK YOU VERY MUCH.

04:30PM    4                    MR. DOWNEY:    AS FOR NEXT WEEK, DO WE KNOW THAT THE

04:30PM    5       JUROR'S SCHEDULE WILL INCLUDE A THURSDAY SITTING OR --

04:30PM    6                    THE COURT:    I'M SORRY.   SAY AGAIN?

04:31PM    7                    MR. DOWNEY:    I THINK YOUR HONOR HAD BEGUN TO SAY TO

04:31PM    8       CHECK OUR SCHEDULE FOR THE AVAILABILITY OF THURSDAY, AND THEN

04:31PM    9       YOU COMMENTED ABOUT THE POTENTIAL TRAVEL SCHEDULE, AND I

04:31PM   10       UNDERSTAND WHY WE DID IT THAT WAY.         I JUST WANTED TO SEE IF WE

04:31PM   11       ALREADY KNOW.

04:31PM   12                    THE COURT:    I THINK WE DO.    ONE OF OUR JURORS WHO'S

04:31PM   13       TRAVELLING, WHO HAS THE FUNERAL OUT OF TOWN, SIGNALLED THAT SHE

04:31PM   14       WAS NOT AVAILABLE.      I THINK SHE'S FLYING OUT THURSDAY.       SO

04:31PM   15       THAT'S NOT AVAILABLE.

04:31PM   16             (DISCUSSION OFF THE RECORD.)

04:31PM   17                    THE COURT:    AND I'M ALSO INFORMED THAT THAT JUROR IS

04:31PM   18       NOT AVAILABLE MONDAY, THE 1ST, FOR A POSSIBLE MONDAY MEETING.

04:31PM   19             SO WE'VE GOT FOUR OTHER MONDAYS TO WORK WITH.

04:31PM   20                    MR. DOWNEY:    GOOD ENOUGH.    THANK YOU, YOUR HONOR.

04:31PM   21                    THE COURT:    ALL RIGHT.   HAVE A GOOD EVENING.

04:31PM   22                    MR. SCHENK:    THANK YOU, YOUR HONOR.

04:31PM   23                    THE CLERK:    COURT IS ADJOURNED.

04:31PM   24             (COURT ADJOURNED AT 4:31 P.M.)

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 1

 2

 3                              CERTIFICATE OF REPORTERS

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 6

 7             WE, THE UNDERSIGNED OFFICIAL COURT REPORTERS OF THE

 8       UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF

 9       CALIFORNIA, 280 SOUTH FIRST STREET, SAN JOSE, CALIFORNIA, DO

10       HEREBY CERTIFY:

11             THAT THE FOREGOING TRANSCRIPT, CERTIFICATE INCLUSIVE, IS

12       A CORRECT TRANSCRIPT FROM THE RECORD OF PROCEEDINGS IN THE

13       ABOVE-ENTITLED MATTER.

14

15
                                     ______________________________
16                                   IRENE RODRIGUEZ, CSR, CRR
                                     CERTIFICATE NUMBER 8076
17

18
                                     _______________________________
19                                   LEE-ANNE SHORTRIDGE, CSR, CRR
                                     CERTIFICATE NUMBER 9595
20

21                                   DATED:   OCTOBER 22, 2021

22

23

24

25



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